                       Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 1 of 205




         ORDERED in the Southern District of Florida on February 10, 2023.



                                                                    Peter D. Russin, Judge
                                                                    United States Bankruptcy Court
_____________________________________________________________________________


                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                         FORT LAUDERDALE DIVISION
                                              www.flsb.uscourts.gov

         In re:                                                              Chapter 11 Cases

         DELPHI BEHAVIORAL HEALTH                                            Case No. 23-10945-PDR
         GROUP, LLC, et al.,1
                                                                             (Jointly Administered)
               Debtors.
         _________________________________________/

                              INTERIM ORDER (I) AUTHORIZING DEBTORS
                             TO (A) OBTAIN POSTPETITION SENIOR SECURED

         1
              The address of the Debtors is 1901 West Cypress Creek Road, Suite 500, Fort Lauderdale, FL 33309. The last
             four digits of the Debtors’ federal tax identification numbers are: (i) Delphi Behavioral Health Group, LLC
             (2076), (ii) 61 Brown Street Holdings, LLC (0007), (iii) Aloft Recovery LLC (6674), (iv) Banyan Recovery
             Institute, LLC (6998), (v) Breakthrough Living Recovery Community, LLC (5966), (vi) California Addiction
             Treatment Center LLC (7655), (vii) California Vistas Addiction Treatment LLC (8272), (viii) DBHG Holding
             Company, LLC (6574), (ix) Defining Moment Recovery Community, LLC (3532), (x) Delphi Health BuyerCo,
             LLC (2325), (xi) Delphi Health Group, LLC (0570), (xii) Delphi Intermediate HealthCo, LLC (6378), (xiii)
             Delphi Management LLC (6474) (xiv) Desert View Recovery Community, LLC (7437), (xv) DR Parent, LLC
             (2700), (xvi) DR Sub, LLC (8183), (xvii) Las Olas Recovery LLC (9082), (xviii) Maryland House Detox, LLC
             (1626), (xix) New Perspectives, LLC (0508), (xx) Next Step Housing LLC (6975), (xxi) Ocean Breeze Detox,
             LLC (7019), (xxii) Ocean Breeze Recovery, LLC (9621), (xxiii) Onward Living Recovery Community, LLC
             (4735), (xxiv) Palm Beach Recovery, LLC (4459), (xxv) Peak Health NJ, LLC (7286), (xxvi) QBR Diagnostics,
             LLC (7835), (xxvii) Rogers Learning, LLC (1699), (xxviii) SBH Haverhill, LLC (0971), (xxix) SBH Union IOP
             LLC (4139), (xxx) Summit at Florham Park, LLC (8226), (xxxi) Summit Behavioral Health Limited Liability
             Company (3337), (xxxii) Summit Health BuyerCo, LLC (2762), (xxxiii) Summit IOP Limited (4567), and (xxxiv)
             Union Fresh Start LLC (6841).




         11904184-3
              Case 23-10945-PDR         Doc 82       Filed 02/10/23   Page 2 of 205




            FINANCING AND (B) USE CASH COLLATERAL, (II) GRANTING
             ADEQUATE PROTECTION TO SENIOR SECURED LENDERS,
      (III) GRANTING LIENS AND SUPERPRIORITY CLAIMS, (IV) MODIFYING
           THE AUTOMATIC STAY, AND (V) GRANTING RELATED RELIEF

         THIS MATTER having come before the Court for a hearing on February 9, 2023, at 2:30

p.m. in Fort Lauderdale, Florida upon the Emergency Motion (I) Authorizing the Debtors to Obtain

Postpetition Financing, (II) Authorizing the Debtors to Use the Cash Collateral, (III) Granting

Adequate Protection to Senior Secured Lenders, (IV) Granting Liens and Superpriority Claims,

(V) Modifying the Automatic Stay, and (VI) Scheduling a Final Hearing [ECF No. 24]

(the “Motion”) filed by the above-captioned debtors (the “Debtors”) in the above-captioned case

(the “Chapter 11 Cases”), pursuant to sections 105, 361, 362, 363, 364, 503, 506, 507 and 552 of

title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended, the “Bankruptcy

Code”), Rules 2002, 4001, 6003, 6004 and 9014 of the Federal Rules of Bankruptcy Procedure

(as amended, the “Bankruptcy Rules”) and Rules 4001-2, 4001-3, 9013-1(F)-(H) and 9075-1 of

the Local Rules for the United States Bankruptcy Court for the Southern District of Florida (as

amended, the “Local Rules”), and the Guidelines for Motions Seeking Authority to Use Cash

Collateral and Motions Seeking Approval of Postpetition Financing (as amended, the

“Guidelines”) seeking, among other things:

         A.    authorization for the Debtors to receive senior secured postpetition financing in the
               form of a senior secured, super priority multiple draw term loan facility (the “DIP
               Facility”; and the financial institutions party thereto from time to time as lenders,
               the “DIP Lenders”) in an aggregate principal amount of up to $11,000,000
               (collectively, the “DIP Commitments”), of which $5,000,000 shall be made
               available upon entry of this interim order (this “Interim Order”), pursuant to the
               terms and conditions of this Interim Order, the Final Order (as defined below) (upon
               entry) and that certain Superpriority Secured Debtor-in-Possession Credit
               Agreement (as the same may be amended, restated, supplemented, or otherwise
               modified from time to time in accordance with the terms thereof, the “DIP Loan




                                                 2
11904184-3
               Case 23-10945-PDR              Doc 82         Filed 02/10/23      Page 3 of 205




                 Agreement”2 together with the schedules and exhibits attached thereto, and all
                 agreements, documents, instruments and amendments executed and delivered in
                 connection therewith, the “DIP Documents”), by and among Delphi Intermediate
                 Healthco, LLC, a Delaware limited liability company (the “DIP Borrower”), the
                 other Loan Parties party thereto from time to time (together with the DIP Borrower,
                 the “DIP Loan Parties”), the DIP Lenders and Brightwood Loan Services LLC, as
                 administrative agent (in such capacity, and together with any successor thereto, the
                 “DIP Agent” and together with the DIP Lenders, the “DIP Secured Parties”),
                 substantially in the form of Exhibit A, attached hereto;

         B.      approval of the terms of, and authorization for the Debtors to execute, enter into
                 and deliver the DIP Documents, and to perform all DIP Obligations (as defined
                 below);

         C.      the granting of adequate protection to the Senior Secured Lenders (as defined
                 below), in their capacity as the lenders from time to time under that certain Credit
                 Agreement, dated as of April 8, 2020 (as amended by that certain First Amendment
                 to Credit Agreement and Forbearance Agreement, dated as of August 3, 2021, that
                 certain Second Amendment to Credit Agreement and Forbearance Agreement,
                 dated as of January 18, 2022, that certain Third Amendment to Credit Agreement
                 and Forbearance Agreement, dated as of April 29, 2022, that certain Fourth
                 Amendment to Credit Agreement and Forbearance Agreement, dated as of June 14,
                 2022, that certain Fifth Amendment to Credit Agreement, dated as of September
                 16, 2022, that certain Sixth Amendment to Credit Agreement, dated as of
                 November 7, 2022, that certain Seventh Amendment to Credit Agreement, dated as
                 of December 6, 2022, that certain Eighth Amendment to Credit Agreement, dated
                 as of January 10, 2023 and as may be further amended, amended and restated,
                 supplemented and/or otherwise modified from time to time, the “Senior Secured
                 Loan Agreement” and together with the schedules and exhibits attached thereto,
                 and all agreements, documents, instruments and amendments executed and
                 delivered in connection therewith, the “Senior Secured Loan Documents”), by
                 and among the lenders from time to time to party thereto (the “Senior Secured
                 Lenders”), Brightwood Loan Services LLC, in its capacity as administrative agent
                 for the Senior Secured Lenders (solely in such capacity, the “Prepetition Agent”
                 and together with the Senior Secured Lenders, the “Senior Secured Parties”), the
                 Borrower (as defined therein) and the other Loan Parties (as defined therein) from
                 time to time thereto (together with the Borrower, the “Senior Secured Obligors”);

         D.      subject to the restrictions set forth in the DIP Documents and this Interim Order,
                 authorization for the Debtors to use Cash Collateral (as defined below) and all other
                 Prepetition Collateral (as defined below) in which the Senior Secured Lenders have
                 an interest and the granting of adequate protection to the Senior Secured Lenders


2
  Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
in the DIP Loan Agreement.



                                                         3
11904184-3
              Case 23-10945-PDR         Doc 82        Filed 02/10/23    Page 4 of 205




               with respect to, inter alia, such use of Cash Collateral and the other Prepetition
               Collateral;

         E.    subject to certain challenge rights of parties in interest set forth herein, approval of
               certain stipulations by the Debtors with respect to the Senior Secured Loan
               Documents and the liens and security interests arising therefrom;

         F.    the granting of superpriority administrative claims pursuant to section 364(c)(1) of
               the Bankruptcy Code to the DIP Lenders as well as liens pursuant to sections
               364(c)(2) and 364(c)(3) of the Bankruptcy Code and priming liens pursuant to
               section 364(d) of the Bankruptcy Code, as further described herein, on all DIP
               Collateral (as defined below) and all proceeds thereof (including any Avoidance
               Actions/Proceeds (as defined below), upon entry of a Final Order) to the DIP Agent
               for the benefit of the DIP Lenders, including, without limitation, all property
               constituting “Cash Collateral” as defined in section 363(a) of the Bankruptcy Code
               and as more specifically defined below, which liens shall be subject to the priorities
               set forth below;

         G.    the waiver of the Debtors’ right to surcharge the Prepetition Collateral and the DIP
               Collateral pursuant to section 506(c) of the Bankruptcy Code and any right of the
               Debtors under the “equities of the case” exception in section 552(b) of the
               Bankruptcy Code;

         H.    a finding that neither the DIP Lenders nor the Senior Secured Lenders, in their
               respective capacities as such, shall be subject to the equitable doctrine of
               “marshaling” or any similar doctrine with respect to the DIP Collateral or the
               Prepetition Collateral, as applicable;

         I.    authorization and direction for the Debtors to make non-refundable, irrevocable,
               and final payments on account of the principal, interest, fees, expenses and other
               amounts payable under the DIP Documents, each as applicable, as such become
               due, all to the extent provided in, and in accordance with, this Interim Order, the
               Final Order (upon entry) and the applicable DIP Documents;

         J.    authorization for the Debtors to use the proceeds of the DIP Facility and the Cash
               Collateral in accordance with both the Approved Budget (as defined below) and the
               DIP Documents;

         K.    the modification of the automatic stay imposed by section 362 of the Bankruptcy
               Code to the extent necessary to implement and effectuate the terms and provisions
               of this Interim Order, the Final Order (upon entry) and the DIP Documents;

         L.    set the date for the hearing (the “Final Hearing”) to be held no later than twenty-
               five (25) calendar days after the Petition Date (as defined below) to consider on a
               final basis the Motion and the entry of a final order (the “Final Order” and together
               with the Interim Order, the “DIP Orders”) authorizing and approving the
               transactions described in the foregoing clauses, which Final Order shall be in form
               and substance (including with respect to any subsequent modifications made in


                                                  4
11904184-3
              Case 23-10945-PDR          Doc 82       Filed 02/10/23   Page 5 of 205




               response to any objections or comments made by this Court) acceptable to the DIP
               Agent (acting at the direction of the Required DIP Lenders, under and as defined in
               the DIP Loan Agreement (the “Required DIP Lenders”)); and

         M.    providing for the immediate effectiveness of this Interim Order and the Final Order
               and waiving any applicable stay (including under Bankruptcy Rule 6004) to permit
               such immediate effectiveness.

This Court having reviewed the Motion, the exhibits attached thereto, the Declaration of Edward

A. Phillips in Support of Chapter 11 Petitions and First Day Pleadings (the “First Day

Declaration”), and the evidence submitted at the interim hearing held on February 9, 2023

(the “Interim Hearing”); and adequate notice of the Motion and the Interim Hearing having been

given under the circumstances and in accordance with Bankruptcy Rules 2002, 4001(b), (c) and

(d), and all applicable Local Rules and no further notice being necessary or required; and this Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein and that such relief is in the best interests of the Debtors, their estates,

their creditors and all parties in interest and is necessary to avoid immediate and irreparable harm

to the Debtors and their estates and the for the continued operation of certain of the Debtors’

businesses and the preservation of value of the Debtors’ assets pending the Final Hearing; and any

objections to the entry of this Interim Order having been withdrawn or overruled on the merits;

and upon all of the proceedings had before this Court and after due deliberation and sufficient

cause appearing therefor;

         THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW:

         A.    Debtor-in-Possession Operation. On February 6, 2023 (the “Petition Date”), the

Debtors commenced with this Court voluntary cases under chapter 11 of the Bankruptcy Code.

The Debtors are authorized to continue to operate their business and manage their properties as




                                                  5
11904184-3
              Case 23-10945-PDR             Doc 82       Filed 02/10/23   Page 6 of 205




debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee

or examiner has been appointed in the Chapter 11 Cases.

         B.        Jurisdiction and Venue. This Court has jurisdiction over the Chapter 11 Cases, the

Motion and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334.

The Court’s consideration of the Motion constitutes a core proceeding pursuant to 28 U.S.C. §

157(b)(2). Venue for the Chapter 11 Cases and proceeding on the Motion is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         C.        Notice. Proper, timely, adequate and sufficient notice of the Motion and the Interim

Hearing has been provided in accordance with the Bankruptcy Code, the Bankruptcy Rules and

the Local Rules, and no other or further notice of the Motion with respect to the relief requested at

the Interim Hearing or the entry of this Interim Order is or shall be required. The interim relief

granted herein is necessary to avoid immediate and irreparable harm to the Debtors and their

estates pending the Final Hearing, for purposes of Bankruptcy Rule 6003.

         D.        Debtors’ Stipulations. Without prejudice to the rights of any other party in interest

and subject to the limitations thereon contained in paragraph 13 below, the Debtors, on their behalf

and on behalf of their estates, admit, acknowledge, agree, and stipulate to the following, which

stipulations shall be binding on the Debtors, their estates, and all parties in interest (paragraphs

D(i) through D(viii) below are referred to herein, collectively, as the “Debtors’ Stipulations”):

              i.          Pursuant to the Senior Secured Loan Agreement, the Senior Secured

Lenders and the Prepetition Agent provided term loans, protective advances and other financial

accommodations to the Borrower, as applicable, pursuant to the Senior Secured Loan Agreement

(the “Prepetition Credit Facility”).




                                                     6
11904184-3
              Case 23-10945-PDR           Doc 82       Filed 02/10/23    Page 7 of 205




             ii.        Prior to the Petition Date and under the Prepetition Credit Facility, the

Senior Secured Obligors were indebted and liable to the Senior Secured Lenders in respect of the

obligations under the Senior Secured Loan Documents for (a) term loans in the aggregate principal

amount of $14,000,000 (the “Term Loans”), (b) initial protective advances in the aggregate

principal amount of $7,500,000 (the “Initial Protective Advances”), (c) priming protective

advances in the aggregate principal amount of $10,500,000 (the “Priming Protective Advances”)

and (d) super priming protective advances in the aggregate principal amount of $5,000,000 (the

“Super Priming Protective Advances”) plus, with respect to subsections (a), (b), (c) and (d) of

this sentence, all accrued but unpaid interest (including interest paid in kind, accrued but unpaid

interest payable in cash and interest at the default rate, as applicable), fees (including the Protective

Advance PIK Fees (as defined in the Senior Secured Loan Documents)) expenses, and all other

obligations expressly provided for thereunder, or incurred in connection therewith, including any

“Obligations” as defined in the Senior Secured Loan Agreement (such obligations under the Senior

Secured Loan Agreement and the other Senior Secured Loan Documents, including, without

limitation, the Term Loans, Initial Protective Advances, Priming Protective Advances and Super

Priming Protective Advances, the “Senior Secured Loan Obligations”), and the Debtors are

unconditionally liable, without defense, counterclaim, offset or setoff of any kind, with respect to

the Senior Secured Loan Obligations.

             iii.       The Senior Secured Loan Obligations constitute legal, valid, binding and

non-avoidable obligations of the Senior Secured Obligors, enforceable in accordance with the

terms of the applicable Senior Secured Loan Documents. No offsets, recoupments, challenges,

objections, defenses to, counterclaims to, or claims or causes of action that could reduce the

amount or ranking of, the Senior Secured Loan Obligations exist. No portion of the Prepetition




                                                   7
11904184-3
              Case 23-10945-PDR           Doc 82       Filed 02/10/23    Page 8 of 205




Secured Liens (as defined below) or Senior Secured Loan Obligations (including any interest or

fees owed thereunder) is subject to set-off, avoidance, impairment, disallowance,

recharacterization, reduction, subordination (whether equitable, contractual, or otherwise),

counterclaims, recoupment, defenses, cross-claims or any other challenges under or pursuant to

the Bankruptcy Code or any other applicable domestic or foreign law or regulation by any person

or entity. The Senior Secured Loan Documents are valid and enforceable by the Senior Secured

Lenders against each of the Senior Secured Obligors.

             iv.        To secure the Senior Secured Loan Obligations, the Senior Secured

Obligors entered into various security and collateral documents pursuant to and in connection with

the Senior Secured Loan Documents, pursuant to which the Senior Secured Lenders were granted

the benefit of valid, binding, perfected, enforceable, first-priority liens and security interests in the

Prepetition Collateral (the “Prepetition Secured Liens”). The Prepetition Secured Liens provide

the Prepetition Agent, for and on behalf of the Senior Secured Lenders, with valid, binding,

properly perfected, enforceable, first-priority liens, and security interests in all property described

in the Senior Secured Loan Documents, including, without limitation, certain cash collateral as

defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”) and the “Collateral” (as

defined in the Senior Secured Loan Documents) (collectively, the “Prepetition Collateral”). All

cash of the Debtors and cash proceeds of the Prepetition Collateral, including all such cash and

cash proceeds of such Prepetition Collateral held at any time and from time to time in any of the

Debtors’ securities accounts and banking, checking, or other deposit accounts with financial

institutions (in each case, other than trust, escrow, payroll, and custodial funds held as of the

Petition Date in properly established trust, escrow, payroll, and custodial accounts), are and will

be Cash Collateral of the Senior Secured Lenders.




                                                   8
11904184-3
             Case 23-10945-PDR          Doc 82       Filed 02/10/23    Page 9 of 205




             v.        The Prepetition Secured Liens (a) are valid, binding, properly perfected,

enforceable and non-avoidable liens on and security interests in the Prepetition Collateral; (b) are

not subject to, pursuant to the Bankruptcy Code or other applicable law (foreign or domestic),

avoidance, disallowance, reduction, recharacterization, recovery, subordination (whether

equitable, contractual, or otherwise), attachment, offset, counterclaim, defense, “claim” (as defined

in the Bankruptcy Code), impairment, or any other challenge of any kind by any person or entity;

(c) entitle the Senior Secured Lenders to credit bid the entirety of the Senior Secured Loan

Obligations pursuant to section 363(k) of the Bankruptcy Code without further challenges from

the Debtors or any other party and implemented by the Senior Secured Lenders in their absolute

discretion; and (d) are subject and subordinate only to (1) the Carve-Out (as defined below), (2)

the DIP Liens (as defined below) and (3) valid and enforceable liens and encumbrances in the

Prepetition Collateral (if any) that were expressly permitted to be senior to the Senior Secured

Lenders’ liens under the applicable Senior Secured Loan Documents, that are valid, properly

perfected, enforceable, and non-avoidable as of the Petition Date and that are not subject to

avoidance, reduction, disallowance, disgorgement, counterclaim, surcharge, or subordination

pursuant to the Bankruptcy Code or applicable non-bankruptcy law (foreign or domestic), and the

Debtors irrevocably waive, discharge and release, for themselves and their estates, any right to

challenge or contest in any way the scope, extent, perfection, priority, validity, non-avoidability,

and enforceability of the Prepetition Secured Liens or the validity, enforceability, or priority of

payment of the Senior Secured Loan Obligations and the Senior Secured Loan Documents. The

Prepetition Secured Liens were granted to the Senior Secured Lenders for fair consideration and

reasonably equivalent value, and were granted contemporaneously with the making of loans,

commitments, and/or other financial accommodations under the Senior Secured Loan Documents.




                                                 9
11904184-3
             Case 23-10945-PDR         Doc 82     Filed 02/10/23     Page 10 of 205




Pursuant to and as more particularly described in the Senior Secured Loan Documents, the

Prepetition Secured Liens are valid, binding, properly perfected, enforceable, non-avoidable, first-

priority liens and security interests in and against the Prepetition Collateral (including, without

limitation, Cash Collateral), and are senior in right, priority, operation and effect to all other

interests in the Prepetition Collateral (subject to the relative priorities among the Senior Secured

Lenders created under the Senior Secured Loan Documents in connection with the Term Loans,

Initial Protective Advances, Priming Protective Advances and Super Priming Protective

Advances) and subject to the Senior Liens (as defined below), in all respects, notwithstanding any

provisions of the Uniform Commercial Code or any other Federal, State or foreign law. The Senior

Secured Loan Obligations constitute allowed, secured claims within the meaning of sections 502

and 506 of the Bankruptcy Code.

             vi.       Prior to the Petition Date, DR Parent, LLC (“HoldCo”), the managing

member of DR Sub, LLC, which wholly owns Delphi Intermediate Healthco, LLC, the Senior

Secured Lenders and the Prepetition Agent entered into that certain credit agreement dated April

8, 2020 (as amended, amended and restated, supplemented or otherwise modified from time to

time prior to the date hereof, the “HoldCo Loan Agreement”), pursuant to which HoldCo was

indebted and liable to the Senior Secured Lenders in respect of the obligations under the HoldCo

Loan Agreement for term loans in the aggregate amount of $12,500,000, plus all accrued but

unpaid interest (including accrued but unpaid interest paid in kind, interest payable in cash and

interest at the default rate, as applicable), fees, expenses, and all other obligations expressly

provided for thereunder, or incurred in connection therewith, including any “Obligations” as

defined in the HoldCo Loan Agreement (such obligations under the HoldCo Loan Agreement and

all agreements, documents, instruments and amendments executed and delivered in connection




                                                10
11904184-3
                Case 23-10945-PDR           Doc 82     Filed 02/10/23     Page 11 of 205




therewith (the “HoldCo Loan Documents”), the “HoldCo Loan Obligations”), and the Debtors

are unconditionally liable, without defense, counterclaim, offset or setoff of any kind, with respect

to the HoldCo Loan Obligations.

              vii.          Events of Default (under and as defined in the Senior Secured Loan

Agreement) have occurred and are continuing under the terms of the Senior Secured Loan

Documents and the HoldCo Loan Documents. The Senior Secured Lenders expressly reserve all

of their respective rights, powers, privileges, and remedies under the Senior Secured Loan

Documents and the HoldCo Loan Documents with respect to such existing Events of Default.

              viii.         The liens granted to the DIP Lenders shall be valid, binding, properly

perfected, enforceable and non-avoidable liens against the Debtors.

         E.          Release. Subject in all respects to paragraph 13 hereof, upon entry of this Interim

Order, each of the Debtors and the Debtors’ estates on its own behalf and on behalf of its past,

present, and future predecessors, successors, heirs, subsidiaries and assigns or any person acting

for and on behalf of, or claiming through them, hereby unconditionally, irrevocably, and fully

forever release, remise, acquit, relinquish, irrevocably waive, and discharge the DIP Secured

Parties, and the Senior Secured Parties, and each of their respective affiliates, former, current, or

future officers, employees, directors, servants, agents, representatives, owners, members, partners,

financial advisors, legal advisors, shareholders, managers, consultants, accountants, attorneys,

affiliates, assigns, heirs, predecessors in interest and each person acting for on behalf of any of

them, each in their capacity as such (collectively, the “Representatives”), of and from any and all

claims, demands, liabilities, responsibilities, disputes, remedies, causes of action, indebtedness and

obligations, rights, assertions, allegations, actions, suits, controversies, proceedings, losses,

damages, injuries, attorneys’ fees, costs, expenses, or judgments of every type, whether known,




                                                     11
11904184-3
              Case 23-10945-PDR         Doc 82      Filed 02/10/23     Page 12 of 205




unknown, asserted, unasserted, suspected, unsuspected, accrued, unaccrued, fixed, contingent,

pending, or threatened, including, without limitation, all legal and equitable theories of recovery,

arising under common law, statute, or regulation or by contract, of every nature and description in

each case that exist on the date hereof with respect to, relating to or arising from the DIP

Obligations, the DIP Liens (as defined below), the DIP Documents, the Senior Secured Loan

Documents, the Senior Secured Loan Obligations, the Prepetition Secured Liens, the HoldCo Loan

Documents or the HoldCo Loan Obligations, as applicable, including, without limitation, (i) any

so-called “lender liability” or equitable subordination claims or defenses or recharacterization

claims or defenses, (ii) any and all claims and causes of action arising under the Bankruptcy Code,

(iii) any and all claims and causes of action regarding the validity, priority, extent, enforceability,

perfection, or avoidability of the liens or claims of the DIP Lenders, DIP Agent, the Senior Secured

Lenders or the Prepetition Agent and (iv) any and all claims and causes of action related to other

carrying costs, penalties, legal, accounting and other professional costs, and consequential and

punitive damages payable to third parties.

         F.    Stipulation Binding on Debtors. The Debtors’ acknowledgments, stipulations,

waivers, and releases shall be binding on the Debtors and their respective representatives,

successors, and assigns, and on each of the Debtors’ estates and all entities and persons, including

any creditors of the Debtors, and each of their respective representatives, successors, and assigns,

including, without limitation any trustee or other representative appointed in these Chapter 11

Cases or Successor Cases (as defined below), whether such trustee or representative is appointed

under chapter 11 or chapter 7 of the Bankruptcy Code.

         G.    Findings Regarding the DIP Financing and Cash Collateral.




                                                  12
11904184-3
             Case 23-10945-PDR          Doc 82     Filed 02/10/23     Page 13 of 205




              i.       Good and sufficient cause has been shown for the entry of this Interim

Order.

             ii.       The Debtors have an immediate and critical need to obtain the financing

contemplated under the DIP Facility (the “DIP Financing”) and to continue to use the Prepetition

Collateral (including Cash Collateral). The Debtors’ borrowings from the DIP Lenders under the

DIP Facility will be used in a manner consistent with the terms and conditions of the applicable

DIP Documents and this Interim Order for: (a) working capital and other general corporate

purposes of the Debtors solely in accordance with the Approved Budget; (b) payment of amounts

due under the DIP Facility, including interest and fees payable thereunder and any Adequate

Protection Fees (as defined below) payable pursuant to this Interim Order, in accordance with the

Approved Budget; (c) payment of the professional fees and expenses of administering the Chapter

11 Cases; and (d) other purposes as expressly set forth in this Interim Order, the Approved Budget,

or as expressly approved by the DIP Agent. Except with the prior written consent of the DIP

Agent, at the direction of the Required DIP Lenders in their sole discretion, the Debtors shall not

be permitted to use the proceeds of the DIP Facility and the proceeds of the Prepetition Collateral

(including the Cash Collateral) in contravention of the provisions of the orders entered in the

Chapter 11 Cases (including this Interim Order), including any restrictions or limitations on the

use of proceeds contained therein. The Debtors’ access to sufficient working capital through the

use of Cash Collateral and other Prepetition Collateral and the incurrence of indebtedness under

the DIP Facility are necessary and vital to the preservation and maintenance of the Debtors’ estates,

to preserve the Debtors’ businsses as a going concern and to maximize value for all parties-in-

interest. The Debtors’ use of Cash Collateral alone would be insufficient to meet the Debtors’

cash disbursement needs during the period of effectiveness of this Interim Order. The Debtors and




                                                 13
11904184-3
             Case 23-10945-PDR          Doc 82     Filed 02/10/23     Page 14 of 205




their estates will suffer immediate and irreparable harm if immediate financing is not obtained and

permission to use Cash Collateral is not granted. The terms of the DIP Facility are fair and

reasonable, reflect the Debtors’ exercise of prudent business judgment, and are supported by

reasonably equivalent value and fair consideration. The adequate protection provided in this

Interim Order and other benefits and privileges contained herein are consistent with, and

authorized by, the Bankruptcy Code.

             iii.      The DIP Facility is the best source of debtor-in-possession financing

available to the Debtors. Given their current financial condition, financing arrangements, capital

structure, and the circumstances of these Chapter 11 Cases, the Debtors are unable to obtain

financing on terms more favorable than that offered by the DIP Lenders under the DIP Documents

and are unable to obtain adequate unsecured credit allowable under section 503(b)(1) of the

Bankruptcy Code as an administrative expense. The Debtors are also unable to obtain secured

credit allowable solely under sections 364(c)(1), 364(c)(2), and 364(c)(3) of the Bankruptcy Code

without the Debtors granting to the DIP Lenders, the DIP Liens and the DIP Superpriority Claims

(as defined below) on the terms and conditions set forth herein and granting the Adequate

Protection Obligations, in each case, under the terms and conditions set forth in this Interim Order

and in the DIP Documents.

             iv.       The priming of the Prepetition Secured Liens on the Prepetition Collateral

under section 364(d) of the Bankruptcy Code (as required under the DIP Facility) will enable the

Debtors to continue operating their businesses on a postpetition basis, to preserve the Debtors’

businesses as a going conern and to maximize value for the benefit of the Debtors’ estates, creditors

and other constituents. The Senior Secured Lenders have consented to the priming of the

Prepetition Secured Liens and the terms of this Interim Order, which consent would not have been




                                                 14
11904184-3
               Case 23-10945-PDR       Doc 82     Filed 02/10/23     Page 15 of 205




provided absent the restructuring transactions contemplated by the terms of this Interim Order and

the DIP Documents, including, without limitation, the Adequate Protection Fees, Adequate

Protection 507(b) Claim (as defined below) and Adequate Protection Liens set forth below.

               v.      As a condition to entry into the DIP Documents, the extension of credit

under the DIP Facility and the authorization to use Cash Collateral, the DIP Agent, the DIP

Lenders, the Prepetition Agent and the Senior Secured Lenders require, and the Debtors have

agreed, that proceeds of the DIP Facility shall be used, in each case in a manner consistent with

the terms and conditions of this Interim Order, the DIP Documents and in accordance with the

Approved Budget (as the same may be modified from time to time consistent with the terms of the

DIP Documents and this Interim Order).

              vi.      As a condition to entry into the DIP Documents, the extension of credit

under the DIP Facility and authorization to use Cash Collateral, the Debtors, the DIP Secured

Parties, and the Senior Secured Parties have agreed that, as of and commencing on the date of entry

of this Interim Order, the Debtors shall apply the proceeds of DIP Collateral in accordance with

this Interim Order and the DIP Documents.

             vii.      Based on the Motion, the First Day Declaration, and the record presented to

the Court at the Interim Hearing, the terms of the DIP Financing, the terms of the Adequate

Protection Obligations, and the terms on which the Debtors may continue to use the Prepetition

Collateral (including Cash Collateral) pursuant to this Interim Order and the DIP Documents are

fair and reasonable, reflect the Debtors’ exercise of prudent business judgment consistent with

their fiduciary duties, and constitute reasonably equivalent value and fair consideration.

             viii.     The Senior Secured Lenders have consented to the use of Cash Collateral

and the other Prepetition Collateral, the priming of the Prepetition Secured Liens pursuant to




                                                15
11904184-3
             Case 23-10945-PDR          Doc 82     Filed 02/10/23      Page 16 of 205




section 364(d)(1) of the Bankruptcy Code, and the Debtors’ entry into the DIP Documents in

accordance with and subject to the terms of this Interim Order and the DIP Documents.

             ix.       The DIP Financing, as well as the terms of the Adequate Protection

Obligations, and the use of the Prepetition Collateral (including Cash Collateral) have been

negotiated in good faith and at arm’s length among the Debtors, the DIP Lenders, the Senior

Secured Lenders, and their respective advisors, and all of the Debtors’ obligations and

indebtedness arising under, in respect of, or in connection with, the DIP Financing and the DIP

Documents, including: (a) all loans made to and guarantees issued by the Debtors pursuant to the

DIP Documents (collectively, the “DIP Loans”) and (b) any “Obligations” (as defined in the DIP

Loan Agreement) of the Debtors owing to the DIP Secured Parties or any of their affiliates, in

accordance with the terms of the DIP Documents, including any obligations, to the extent provided

for in the DIP Documents, to indemnify the DIP Secured Parties and to pay any interest, fees,

expenses (including any attorneys’, accountants’, appraisers’ and financial advisors’ fees that are

chargeable or reimbursable under the DIP Documents), amounts, charges, costs, indemnities and

other obligations that are chargeable or reimbursable under this Interim Order, the Final Order or

the DIP Documents (the foregoing in clauses (a) and (b) collectively, the “DIP Obligations”),

shall be deemed to have been extended by the DIP Lenders and their respective affiliates in good

faith, as that term is used in section 364(e) of the Bankruptcy Code and in express reliance upon

the protections offered by section 364(e) of the Bankruptcy Code, and the DIP Secured Parties

(and the successors and assigns thereof) shall be entitled to the full protection of section 364(e) of

the Bankruptcy Code in the event that this Interim Order or any provision hereof is vacated,

reversed or modified, on appeal or otherwise. In providing the DIP Loans and consenting to the

use of Cash Collateral, the DIP Lenders, the Senior Secured Lenders and their respective




                                                 16
11904184-3
               Case 23-10945-PDR               Doc 82       Filed 02/10/23        Page 17 of 205




Representatives have acted in the best interests of the Debtors’ estates, for the benefit of all

stakeholders, to preserve and enhance the value of the Prepetition Collateral and maximize

recoveries for stakeholders. The Senior Secured Lenders and the DIP Lenders have acted in good

faith regarding the DIP Financing and the Debtors’ continued use of the Prepetition Collateral

(including the Cash Collateral) to fund the administration of the Debtors’ estates and continued

operation of their businesses (including the incurrence and payment of the Adequate Protection

Obligations and the granting of the Adequate Protection Liens), in accordance with the terms

hereof, and the Senior Secured Lenders (and their Representatives) and the DIP Lenders (and their

Representatives) shall be entitled to the full protection of section 363(m) of the Bankruptcy Code

in the event that this Interim Order or any provision hereof is vacated, reversed or modified, on

appeal or otherwise.

                x.         Until the applicable Senior Secured Loan Obligations are Paid in Full3, the

Senior Secured Lenders are entitled to the adequate protection provided in this Interim Order as

and to the extent set forth herein pursuant to sections 361, 362, 363 and 364 of the Bankruptcy

Code. Based on the Motion and on the record presented to the Court, the terms of the proposed

adequate protection arrangements and of the use of the Prepetition Collateral (including Cash

Collateral) are fair and reasonable, reflect the Debtors’ prudent exercise of business judgment and

constitute reasonably equivalent value and fair consideration for the use of Cash Collateral;


3
  “Paid in Full” or “Payment in Full” means the indefeasible payment in full in cash of all obligations (including,
without limitation, principal, interest (payable in cash or in kind), premiums, fees, expenses and indemnities) under
the applicable credit facility, the cash collateralization of all treasury and cash management obligations, hedging
obligations, and bank product obligations, and the cancelation, replacement, backing, or cash collateralization of
letters of credit, in each case, in accordance with the applicable credit facility. No facility shall be deemed to have
been Paid in Full until such time as, with respect to the applicable facility, (a) the commitments to lend thereunder
have been terminated and (b) either the Prepetition Agent or the DIP Agent, as applicable, has received (i) a
countersigned payoff letter in form and substance satisfactory to such agent and (ii) releases from the Debtors
(including any liquidator acting on behalf of any of the Debtors or their estates, if applicable) in form and substance
satisfactory to such agent, as applicable, each in such agent’s sole discretion.



                                                         17
11904184-3
              Case 23-10945-PDR        Doc 82     Filed 02/10/23    Page 18 of 205




provided, however, nothing in this Interim Order or the other DIP Documents shall (a) be construed

as the affirmative consent by the Senior Secured Lenders for the use of Cash Collateral, other than

on the terms set forth in this Interim Order and in the context of the DIP Financing authorized by

this Interim Order, (b) be construed as a consent by any party to the terms of any other financing

or any other lien encumbering the Prepetition Collateral (whether senior or junior), or

(c) prejudice, limit or otherwise impair the rights of the Senior Secured Lenders to seek new,

different or additional adequate protection or assert the interests of any of the Senior Secured

Lenders.

             xi.      The Debtors have prepared and delivered to the DIP Lenders a proposed

budget (such initial budget, the “Initial DIP Budget”), a copy of which is attached hereto as

Exhibit B. The Initial DIP Budget reflects the Debtors’ anticipated net cash flow and anticipated

disbursements for each month during the period from the Petition Date through and including May

26, 2023. The Initial DIP Budget may be modified, amended and updated from time to time in

accordance with the DIP Loan Agreement, and once approved by, and in form and substance

satisfactory to, the DIP Agent (acting at the direction of the Required DIP Lenders, in their sole

discretion), shall supplement and replace the Initial DIP Budget (the Initial DIP Budget, following

entry of this Interim Order, and each subsequently approved budget, shall each constitute without

duplication, an “Approved Budget”). The Initial DIP Budget is reasonable under the facts and

circumstances. The DIP Lenders are relying, in part, upon the Debtors’ agreement to comply with

the Approved Budget, the other DIP Documents, and this Interim Order in determining to enter

into the postpetition financing arrangements provided for in this Interim Order.

             xii.     The Debtors have requested immediate entry of this Interim Order pursuant

to Bankruptcy Rules 4001(b)(2) and 4001(c)(2) and Local Rules 4001-2 and 9075-1. Absent




                                                18
11904184-3
              Case 23-10945-PDR         Doc 82    Filed 02/10/23     Page 19 of 205




granting the relief set forth in this Interim Order, the Debtors’ estates will be immediately and

irreparably harmed. Consummation of the DIP Financing and the use of Prepetition Collateral,

including Cash Collateral, in accordance with this Interim Order and the DIP Documents are

therefore in the best interests of the Debtors’ estates and consistent with the Debtors’ exercise of

their fiduciary duties.

         H.     Senior Secured Lenders’ Good Faith. By virtue of the stipulations and findings in

this Interim Order related to the Senior Secured Loan Obligations and the DIP Financing, and

certain of the Senior Secured Lenders agreeing to provide the DIP Financing in their capacity as

DIP Lenders, no “cause” has been shown to limit or otherwise impair the Senior Secured Lenders’

right to credit bid the Senior Secured Loan Obligations pursuant to section 363(k) of the

Bankruptcy Code.

         I.     Sections 506(c) and 552(b). In light of, among other things, (i) the DIP Agent’s

and the DIP Lenders’ agreement that their liens and super-priority claims shall be subject to the

Carve-Out and (ii) the Senior Secured Lenders’ agreement to subordinate the Prepetition Secured

Liens and Senior Secured Loan Obligations to the DIP Liens, and to permit the use of the DIP

Facility and Cash Collateral for payments made in accordance with the terms of this Interim Order

and the other DIP Documents, including the Approved Budget, the DIP Agent, the DIP Lenders,

the Prepetition Agent and the Senior Secured Lenders are entitled to a waiver of (i) the provisions

of Bankruptcy Code section 506(c) (subject to entry of a Final Order), (ii) any “equities of the

case” claims under Bankruptcy Code section 552(b), and (iii) the equitable doctrine of

“marshaling” or any similar doctrine.

                Based upon the foregoing findings and conclusions, the Motion and the record

before the Court with respect to the Motion, and good and sufficient cause appearing therefor,




                                                 19
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23      Page 20 of 205




         IT IS HEREBY ORDERED THAT:

         1.     Interim DIP Financing Approved. The Motion is granted, entry into the DIP

Facility and the DIP Documents is authorized and approved, and the use of Cash Collateral is

authorized, in each case, on an interim basis and subject to the terms and conditions set forth in

this Interim Order, the DIP Documents and entry of the Final Order. Unless terminated earlier

pursuant to the DIP Documents and this Interim Order, the DIP Facility will terminate on a date

that is twenty-five (25) calendar days after entry of this Interim Order (the “Termination Date”)

absent the Court’s entry of a Final Order in form and substance satisfactory to the DIP Agent at

the direction of the Required DIP Lenders.

         2.     Objections Overruled. Any objections, reservations of rights, or other statements

with respect to entry of this Interim Order, to the extent not withdrawn, waived, settled or resolved,

are overruled on the merits. This Interim Order shall become effective immediately upon its entry,

notwithstanding the possible application of Bankruptcy Rules 6004(h), 7062 and 9014.

         3.     Authorization of the DIP Financing and the DIP Documents.

         (a)    The Debtors are hereby authorized and directed to (a) execute, enter into and deliver

the DIP Documents, (b) incur and to perform all obligations under the DIP Documents and this

Interim Order and (c) execute, deliver and perform under all instruments, certificates, agreements,

and documents that may be required or necessary for the Debtors’ performance under the DIP

Documents and the creation and perfection of the DIP Liens described in, and provided for by, this

Interim Order and the DIP Documents. To prevent immediate and irreparable harm to the Debtors’

estates, the Debtors are hereby authorized upon entry of this Interim Order to borrow money

pursuant to the DIP Loan Agreement in an aggregate principal or face amount not to exceed

$5,000,000 under the DIP Facility, which shall be used for all purposes permitted under the DIP




                                                 20
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23     Page 21 of 205




Documents (and subject to the terms and conditions set forth herein and therein) and in accordance

with the Approved Budget; provided, however, no more than $11,000,000 of new DIP Loans in

the aggregate shall be made available to the Debtors pending the entry of the Final Order.

         (b)    The Debtors are hereby authorized and directed to pay, in accordance with this

Interim Order, the principal, interest, fees, expenses and other amounts described in the DIP

Documents and all other documents comprising the DIP Facility as such become due, including,

without limitation, any fees due and payable thereunder, the DIP Agent’s fees, and the reasonable

and documented fees and disbursements of the DIP Secured Parties’ attorneys, advisors,

accountants and other consultants, whether or not such fees arose before, on or after the Petition

Date, whether or not the transactions contemplated hereby are consummated, and to take any other

actions that may be necessary or appropriate, all to the extent provided in this Interim Order or the

DIP Documents, as applicable; provided, however, that, other than in connection with the fees and

expenses incurred and payable at the closing of the DIP Facility, including, without limitation, fees

and expenses incurred before the Petition Date, the payment of the fees and expenses of the

Professional Persons (as defined below) shall be subject to the provisions of paragraph 14 of this

Interim Order. All collections, consideration and proceeds, whether from ordinary course

collections, asset sales, debt or equity issuances, insurance recoveries, condemnations or

otherwise, will be deposited and applied as required by this Interim Order and the DIP Documents.

         (c)    Each officer and director of the Debtors acting individually is hereby authorized to

execute and deliver each of the DIP Documents, such execution and delivery to be conclusive

evidence of such individual’s respective authority to act in the name of and on behalf of the

Debtors.




                                                 21
11904184-3
               Case 23-10945-PDR        Doc 82    Filed 02/10/23     Page 22 of 205




         (d)    In furtherance of the foregoing subsections (a)-(c), and without further approval of

this Court, the Debtors are hereby authorized and directed to perform all such acts and execute and

deliver all such documents and instruments, which for the avoidance of doubt shall include:

                (i)    Amendments. The execution and delivery of, and performance under, one

                       or more amendments, waivers, consents or other modifications to and under

                       the DIP Documents, in each case, in such form as the Debtors and the DIP

                       Lenders may agree, it being understood that no further approval of the Court

                       shall be required for authorizations, amendments, waivers, consents or other

                       modifications to and under the DIP Documents that do not shorten the

                       maturity of the extensions of credit thereunder; provided, however, that no

                       waiver, modification or amendment of any of the provisions of the DIP

                       Documents shall be effective unless set forth in writing, signed by or on

                       behalf of all the Debtors and the DIP Agent (after having obtained the

                       approval of the Required DIP Lenders) and, to the extent required herein,

                       approved by this Court;

                (ii)   Repayment. The incurrence of, and the non-refundable payment to the DIP

                       Lenders, of any amounts due (or that may become due) in respect of the

                       indemnification obligations, in each case referred to in the DIP Loan

                       Agreement and this Interim Order, and the costs and expenses as may be

                       due from time to time, including fees and expenses of the Lender

                       Professionals (as defined below), in each case, as provided for in the DIP

                       Documents, shall be without the need to file retention or fee applications or




                                                 22
11904184-3
               Case 23-10945-PDR        Doc 82    Filed 02/10/23     Page 23 of 205




                        to provide notice to any party, other than as provided in paragraph 14

                        hereof; and

                (iii)   Performance. The performance of all other acts required under or in

                        connection with the DIP Documents, including the granting of the DIP

                        Liens, DIP Superpriority Claims, Adequate Protection Liens and Adequate

                        Protection 507(b) Claim and perfection of the DIP Liens and Adequate

                        Protection Liens as permitted herein and therein.

         (e)    Upon execution and delivery of the DIP Documents, the DIP Documents shall

constitute valid, binding and unavoidable obligations of the Debtors, enforceable against the

Debtors, their estates and any successors thereto, including, without limitation, any trustee

appointed in the Chapter 11 Cases or in any case under Chapter 7 of the Bankruptcy Code upon

the conversion of any of the Chapter 11 Cases, or in any other proceedings superseding or related

to any of the foregoing, in accordance with the terms of the DIP Documents and this Interim Order

(collectively, the “Successor Cases”). Upon entry of this Interim Order, the DIP Obligations shall

include all loans and any other indebtedness or obligations, contingent or absolute, which may

now, or from time to time, be owing by any of the Debtors to the DIP Agent or any of the DIP

Lenders, including, without limitation, all principal, accrued interest, costs, charges, fees,

expenses, obligations in respect of indemnity claims (contingent or otherwise) and other amounts

under the DIP Documents. No obligation, payment, transfer or grant of security under the DIP

Documents or this Interim Order to the DIP Secured Parties (as to the DIP Agent, for the benefit

of the DIP Lenders) shall be stayed, restrained, voidable or recoverable under the Bankruptcy Code

or under any applicable law (including under sections 502(d), 548 or 549 of the Bankruptcy Code,

any applicable Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or other




                                                 23
11904184-3
                Case 23-10945-PDR        Doc 82    Filed 02/10/23      Page 24 of 205




similar state statute or common law), or subject to any defense, reduction, setoff, recoupment,

recharacterization, subordination, disallowance, impairment, cross-claim, claim or counterclaim.

The DIP Obligations shall be due and payable, without notice or demand, and the use of Cash

Collateral shall automatically cease on the Termination Date, except as provided in paragraph 10

hereof.

          (f)    The DIP Agent and DIP Lenders shall have no obligation to make any loan or

advance under the DIP Documents unless all of the conditions precedent to the making of such

extension of credit, amendment or renewal under the DIP Documents and this Interim Order have

been satisfied in full or waived by the DIP Agent (acting at the direction of the Required DIP

Lenders) in accordance with the terms of the DIP Loan Agreement.

          (g)    From and after the Petition Date, the Debtors shall use advances of credit under the

DIP Facility only for the purposes specifically set forth in this Interim Order, the Final Order (upon

entry) and the DIP Documents, and in compliance with the Approved Budget and the terms and

conditions in this Interim Order, the Final Order (upon entry) and the DIP Documents.

          (h)    No DIP Lender or DIP Agent shall have any obligation or responsibility to monitor

any DIP Loan Party’s use of the DIP Facility and each DIP Lender, and the DIP Agent may rely

upon each DIP Loan Party’s representation that the use of the DIP Facility at any time is in

accordance with the requirements of this Interim Order and the DIP Documents.

          (i)    The Initial DIP Budget is approved in its entirety. The use of proceeds from the

DIP Facility and use of Cash Collateral under this Interim Order shall be in accordance with the

Approved Budget, subject to Permitted Variances (as defined below) and the terms and conditions

set forth in the DIP Documents and this Interim Order. Not later than 5:00 PM (Eastern Standard

Time) beginning on the third Wednesday following the Petition Date and on every Wednesday




                                                  24
11904184-3
               Case 23-10945-PDR       Doc 82     Filed 02/10/23    Page 25 of 205




following the end of each Testing Period (as defined below), the Debtors shall deliver to the DIP

Agent (along with its professionals) and the DIP Lenders, (a) an Updated Budget, in form and

substance satisfactory to the DIP Agent (acting at the direction of the Required DIP Lenders), and

such Updated Budget shall become the Approved Budget for the purposes of this Interim Order

upon approval of the DIP Agent (acting at the direction of the Required DIP Lenders); provided,

that until a new Approved Budget has been so approved, the most recent Approved Budget shall

govern and (b) a variance report (the “Variance Report”) setting forth actual cash receipts and

disbursements and cash flows of the Debtors for the prior Testing Period and setting forth all

disbursement variances, on a line-item basis, from the amount set forth for such period as

compared to the applicable Approved Budget, in each case, for the applicable Testing Period (and

each such Variance Report shall include explanations for all material variances and shall be

certified by the Interim Chief Executive Officer of the Debtors).

         (j)    For purposes hereof, the term “Permitted Variances” shall mean, for (a) the period

commencing on the Petition Date through and including the two week period ending on the second

Friday following the Petition Date and (b) each Friday thereafter (each week commencing on the

Saturday of such week) , but calculated on a rolling 3 week basis to account for timing of payment

variances, unless otherwise agreed by the DIP Agent (the applicable “Testing Period”) (i) any

favorable disbursement variance, and (ii) any unfavorable disbursement variance (other than

disbursements for Professional Fees of the DIP Lenders, the DIP Agent, the Senior Secured

Lenders, the Prepetition Agent and the fees of the Office of the United States Trustee) of no more

than 15% for actual disbursements (on a line-item basis) as compared to the budgeted

disbursements set forth in the Approved Budget with respect to the applicable Testing Period. The

Permitted Variances with respect to each Testing Period shall be determined and reported to the




                                                25
11904184-3
              Case 23-10945-PDR        Doc 82     Filed 02/10/23     Page 26 of 205




DIP Agent and the Prepetition Agent, not later than 5:00 PM (Eastern Standard Time) on each

Wednesday immediately following the end of each such Testing Period. Additional variances, if

any, from the prior Approved Budget, and any proposed changes to the budget, shall be subject to

the approval of the DIP Agent (acting at the direction of the Required DIP Lenders) and the

Prepetition Agent.

         4.    DIP Superpriority Claims. Upon entry of this Interim Order, subject only to the

Carve-Out, pursuant to section 364(c)(1) of the Bankruptcy Code, all of the DIP Obligations shall

constitute allowed superpriority administrative expense claims against each of the Debtors in each

of these Chapter 11 Cases and any Successor Cases (without the need to file any proof of claim)

with priority over any and all claims against the Debtors, now existing or hereafter arising, of any

kind whatsoever, including all administrative expense claims, priority and other unsecured claims

against the Debtors or their estates in any of the Chapter 11 Cases and any Successor Cases,

including, without limitation, administrative expenses or other claims arising under sections 105,

326, 328, 330, 331, 365, 503(b), 506(c), 507(a), 507(b), 546(c), 546(d), 726, 1113 or 1114, and

any other provision of the Bankruptcy Code, as provided under section 364(c)(1) of the Bankruptcy

Code (including the Adequate Protection Obligations), whether or not such expenses or claims

may become secured by a judgment lien or other non-consensual lien, levy or attachment, which

allowed claims (the “DIP Superpriority Claims”) shall for purposes of section 1129(a)(9)(A) of

the Bankruptcy Code be considered administrative expenses allowed under section 503(b) of the

Bankruptcy Code, and which DIP Superpriority Claims shall be payable from and have recourse

to all pre- and postpetition property of the Debtors and all proceeds thereof (including, subject to

entry of a Final Order, the Debtors’ claims and causes of action under sections 502(d), 544, 545,

547, 548 and 550 of the Bankruptcy Code, or any other avoidance actions under the Bankruptcy




                                                26
11904184-3
               Case 23-10945-PDR        Doc 82      Filed 02/10/23     Page 27 of 205




Code and the proceeds thereof (collectively, the “Avoidance Actions/Proceeds”). The DIP

Superpriority Claims shall be entitled to the full protection of section 364(e) of the Bankruptcy

Code in the event that this Interim Order or any provision hereof is vacated, reversed or modified,

on appeal or otherwise.

         5.     DIP Liens.     As security for the DIP Obligations, effective and perfected

immediately upon entry of this Interim Order and without the necessity of the execution,

recordation of filings by the Debtors of mortgages, security agreements, control agreements,

pledge agreements, financing statements or other similar documents, any notation of certificates

of title for a titled good, or the possession or control by the DIP Agent or DIP Lenders of, or over,

any DIP Collateral, the following continuing, valid, binding, enforceable, non-avoidable, and

automatically and properly perfected postpetition first priority security interests and liens are

hereby granted to the DIP Agent, for the benefit of the DIP Lenders (all presently owned and

hereafter acquired property identified in clauses (a), (b) and (c) below being collectively referred

to as the “DIP Collateral”, and all such liens and security interests granted to the DIP Agent, for

the benefit of the DIP Lenders, pursuant to this Interim Order and the DIP Documents, the “DIP

Liens”):

         (a)    First Lien on Unencumbered Property. Subject only to the Carve-Out, pursuant to

section 364(c)(2) of the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-

perfected first priority senior security interest in and lien upon all tangible and intangible pre- and

postpetition property of the Debtors, whether existing on the Petition Date or thereafter acquired,

that, on or as of the Petition Date, is not subject to a valid, perfected and non-avoidable lien

(collectively, “Unencumbered Property”), including any and all unencumbered cash of the

Debtors and any investment of such cash, cash equivalents, inventory, accounts receivable, other




                                                  27
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23     Page 28 of 205




rights to payment whether arising before or after the Petition Date, contracts, properties, plants,

fixtures, machinery, equipment, general intangibles, documents, instruments, securities, chattel

paper, interests in leaseholds, real properties, deposit accounts, patents, copyrights, trademarks,

trade names, rights under license agreements and other intellectual property, capital stock of

subsidiaries, wherever located, and the proceeds, products, rents and profits, in each case, with

respect to any and all of the foregoing, whether arising under section 552(b) of the Bankruptcy

Code or otherwise, including, subject to entry of a Final Order, the Avoidance Actions/Proceeds;

         (b)    Priming Liens on Prepetition Collateral. Subject only to the Carve-Out and any

existing liens that under applicable law, are senior to, and have not been subordinated to, the liens

of the DIP Agent under the DIP Loan Documents, but only to the extent that such liens are valid,

perfected, enforceable and non-avoidable liens as of the Petition Date or perfected following the

Petition Date as permitted by section 546 of the Bankruptcy Code (such liens, the “Senior Liens”),

pursuant to section 364(d)(1) of the Bankruptcy Code, a valid, binding, continuing, enforceable,

fully-perfected first priority senior priming security interest in and lien upon all pre- and

postpetition property of the Debtors (including any and all cash, cash equivalents and Cash

Collateral and any investment of such cash, cash equivalents and Cash Collateral, inventory,

accounts receivable, other rights to payment whether arising before or after the Petition Date

(including post-petition intercompany claims against any Debtor), contracts, properties, plants,

fixtures, machinery, equipment, general intangibles, documents, instruments, securities, chattel

paper, interests in leaseholds, real properties, deposit accounts, patents, copyrights, trademarks,

trade names, rights under license agreements and other intellectual property, capital stock of

subsidiaries, wherever located, and the proceeds, products, rents and profits of any and all of the

foregoing), whether now existing or hereafter acquired, that is subject to the Prepetition Secured




                                                 28
11904184-3
               Case 23-10945-PDR       Doc 82      Filed 02/10/23     Page 29 of 205




Liens, which lien shall be senior in all respects to such Prepetition Secured Liens. Such security

interests and liens shall be senior in all respects to the interests in such property of the Senior

Secured Lenders arising from current and future liens of the Senior Secured Lenders (including

the Adequate Protection Liens granted hereunder);

         (c)    DIP Liens Junior to Certain Other Liens. Subject only to the Carve-Out, pursuant

to section 364(c)(3) of the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-

perfected junior security interest in and lien upon all tangible and intangible pre- and postpetition

property of the Debtors subject to Senior Liens; and

         (d)    DIP Liens Senior to Certain Other Liens. The DIP Liens shall not be (i) subject or

subordinate to (a) any lien or security interest that is avoided and preserved for the benefit of the

Debtors and their estates under section 551 of the Bankruptcy Code, (b) unless otherwise provided

for in the DIP Documents or in this Interim Order, any liens or security interests arising after the

Petition Date, including any liens or security interests granted in favor of any federal, state,

municipal or other governmental unit (including any regulatory body), commission, board or court

for any liability of the Debtors, (c) any intercompany or affiliate liens of the Debtors, or (d) any

orders of attachment or judicial liens; or (ii) subordinated to or made pari passu with any other

lien or security interest under section 363 or 364 of the Bankruptcy Code heretofore or hereinafter

granted in these Chapter 11 Cases or any Successor Cases and shall be valid and enforceable

against any trustee appointed in the Chapter 11 Cases or any Successor Cases and/or upon the

dismissal of any of the Chapter 11 Cases or Successor Cases. The DIP Liens shall not be subject

to sections 510, 549 or 550 of the Bankruptcy Code.

         6.     Use of Cash Collateral. The Debtors are hereby authorized, subject to the terms

and conditions of this Interim Order, the DIP Facility and the other DIP Documents and in




                                                 29
11904184-3
               Case 23-10945-PDR        Doc 82      Filed 02/10/23     Page 30 of 205




accordance with the Approved Budget, to use all Cash Collateral; provided, that (a) the Senior

Secured Lenders are granted the adequate protection as hereinafter set forth and (b) except on the

terms and conditions of this Interim Order, the Debtors shall be enjoined and prohibited from at

any times using the Cash Collateral absent further order of the Court.

         7.     Adequate Protection of Senior Secured Lenders. The Senior Secured Lenders are

entitled, pursuant to sections 361, 362, 363(e), 364(d)(1) and 507 of the Bankruptcy Code, to

adequate protection of their interests in all Prepetition Collateral, including the Cash Collateral, in

an amount equal to the aggregate diminution in the value, if any, of the Senior Secured Lenders’

interests in the Prepetition Collateral (including Cash Collateral) from and after the Petition Date,

for any reason provided for under the Bankruptcy Code, including any such diminution resulting

from the depreciation, sale, lease or use by the Debtors (or other decline in value) of the Prepetition

Collateral (including Cash Collateral), the priming of the Senior Secured Lenders’ security

interests and liens on the Prepetition Collateral (including Cash Collateral) by the DIP Lenders

pursuant to the DIP Documents and this Interim Order, and the imposition of the automatic stay

pursuant to section 362 of the Bankruptcy Code (the “Adequate Protection Claim”).                   In

consideration of the foregoing, the Senior Secured Lenders, as applicable, shall receive the

following (collectively, the “Adequate Protection Obligations”):

         (a)    Adequate Protection Liens.      The Senior Secured Lenders are hereby granted

(effective and perfected and without the necessity of the execution of any mortgages, security

agreements, pledge agreements, financing statements or other agreements), in the amount of the

Adequate Protection Claim, a valid, binding, enforceable, non-avoidable and automatically and

properly perfected replacement security interest in and lien upon all of the DIP Collateral including

all Unencumbered Property upon the date of this Interim Order and, upon entry of a Final Order,




                                                  30
11904184-3
               Case 23-10945-PDR      Doc 82     Filed 02/10/23     Page 31 of 205




including the Avoidance Actions/Proceeds, in each case subject and subordinate only to (i) the

DIP Liens and any liens to which the DIP Liens are junior, including the Senior Liens, if any, and

(ii) the Carve-Out (the “Adequate Protection Liens”). Except as provided herein, the Adequate

Protection Liens shall not be made subject to, or pari passu with, any lien or security interest

heretofore or hereinafter granted in the Chapter 11 Cases or any Successor Cases, and shall be

valid and enforceable against any trustee appointed in any of the Chapter 11 Cases or any

Successor Cases, or upon the dismissal of any of the Chapter 11 Cases or Successor Cases. The

Adequate Protection Liens shall not be subject to sections 510, 549 or 550 of the Bankruptcy Code.

No lien or interest avoided and preserved for the benefit of the estate pursuant to section 551 of

the Bankruptcy Code shall be pari passu with or senior to the Adequate Protection Liens.

         (b)    Adequate Protection Section 507(b) Claim. The Senior Secured Lenders are hereby

granted, subject to the DIP Superpriority Claims and the Carve-Out, an allowed superpriority

administrative expense claim in each of the Chapter 11 Cases and any Successor Cases as provided

for in section 507(b) of the Bankruptcy Code in the amount of the Adequate Protection Claim with,

except as set forth in this Interim Order, priority in payment over any and all administrative

expenses of the kind specified or ordered pursuant to any provision of the Bankruptcy Code (other

than the DIP Superpriority Claims) (the “Adequate Protection 507(b) Claim”), which Adequate

Protection 507(b) Claim shall have recourse to and be payable from all of the DIP Collateral in

accordance with the priorities set forth herein, including, upon entry of a Final Order, the

Avoidance Actions/Proceeds. Except to the extent expressly set forth in this Interim Order or the

DIP Documents, the Senior Secured Lenders shall not receive or retain any payments, property or

other amounts in respect of the Adequate Protection 507(b) Claim unless and until the DIP

Obligations (other than contingent indemnification obligations as to which no claim has been




                                               31
11904184-3
               Case 23-10945-PDR        Doc 82      Filed 02/10/23     Page 32 of 205




asserted) and any claims having a priority superior to or pari passu with the DIP Superpriority

Claims, including claims that benefit from the Carve-Out, have been indefeasibly paid in full and

all DIP Commitments have been terminated.

         (c)    Adequate Protection Payments. As further adequate protection, the Debtors are

authorized and directed to pay, in accordance with the terms of paragraph 14 of this Interim Order,

all reasonable and documented out-of-pocket fees and expenses (the “Adequate Protection

Fees”), whether incurred before or after the Petition Date, including all reasonable and documented

out-of-pocket fees and expenses of the Senior Secured Parties and for the counsel and other

professionals retained as provided for in the Senior Secured Loan Documents and this Interim

Order; provided, that, immediately upon entry of this Interim Order, the Debtors are authorized

and directed to pay all such Adequate Protection Fees incurred prior to and including the Petition

Date that remain outstanding upon entry of this Interim Order to the Prepetition Agent and/or the

Senior Secured Lenders, as applicable. None of the Adequate Protection Fees shall be subject to

separate approval by this Court or the U.S. Trustee Guidelines, and no recipient of any such

payment shall be required to file any interim or final fee application with respect thereto or

otherwise seek the Court’s approval of any such payments.

         (d)    Adequate Protection Reservation. Nothing herein shall impair or modify the

application of section 507(b) of the Bankruptcy Code in the event that the adequate protection

provided to the Senior Secured Lenders is insufficient to compensate for any diminution in value

of their respective interests in the Prepetition Collateral during the Chapter 11 Cases or any

Successor Cases. The receipt by the Senior Secured Lenders of the adequate protection provided

for herein shall not be deemed an admission that the interests of the Senior Secured Lenders are

adequately protected. Further, this Interim Order shall not prejudice or limit the rights of the Senior




                                                  32
11904184-3
              Case 23-10945-PDR          Doc 82     Filed 02/10/23      Page 33 of 205




Secured Lenders to seek additional relief with respect to the use of Cash Collateral or for additional

adequate protection in a manner consistent with the Senior Secured Loan Documents.

         8.     Application of Proceeds of Collateral. As a condition to entry into the DIP Loan

Agreement, the extension of funds under the DIP Facility and authorization to use Cash Collateral,

the Debtors, the DIP Lenders, and the Senior Secured Lenders, in their respective capacities, have

agreed that as of and commencing on the date of entry of this Interim Order (and the date of entry

of the Final Order, if entered), and to the extent set forth herein and therein, the Debtors shall apply

the proceeds of DIP Collateral and Prepetition Collateral solely in accordance with this Interim

Order (and the Final Order, if entered), the DIP Documents, the Senior Secured Loan Documents,

and the Approved Budget.

         9.     Milestones. As a condition to the use of the DIP Facility and Cash Collateral, and

as further adequate protection to the Senior Secured Lenders, the DIP Lenders and Senior Secured

Lenders are hereby entitled to performance of the following milestones by the dates set forth below

(or such later date as may be agreed by the DIP Agent (acting at the direction of the Required DIP

Lenders) and the Prepetition Agent, in their respective capacities) (the “Milestones”), and for the

avoidance of doubt, absent the consent of the DIP Lenders, the failure of the Debtors to comply

with any of the Milestones shall constitute an immediate Event of Default under the DIP Loan

Agreement and this Interim Order and permit the DIP Agent (at the direction of the Required DIP

Lenders) and the Prepetition Agent to exercise their respective rights and remedies provided for

in this Interim Order and the DIP Documents:

                      a.     No later than five (5) business days after the Petition Date, the
                Bankruptcy Court shall have entered the Interim Order;

                        b.     No later than ten (10) business days after the Petition Date, the
                Debtors shall have filed a disclosure statement and corresponding liquidating plan
                (the “Liquidating Plan”);



                                                  33
11904184-3
               Case 23-10945-PDR        Doc 82      Filed 02/10/23     Page 34 of 205




                       c.     No later than twenty-eight (28) calendar days after the Petition Date,
                the Bankruptcy Court shall have entered the Final DIP Order;

                       d.      The Debtors shall establish a date that is no later than forty-five (45)
                calendar days after the Petition Date as the deadline for the submission of binding
                bids with respect to the assets and operations related to the Sellers under the subject
                Asset Purchase Agreement ((i)-(v) collectively, the “Acquired Assets”);

                       e.      No later than fifty (50) calendar days after the Petition Date, the
                Debtors shall commence an auction for the Acquired Assets, in accordance with the
                Bid Procedures; provided that if there is no higher or better offer submitted in
                comparison to the stalking horse bid(s), no auction shall be held;

                      f.     No later than fifty-five (57) calendar days after the Petition Date, the
                Bankruptcy Court shall have entered an order approving the disclosure statement;

                       g.      No later than fifty-seven (57) calendar days after the Petition Date,
                the Bankruptcy Court shall have entered an order (which shall be in form and
                substance acceptable to Required DIP Lenders) approving the winning bid resulting
                from the sale of the Acquired Assets;

                        h.      Consummation of the sale of the Acquired Assers, shall occur no
                later than the date that is seventy-two (72) calendar days after the Petition Date;

                      i.     No later than ninety-five (95) days after the Petition Date, the
                Bankruptcy Court shall have entered an order confirming the Liquidating Plan; and

                       j.      No later than one-hundred (100) days after the Petition Date, the
                Liquidating Plan Effective Date shall have occurred.

         10.    Events of Default. With respect to (a) the DIP Lenders and the DIP Facility or (b)

the Senior Secured Lenders and the Debtors’ use of Cash Collateral, for purposes of this Interim

Order, an “Event of Default” means an “Event of Default” as defined in the DIP Loan Agreement

and as expressly provided for in this Interim Order. Notwithstanding anything in this Interim

Order, following an Event of Default, the Senior Secured Lenders shall be stayed from enforcing

any rights and remedies under this Interim Order unless and until the DIP Agent has delivered a

Trigger Notice (as defined below) and has complied with its obligations in connection with the

issuance thereof or consents to such enforcement.




                                                  34
11904184-3
               Case 23-10945-PDR       Doc 82     Filed 02/10/23    Page 35 of 205




         11.    Remedies Upon Event of Default. The automatic stay provisions of section 362 of

the Bankruptcy Code are hereby modified to the extent necessary to permit the DIP Agent (acting

at the direction of the Required DIP Lenders) and the Prepetition Agent (as applicable) to enforce

all of their respective rights under the DIP Documents and the Senior Secured Loan Documents,

as applicable, and (a) immediately upon the occurrence of an Event of Default, declare (i) the

termination, reduction or restriction of Cash Collateral and any further DIP Commitments to the

extent any such DIP Commitment remains in effect, (ii) all DIP Obligations to be immediately due

and payable, without presentment, demand, protest, or other notice of any kind, all of which are

expressly waived by the Debtors, (iii) the termination of the DIP Facility and the DIP Documents

as to any future liability or obligations of the DIP Agent and DIP Lenders, but without affecting

any of the DIP Liens or the DIP Obligations and (iv) that the application of the Carve-Out has

occurred following delivery of the Trigger Notice to the Debtors in accordance with paragraph 15

herein and (b) upon the occurrence of an Event of Default and the giving of five (5) Business Days’

prior written notice (the “Remedies Notice Period”) (which shall run concurrently with any notice

required to be provided under the DIP Documents or Senior Secured Loan Documents) via email

to counsel to the Debtors, counsel to the official committee of unsecured creditors (the

“Committee”) (if any), and the U.S. Trustee to (i) immediately terminate consent to the Debtors’

continued use of Cash Collateral and/or the DIP Facility and (ii) exercise all other rights and

remedies provided for in the DIP Documents, Senior Secured Loan Documents, and under

applicable law; provided that nothing in the preceeding sentence shall prejudice the Debtors from

seeking a determination by the Bankruptcy Court that an Event of Default has not occurred.

Notwithstanding anything in this Interim Order, during the Remedies Notice Period, the Debtors

may only use Cash Collateral with the express written consent of the DIP Lenders and the Senior




                                                35
11904184-3
             Case 23-10945-PDR           Doc 82      Filed 02/10/23      Page 36 of 205




Secured Lenders in their respective capacities. For the avoidance of doubt, interest, including,

where applicable, default interest, shall accrue and be paid as set forth in the DIP Documents upon

the occurrence and during the continuation of an Event of Default. In any hearing regarding any

exercise of rights or remedies under the Senior Secured Loan Documents or the DIP Documents,

the only issues that may be raised by the Debtors and any other parties in opposition thereto shall

be whether, in fact, an Event of Default has occurred and is continuing, and the Debtors and any

other parties in interest hereby waive their right to and shall not be entitled to seek relief, including

under section 105 of the Bankruptcy Code, to the extent that such relief would in any way impair

or restrict the rights and remedies of the DIP Lenders or the Senior Secured Lenders set forth in

this Interim Order, the DIP Documents, or the Senior Secured Loan Documents. For clarity,

notwithstanding anything to the contrary in this paragraph or Order, prior to the DIP Lenders’

enforcement of remedies, the Debtors shall have the right within the Remedies Notice Period to

challenge the existence or occurrence of an Event of Default (and no other matters) by seeking

emergency relief from the Bankruptcy Court. If the Bankruptcy Court finds that an Event of

Default has occurred, the DIP Lenders’ right to enforce the remedies provided in the Interim DIP

Order and in the DIP Lenders’ Credit Agreement is subject to the DIP Lenders satisfying their

obligations occasioned by the issuance of a Trigger Notice, namely, to fund the Trigger Notice

Cap in the amount of $250,000 for Allowed Professional Fees of Debtor Professionals and $50,000

for Allowed Professional Fees of Committee Professionals. No rights, protections or remedies of

the DIP Secured Parties and the Senior Secured Parties granted by the provisions of this Interim

Order, the DIP Documents, or Senior Secured Loan Documents shall be limited, modified or

impaired in any way by: (a) any actual or purported withdrawal of the consent of any party to the

Debtors’ authority to continue to use Cash Collateral; (b) any actual or purported termination of




                                                   36
11904184-3
               Case 23-10945-PDR         Doc 82      Filed 02/10/23      Page 37 of 205




the Debtors’ authority to continue to use Cash Collateral; or (c) except as provided herein or in the

Final Order, the terms of any other order or stipulation related to the Debtors’ continued use of

Cash Collateral or the provision of adequate protection to any party.

         12.    No Marshaling. Neither the DIP Lenders nor the Senior Secured Lenders shall be

subject to (a) the equitable doctrine of “marshaling” or any similar doctrine with respect to the DIP

Collateral or Prepetition Collateral, as applicable, or (b) the “equities of the case” exception in

section 552(b) of the Bankruptcy Code.

         13.    Effect of Stipulations on Third Parties. The Debtors’ stipulations, admissions,

releases, and agreements contained in this Interim Order, including in paragraphs D and E of this

Interim Order, shall be binding upon the Debtors and any successor thereto (including any chapter

7 or chapter 11 trustee or examiner appointed or elected for the Debtors) in all circumstances and

for all purposes. The Debtors’ stipulations, admissions, releases, and agreements contained in this

Interim Order, including in paragraphs D and E of this Interim Order, shall be binding upon all

other parties in interest, including any statutory or non-statutory committees appointed or formed

in the Chapter 11 Cases or any Successor Cases (including the Committee, if any) and any other

person or entity acting or seeking to act on behalf of the Debtors’ estates, including any chapter 7

or chapter 11 trustee or examiner appointed or elected for the Debtors, in all circumstances and for

all purposes unless, and only to the extent that: (a) such committee, or any other party in interest,

with requisite standing (subject in all respects to any agreement or applicable law that may limit

or affect such entity’s right or ability to do so), has timely filed an adversary proceeding or

contested matter (subject to the limitations contained herein, including, among others, in this

paragraph 13) by the earlier of (i) (x) with respect to parties in interest with requisite standing other

than the Committee (if any), sixty (60) calendar days after entry of this Interim Order and (y) with




                                                   37
11904184-3
             Case 23-10945-PDR          Doc 82      Filed 02/10/23     Page 38 of 205




respect to the Committee, sixty (60) calendar days after the appointment of the Committee, if any

and (ii) two (2) Business Days prior to any sale hearing approving the sale of the Debtors’ assets

pursuant to the bidding procedures to be approved by the Court (the time period established by the

foregoing clauses (i) and (ii), the “Challenge Period”), (A) objecting to or challenging the

amount, validity, perfection, enforceability, priority or extent of any of the Senior Secured Loan

Obligations or the Prepetition Secured Liens, or (B) otherwise asserting or prosecuting any action

for preferences, fraudulent transfers or conveyances, other avoidance power claims or any other

claims, counterclaims or causes of action, objections, contests or defenses (collectively,

the “Challenges”) against either the Senior Secured Lenders or their respective Representatives in

connection with matters related to the Senior Secured Loan Documents, the Senior Secured Loan

Obligations, the Prepetition Secured Liens and the Prepetition Collateral; and (b) there is a final

non-appealable order in favor of the plaintiff sustaining any such Challenge in any such timely

filed adversary proceeding or contested matter; provided, however, that any pleadings filed in

connection with any Challenge shall set forth with specificity the basis for such Challenge or claim

and any Challenges or claims not so specified before the expiration of the Challenge Period shall

be deemed forever, waived, released and barred; provided, further, that the timely filing of a

motion seeking standing to file a Challenge before the expiration of the Challenge Period, which

attaches a draft complaint setting forth the legal and factual bases of the proposed Challenge, shall

toll the Challenge Period only as to the party that timely filed such standing motion until such

motion is resolved or adjudicated by the Court. If (a) no such Challenge is timely and properly

filed during the Challenge Period, or (b) the Court does not rule in favor of the plaintiff in any such

proceeding then, for all purposes in these Chapter 11 Cases and any Successor Cases (and after

the dismissal of these Chapter 11 Cases or any Successor Cases): (i) the Debtors’ stipulations,




                                                  38
11904184-3
             Case 23-10945-PDR          Doc 82     Filed 02/10/23      Page 39 of 205




admissions, releases, and agreements contained in this Interim Order, including those contained in

paragraphs D and E of this Interim Order, shall be binding on all parties in interest, including the

Committee (if any); (ii) the obligations of the Debtors under the Senior Secured Loan Documents,

including the Senior Secured Loan Obligations, shall constitute allowed claims (without the need

to file a proof of claim) not subject to defense, claim, counterclaim, recharacterization,

subordination, offset or avoidance, for all purposes in the Chapter 11 Cases and any Successor

Cases; (iii) the Prepetition Secured Liens on the Prepetition Collateral shall be deemed to have

been, as of the Petition Date, legal, valid, binding, properly perfected, security interests and liens

on the Prepetition Collateral, not subject to recharacterization, subordination, avoidance or other

defense; and (iv) the Senior Secured Loan Obligations and the Prepetition Secured Liens on the

Prepetition Collateral shall not be subject to any other or further claim or challenge by the

Committee (if any), any non-statutory committees appointed or formed in the Chapter 11 Cases or

any Successor Cases or any other party in interest acting or seeking to act on behalf of the Debtors’

estates, including any successor thereto (including any chapter 7 trustee or chapter 11 trustee or

examiner appointed or elected for the Debtor) and any defenses, claims, causes of action,

counterclaims and offsets by the Committee (if any), any non-statutory committees appointed or

formed in the Chapter 11 Cases or any Successor Cases, or any other party acting or seeking to act

on behalf of the Debtors’ estates, including any successor thereto (including any chapter 7 trustee

or chapter 11 trustee or examiner appointed or elected for the Debtor), whether arising under the

Bankruptcy Code or otherwise, against the Senior Secured Lenders and their Representatives

arising out of or relating to any of the Senior Secured Loan Documents shall be deemed forever

waived, released and barred. If any such Challenge is timely filed during the Challenge Period,

the stipulations, admissions, releases, and agreements contained in this Interim Order, including




                                                 39
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23     Page 40 of 205




those contained in paragraphs D and E of this Interim Order, shall nonetheless remain binding and

preclusive (as provided in the second sentence of this paragraph) on any statutory or nonstatutory

committee appointed or formed in the Chapter 11 Cases or any Successor Cases, including the

Committee (if any), and on any other person or entity, except to the extent that such stipulations,

admissions, releases, and agreements were expressly and successfully challenged in such

Challenge as set forth in a final, non-appealable order of a court of competent jurisdiction. The

Challenge Period may be extended only (i) with respect to the Prepetition Credit Facility, with the

consent of the Prepetition Agent or (ii) by order of the Court for good cause shown. Nothing in

this Interim Order vests or confers on any Person (as defined in the Bankruptcy Code), including

the Committee (if any) or any non-statutory committees appointed or formed in the Chapter 11

Cases or any Successor Cases, standing or authority to pursue any claim or cause of action

belonging to the Debtors or their estates, including Challenges with respect to the Senior Secured

Loan Documents, the Senior Secured Loan Obligations, or the Prepetition Secured Liens. The

failure of any party in interest, including the Committee (if any), to obtain an order of this Court

prior to the termination of the Challenge Period granting standing to bring any Challenge on behalf

of the Debtors’ estates shall not be a defense to failing to commence a Challenge prior to the

termination of the Challenge Period as required under this paragraph 13 or to require or permit an

extension of the Challenge Period. For the avoidance of doubt, the investigation and Challenge

rights afforded to the Committee (if any) and any other party-in-interest hereunder shall not be

deemed a recognition, consent or agreement not to object to such Committee’s or party-in-

interest’s, as applicable, standing to assert any such claim or cause of action.

         14.    Fees & Expenses. The Debtors are authorized and directed, without any further

order of this Court, to pay any and all reasonable and documented fees and expenses of the DIP




                                                 40
11904184-3
             Case 23-10945-PDR         Doc 82      Filed 02/10/23     Page 41 of 205




Lenders, the DIP Agent, the Senior Secured Lenders and the Prepetition Agent in connection with

the DIP Financing, the Chapter 11 Cases and the Adequate Protection Obligations, as applicable,

including the fees and expenses of attorneys, advisors, accountants and other consultants and

professionals (the “Lender Professionals”), whether incurred before, on or after the Petition Date

and whether or not the transactions contemplated hereby are consummated, including, but not

limited to fees and expenses incurred in connection with (a) the preparation, negotiation and

execution of the DIP Orders, the DIP Documents, and the Adequate Protection Obligations; (b)

the creation, perfection or protection of the DIP Liens, the Prepetition Secured Liens and the

Adequate Protection Liens (including all search, filing and recording fees); (c) the on-going

administration of the DIP Documents (including the preparation, negotiation and execution of any

amendments, consents, waivers, assignments, restatements or supplements thereto) and the

Chapter 11 Cases and any Successor Cases (including the filing of any proofs of claim); (d) the

enforcement of the DIP Documents, the DIP Orders, the Senior Secured Loan Documents or the

Adequate Protection Obligations; and (e) any legal proceeding relating to or arising out of the DIP

Facilities or the other transactions contemplated by the DIP Documents and the DIP Orders,

including the Chapter 11 Cases and credit bid of the DIP Obligations and/or the Senior Secured

Loan Documents and the Senior Secured Loan Obligations. The Lender Professionals shall not be

required to comply with the United States Trustee fee guidelines or submit invoices to this Court,

the Committee (if any) or any other party in interest. Solely with respect to any fees and expenses

of the Lender Professionals incurred on or subsequent to the Petition Date, the Lender

Professionals, if requested, shall forward copies of summary invoices submitted to the Debtors to

the U.S. Trustee, counsel for the Committee (if any) and such other parties as this Court may direct.

The summary invoices shall be sufficiently detailed to enable a determination as to the




                                                 41
11904184-3
             Case 23-10945-PDR         Doc 82     Filed 02/10/23     Page 42 of 205




reasonableness of such fees and expenses; provided, however, that such summary invoices shall

not be required to contain time entries and may be redacted to the extent necessary to protect any

information subject to the attorney-client privilege or of any benefits of the attorney work product

doctrine or other applicable privilege. If the Debtors, U.S. Trustee or the Committee (if any)

objects to the reasonableness of the fees and expenses of any of the Lender Professionals and

cannot resolve such objection within ten (10) Business Days of receipt of such invoices (the

“Review Period”), then the Debtors, United States Trustee, or the Committee (if any), as the case

may be, shall file with this Court and serve on such Lender Professional an objection (the “Fee

Objection”), and any failure by any such party to file a Fee Objection within the Review Period

shall constitute a waiver of any right of such party to object to the applicable invoice.

Notwithstanding any provision herein to the contrary, any objection to, and any hearing on an

objection to, payment of any fees, costs, and expenses set forth in a professional fee invoice in

respect of a Lender Professional shall be limited to the reasonableness of the particular items or

categories of the fees, costs, and expenses that are the subject of such objection. If no written

objection is received by 12:00 PM (Eastern Standard Time), on the end date of the Review Period,

the Debtors shall pay such invoices promptly and in no event later than one (1) Business Day

thereafter. If an objection to a Lender Professional’s invoice is received within the Review Period,

the Debtors shall promptly pay the undisputed amount of the invoice, and in no event later than

two (2) Business Days of such request, and the Court shall have jurisdiction to determine the

disputed portion of such invoice if the parties are unable to resolve the dispute consensually. Such

reasonable and documented fees and expenses paid by the Debtors in accordance with this

paragraph 14 shall not be subject to any offset, defense, claim, counterclaim or diminution of any

type, kind or nature whatsoever.




                                                42
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23     Page 43 of 205




         15.    Carve-out.

         (a)    For purposes hereof, the “Carve-Out” is an amount equal to the sum of (i) all fees

required to be paid to the clerk of the Court and to the Office of the United States Trustee under

section 1930(a) of title 28 of the United States Code; (ii) all reasonable fees and expenses incurred

by a chapter 7 trustee, if any, under section 726(b) of the Bankruptcy Code in an amount not to

exceed $25,000; (iii) all accrued and unpaid fees and expenses or otherwise of persons or firms

retained by the Debtors pursuant to sections 327, 328 or 363 of the Bankruptcy Code (the “Debtor

Professionals”) to the extent allowed at any time (collectively, the “Allowed Debtor Professional

Fees”); (iv) all accrued and unpaid hourly fees and expenses to the extent allowed at any time

(collectively, the “Allowed Committee Professional Fees” and together with the Allowed Debtor

Professional Fees, each of which shall be strictly subject to the Approved Budget and the line items

applicable to such Professional Persons (as defined below) and not subject to the Permitted

Variances unless consented to by the DIP Agent (acting at the direction of the Required DIP

Lenders) and the Pre-Petition Agent, the “Allowed Professional Fees”) of persons or firms

retained by the Committee (if any) in the Chapter 11 Cases or any Successor Cases pursuant to

section 1103 of the Bankruptcy Code (the “Committee Professionals, together with the Debtor

Professionals, the “Professional Persons”), incurred at any time on or before the Debtors’ receipt

of the Trigger Notice (as defined below); and (v) Allowed Professional Fees incurred after the

Debtors’ receipt of the Trigger Notice in an amount not to exceed $250,000 (the “Debtor Trigger

Notice Cap”) with respect to the Debtor Professionals and $50,000 with respect to the Committee

and Committee Professionals (if any) (“Committee Trigger Notice Cap”, together with the

Debtor Trigger Notice Cap, the “Trigger Notice Cap”) (collectively, (i)-(v), the “Carve-Out

Cap”), in each case subject to the limits imposed by this Interim Order, the Final Order (if and




                                                 43
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23      Page 44 of 205




when entered), the Approved Budget, or otherwise, on Allowed Professional Fees permitted to be

incurred, including in connection with any permitted investigation of the claims, liens, and

defenses against the Senior Secured Lenders; provided, however, nothing herein shall be construed

to impair the ability of any party to object to the fees, expenses, reimbursement or compensation

described in clauses (i), (ii), (iii), (iv) and (v) above on any other grounds. “Trigger Notice” shall

mean a written notice delivered by email (or other electronic means) by the DIP Agent (acting at

the direction of the Required DIP Lenders) or the Prepetition Agent, as applicable, to the Debtors,

their restructuring counsel, the U.S. Trustee, and counsel to the Committee (if any), which notice

shall be delivered following (i) the occurrence and during the continuation of an Event of Default

and (ii) acceleration of the DIP Obligations under the DIP Facility, stating that the Carve-Out Cap

has been invoked and that the Debtors’ ability to pay the Allowed Professional Fees is subject to

and limited by the Carve-Out.

         (b)    On a weekly basis, the Debtors shall fund from borrowings under the DIP Facility

into segregated trust account(s) at Debtors’ counsel’s law firm, Berger Singerman, LLP, for the

benefit of the Professional Persons, an amount equal to the sum of the total weekly fees of

Professional Persons for such week subject to the Approved Budget (the “Funded Reserve

Account”). For the avoidance of doubt, the DIP Lenders shall have no obligation to fund aggregate

fees and expenses in excess of (i) the amounts set forth in the Approved Budget or (ii) the DIP

Commitments. The Debtors shall use funds held in the Funded Reserve Account exclusively to

pay Allowed Professional Fees as they become allowed and payable pursuant to the Bankruptcy

Code, the Federal Rules of Bankruptcy Procedure, the Local Rules, and any interim or final orders

of the Bankruptcy Court; provided that no Allowed Professional Fees shall be paid from the

Funded Reserve Account in excess of the applicable line items in the Approved Budget unless




                                                 44
11904184-3
               Case 23-10945-PDR          Doc 82      Filed 02/10/23      Page 45 of 205




consented to by the DIP Agent (acting at the direction of the Required DIP Lenders) and the Pre-

Petition Agent. Notwithstanding anything to the contrary herein, funds transferred to the Funded

Reserve Account shall remain DIP Collateral until paid to the applicable Professional Person in

accordance with this paragraph 15.

         (c)    Upon the day on which a Trigger Notice is delivered by the DIP Lenders to the

Debtors, the Trigger Notice shall (i) be deemed a request by the Debtors for, and the DIP Lenders

shall fund, DIP Loans under the DIP Facility, in an amount equal to the Carve-Out Cap (less any

amounts already funded into the Funded Reserve Account) (any such amounts actually advanced

shall constitute DIP Loans); and (ii) constitute a demand to the Debtors to utilize all cash on hand

as of such date and any available cash thereafter held by any Debtor to fund a reserve in an amount

equal to the Carve-Out Cap (less any amounts already funded into the Funded Reserve Account).

The Debtors shall deposit and hold such amounts in the Funded Reserve Account to pay such then

unpaid Allowed Professional Fees benefiting from the Carve-Out Cap prior to any and all other

claims and none of the funds deposited in the Funded Reserve Account shall be subject to claims

of (i) the Debtors, (ii) creditors of the Debtors, or (iii) any chapter 7 or chapter 11 trustee hereinafter

appointed or elected for the estates of the Debtors, an examiner appointed pursuant to section 1104

of the Bankruptcy Code, or any other fiduciary appointed as a legal representative of the Debtors

or with respect to the property of the estates of the Debtor; provided, however, that funds in the

Funded Reserve Account shall remain DIP Collateral until paid to the applicable Professional

Person in accordance with this paragraph 15.

         (d)    Notwithstanding any restriction on the Debtors’ use of Cash Collateral, unless

consented to by the DIP Agent (at the direction of the Required DIP Lenders), all funds in the

Funded Reserve Account, other than any amounts on account of the Trigger Notice Cap, shall be




                                                    45
11904184-3
             Case 23-10945-PDR           Doc 82     Filed 02/10/23      Page 46 of 205




used first to pay the obligations set forth in clauses (i) through (iv) of the definition of Carve-Out

set forth above (the “Pre-Carve-Out Amounts”) until paid in full, and then, to the extent such

Pre-Carve-Out Amounts have not been reduced to zero, to pay the DIP Lenders, unless the DIP

Obligations have been Paid in Full and all DIP Commitments have been terminated, in which case

any such excess Pre-Carve-Out Amounts shall be paid to the Senior Secured Lenders.

Notwithstanding any restriction on the Debtors’ use of Cash Collateral, unless consented to by the

DIP Agent (at the direction of the Required DIP Lenders), following the delivery of a Trigger

Notice, all funds in the Funded Reserve Account on account of the Trigger Notice Cap shall be

used first to pay the obligations set forth in clause (v) of the definition of Carve-Out set forth above

(the “Post-Carve-Out Amounts”), and then, to the extent the such Post-Carve-Out Amounts have

not been reduced to zero, to pay the DIP Lenders, unless the DIP Obligations have been Paid in

Full and all DIP Commitments have been terminated, in which case any such excess Post-Carve-

Out Amounts shall be paid to the Senior Secured Lenders. Notwithstanding anything to the

contrary in the DIP Documents or this Interim Order, if there are not enough funds in the Funded

Reserve Account to pay the Post-Carve-Out Amounts in full following the delivery of a Trigger

Notice, then any excess funds following the payment of the Pre-Carve-Out Amounts shall be used

to satisfy the Post-Carve Out Amounts prior to making any payments to the DIP Lenders or the

Senior Secured Lenders, as applicable. Further, notwithstanding anything to the contrary in this

Interim Order, (i) disbursements by the Debtors from the Funded Reserve Account shall not

constitute DIP Loans or increase or reduce the DIP Obligations, (ii) the failure of the Funded

Reserve Account to satisfy in full the Allowed Professional Fees shall not affect the priority of the

Carve-Out, and (iii) under no circumstances shall the DIP Lenders have any obligation to extend

DIP Loans in excess of the amounts authorized under this Interim Order or the DIP Commitments.




                                                  46
11904184-3
               Case 23-10945-PDR        Doc 82      Filed 02/10/23     Page 47 of 205




For the avoidance of doubt and notwithstanding anything to the contrary in this Interim Order, the

DIP Facility, or the Prepetition Credit Facility, the Carve-Out shall be senior to all liens and claims

securing the DIP Facility, the Adequate Protection Liens, the DIP Superpriority Claims, and the

Adequate Protection 507(b) Claim, and any and all other forms of adequate protection, liens, or

claims securing the DIP Obligations, the Adequate Protection Obligations or the Senior Secured

Loan Obligations.

         (e)    Notwithstanding the foregoing, the Carve-Out shall not include, apply to, or be

available for, any fees or expenses incurred by any party in connection with (i) the investigation

(other than as permitted under paragraph 13 of this Interim Order), initiation or prosecution of any

claims, causes of action, adversary proceedings or other litigation against any of the DIP Lenders

and the Senior Secured Lenders, each in such capacity, and their respective agents, attorneys,

advisors or representatives, including challenging the amount, validity, perfection, priority or

enforceability of or asserting any defense, counterclaim or offset to, the obligations and the liens

and security interests granted under the DIP Documents or the Senior Secured Loan Documents,

including the Senior Secured Loan Obligations (whether in such capacity or otherwise), including,

in each case, for lender liability or pursuant to section 105, 506(c), 510, 544, 547, 548, 549, 550,

or 552 of the Bankruptcy Code, applicable non-bankruptcy law or otherwise, (ii) the modification

of any of the rights granted to the DIP Lenders or the Senior Secured Lenders hereunder or under

the applicable DIP Documents or Senior Secured Loan Documents, (iii) preventing, hindering, or

otherwise delaying any of the DIP Lenders’ assertion, enforcement or realization upon any DIP

Collateral or Prepetition Collateral in accordance with the DIP Documents, this Interim Order or

the Final Order, or (iv) paying any amount on account of any claims arising before the Petition




                                                  47
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23      Page 48 of 205




Date unless such payments are approved by an order of the Court and permitted under the DIP

Documents, including the Approved Budget.

         16.    Protection of DIP Lenders’ Rights.

         (a)    To the extent the Senior Secured Parties have possession of any Prepetition

Collateral or DIP Collateral or have control with respect to any Prepetition Collateral or DIP

Collateral, or have been noted as a secured party on any certificate of title for a titled good

constituting Prepetition Collateral or DIP Collateral, then the Prepetition Agent and/or the Senior

Secured Lenders, as applicable, shall be deemed to maintain such possession or notation or

exercise such control as a gratuitous bailee or gratuitous agent for perfection for the benefit of the

DIP Agent and the DIP Lenders, and shall comply with the instructions of the DIP Agent (acting

on behalf of the Required DIP Lenders) with respect to the exercise of such control.

         (b)    Other than as expressly consented to in writing by the DIP Agent (acting at the

direction of the Required DIP Lenders), any proceeds of Prepetition Collateral received by the

Senior Secured Lenders in connection with the exercise of any right or remedy (including setoff)

relating to the Prepetition Collateral or otherwise received by the Senior Secured Lenders (other

than on account of the Adequate Protection Obligations) shall be segregated and held in trust for

the benefit of and forthwith paid over to the DIP Lenders in the same form as received, with any

necessary endorsements, or as a court of competent jurisdiction may otherwise direct.

         17.    Access to DIP Collateral. Notwithstanding anything contained herein to the

contrary and without limiting any other rights or remedies of the DIP Agent, exercisable on behalf

of the DIP Lenders, subject to the terms of the DIP Documents, upon written notice to the landlord

of any leased premises that an Event of Default has occurred and is continuing, the DIP Agent may

(or shall at the direction of the Required DIP Lenders), subject to the applicable notice provisions




                                                 48
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23     Page 49 of 205




in this Interim Order, enter upon any leased premises of the Debtors or any other party for the

purpose of exercising any remedy with respect to DIP Collateral located thereon and shall be

entitled to all of the Debtors’ rights and privileges as lessee under such lease without interference

from the landlord thereunder; provided, that the DIP Agent shall be obligated only to pay rent of

the Debtors that first accrues after the written notice referenced above is delivered and that is

payable during the period of such occupancy by the DIP Agent, calculated on a daily per diem

basis. Upon the Payment in Full of the DIP Obligations, the Prepetition Agent shall inure to all

rights provided under this paragraph 17. Nothing contained herein shall require the DIP Agent or

any other DIP Party to assume any lease as a condition to the rights afforded in this paragraph 17.

         18.    Limitation on Charging Expenses Against Collateral.        No costs or expenses of

administration of the Chapter 11 Cases or any Successor Cases, including liquidation in

bankruptcy or other proceedings under the Bankruptcy Code, shall be charged against or recovered

from the DIP Collateral (including Cash Collateral) or the Prepetition Collateral pursuant to section

506(c) of the Bankruptcy Code or any similar principle of law, without the prior written consent

of the DIP Lenders or the Senior Secured Lenders, in their respective capacities, as applicable, and

no such consent shall be implied from any other action, inaction, or acquiescence by the DIP

Lenders or the Senior Secured Lenders and nothing contained in this Interim Order shall be deemed

to be a consent by the DIP Lenders or the Senior Secured Lenders to any charge, lien, assessment

or claim against the DIP Collateral under section 506(c) of the Bankruptcy Code or otherwise;

provided, however that such limitation for the benefit of the Senior Secured Lenders shall be

subject to entry of a Final Order.

         19.    Payments Free and Clear. Any and all payments or proceeds remitted to the DIP

Agent or DIP Lenders or the Prepetition Agent or Senior Secured Lenders pursuant to the




                                                 49
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23     Page 50 of 205




provisions of this Interim Order, the Final Order (if and when entered) or the DIP Documents shall

be irrevocable and received free and clear of any claim, charge, assessment or other liability,

whether asserted or assessed by, through or on behalf of the Debtors.

         20.    Rights of Senior Secured Lenders Adequately Protected. Under the circumstances

and given that the above-described adequate protection is consistent with the Bankruptcy Code,

including section 506(b) thereof, the Court finds that the adequate protection provided herein is

reasonable to protect the interests of the Senior Secured Lenders.

         21.    Consent to Adequate Protection; Right to Seek Additional Adequate Protection; No

Admission. The Senior Secured Lenders are deemed to have consented to the Adequate Protection

Obligations, the priming of the Prepetition Secured Liens by the DIP Liens, and the use of Cash

Collateral provided for herein; provided, however, that such consent is expressly conditioned upon

the entry of this Interim Order, and such consent shall not be deemed to extend to any other Cash

Collateral usage or other replacement financing or debtor-in-possession financing other than the

DIP Facility provided under the DIP Documents; provided, further, that such consent shall be of

no force and effect in the event this Interim Order is reversed, modified, stayed, or amended (unless

such reversal, modification, stay, or amendment is acceptable to the Prepetition Agent) or the DIP

Documents and DIP Facility as set forth herein are not approved. The Adequate Protection

Obligations provided to the Senior Secured Lenders hereunder adequately protects the Senior

Secured Lenders as of the date hereof; provided, however, this Interim Order: (a) is without

prejudice to, and does not constitute a waiver of, expressly or implicitly, the rights of the Senior

Secured Lenders to request additional or alternative forms of adequate protection from the Debtors;

and (b) shall not be deemed an admission, acknowledgement, or stipulation by the Senior Secured




                                                 50
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23      Page 51 of 205




Lenders that the Senior Secured Lenders are in fact adequately protected by the terms and

conditions of this Interim Order or otherwise following the date of this Interim Order.

         22.      Perfection of DIP Liens and Adequate Protection Liens.

         (a)      This Interim Order shall be sufficient and conclusive evidence of the creation,

validity, perfection and priority of all liens granted herein, including the DIP Liens and the

Adequate Protection Liens, without the necessity of filing or recording any financing statement,

mortgage, deed of trust, notice, or other instrument or document which may otherwise be required

under the law or regulation of any jurisdiction or the taking of any other action (including, for the

avoidance of doubt, entering into any deposit control agreement) to validate or perfect (in

accordance with applicable non-bankrutcy law) the DIP Liens and the Adequate Protection Liens

or to entitle the DIP Agent, the DIP Lenders and the Prepetition Secured Parties to the priorities

granted herein.

         (b)      The DIP Agent, DIP Lenders, Prepetition Agent and Senior Secured Lenders are

hereby authorized, but not required, to file or record (and to execute in the name of the Debtors,

as their true and lawful attorneys, with full power of substitution, to the maximum extent permitted

by law) financing statements, trademark filings, copyright filings, mortgages, notices of lien or

similar instruments in any jurisdiction, deposit account control agreements or to take possession

of or control over cash or securities, or take any other action in order to validate and perfect the

liens and security interests granted to them hereunder, including, without limitation, with respect

to the DIP Liens and the Adequate Protection Liens. Whether or not the DIP Lenders or the Senior

Secured Lenders shall, in their sole discretion, choose to file such financing statements, trademark

filings, copyright filings, mortgages, notices of lien or similar instruments, deposit account control

agreements or take possession of or control over any cash or securities, or otherwise confirm




                                                 51
11904184-3
               Case 23-10945-PDR        Doc 82      Filed 02/10/23    Page 52 of 205




perfection of the liens and security interests granted to them hereunder, such liens and security

interests shall be deemed valid, properly perfected, allowed, enforceable, non-avoidable and not

subject to challenge, dispute or subordination, at the time and on the date of entry of this Interim

Order, without the necessity of filing or recording any financing statement, trademark filing,

copyright filing, mortgage, notice of lien, deposit account control agreement or similar perfection

document in any jurisdiction. Notwithstanding the foregoing, upon the request of the DIP Agent

(at the direction of the Required DIP Lenders) or the Prepetition Agent, the Debtors, without any

further consent of any party, are authorized and directed to take, execute, deliver and file such

instruments (in each case, without representation or warranty of any kind) to enable the DIP

Lenders and Senior Secured Lenders to further validate, perfect, preserve and enforce the DIP

Liens and Adequate Protection Liens, as applicable. All such documents will be deemed to have

been recorded and filed as of the Petition Date.

         (c)    A certified copy of this Interim Order may, in the discretion of the DIP Lenders and

the Senior Secured Lenders, be filed with or recorded in filing or recording offices in addition to

or in lieu of such financing statements, mortgages, notices of lien or similar instruments, and all

filing offices are hereby authorized and directed to accept such certified copy of this Interim Order

for filing and/or recording, as applicable. The automatic stay of section 362(a) of the Bankruptcy

Code is hereby modified to the extent necessary to permit the DIP Agent, DIP Lenders, Prepetition

Agent and Senior Secured Lenders to take all actions, as applicable, referenced in this

subparagraph (b) and the immediately preceding subparagraph (a).

         (d)    Notwithstanding anything to the contrary in the Motion, the DIP Documents or this

Interim Order, for purposes of this Interim Order, in no event shall the DIP Collateral include, or

the DIP Liens or Adequate Protection Liens attach to, any lease, license, contract or agreement or




                                                   52
11904184-3
               Case 23-10945-PDR         Doc 82      Filed 02/10/23      Page 53 of 205




other property right to which the Debtors are a party, or any such relevant Debtors’ rights or

interests thereunder, if and for so long as the grant of such security interest would constitute or

result in: (i) the abandonment, invalidation, unenforceability or other impairment of any right, title

or interest of the Debtors therein or (ii) a breach or termination pursuant to the terms of, or a default

under, any such lease, license, contract or agreement or other property right pursuant to any

provision thereof, unless, in the case of each of clauses (i) and (ii), the applicable provision is

rendered ineffective by applicable non-bankruptcy law or the Bankruptcy Code (such leases,

licenses, contracts or agreements or other property rights are collectively referred to as

the “Specified Contracts”); provided, however, the DIP Liens, Adequate Protection Liens, DIP

Superpriority Claims and Adequate Protection 507(b) Claim shall in all events attach to and have

recourse from all proceeds, products, offspring or profits from any and all Specified Contracts

(including from the sale, transfer, disposition or monetization thereof).

         23.    Proceeds of Subsequent Financing. If the Debtors, any trustee, any examiner, any

responsible officer or any other estate representative subsequently appointed in these Chapter 11

Cases or any Successor Cases, shall obtain credit or incur debt pursuant to Bankruptcy Code

sections 364(b), 364(c) or 364(d) or in violation of the DIP Documents at any time before the

Payment in Full of (a) all DIP Obligations and the termination of the DIP Lenders’ obligation to

extend credit under the DIP Facility, and (b) all Senior Secured Loan Obligations, including

subsequent to the confirmation of any plan with respect to the Debtors and the Debtors’ estates,

and such financing is secured by any DIP Collateral or Prepetition Collateral, then all of the cash

proceeds derived from such credit or debt shall immediately be turned over first to the DIP Agent,

to be applied as set forth the DIP Documents, and second to the Prepetition Agent to be applied as




                                                   53
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23     Page 54 of 205




set forth in the Senior Secured Loan Documents, except as provided under such confirmed plan (if

applicable).

         24.    Disposition of DIP Collateral; Rights of DIP Lenders.

         (a)    The Debtors shall not sell, transfer, lease, encumber or otherwise dispose of any

DIP Collateral or Prepetition Collateral other than in the ordinary course of business without the

prior written consent of the DIP Agent (acting at the direction of the Required DIP Lenders) and

the Prepetition Agent (and no such consent shall be implied, from any other action, inaction or

acquiescence), except as expressly permitted in the DIP Documents, Senior Secured Loan

Documents, this Interim Order and the Final Order (if and when entered), including budgets

attached thereto, as applicable.

         (b)    The Debtors will (i) maintain books, records and accounts to the extent, and as

required by, the DIP Documents, (ii) cooperate with, consult with, and provide to the DIP Agent,

the DIP Lenders, the Prepetition Agent and the Senior Secured Lenders, all such information and

documents that any or all of the Debtors are obligated to provide under the DIP Documents or the

provisions of this Interim Order or as otherwise requested by the DIP Agent (acting at the direction

of the Required DIP Lenders) or the Prepetition Agent, (iii) permit consultants, advisors and other

representatives (including third party representatives) of the DIP Agent, the DIP Lenders, the

Prepetition Agent or the Senior Secured Lenders (as applicable), to visit and inspect any of the

Debtors’ respective properties, to examine and make abstracts or copies from any of their

respective books and records, to tour the Debtors’ business premises and other properties, and to

discuss, and provide advice with respect to, their respective affairs, finances, properties, business

operations and accounts with their respective officers, employees, independent public accountants

and other professional advisors as, and to the extent required by, the DIP Documents or the Senior




                                                 54
11904184-3
               Case 23-10945-PDR        Doc 82      Filed 02/10/23     Page 55 of 205




Secured Loan Documents, (iv) permit the DIP Agent, the DIP Lenders, the Prepetition Agent, the

Senior Secured Lenders and their respective consultants, advisors and other representatives, to

consult with the Debtors’ management and advisors on matters concerning the Debtors’

businesses, financial condition, operations and assets, and (v) permit the DIP Agent and the

Prepetition Agent to conduct, at their reasonable direction and at the Debtors’ sole cost and

expense, field audits, collateral examinations, liquidation valuations and inventory appraisals in

respect of any or all of the DIP Collateral and the Prepetition Collateral, in each case, in accordance

with the applicable DIP Documents and the Senior Secured Loan Documents.

         (c)    No Debtor shall object to the DIP Agent (acting at the direction of the Required

DIP Lenders) or the Prepetition Agent submitting a credit bid with respect to any sale of the

Debtors’ assets in accordance with paragraph 31 hereunder.

         25.    Maintenance of DIP Collateral. Until all DIP Obligations and Senior Secured Loan

Obligations are Paid in Full and all Adequate Protection Obligations are indefeasibly paid in full

and the termination of the DIP Lenders’ obligations to extend credit under the DIP Facility, the

Debtors shall (a) insure the DIP Collateral as required under the DIP Documents and the Senior

Secured Loan Documents, as applicable; and (b) maintain the cash management system consistent

with the terms and conditions of the Cash Management Order (as defined below), or as otherwise

required by the DIP Documents.

         26.    Preservation of Rights Granted Under This Interim Order.

         (a)    Other than the Carve-Out and other claims and liens expressly granted or permitted

by this Interim Order and the DIP Documents, no claim or lien having a priority superior to or pari

passu with those granted by this Interim Order to the DIP Lenders or the Senior Secured Lenders

shall be permitted while any of the DIP Obligations, Adequate Protection Obligations or Senior




                                                  55
11904184-3
               Case 23-10945-PDR         Doc 82      Filed 02/10/23      Page 56 of 205




Secured Loan Obligations remain outstanding. No lien or security interest shall be granted to any

other party in any of the Specified Contracts without first granting such lien or security interest to

the DIP Lenders or the Senior Secured Lenders, as applicable. It shall be an Event of Default under

this Interim Order if, in any of these Chapter 11 Cases or any Successor Cases, any order is entered

granting any claim or lien in contravention of this paragraph 26(a).

         (b)    Notwithstanding any order that may be entered dismissing the Chapter 11 Cases or

any Successor Cases under section 1112 of the Bankruptcy Code or otherwise is at any time

entered: (i) the DIP Superpriority Claims, the Adequate Protection 507(b) Claim, the DIP Liens,

and the Adequate Protection Liens shall continue in full force and effect and shall maintain their

priorities as provided in this Interim Order until all DIP Obligations are Paid in Full and Adequate

Protection Obligations shall have been indefeasibly paid in full (and that such DIP Superpriority

Claims, Adequate Protection 507(b) Claim, DIP Liens and Adequate Protection Liens shall,

notwithstanding such dismissal, remain binding on all parties in interest); (ii) the other rights

granted by this Interim Order shall not be affected; and (iii) this Court shall, to the extent permitted

by applicable law, retain exclusive jurisdiction, notwithstanding such dismissal, for the purposes

of enforcing the claims, liens and security interests referred to in this paragraph and otherwise in

this Interim Order.

         (c)    If any or all of the provisions of this Interim Order are hereafter reversed, modified,

vacated or stayed, such reversal, modification, vacation or stay shall not affect: (i) the validity,

priority or enforceability of any DIP Obligations or Adequate Protection Obligations incurred

before the actual receipt of written notice by the DIP Lenders or the Senior Secured Lenders, as

applicable, of the effective date of such reversal, modification, vacation or stay; or (ii) the validity,

priority or enforceability of the DIP Liens or the Adequate Protection Liens. Notwithstanding any




                                                   56
11904184-3
               Case 23-10945-PDR        Doc 82      Filed 02/10/23     Page 57 of 205




such reversal, modification, vacation or stay of any use of Cash Collateral, any DIP Obligations,

DIP Liens, Adequate Protection Obligations or Adequate Protection Liens incurred or granted by

the Debtors to or for the benefit of the DIP Agent, the DIP Lenders, the Prepetition Agent or the

Senior Secured Lenders, as the case may be, before the actual receipt of written notice by the DIP

Agent, the DIP Lenders, the Prepetition Agent or the Senior Secured Lenders, as applicable, of the

effective date of such reversal, modification, vacation or stay shall be governed in all respects by

the original provisions of this Interim Order, and the DIP Lenders and the Senior Secured Lenders

shall be entitled to all the rights, remedies, privileges and benefits granted in section 364(e) of the

Bankruptcy Code, this Interim Order, and the DIP Documents with respect to all uses of Cash

Collateral, DIP Obligations and Adequate Protection Obligations.

         (d)    Except as expressly provided in this Interim Order or in the DIP Documents, the

DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens, and the Adequate

Protection Obligations and all other rights and remedies of the DIP Secured Parties and the Senior

Secured Parties granted by the provisions of this Interim Order and the DIP Documents shall

survive, and shall not be modified, impaired or discharged by: (i) the entry of an order converting

the Chapter 11 Cases to a case under chapter 7, dismissing the Chapter 11 Cases or any Successor

Cases, or by any other act or omission; (ii) the entry of an order approving the sale of any DIP

Collateral or Prepetition Collateral pursuant to section 363(b) of the Bankruptcy Code (except to

the extent permitted by the DIP Documents); or (iii) the entry of an order confirming a chapter 11

plan in the Chapter 11 Cases and, pursuant to section 1141(d)(4) of the Bankruptcy Code, the

Debtors have waived any discharge as to any remaining DIP Obligations or Adequate Protection

Obligations. The terms and provisions of this Interim Order and the DIP Documents shall continue

in these Chapter 11 Cases, in any Successor Cases or following dismissal of the Chapter 11 Cases




                                                  57
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23      Page 58 of 205




or any Successor Cases, as applicable, and the DIP Liens, the DIP Superpriority Claims, the

Adequate Protection Liens, and the Adequate Protection Obligations and all other rights and

remedies of the DIP Lenders and the Senior Secured Lenders granted by the provisions of this

Interim Order and the DIP Documents shall continue in full force and effect until the entry of the

Final Order or the DIP Obligations are Paid in Full and Adequate Protection Obligations are

indefeasibly paid in full, as set forth herein and in the DIP Documents, and the DIP Commitments

have been terminated.

         (e)    The entry of this Interim Order is without prejudice to, and does not constitute a

waiver of, expressly or implicitly: (a) the right of any party (including, but not limited to, the DIP

Secured Parties and the Senior Secured Parties) to object to the allowance of any professional fees

or expenses of any Professional Person, which rights are expressly preserved, (b) the DIP Secured

Parties’ and Senior Secured Parties’ right to seek any other or supplemental relief in respect of the

Debtors; (c) any of the rights of any of the DIP Secured Parties and the Senior Secured Parties

under the Bankruptcy Code or under applicable non-bankruptcy law, including, without limitation,

the right to (i) request modification of the automatic stay of section 362 of the Bankruptcy Code,

(ii) request dismissal of any of the Chapter 11 Cases or Successor Cases, conversion of any of the

Chapter 11 Cases to cases under Chapter 7, or appointment of a Chapter 11 trustee or examiner

with expanded powers or (iii) propose, subject to the provisions of section 1121 of the Bankruptcy

Code, a Chapter 11 plan or plans; or (d) any other rights, claims or privileges (whether legal,

equitable or otherwise) of any of the DIP Secured Parties or Senior Secured Parties.

         27.    Cash Management. Unless otherwise agreed by the DIP Lenders and the Senior

Secured Lenders, in their respective capacities, the Debtors shall maintain their cash management

arrangements in all material respects in a manner consistent with that described in the applicable




                                                 58
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23      Page 59 of 205




“first-day” order and the related motion seeking authorization to continue the Debtors’ cash

management arrangements (the “Cash Management Order”). Subject to this Interim Order, the

Debtors and the financial institutions where the Debtors maintain deposit accounts (as identified

in the Cash Management Order), are authorized and directed to remit, without offset or deduction,

funds in such deposit accounts upon receipt of any direction to that effect from the DIP Agent

(acting at the direction of the Required DIP Lenders) in accordance with the DIP Documents.

         28.    Limitation on Use of DIP Loans and DIP Collateral. Notwithstanding any other

provision of this Interim Order or any other order entered by the Court, no DIP Loans, DIP

Collateral, Prepetition Collateral or any portion of the Carve-Out, may be used directly or

indirectly by the Debtors, the Committee (if any), or any trustee appointed in the Chapter 11 Cases

or any Successor Cases, or any other person, party or entity (a) in connection with the

investigation, initiation or prosecution of any claims, causes of action, adversary proceedings or

other litigation (i) against the DIP Lenders or the Senior Secured Lenders or their respective

Representatives, or any action purporting to do the foregoing in respect of the Senior Secured Loan

Obligations, liens on the Prepetition Collateral, DIP Obligations, DIP Liens on the DIP Collateral,

DIP Superpriority Claims, or the Adequate Protection Obligations, Adequate Protection Liens and

Adequate Protection 507(b) Claim granted to the Senior Secured Lenders, as applicable, under the

Interim Order or the Final Order, as applicable, or (ii) challenging the amount, validity, perfection,

priority or enforceability of or asserting any defense, counterclaim or offset with respect to, the

Senior Secured Loan Obligations, the Adequate Protection Obligations, the DIP Obligations, or

the liens, claims, rights, or security interests granted under this Interim Order, the Final Order and

the DIP Documents, including, in each case for lender liability or pursuant to section 105, 510,

544, 547, 548, 549, 550, or 552 of the Bankruptcy Code, applicable non-bankruptcy law or




                                                 59
11904184-3
             Case 23-10945-PDR          Doc 82     Filed 02/10/23      Page 60 of 205




otherwise; provided, however, advisors to any Committee may investigate any potential challenges

with respect to the Senior Secured Loan Documents, the Senior Secured Loan Obligations, or

Prepetition Secured Liens during the Challenge Period at an aggregate expense for such

investigation, but not litigation, prosecution, objection or challenge thereto, not to exceed $25,000

in the aggregate; (b) to prevent, hinder, or otherwise delay the Senior Secured Lenders or the DIP

Lenders, as applicable, in the enforcement or realization on the Senior Secured Loan Obligations,

Adequate Protection Obligations, Prepetition Collateral, DIP Obligations, DIP Collateral, and the

liens, claims, and rights granted to such parties under the Interim Order or the Final Order, each in

accordance with the DIP Documents, the Senior Secured Loan Documents, this Interim Order, or

the Final Order (if and when entered), other than, and subject to the notice period set forth in

paragraph 11 hereof, to seek a determination that an Event of Default has not occurred or is not

continuing; (c) to seek to modify any of the rights and remedies granted to the Senior Secured

Parties or the DIP Secured Parties under this Interim Order, the Senior Secured Loan Documents

or the DIP Documents, as applicable; (d) to apply to the Court for authority to approve

superpriority claims or grant liens or security interests in the DIP Collateral or any portion thereof

that are senior to, or on parity with, the Carve-Out or the DIP Liens, DIP Superpriority Claims,

Adequate Protection Liens and Adequate Protection 507(b) Claim granted to the Senior Secured

Lenders and the DIP Lenders unless all DIP Obligations, Adequate Protection Obligations and

claims granted to the DIP Lenders or Senior Secured Lenders under this Interim Order, have been

refinanced or Paid in Full or otherwise agreed to in writing by the DIP Lenders and the Senior

Secured Lenders; or (e) to seek to pay any amount on account of any claims arising before the

Petition Date unless such payments are agreed to in writing by the DIP Lenders or are otherwise

included in the Approved Budget.




                                                 60
11904184-3
               Case 23-10945-PDR        Doc 82      Filed 02/10/23     Page 61 of 205




         29.    Exculpation; Loss or Damage to Collateral. Nothing in this Interim Order, the DIP

Documents, or any other documents related to these transactions shall in any way be construed or

interpreted to impose or allow the imposition upon the DIP Secured Parties or the Senior Secured

Parties of any liability for any claims arising from the prepetition or postpetition activities of the

Debtors in the operation of their business, or in connection with their restructuring efforts. The

DIP Secured Parties and the Senior Secured Parties shall not, in any way or manner, be liable or

responsible for (a) the safekeeping of the DIP Collateral or the Prepetition Collateral, (b) any loss

or damage thereto occurring or arising in any manner or fashion from any cause, (c) any diminution

in the value thereof, or (d) any act or default of any carrier, servicer, bailee, custodian, forwarding

agency or other person, and all risk of loss, damage or destruction of the DIP Collateral and the

Prepetition Collateral shall be borne by the Debtors.

         30.    Indemnification. The Debtors shall indemnify and hold harmless the DIP Secured

Parties and the Senior Secured Parties in accordance with the terms and conditions of the DIP

Documents and the Senior Secured Loan Documents, as applicable.

         31.    Credit Bidding. Upon Entry of this interim Order, (a) the DIP Agent (at the

direction of the Required DIP Lenders) shall have the right to credit bid, in accordance with the

DIP Documents, up to the full amount of the DIP Obligations in any sale of the DIP Collateral and

(b) the Prepetition Agent shall have the right to credit bid up to the full amount of the Adequate

Protection Obligations and the Senior Secured Loan Obligations in the sale of any Prepetition

Collateral whether (with respect to both (a) and (b) above) pursuant to (i) section 363 of the

Bankruptcy Code, (ii) a plan of reorganization or a plan of liquidation under section 1129 of the

Bankruptcy Code, or (iii) a sale or disposition by a chapter 7 trustee for the Debtors under section

725 of the Bankruptcy Code and each of the DIP Agent and Prepetition Agent, in their respective




                                                  61
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23     Page 62 of 205




capacities as such, shall be deemed a qualified bidder (or such analogous term or capacity) in

connection with any such sale.

         32.    Application of Sale Proceeds. Notwithstanding anything herein: (a) the right of the

DIP Lenders to consent to the sale of any portion of the DIP Collateral, on terms and conditions

acceptable to the DIP Lenders, are hereby expressly reserved and not modified, waived or impaired

and (b) unless otherwise ordered by the Court, including without limitation pursuant to the Sale

Order, all cash proceeds generated from the sale of any assets secured by Prepetition Secured Liens

or DIP Liens shall be paid to the DIP Lenders and Senior Secured Lenders upon the closing of

such sale for permanent application against the obligations owing by the Debtors under the DIP

Documents in accordance with the terms and conditions of the DIP Orders and the DIP Documents

and the Senior Secured Loan Documents, as applicable, until such time as all DIP Obligations, and

Senior Secured Loan Obligations have been Paid in Full and all Adequate Protection Obligations

have been indefeasibly paid in full.

         33.    Modification of Automatic Stay. The automatic stay imposed under section

362(a)(2) of the Bankruptcy Code is hereby modified as necessary to effectuate the terms and

provisions of this Interim Order, including, without limitation, to (a) permit the Debtors to grant

the DIP Liens, the Adequate Protection Liens, the DIP Superpriority Claims and the Adequate

Protection 507(b) Claim; (b) permit the Debtors to perform such acts as the DIP Agent and the

Prepetition Agent may request to assure the perfection and priority of the liens granted herein; (c)

permit the Debtors to incur all liabilities and obligations to the DIP Secured Parties and the Senior

Secured Parties under the DIP Documents, the DIP Facility and this Interim Order; and (d)

authorize the Debtors to pay, and the DIP Secured Parties and the Senior Secured Parties to retain




                                                 62
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23      Page 63 of 205




and apply, payments made in accordance with the terms of this Interim Order, the DIP Documents

and the Approved Budget.

         34.     Interim Order Governs. In the event of any inconsistency between the provisions

of this Interim Order, on the one hand, and the DIP Documents, the Senior Secured Loan

Documents or any other order entered by this Court (other than the Final Order), on the other hand,

the provisions of this Interim Order shall govern. Notwithstanding anything to the contrary in any

other order entered by this Court, any payment made pursuant to and any authorization contained

in any other order entered by this Court shall be consistent with and subject to the requirements

set forth in this Interim Order, the Final Order upon its entry and the DIP Documents, including

the Approved Budget.

         35.     No Modification of Interim Order. Until and unless the DIP Obligations, and Senior

Secured Loan Obligations have been Paid in Full and the Adequate Protection Obligations have

been indefeasibly paid in full, and all commitments to extend credit under the DIP Facility have

been terminated, the Debtors shall not seek or consent to, directly or indirectly, without the prior

written consent of (A) the DIP Agent (acting at the direction of the Required DIP Lenders) and

(B) with respect to any provisions that impact the legal or economic rights of the Senior Secured

Parties, the Prepetition Agent, any material modification, stay, vacatur or amendment to this

Interim Order.

         36.     Binding Effect; Successors and Assigns. The DIP Documents and the provisions

of this Interim Order, including all findings herein, shall be binding upon all parties in interest in

the Chapter 11 Cases and any Successor Cases, including the Debtors, the DIP Secured Parties,

the Senior Secured Parties, the Committee (if any), any non-statutory committees appointed or

formed in the Chapter 11 Cases, the Debtors, and their respective successors and assigns (including




                                                 63
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23      Page 64 of 205




any chapter 7 or chapter 11 trustee hereinafter appointed or elected for the estates of the Debtors,

an examiner appointed pursuant to section 1104 of the Bankruptcy Code, or any other fiduciary

appointed as a legal representative of the Debtors or with respect to the property of the estates of

the Debtor) and shall inure to the benefit of the DIP Lenders, the Senior Secured Lenders, and the

Debtors and their respective successors and assigns; provided, however, the DIP Lenders and the

Senior Secured Lenders shall have no obligation to permit the use of the DIP Collateral or

Prepetition Collateral (including Cash Collateral) by, or to extend any financing to, any chapter 7

trustee, chapter 11 trustee or similar responsible person appointed for the estates of the Debtors.

         37.    No Liability to Third Parties. Except as explicitly provided for herein or in any of

the DIP Documents, the Debtors stipulate and the Court finds that the DIP Lenders and the Senior

Secured Lenders, in their respective capacities as such, shall not (a) be deemed to have liability to

any third party or be deemed to be in control of the operation of any of the Debtors or to be acting

as a “controlling person,” “responsible person,” “owner or operator,” or “participant” with respect

to the operation or management of any of the Debtors (as such term, or any similar terms, are used

in the Internal Revenue Code, the United States Comprehensive Environmental Response,

Compensation and Liability Act, as amended, or any other federal, state, or applicable international

statute or regulation) as a result of its consent to the use of Cash Collateral hereunder or (b) owe

any fiduciary duty to any of the Debtors, their creditors or estates, or shall constitute or be deemed

to constitute a joint venture or partnership with any of the Debtors as a result of their extension of

credit under the DIP Documents or the Senior Secured Loan Documents.

         38.    No Standing Granted. Nothing in this Interim Order vests or confers on any person

(as defined in the Bankruptcy Code), including any committee appointed in the Chapter 11 Cases

or any Successor Cases (including the Committee), if any, standing or authority to pursue any




                                                 64
11904184-3
               Case 23-10945-PDR       Doc 82     Filed 02/10/23     Page 65 of 205




challenge or other cause of action belonging to the Debtors or their estates with respect to the

Senior Secured Loan Documents or the Senior Secured Loan Obligations.

         39.    No Waiver. No delay or failure by the Prepetition Agent, Senior Secured Lenders,

DIP Agent or DIP Lenders in the exercise of their respective rights and remedies under the DIP

Documents, the Senior Secured Loan Documents or this Interim Order, as applicable, shall

constitute a waiver, in whole or in part, of any of such party’s rights hereunder or otherwise.

         40.    Proofs of Claim. Notwithstanding any order entered by this Court in relation to the

establishment of a bar date in any of the Chapter 11 Cases or any Successor Cases to the contrary,

neither the Senior Secured Lenders,the DIP Lenders, nor the lenders under the HoldCo Loan

Agreement shall be required to file proofs of claim in the Chapter 11 Cases or any Successor

Cases to assert claims on behalf of themselves for payment of the Senior Secured Loan

Obligations, the DIP Obligations or the HoldCo Loan Obligations, including any principal, unpaid

interest (including default interest therein), fees, expenses, and other amounts under the Senior

Secured Loan Documents, the DIP Loan Documents or the HoldCo Loan Documents, as

applicable. The statements of claim in respect of the Senior Secured Loan Obligations, the DIP

Obligations or the HoldCo Loan Obligations, as set forth in this Interim Order, together with any

evidence accompanying the Motion and presented at the Interim Hearing, are deemed sufficient to

and do constitute proofs of claim in respect of such debt and such secured status. The Debtors’

Stipulations shall be deemed to constitute a timely filed proof of claim for the Senior Secured

Lenders in respect of all of the Senior Secured Loan Obligations, for the DIP Lenders in respect

of all of the DIP Loan Obligations and for the lenders under the HoldCo Loan Agreement in respect

of the HoldCo Loan Obligations. In addition, the Senior Secured Lenders and the DIP Lenders

shall not be required to file any request for allowance or payment of any administrative expenses,




                                                65
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23      Page 66 of 205




and this Interim Order shall be deemed to constitute a timely filed request for allowance or payment

of any Senior Secured Loan Obligation or DIP Obligation constituting administrative expenses, as

applicable.

         41.    Insurance. Upon entry of this Interim Order and to the fullest extent provided by

applicable law, to the extent that the Senior Secured Lenders and/or the Prepetition Agent are listed

as loss payee(s) under the Debtors’ insurance policies that in any way relate to the DIP Collateral,

the DIP Lenders and/or DIP Agent, as appropriate, are also deemed to be the loss payee(s) under

such insurance policies and shall act in that capacity and distribute any proceeds recovered or

received in respect of any such insurance policies in the order of priorities set forth herein.

         42.    Joint and Several Liability. Nothing in this Interim Order shall be construed to

constitute a substantive consolidation of any of the Debtors’ estates; provided, however, that the

Debtors shall be jointly and severally liable for the obligations hereunder and all DIP Obligations

and Adequate Protection Obligations in accordance with the terms hereof and the DIP Documents.

         43.    Effectiveness. This Interim Order shall constitute findings of fact and conclusions

of law and shall take effect and be fully enforceable as of the Petition Date immediately upon entry

hereof. Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062, or 9014 of the

Bankruptcy Rules or any Local Rule, or Rule 62(a) of the Federal Rules of Civil Procedure, this

Interim Order shall be immediately effective and enforceable upon its entry and there shall be no

stay of execution or effectiveness of this Interim Order.

         44.    Headings. Section headings used herein are for convenience only and are not to

affect the construction of or to be taken into consideration in interpreting this Interim Order.

         45.    Payments Held in Trust. Except as expressly permitted in this Interim Order or the

DIP Documents, in the event that any person or entity receives any payment on account of a




                                                 66
11904184-3
               Case 23-10945-PDR        Doc 82      Filed 02/10/23     Page 67 of 205




security interest in DIP Collateral, receives any DIP Collateral or any proceeds of DIP Collateral

or receives any other payment with respect thereto from any other source before Payment in Full

of all DIP Obligations and Adequate Protection Obligations under the DIP Documents and

termination of the DIP Commitments in accordance with the DIP Documents, such person or entity

shall be deemed to have received, and shall hold, any such payment or proceeds of DIP Collateral

in trust for the benefit of the DIP Lenders and Senior Secured Lenders and shall immediately turn

over such proceeds to the DIP Lenders and/or Senior Secured Lenders, as applicable, or as

otherwise instructed by this Court, for application in accordance with the DIP Documents and this

Interim Order.

         46.     Bankruptcy Rules. The requirements of Local Rules 4001-2, 9013-1(F)-(H) and

9075-1, the Guidelines, and Bankruptcy Rules 4001, 6003 and 6004, in each case to the extent

applicable, are satisfied by the contents of the Motion.

         47.     Necessary Action. The Debtors are authorized to take all such actions as are

necessary or appropriate to implement the terms of this Interim Order.

         48.     Assignment of DIP Obligations. The DIP Lenders may assign any or all of their

rights or obligations under the DIP Loan Agreement (a) at any time, to any affiliate of the DIP

Lenders, (b) prior to the occurrence of an Event of Default, to any person with the prior written

consent of the DIP Borrower, and (c) during an Event of Default, to any other person without the

consent of any DIP Loan Party.

         49.     Retention of Jurisdiction. The Court shall retain exclusive jurisdiction to enforce

the provisions of this Interim Order, and this retention of jurisdiction shall survive the confirmation

and consummation of any chapter 11 plan for the Debtors notwithstanding the terms or provisions

of any such chapter 11 plan or any order confirming any such chapter 11 plan.




                                                  67
11904184-3
                Case 23-10945-PDR            Doc 82     Filed 02/10/23     Page 68 of 205




         50.          Final Hearing. The Final Hearing to consider entry of the Final Order and approval

of the DIP Facility and continued use of Cash Collateral is scheduled for March 6, 2023 at

11:00 am (Prevailing Eastern Time) before this Court at the U.S. Courthouse, 299 East Broward

Boulevard, Courtoom 301, Fort Lauderdale, FL 33301. Information on requirements and

procedures for remote attendance at the hearing may be found on the Honorable Peter D. Russin’s

webpage on the Court’s website: www.flsb.uscourts.gov.

         51.          Objections. Objections, if any, to the relief sought at the Final Hearing must: (a)

be in writing; (b) state the basis of such objection with specificity; (c) comply with the Bankruptcy

Rules and the Local Rules; (d) be filed with the Bankruptcy Court on or before 4:00 pm (Eastern

Standard Time) on February 27, 2023 (the “Objection Deadline”); and (e) be served, so as to

be received the same day as the objection is filed with the Bankruptcy Court, but in no event later

than the Objection Deadline, upon: (a) the Debtors, c/o (i) Interim Chief Executive Officer, c/o

Getzler Henrich & Associates, 295 Madison Avenue, 20th Floor, New York, New York 10017

(Attn: Edward Phillips, ephillips@getzlerhenrich.com)             and (ii) bankruptcy counsel for the

Debtors, Berger Singerman LLP, 1450 Brickell Avenue, Suite 1900, Miami, FL 33131 (Attn: Paul

Steven Singerman, Esq. (singerman@bergersingerman.com), and Robin J. Rubens, Esq.

(rrubens@bergersingerman.com) and delphi@bergersingerman.com; (b) counsel for (i) the

Administrative Agent for the Prepetition Lenders and (ii) the Administrative Agent for the DIP

Lenders, King & Spalding LLP, 1185 Avenue of the Americas, 34th Floor, New York, New York

10036        (Attn:     Roger    Schwartz,    Esq.    (rschwartz@kslaw.com),     Pete   Montori,    Esq.

(PMontoni@kslaw.com), and Robert Nussbaum, Esq. (rnussbaum@kslaw.com)); (c) the Office of

the United States Trustee, 51 SW First Avenue, Room 1204, Miami, Florida 33130; and (d)

counsel to any statutory committee appointed in the Debtors’ bankruptcy cases.




                                                      68
11904184-3
               Case 23-10945-PDR        Doc 82     Filed 02/10/23     Page 69 of 205




         52.    The Debtors shall promptly serve copies of this Interim Order (which shall

constitute adequate notice of the Final Hearing), to the parties having been given notice of the

Interim Hearing, to any party that has filed a request for notices with this Court, and to the

Committee (if any) after the same has been appointed, or such Committee’s counsel, if the same

shall have been appointed.

                                              # # #

Submitted by:
Paul Steven Singerman, Esq.
BERGER SINGERMAN LLP
1450 Brickell Avenue, Ste. 1900
Miami, FL 33131
Telephone: (305) 755-9500
Facsimile: (305) 714-4340
Email: singerman@bergersingerman.com

(Attorney Singerman is directed to serve this order upon all non-registered users who have yet to
appear electronically in this case and file a conforming certificate of service.)




                                                 69
11904184-3
             Case 23-10945-PDR    Doc 82   Filed 02/10/23   Page 70 of 205




                                     Exhibit A

                                 DIP Loan Agreement




11904184-3
           Case 23-10945-PDR   Doc 82   Filed 02/10/23   Page 71 of 205
                                                                  Execution Version




       SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION CREDIT AGREEMENT

                          DATED February 6, 2023 and

                               BY AND AMONG

                                 DR SUB, LLC,
                                  as Holdings,

                   DELPHI INTERMEDIATE HEALTHCO, LLC,
                               as Borrower,

             THE OTHER LOAN PARTIES WHICH ARE PARTY HERETO,

                   THE LENDERS WHICH ARE PARTY HERETO

                                     AND

                      BRIGHTWOOD LOAN SERVICES LLC,
                            as Administrative Agent




35954104
               Case 23-10945-PDR                           Doc 82            Filed 02/10/23                  Page 72 of 205



                                                       TABLE OF CONTENTS

                                                                                                                                                       Page

                                                        ARTICLE I
                                              DEFINITIONS AND OTHER TERMS

1.1    UCC Terms ...................................................................................................................................... 2
1.2    Defined Terms ................................................................................................................................. 2
1.3    Other Interpretive Provisions ......................................................................................................... 24
1.4    Accounting Terms; Payment Dates ............................................................................................... 25
1.5    References to Agreements, Laws, Etc. .......................................................................................... 25
1.6    Times of Day ................................................................................................................................. 25
1.7    Divisions ........................................................................................................................................ 25

                                                               ARTICLE II
                                                             THE ADVANCES

2.1    The Advances ................................................................................................................................ 25
2.2    Register .......................................................................................................................................... 28
2.3    Payments ........................................................................................................................................ 29
2.4    Setoff; etc ....................................................................................................................................... 29
2.5    Sharing ........................................................................................................................................... 29
2.6    Fees ................................................................................................................................................ 30
2.7    Lending Branch.............................................................................................................................. 30
2.8    Application of Payments and Collections ...................................................................................... 30
2.9    Making the Loans .......................................................................................................................... 31
2.10   Defaulting Lenders......................................................................................................................... 31
2.11   No Discharge; Survival of Claims ................................................................................................. 33
2.12   Super Priority Nature of Obligations and Lenders’ DIP Liens ...................................................... 33
2.13   Release ........................................................................................................................................... 33
2.14   Waiver of Certain Rights ............................................................................................................... 34
2.15   Grant of Security; Security for Obligations; Debtors Remain Liable ............................................ 34

                                                          ARTICLE III
                                                     CONDITIONS PRECEDENT

3.1    Conditions Precedent to the Closing Date ..................................................................................... 36
3.2    Conditions Precedent to Extensions of Loans................................................................................ 38

                                                  ARTICLE IV
                                        REPRESENTATIONS AND WARRANTIES

4.1    Organization; etc ............................................................................................................................ 40
4.2    Due Authorization.......................................................................................................................... 40
4.3    Subsidiaries .................................................................................................................................... 40
4.4    Validity of the Agreement ............................................................................................................. 41
4.5    Financial Statements; Budget ........................................................................................................ 41
4.6    Litigation; etc ................................................................................................................................. 41
4.7    Compliance with Law .................................................................................................................... 41
4.8    ERISA Compliance........................................................................................................................ 41

                                                                          -i-
               Case 23-10945-PDR                          Doc 82            Filed 02/10/23                 Page 73 of 205



4.9    Title to Assets ................................................................................................................................ 42
4.10   Use of Proceeds ............................................................................................................................. 43
4.11   Governmental Regulation .............................................................................................................. 43
4.12   Margin Stock.................................................................................................................................. 43
4.13   Investment Company Act .............................................................................................................. 43
4.14   Accuracy of Information ................................................................................................................ 43
4.15   Tax Returns; Audits ....................................................................................................................... 43
4.16   Environmental and Safety Regulations .......................................................................................... 44
4.17   Payment of Wages; Labor Matters ................................................................................................ 44
4.18   Intellectual Property ....................................................................................................................... 44
4.19   [Reserved] ...................................................................................................................................... 44
4.20   Chapter 11 Cases ........................................................................................................................... 44
4.21   No Material Adverse Occurrence .................................................................................................. 45
4.22   DIP Orders ..................................................................................................................................... 45
4.23   Deposit Accounts ........................................................................................................................... 45
4.24   [Reserved] ...................................................................................................................................... 45
4.25   Material Contracts.......................................................................................................................... 45
4.26   Valid Liens ..................................................................................................................................... 45
4.27   Foreign Assets Control Regulations and Anti-Money Laundering................................................ 45
4.28   Patriot Act ...................................................................................................................................... 46
4.29   Insurance. ....................................................................................................................................... 46
4.30   [Reserved]. ..................................................................................................................................... 46
4.31   Healthcare Laws............................................................................................................................. 46
4.32   HIPAA and Part 2 Compliance ...................................................................................................... 46
4.33   Other Agreements/Program Eligibility .......................................................................................... 47
4.34   Reimbursement from Third-Party Payors ...................................................................................... 47
4.35   Fraud and Abuse ............................................................................................................................ 47

                                                   ARTICLE V
                                         CERTAIN AFFIRMATIVE COVENANTS

5.1    Financial Information; etc .............................................................................................................. 48
5.2    Maintenance of Existence; etc ....................................................................................................... 49
5.3    Maintenance of Properties ............................................................................................................. 49
5.4    Payment of Liabilities .................................................................................................................... 50
5.5    Compliance with Laws .................................................................................................................. 50
5.6    Books and Records; Inspection Rights; etc.................................................................................... 50
5.7    Insurance ........................................................................................................................................ 51
5.8    ERISA ............................................................................................................................................ 51
5.9    [Reserved] ...................................................................................................................................... 52
5.10   [Reserved] ...................................................................................................................................... 52
5.11   Cash Management Systems ........................................................................................................... 52
5.12   Further Assurances......................................................................................................................... 52
5.13   [Reserved] ...................................................................................................................................... 52
5.14   OFAC; Patriot Act ......................................................................................................................... 52
5.15   Compliance with Certain Healthcare Laws ................................................................................... 52
5.16   Assignment of Licenses and Certificates ....................................................................................... 53
5.17   Post-Closing ................................................................................................................................... 53




                                                                          ii
               Case 23-10945-PDR                           Doc 82            Filed 02/10/23                  Page 74 of 205



                                          ARTICLE VI
                          FINANCIAL COVENANTS AND NEGATIVE COVENANTS

6.1    [Reserved]. ..................................................................................................................................... 54
6.2    Limitations on Indebtedness .......................................................................................................... 54
6.3    Liens............................................................................................................................................... 55
6.4    Sales of Assets ............................................................................................................................... 55
6.5    Liquidations, Mergers and Consolidations .................................................................................... 55
6.6    Investments .................................................................................................................................... 55
6.7    Transactions with Affiliates ........................................................................................................... 55
6.8    [Reserved] ...................................................................................................................................... 56
6.9    Amendment and Waiver ................................................................................................................ 56
6.10   Restricted Payments ....................................................................................................................... 56
6.11   Payments in Respect of Certain Indebtedness ............................................................................... 56
6.12   Change in Business ........................................................................................................................ 56
6.13   Changes in Accounting, Name and Jurisdiction of Organization .................................................. 57
6.14   [Reserved] ...................................................................................................................................... 57
6.15   Holding Company Status ............................................................................................................... 57
6.16   Use of Proceeds ............................................................................................................................. 57
6.17   Plans ............................................................................................................................................... 58

                                                            ARTICLE VII
                                                         EVENTS OF DEFAULT

7.1    Events of Default ........................................................................................................................... 58
7.2    Action If Event of Default ............................................................................................................. 62
7.3    Remedies........................................................................................................................................ 62

                                                      ARTICLE VIII
                                                THE ADMINISTRATIVE AGENT

8.1    Appointment and Authorization .................................................................................................... 63
8.2    Power ............................................................................................................................................. 63
8.3    Interest Holders .............................................................................................................................. 64
8.4    Employment of Counsel; etc .......................................................................................................... 64
8.5    Reliance ......................................................................................................................................... 64
8.6    General Immunity .......................................................................................................................... 64
8.7    Lenders’ Representations and Warranties...................................................................................... 65
8.8    Administrative Agent and Affiliates .............................................................................................. 67
8.9    Indemnification .............................................................................................................................. 67
8.10   Security Documents ....................................................................................................................... 67
8.11   Collateral Matters; Credit Bid........................................................................................................ 67
8.12   Action by the Administrative Agent .............................................................................................. 69
8.13   Successor Administrative Agent .................................................................................................... 70
8.14   Legal Representation of Administrative Agent ............................................................................. 70

                                                              ARTICLE IX
                                                            MISCELLANEOUS

9.1    Waivers, Amendments; etc ............................................................................................................ 70
9.2    Payment Dates ............................................................................................................................... 71

                                                                           iii
               Case 23-10945-PDR                           Doc 82            Filed 02/10/23                 Page 75 of 205



9.3    Notices ........................................................................................................................................... 71
9.4    Costs and Expenses ........................................................................................................................ 71
9.5    Indemnification .............................................................................................................................. 72
9.6    Severability .................................................................................................................................... 73
9.7    Headings ........................................................................................................................................ 73
9.8    Governing Law .............................................................................................................................. 73
9.9    Successors and Assigns.................................................................................................................. 73
9.10   Execution in Counterparts.............................................................................................................. 76
9.11   Several Liability ............................................................................................................................. 76
9.12   Financial Information..................................................................................................................... 76
9.13   Entire Agreement ........................................................................................................................... 76
9.14   Other Relationships........................................................................................................................ 76
9.15   Consent to Jurisdiction................................................................................................................... 77
9.16   Waiver of Jury Trial ....................................................................................................................... 77
9.17   USA Patriot Act ............................................................................................................................. 77
9.18   Confidentiality ............................................................................................................................... 78
9.19   Replacement of Lenders ................................................................................................................ 78
9.20   [Reserved] ...................................................................................................................................... 79
9.21   Electronic Execution of Assignments and Certain Other Documents ........................................... 79
9.22   [Reserved] ...................................................................................................................................... 79
9.23   Acknowledgement and Consent to Bail-In of EEA Financial Institutions .................................... 79
9.24   Conflict; Control ............................................................................................................................ 80

                                                 ARTICLE X
                                  TAXES, YIELD PROTECTION AND ILLEGALITY

10.1   Taxes .............................................................................................................................................. 80
10.2   Illegality ......................................................................................................................................... 84
10.3   Inability to Determine Rates .......................................................................................................... 85
10.4   Increased Costs .............................................................................................................................. 85
10.5   Funding Losses .............................................................................................................................. 86
10.6   Mitigation Obligations; Replacement of Lenders .......................................................................... 86
10.7   Survival .......................................................................................................................................... 87




                                                                          iv
            Case 23-10945-PDR           Doc 82   Filed 02/10/23     Page 76 of 205



SCHEDULE I         -   Lenders/Commitments
SCHEDULE 4.6       -   Litigation
SCHEDULE 4.7       -   Compliance with Law
SCHEDULE 4.8       -   ERISA
SCHEDULE 4.17      -   Labor Matters
SCHEDULE 4.23      -   Deposit Accounts
SCHEDULE 4.31(c)   -   Healthcare Inspections, Investigations, Inquiries and Audits
SCHEDULE 4.33      -   Other Agreements / Program Eligibility
SCHEDULE 5.3       -   Maintenance of Properties
SCHEDULE 6.1       -   Permitted Indebtedness
SCHEDULE 6.3       -   Permitted Prior Liens
SCHEDULE 6.6       -   Permitted Investments
SCHEDULE 6.7       -   Affiliate Transactions
SCHEDULE 9.3       -   Administrative Agent’s Office; Certain Addresses for Notices

EXHIBIT A          -   Initial Budget




                                                 v
              Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 77 of 205



                                         CREDIT AGREEMENT

        This SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION CREDIT AGREEMENT
effective as of February 6, 2023, by and among DR SUB, LLC (“Holdings”), DELPHI INTERMEDIATE
HEALTHCO, LLC (“Borrower”), the other Loan Parties party hereto, the Lenders now or hereafter parties
hereto, and BRIGHTWOOD LOAN SERVICES LLC, in its capacity as Administrative Agent for the
Lenders.

         WHEREAS, on February 6, 2023 (the “Petition Date”), the Borrower and the other Loan Parties
(collectively, the “Debtors” and, each individually, a “Debtor”) each commenced a chapter 11 case, which
are being jointly administered under Case No. 23-10945-PDR (each a “Chapter 11 Case” and collectively,
the “Chapter 11 Cases”), by filing separate voluntary petitions for reorganization under Chapter 11 of Title
11 of the U.S. Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”), with the United States Bankruptcy
Court for the Southern District of Florida (together with any other court having jurisdiction over the Chapter
11 Cases or any proceeding therein from time to time, the “Bankruptcy Court”); and each Debtor
continues to operate its businesses and manage its properties as a debtor and debtor in possession pursuant
to sections 1107(a) and 1108 of the Bankruptcy Code;

         WHEREAS, prior to the Petition Date, certain of the Lenders and/or certain of their affiliates or
controlled funds provided financing to the Borrower pursuant to that certain Credit Agreement, dated as of
April 8, 2020, among the Borrower, the guarantors from time to time party thereto, the lenders party thereto
from time to time, and the Administrative Agent (as amended by that certain First Amendment to Credit
Agreement and Forbearance Agreement, dated as of August 3, 2021, that certain Second Amendment to
Credit Agreement and Forbearance Agreement, dated as of January 18, 2022, that certain Third Amendment
to Credit Agreement and Forbearance Agreement, dated as of April 29, 2022, that certain Fourth
Amendment to Credit Agreement and Forbearance Agreement, dated as of June 14, 2022, that certain Fifth
Amendment to Credit Agreement and Forbearance Agreement, dated as of September 16, 2022, that certain
Sixth Amendment to Credit Agreement, dated as of November 7, 2022, that certain Seventh Amendment
to the Credit Agreement, dated as of December 6, 2022, that certain Eighth Amendment to the Credit
Agreement, dated as of January 10, 2023 and as further amended, restated, amended and restated,
supplemented or otherwise modified through the Petition Date, the “Prepetition Credit Agreement”);

        WHEREAS, the Borrower has requested that the Lenders provide a senior secured, superpriority
debtor-in-possession term loan facility available in multiple draws as set forth herein to the Borrower in the
maximum aggregate principal amount of $11,000,000 (the “DIP Facility”) as further set forth herein,
including, without limitation, to fund the costs of the Chapter 11 Cases and other purposes set forth in
Section 6.16;

        WHEREAS, the Guarantors will guaranty all of the Obligations under the Loan Documents;

       WHEREAS, in order to secure the Obligations of the Borrower and the other Guarantors under the
Loan Documents, the Borrower and the Guarantors will grant to the Administrative Agent, for the benefit
of Administrative Agent and all other Secured Parties, subject to the Carve-Out, a security interest in and a
DIP Lien upon substantially all of the now existing and hereafter acquired personal of the Borrower and
the Guarantors;

        WHEREAS, the relative priority of the DIP Liens and security interests granted to secure the
Obligations in relation to the Liens and security interests securing the Prepetition Obligations and certain
other obligations will be set forth in the DIP Orders;




                                                      1
              Case 23-10945-PDR            Doc 82      Filed 02/10/23      Page 78 of 205



        WHEREAS, the Borrower and the other Loan Parties will provide to the prepetition lenders and
other prepetition secured parties under the Prepetition Credit Agreement and the other Prepetition Loan
Documents, adequate protection in accordance with the DIP Orders; and

         WHEREAS, the Lenders are willing to extend such credit to the Borrower and the other Loan
Parties on the terms and subject to the conditions set forth herein and the DIP Orders, as applicable.

        NOW, THEREFORE, in consideration of the terms and conditions contained herein, and of any
loans or extensions of credit heretofore, now or hereafter made to or for the benefit of the Borrower by the
Lenders and the Administrative Agent, the parties hereto agree as follows:

                                           ARTICLE I
                                 DEFINITIONS AND OTHER TERMS

        1.1     UCC Terms. The following terms shall have the respective meanings provided for in the
Uniform Commercial Code as in effect from time to time in the State of New York: “Accounts”, “Account
Debtor”, “Cash Proceeds”, “Certificate of Title”, “Chattel Paper”, “Commercial Tort Claim”, “Commodity
Account”, “Commodity Contracts”, “Deposit Account”, “Documents”, “Electronic Chattel Paper”,
“Equipment”, “Fixtures”, “General Intangibles”, “Goods”, “Instruments”, “Inventory”, “Investment
Property”, “Letter-of-Credit Rights”, “Noncash Proceeds”, “Payment Intangibles”, “Proceeds”,
“Promissory Notes”, “Record”, “Securities Account”, “Software”, “Supporting Obligations” and “Tangible
Chattel Paper”.

        1.2     Defined Terms. The following terms when used in this Agreement shall, except where
the context otherwise requires, have the following meanings:

       “Administrative Agent” means Brightwood Loan Services LLC, as Administrative Agent for the
Lenders, or any successor Administrative Agent hereunder.

       “Administrative Questionnaire” means an administrative questionnaire to be completed and
provided to the Administrative Agent in form and substance as provided by the Administrative Agent.

        “Advance” means one or more advances made by the Lenders under this Agreement.

         “Affiliate” shall include, with respect to any Person, any other Person which directly or indirectly
controls, is controlled by, or is under common control with such Person; provided that, for purposes of
Sections 4.28 and 6.7, the Lenders as of the Closing Date (and any of their transferees that are otherwise
not Affiliates of the Borrower) shall not be Affiliates of the Loan Parties. For purposes of this definition,
a Person shall be deemed to control another Person if the controlling Person owns or controls directly or
indirectly ten percent (10%) or more of the shares of stock, other Equity Interests or Equity Interests
Equivalents or voting powers of the controlled Person.

        “Aggregate Commitments” means the Commitments of all Lenders.

         “Agreement” means this Superpriority Secured Debtor-in-Possession Credit Agreement as
originally executed and as amended, modified or supplemented from time to time.

         “Applicable Loan Percentage” means with respect to any Lender at any time, the percentage
(carried out to the ninth decimal place) of the outstanding principal amount of the Loans of a Lender divided
by the outstanding principal amount of the Loans owed to all Lenders at such time. The initial Applicable
Loan Percentage of each Lender is set forth opposite the name of such Lender on Schedule I or in the


                                                     2
              Case 23-10945-PDR            Doc 82      Filed 02/10/23      Page 79 of 205



Assignment and Assumption Agreement pursuant to which such Lender becomes a party hereto, as
applicable.

        “Applicable Margin” means 7.0% per annum.

        “Approved Fund” means any Fund that is administered, advised or managed by (a) a Lender, (b)
an Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers, advises or manages a
Lender.

        “Assignment and Assumption Agreement” shall have the meaning set forth in Section 9.9(b).

        “Automatic Stay” shall mean the automatic stay imposed under Section 362 of the Bankruptcy
Code.

        “Available Tenor” means, as of any date of determination and with respect to the then-current
Benchmark, as applicable, (x) if such Benchmark is a term rate, any tenor for such Benchmark (or
component thereof) that is or may be used for determining the length of an interest period pursuant to this
Agreement or (y) otherwise, any payment period for interest calculated with reference to such Benchmark
(or component thereof) that is or may be used for determining any frequency of making payments of interest
calculated with reference to such Benchmark, in each case, as of such date and not including, for the
avoidance of doubt, any tenor for such Benchmark that is then-removed from the definition of “Interest
Period” pursuant to Section 1.8.

      “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the applicable
EEA Resolution Authority in respect of any liability of an EEA Financial Institution.

        “Bail-In Legislation” means, with respect to any EEA Member Country implementing Article 55
of Directive 2014/59/EU of the European Parliament and of the Council of the European Union, the
implementing law for such EEA Member Country from time to time that is described in the EU Bail-In
Legislation Schedule.

        “Bankruptcy Code” has the meaning assigned to such term in the recitals hereto.

        “Bankruptcy Court” has the meaning assigned to such term in the recitals hereto.

         “Benefit Plan” means any of (a) an “employee benefit plan” (as defined in ERISA) that is subject
to Title I of ERISA, (b) a “plan” as defined in Section 4975 of the Code or (c) any Person whose assets
include (for purposes of ERISA Section 3(42) or otherwise for purposes of Title I of ERISA or Section
4975 of the Internal Revenue Code) the assets of any such “employee benefit plan” or “plan”.

         “Blocked Account Agreement” means with respect to an account established by a Loan Party (other
than Excluded Accounts), an agreement, in form and substance reasonably satisfactory to the
Administrative Agent, establishing control (as defined in the UCC) of such account by the Administrative
Agent and whereby the Blocked Account Bank agrees, upon the occurrence and during the continuance of
an Event of Default, to comply only with the instructions originated by the Administrative Agent without
the further consent of any Loan Party.

        “Blocked Account Bank” means each bank with whom Deposit Accounts are maintained and with
whom a Blocked Account Agreement has been, or is required to be, executed in accordance with the terms
hereof.



                                                     3
              Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 80 of 205



        “Borrower” has the meaning provided in the introductory paragraph hereto.

        “Brightwood” means Brightwood Loan Services LLC and any Affiliate thereof.

        “Budget” means the Initial Budget, as amended and supplemented by any Budget Update delivered
in accordance with Section 5.1(a) and approved by the Administrative Agent at the direction of the Required
Lenders in accordance with Section 5.1(a).

        “Budget Update” has the meaning set forth in Section 5.22.

        “Business Day” means any day on which commercial banks and foreign exchange markets are open
for business in New York, New York.

         “Capital Lease” means, with respect to any Person, a lease of (or other agreement conveying the
right to use) real and/or personal property, which obligation is, or in accordance with GAAP (including
Statement of Financial Accounting Standards No. 13 of the Financial Accounting Standards Board) is
required to be, classified and accounted for as a capital lease on a balance sheet of such Person.

        “Capital Lease Obligations” means, for any period for which the amount thereof is to be
determined, any obligation of such Person to pay rent or other amounts under a Capital Lease that is required
to be capitalized in accordance with GAAP.

        “CARES Act” means the Coronavirus Aid, Relief, and Economic Security Act, as amended.

        “Carve-Out” has the meaning set forth in the then applicable DIP Order.

       “Casualty Event” means any event that gives rise to the receipt by any Loan Party of any insurance
proceeds (including business interruption insurance proceeds) or condemnation awards in respect of any
equipment, fixed assets or real property (including any improvements thereon) to replace or repair such
equipment, fixed assets or real property.

         “Change in Law” means the occurrence, after the Closing Date, of any of the following: (a) the
adoption or taking effect of any law, order, policy, rule, regulation or treaty, (b) any change in any law,
order, policy, rule, regulation or treaty or in the administration, interpretation, implementation or
application thereof by any Governmental Authority or (c) the making or issuance of any request, rule,
guideline or directive (whether or not having the force of law) by any Governmental Authority; provided
that notwithstanding anything herein to the contrary, (i) the Dodd-Frank Wall Street Reform and Consumer
Protection Act and all requests, rules, guidelines, regulations or directives thereunder or issued in
connection therewith and (ii) all requests, rules, guidelines, regulations or directives promulgated by the
Bank for International Settlements, the Basel Committee on Banking Supervision (or any successor or
similar authority) or the United States or foreign regulatory authorities, in each case pursuant to Basel III,
shall in each case be deemed to be a “Change in Law”, regardless of the date enacted, adopted or issued.

         “Change of Control” means the occurrence of any of the following: (a) Holdings ceases to own and
control, beneficially and of record, directly or indirectly, all Equity Interests in the Borrower or any other
Loan Party, (b) the Permitted Holders collectively cease to directly or indirectly (x) own and control,
beneficially and of record, at least 50.1% of the Equity Interests of Holdings, or (y) possess the right to
elect (through contract, ownership of voting securities or otherwise) at all times a majority of the board of
directors (or similar governing body) of Holdings or to direct the management policies and decisions of
Holdings, (c) the Permitted Holders collectively cease to directly or indirectly own and control, beneficially
and of record, Equity Interests of Holdings representing at least 50% of the voting power and 50% of the


                                                      4
              Case 23-10945-PDR            Doc 82      Filed 02/10/23      Page 81 of 205



economic interest represented by the Equity Interests of Holdings held by the Permitted Holders on the
Closing Date, or (d) any “change of control” (or similar term) under any Subordinated Indebtedness, while
outstanding, shall have occurred.

        “Chapter 11 Cases” has the meaning assigned to such term in the recitals to this Agreement.

       “Closing Date” means the date on which all the conditions precedent in Section 3.1 are satisfied or
waived in accordance with Section 9.1.

        “Code” means the Internal Revenue Code of 1986, as amended from time to time.

       “Collateral” means all present and future assets and properties of the Borrower and the Guarantors,
whether real or personal, tangible or intangible, in which Liens are granted or purported to be granted
pursuant to the Security Documents; provided that Collateral shall not include any Excluded Assets.

        “Commitment” means, for each Lender, the aggregate amount of such Lender’s commitment to
fund Loans as set forth on Schedule I, as such amount may be modified from time to time pursuant to the
terms hereof.

       “Commitment Letter” means the commitment letter, dated as of January 30, 2023, among
Brightwood, Borrower, Holdings, the other lenders party thereto and the other debtor parties party thereto.

         “Committees” shall mean collectively, the official committee of unsecured creditors and any other
official committee appointed or approved in any Chapter 11 Case and each of such committees shall be
referred to herein as a “Committee”.

      “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.), as
amended from time to time, and any successor statute.

       “Compliance Certificate” means a certificate in form and substance reasonably acceptable to the
Administrative Agent, completed and signed by a Responsible Officer of the Borrower.

        “Connection Income Taxes” means Other Connection Taxes that are imposed on or measured by
net income (however denominated) or that are franchise Taxes or branch profits Taxes.

        “Corresponding Tenor” with respect to any Available Tenor means, as applicable, either a tenor
(including overnight) or an interest payment period having approximately the same length (disregarding
business day adjustment) as such Available Tenor.

        “control” means the possession, directly or indirectly, of the power to direct or cause the direction
of the management or policies of a Person, whether through the ability to exercise voting power, by contract
or otherwise. “controlled” has the meaning correlative thereto.

         “Controlled Investment Affiliate” means, as to any Person, any other Person that (a) directly or
indirectly, is in control of, is controlled by, or is under common control with, such Person and (b) is
organized by such Person primarily for the purpose of making equity or debt investments in one or more
companies. For purposes of this definition, “control” of a Person means the power, directly or indirectly, to
direct or cause the direction of the management and policies of such Person whether by contract or
otherwise.




                                                     5
              Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 82 of 205



         “Debtor Relief Laws” means the Bankruptcy Code of the United States of America, and all other
liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium,
rearrangement, receivership, insolvency, reorganization, or similar debtor relief laws of the United States
of America or other applicable jurisdictions from time to time in effect.

        “Debtors” has the meaning set forth in the recitals hereto.

         “Default” means any Event of Default and any event which with the giving of notice or lapse of
time, or both, would become an Event of Default.

        “Default Interest” shall have the meaning set forth in Section 2.1(i)(3).

        “Default Rate” means a simple interest rate per annum equal to the sum of the otherwise then
applicable interest rate plus two percent (2%).

         “Defaulting Lender” means, subject to Section 2.10(b), any Lender that (a) has failed to (i) fund all
or any portion of its Loans within two (2) Business Days of the date such Loans were required to be funded
hereunder unless such Lender notifies the Administrative Agent and the Borrower in writing that such
failure is the result of such Lender’s determination that one or more conditions precedent to funding (each
of which conditions precedent, together with any applicable default, shall be specifically identified in such
writing) has not been satisfied, or (ii) pay to the Administrative Agent or any other Lender any other amount
required to be paid by it hereunder within two (2) Business Days of the date when due, (b) has notified the
Borrower or the Administrative Agent in writing that it does not intend to comply with its funding
obligations hereunder, or has made a public statement to that effect (unless such writing or public statement
relates to such Lender’s obligation to fund a Loan hereunder and states that such position is based on such
Lender’s determination that a condition precedent to funding (which condition precedent, together with any
applicable default, shall be specifically identified in such writing or public statement) cannot be satisfied),
(c) has failed, within three (3) Business Days after written request by the Administrative Agent or the
Borrower, to confirm in writing to the Administrative Agent and the Borrower that it will comply with its
prospective funding obligations hereunder (provided that such Lender shall cease to be a Defaulting Lender
pursuant to this clause (c) upon receipt of such written confirmation by the Administrative Agent and the
Borrower), or (d) has, or has a direct or indirect parent company that has, (i) become the subject of a
proceeding under any Debtor Relief Law, or (ii) had appointed for it a receiver, custodian, conservator,
trustee, administrator, assignee for the benefit of creditors or similar Person charged with reorganization or
liquidation of its business or assets, including the Federal Deposit Insurance Corporation or any other state
or federal regulatory authority acting in such a capacity; provided that a Lender shall not be a Defaulting
Lender solely by virtue of the ownership or acquisition of any Equity Interest in that Lender or any direct
or indirect parent company thereof by a Governmental Authority so long as such ownership interest does
not result in or provide such Lender with immunity from the jurisdiction of courts within the United States
of America or from the enforcement of judgments or writs of attachment on its assets or permit such Lender
(or such Governmental Authority) to reject, repudiate, disavow or disaffirm any contracts or agreements
made with such Lender. Any determination by the Administrative Agent that a Lender is a Defaulting
Lender under any one or more of clauses (a) through (d) above, and of the effective date of such status,
shall be conclusive and binding absent manifest error, and such Lender shall be deemed to be a Defaulting
Lender (subject to Section 2.10(b)) as of the date established therefor by the Administrative Agent in a
written notice of such determination, which shall be delivered by the Administrative Agent to the Borrower
and each Lender promptly following such determination.

        “Deposit Account” means each checking, savings or other demand deposit account maintained by
any of the Loan Parties. All funds in each Deposit Account shall be conclusively presumed to be DIP



                                                      6
               Case 23-10945-PDR           Doc 82       Filed 02/10/23       Page 83 of 205



Collateral and proceeds of DIP Collateral and the Administrative Agent and the Lenders shall have no duty
to inquire as to the source of the amounts on deposit in any Deposit Account.

         “DIP Collateral” has the meaning provided in Section 2.15(a).

         “DIP Credit Facility Super-Priority Claims” has the meaning set forth in the then applicable DIP
Order.

         “DIP Facility” has the meaning assigned to such term in the recitals to this Agreement.

         “DIP Liens” shall have the meaning assigned to such term in the then applicable DIP Order.

         “DIP Loan Funding Date” has the meaning provided in Section 3.2.

         “DIP Order” means the Interim DIP Order or the Final DIP Order, as applicable, or each of them
as the context may require.

         “DIP Proceeds” shall mean the proceeds received by the Borrower from the Loans.

        “DIP Termination Date” shall mean the date that all Obligations will be due and payable in full in
cash unless otherwise agreed to by the Required Lenders on the earliest of (i) the Maturity Date, (ii) if the
Final DIP Order has not been entered, twenty-five (25) calendar days after the Petition Date, (iii) the
acceleration of the Loans and the termination of the Commitments hereunder, (iv) the effective date of any
plan of reorganization, (v) the date the Bankruptcy Court converts any of the Chapter 11 Cases to a case
under chapter 7 of the Bankruptcy Code, (vi) the date the Bankruptcy Court dismisses any of the Chapter
11 Cases, (vii) any Event of Default (as defined in the DIP Orders) and (viii) the date an order is entered in
any Bankruptcy Case appointing a Chapter 11 trustee or examiner with enlarged powers.

        “Disposition” means any sale, transfer, lease, exclusive license or other disposition of any property
by any Person. “Dispose” has the meaning correlative thereto.

        “Disqualified Equity Interests” means any Equity Interest that, by its terms (or by the terms of any
Equity Interests or Equity Interests Equivalent into which it is convertible or for which it is exchangeable),
or upon the happening of any event or condition,

        (a)      matures or is mandatorily redeemable (other than solely for Qualified Equity Interests),
pursuant to a sinking fund obligation or otherwise (except as a result of a change of control or asset sale so
long as any rights of the holders thereof upon the occurrence of a change of control or asset sale event shall
be subject to the prior repayment in full of the Loans and all other Obligations that are accrued and payable
and the termination of the Commitments),

         (b)     provides for the scheduled payments of dividends in cash,

        (c)      is or becomes redeemable at the option of the holder thereof (other than solely for Qualified
Equity Interests of the applicable Person and except as permitted by clause (a) above), in whole or in part,
or

         (d)     is or becomes convertible into or exchangeable for Indebtedness or any other Equity
Interests or Equity Interests Equivalents that would constitute Disqualified Equity Interests, in the case of
each of clauses (a), (b), (c) and (d) hereof, prior to the date that is one hundred eighty (180) days after the
Maturity Date at the time of issuance;


                                                      7
              Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 84 of 205



         provided that if such Equity Interests or Equity Interests Equivalents are issued pursuant to a plan
for the benefit of future, current or former employees, directors, or officers of Holdings, the Borrower or
its Subsidiaries or by any such plan to such employees, directors or officers, such Equity Interests shall not
constitute Disqualified Equity Interests solely because they may be required to be repurchased by Holdings,
the Borrower or any Subsidiary in order to satisfy applicable statutory or regulatory obligations or as a
result of such employee’s, director’s or officer’s termination, death or disability.

        “Disqualified Lender” means,

         (a)    any competitor of Holdings and/or its Subsidiaries that is reasonably identifiable as a
competitor of Holdings and its subsidiaries according to the written list of competitors that has been
provided to the Administrative Agent by the Borrower from time to time on or prior to the Closing Date,
or after the Closing Date (which list, together with any updates thereto, shall be made available by the
Administrative Agent to all Lenders),

        (b)     those particular financial institutions and other institutional lenders identified by name in
writing by the Borrower to the Administrative Agent prior to the Closing Date, and

         (c)      any Affiliate of the entities described in the preceding clauses (a) (other than any such
Affiliates that are banks, financial institutions, bona fide debt funds or investment vehicles that are engaged
in making, purchasing, holding or otherwise investing in commercial loans, bonds and similar extensions
of credit in the ordinary course) or (b), in each case, that are either reasonably identifiable as such on the
basis of their name or are identified as such by name in writing by the Borrower to the Administrative Agent
on or prior to the Closing Date, or after the Closing Date from time to time,

        provided that any Person that is a Lender and subsequently becomes a Disqualified Lender (but
was not a Disqualified Lender on the Closing Date or at the time it became a Lender) shall be deemed to
not be a Disqualified Lender hereunder. The list of Disqualified Lenders shall be made available to all
Lenders. Notwithstanding the foregoing, each Loan Party and the Lenders acknowledge and agree that the
Administrative Agent shall not have any responsibility or obligation to determine whether any Lender,
participant or potential Lender or participant is a Disqualified Lender and the Administrative Agent shall
have no liability with respect to any assignment or participation made to a Disqualified Lender.

        “Dollars” or “$” means the basic unit of the lawful currency of the United States of America.

        “Domestic Subsidiary” means any Subsidiary that is organized under the laws of any political
subdivision of the United States of America.

       “ECP Rules” means the final rules issued jointly by the Commodity Futures Trading Commission
and the Securities and Exchange Commission as published in 77 FR 30596 (May 23, 2012), as may
amended, modified or replaced from time to time.

         “EEA Financial Institution” means (a) any credit institution or investment firm established in any
EEA Member Country that is subject to the supervision of an EEA Resolution Authority, (b) any entity
established in an EEA Member Country that is a parent of an institution described in clause (a) of this
definition, or (c) any financial institution established in an EEA Member Country that is a subsidiary of an
institution described in clause (a) or clause (b) of this definition and is subject to consolidated supervision
with its parent.

        “EEA Member Country” means any of the member states of the European Union, Iceland,
Liechtenstein, and Norway.


                                                      8
              Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 85 of 205



        “EEA Resolution Authority” means any public administrative authority or any other Person
entrusted with public administrative authority of any EEA Member Country (including any delegee) having
responsibility for the resolution of any EEA Financial Institution.

        “Eligible Assignee” means (i) any Lender, any Affiliate of a Lender or any Approved Fund and (ii)
any other Person for which the consents required under Section 9.9(b) have been obtained; provided that
no Defaulting Lender, Disqualified Lender or natural person shall be an Eligible Assignee.

        “Equipment” means all equipment, furniture and fixtures held or maintained at the Real Property
or otherwise used in the business of the Loan Parties, together with all additions and accessions thereto and
replacements therefor.

         “Equity Interests” means all shares of capital stock (whether denominated as common stock or
preferred stock), equity interests, beneficial, partnership or membership interests, joint venture interests,
participations or other ownership or profit interests in or equivalents (regardless of how designated) of or
in a Person (other than an individual), whether voting or non-voting.

         “Equity Interests Equivalents” means all securities convertible into or exchangeable for Equity
Interests and all warrants, options or other rights to purchase, subscribe for or otherwise acquire any Equity
Interests, whether or not presently convertible, exchangeable or exercisable.

        “ERISA” means the Employee Retirement Income Security Act of 1974, as amended, and any
successor statute of similar import, together with the regulations promulgated and rulings issued thereunder
and under the Code, in each case as in effect from time to time. References to sections of ERISA shall be
construed to also refer to any successor sections.

         “ERISA Affiliate” means any Person, including Affiliates or Subsidiaries of the Loan Parties, that
is a member of any group of organizations or a controlled group of trades or businesses, as described in
Sections 414(b), 414(c), 414(m) or 414(o) of the Code or Section 4001 of ERISA, of which any of the Loan
Parties or any of their respective Subsidiaries is a member.

         “ERISA Event” means any of (a) a Reportable Event with respect to a Pension Plan, (b) a
withdrawal of a Loan Party or ERISA Affiliate from a Pension Plan subject to Section 4063 of ERISA
during a plan year in which it was a substantial employer (as defined in Section 4001(a)(2) of ERISA) or a
cessation of operations that is treated as such a withdrawal under Section 4062(e) of ERISA, (c) a complete
or partial withdrawal by any Loan Party or ERISA Affiliate from a Multiemployer Plan, or the receipt by
any Loan Party or any ERISA Affiliate of any notice that a Multiemployer Plan is in endangered or critical
status under Section 305 of ERISA, (d) the filing of a notice of intent to terminate any Pension Plan, if such
termination would require material additional contributions in order to be considered a standard termination
within the meaning of Section 4041(b) of ERISA; the filing under Section 4041(c) of ERISA of a notice of
intent to terminate any Pension Plan; or the termination of any Plan under Section 4041(c) of ERISA; or
the treatment of a Pension Plan amendment as a termination under Section 4041 or 4041A of ERISA, (e)
the determination that any Pension Plan or Multiemployer Plan is, or is expected to be, considered an at-
risk plan or a plan in critical or endangered status under the Code or ERISA, (f) the institution of
proceedings, or the occurrence of an event or condition which would reasonably be expected to constitute
grounds for the institution of proceedings, by the PBGC under Section 4042 of ERISA for the termination
of, or the appointment of a trustee to administer, any Pension Plan or Multiemployer Plan, (g) the incurrence
of any liability under Title IV of ERISA, other than for PBGC premiums due but not delinquent under
Section 4007 of ERISA, upon any Loan Party or ERISA Affiliate, (h) the failure by any Loan Party or
ERISA Affiliate to meet all applicable requirements under the Pension Funding Rules in respect of a
Pension Plan, whether or not waived, or to make a required contribution to a Multiemployer Plan; or (i)

                                                      9
              Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 86 of 205



engaging in a non-exempt prohibited transaction within the meaning of Section 4975 of the Code or Section
406 of ERISA.

      “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published by the
Loan Market Association (or any successor Person).

        “Event of Default” means any Event of Default described in Article VII.

        “Excluded Account”, with respect to any Loan Party, any deposit account used solely for (i) payroll
and accrued payroll expenses, (ii) tax payments and/or (iii) employee benefit accounts.

       “Excluded Assets” means any assets held by the Debtors in trust for a third party and Excluded
Accounts.

         “Excluded Taxes” means any of the following Taxes imposed on or with respect to any Recipient
or required to be withheld or deducted from a payment to a Recipient, (a) Taxes imposed on or measured
by net income (however denominated), franchise Taxes, and branch profits Taxes, in each case, (i) imposed
as a result of such Recipient being organized under the laws of, or having its principal office or, in the case
of any Lender, its Lending Office located in, the jurisdiction imposing such Tax (or any political subdivision
thereof) or (ii) that are Other Connection Taxes, (b) in the case of a Lender, U.S. federal withholding Taxes
imposed on amounts payable to or for the account of such Lender with respect to an applicable interest in
a Loan or Commitment pursuant to a law in effect on the date on which (i) such Lender acquires such
interest in the Loan or Commitment (other than pursuant to an assignment request by the Borrower under
Section 9.19), or (ii) such Lender changes its lending office, except in each case to the extent that, pursuant
to Section 10.1(a)(ii), (a)(iii) or (c), amounts with respect to such Taxes were payable either to such
Lender’s assignor immediately before such Lender became a party hereto or to such Lender immediately
before it changed its lending office, (c) Taxes attributable to such Recipient’s failure to comply with Section
10.1(e) and (d) any U.S. federal withholding Taxes imposed under FATCA.

         “Extraordinary Receipts” means any cash received by or paid to or for the account of any Loan
Party or any of their Subsidiaries not in the ordinary course of business (and not consisting of proceeds
described in any of clause (4), (5) or (6) of Section 2.1(l)), including without limitation tax refunds,
insurance proceeds, indemnification payments (other than such indemnification payments to the extent that
the amounts so received are applied by a Loan Party or its Subsidiary, as applicable, or are reimbursement
or payment on behalf of a Loan Party or its Subsidiary, as applicable, for costs incurred for the purpose of
replacing, repairing or restoring any assets or properties of a Loan Party or its Subsidiary or reimbursement
for settlement costs, thereby satisfying the condition giving rise to the claim for indemnification, or
reimbursement or indemnification for costs, or otherwise covering losses arising as a result of the
circumstances giving rise to the underlying claims, or any out-of-pocket expenses incurred by any Loan
Party or any of their Subsidiaries in obtaining such payments or the payment of taxes arising thereunder).

        “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this Agreement (or any
amended or successor version that is substantively comparable and not materially more onerous to comply
with), any current or future regulations or official interpretations thereof and any agreements entered into
pursuant to Section 1471(b)(1) of the Code, and any intergovernmental agreement and any fiscal or
regulatory legislation, rules or practices adopted pursuant to any intergovernmental agreement entered into
in connection with the implementation of such sections of the Code.

        “Federal Funds Effective Rate” means, for any day, the weighted average of the rates on overnight
Federal funds transactions with members of the Federal Reserve System arranged by Federal funds brokers,
as published on the next succeeding Business Day by the Federal Reserve Bank of New York, or, if such


                                                      10
              Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 87 of 205



rate is not so published for any day that is a Business Day, the average of the quotations for such day for
such transactions received by the Administrative Agent from three Federal funds brokers of recognized
standing reasonably selected by it.

        “Final DIP Loan Commitment” means, with respect to each Lender holding a Final DIP Loan
Commitment, the commitment of such Lender to make Final DIP Loans, which commitment is in the
amount set forth opposite such Lender’s name on Schedule I under the caption “Final DIP Loan
Commitment”. The aggregate amount of the Final DIP Loan Commitments shall be the lesser of (a) the
DIP Facility in excess of the Interim DIP Loans and (b) such amount as approved by the Bankruptcy Court
for funding pursuant to the Final DIP Order.

        “Final DIP Loans” means the term loans to be made from time to time on and after the Final DIP
Closing Date and until the DIP Termination Date, in one or more drawings (but not to exceed one draw in
any two-week period (unless the Required Lenders consent to more frequent draws) in an aggregate
principal amount not to exceed such Lender’s Final DIP Loan Commitment.

        “Final DIP Order” means an order entered by the Bankruptcy Court in the Chapter 11 Cases
substantially in the form of the Interim DIP Order (with only such modifications thereto as are necessary
to convert the Interim DIP Order to a final order and other modifications as are satisfactory in form and
substance to the Administrative Agent (with respect to matters relevant to or affecting the Administrative
Agent) and the Required Lenders in their sole discretion).

        “Final DIP Closing Date” means the date on which the conditions under Section 3.2 are satisfied
or waived as determined by the Administrative Agent and the Required Lenders.

        “Flood Insurance Laws” collectively, (i) National Flood Insurance Reform Act of 1994 (which
comprehensively revised the National Flood Insurance Act of 1968 and the Flood Disaster Protection Act
of 1973) as now or hereafter in effect or any successor statute thereto, (ii) the Flood Insurance Reform Act
of 2004 as now or hereafter in effect or any successor statute thereto and (iii) the Biggert-Waters Flood
Insurance Reform Act of 2012 as now or hereafter in effect or any successor statute thereto.

        “Floor” means 1.00%.

        “Foreign Lender” means, with respect to any Borrower (a) if such Borrower is a U.S. Person, a
Lender that is not a U.S. Person, and (b) if the Borrower is not a U.S. Person, a Lender that is resident or
organized under the laws of a jurisdiction other than that in which the Borrower is resident for tax purposes.
For purposes of this definition, the United States, each State thereof and the District of Columbia shall be
deemed to constitute a single jurisdiction.

       “Foreign Plan” means any employee benefit plan or arrangement (a) maintained or contributed to
by any Loan Party or Subsidiary that is not subject to the laws of the United States, or (b) mandated by a
government other than the United States for employees of any Loan Party or Subsidiary.

         “Fund” means any Person (other than a natural person) that is engaged in making, purchasing,
holding or otherwise investing in commercial loans and similar extensions of credit in the ordinary course
of its business.

         “GAAP” means generally accepted accounting principles in the United States, as in effect from
time to time; provided that no change in the accounting principles used in the preparation of any financial
statement hereafter adopted by the Borrower or any other Loan Party shall be given effect for purposes of
measuring compliance with any provision of this Agreement unless the Borrower, Administrative Agent


                                                     11
              Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 88 of 205



and the Required Lenders agree to modify such provisions to reflect such changes in GAAP and, unless
such provisions are modified, all financial statements, Compliance Certificates and similar documents
provided hereunder shall be provided together with a reconciliation between the calculations and amounts
set forth therein before and after giving effect to such change in GAAP; provided, further that no effect
shall be given to any change in GAAP that would require leases of the type classified as operating leases
under GAAP as in effect on the Closing Date to be classified or reclassified as capitalized leases.

         “Governmental Authority” means the government of the United States of America or any other
nation, or of any political subdivision thereof, whether state, provincial or local, and any agency, authority,
instrumentality, regulatory body, court, central bank or other entity exercising executive, legislative,
judicial, taxing, regulatory or administrative powers or functions of or pertaining to government (including
any supra-national bodies such as the European Union or the European Central Bank).

         “Guarantee(s)” means all direct and indirect guarantees, sales with recourse, endorsements (other
than for collection or deposit in the ordinary course of business) and other obligations (contingent or
otherwise, including interest that would accrue during the pendency of any proceeding under Debtor Relief
Laws, regardless of whether allowed or allowable in such proceeding) by any Person to pay, purchase,
repurchase or otherwise acquire or become liable upon or in respect of any Indebtedness of any other
Person, and, without limiting the generality of the foregoing, all obligations (contingent or otherwise) by
any Person to purchase products, supplies or other property or services for any Person under agreements
requiring payment therefor regardless of the non-delivery or non-furnishing thereof, or to make investments
in any other Person, or to maintain the capital, working capital, solvency or general financial conditions of
any other Person, or to indemnify any other Person against and hold him harmless from damages, losses
and liabilities, all under circumstances intended to enable such other Person or Persons to discharge any
Indebtedness or to comply with agreements relating to such Indebtedness or otherwise to assure or protect
creditors against loss in respect of such Indebtedness. The amount of any Guarantee shall be deemed to be
the amount of the Indebtedness of, or damages, losses or liabilities of, the other Person or Persons in
connection with which the Guarantee is made or to which it is related unless the obligations under the
Guarantee are limited to a determinable amount, in which case the amount of such Guarantee shall be
deemed to be such determinable amount. The term “Guarantee” as a verb has a corresponding meaning.
For the avoidance of doubt, the keepwell provided by Borrower, any Affiliate of Borrower or any Guarantor
in Section 9.20 shall constitute a Guarantee.

        “Guarantor(s)” means, collectively, (i) Holdings, (ii) any Domestic Subsidiary that becomes a
Guarantor in accordance with Section 5.9, and (iii) any other Person who executes and delivers a guaranty
of the Obligations.

         “Healthcare Laws” means, collectively, any and all federal, state or local laws, rules, regulations
and administrative manuals, orders, guidelines and requirements governing the licensure of or regulating
healthcare providers, professionals, facilities or payors, or otherwise governing or regulating the provision
of, or payment for, medical services.

         “HIPAA” means the Health Insurance Portability and Accountability Act of 1996, and any and all
rules or regulations promulgated from time to time thereunder.

        “HIPAA and Part 2 Compliance Date” means that term as defined in Section 4.32 hereof.

        “HIPAA and Part 2 Compliance Plan” means that term as defined in Section 4.32 hereof.

        “HIPAA and Part 2 Compliant” means that term as defined in Section 4.32 hereof.



                                                      12
              Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 89 of 205



        “Impacted Loans” has the meaning set forth in Section 10.3(b).

        “Improvements” means the buildings, and other facilities, amenities and improvements to be
erected on the Real Property.

         “Indebtedness” means, as to any Person at a particular time, without duplication, the following: (a)
all obligations of such Person for borrowed money and all obligations of such Person evidenced by bonds,
debentures, notes, loan agreements or other similar instruments; (b) the maximum amount (after giving
effect to any prior drawings or reductions that may have been reimbursed) of all letters of credit (including
standby and commercial), bankers’ acceptances, bank guaranties, surety bonds, performance bonds and
similar instruments issued or created by or for the account of such Person; (c) [reserved]; (d) all obligations
of such Person to pay the deferred purchase price of property or services (other than (i) trade accounts and
accrued expenses incurred and paid in the ordinary course, subject to extension of terms consistent with
prudent financial management and dispute resolution procedures taken in good faith, (ii) [reserved], and
(iii) accruals for payroll and other liabilities accrued in the ordinary course of business); (e) indebtedness
in respect of the foregoing (excluding prepaid interest thereon) secured by a Lien on property owned or
being purchased by such Person (including indebtedness arising under conditional sales or other title
retention agreements and mortgage, industrial revenue bond, industrial development bond and similar
financings), whether or not such indebtedness shall have been assumed by such Person or is limited in
recourse; (f) all Capital Lease Obligations; (g) all obligations of such Person in respect of Disqualified
Equity Interests; (h) the principal balance of synthetic leases or other off-balance sheet financing
arrangements; and (i) all Guarantees of such Person in respect of any of the foregoing.

         For all purposes hereof, the Indebtedness of any Person shall include the Indebtedness of any
partnership or joint venture (other than a joint venture that is itself a corporation or limited liability
company) in which such Person is a general partner or a joint venturer, except to the extent such Person’s
liability for such Indebtedness is otherwise limited and only to the extent such Indebtedness would be
included in the calculation of consolidated Indebtedness. The amount of Indebtedness of any Person for
purposes of clause (e) (to the extent that such Indebtedness is non recourse to such Person for amounts in
excess of the value of the property securing such Indebtedness) shall be deemed to be equal to the lesser of
(i) the aggregate unpaid amount of such Indebtedness and (ii) the fair market value (as determined by such
Person in good faith) of the property encumbered thereby as determined by such Person in good faith. For
avoidance of doubt, leases classified as operating leases under GAAP as in effect on December 1, 2018
shall not be required to be classified or reclassified as capitalized leases notwithstanding ASC 842 or any
other change in GAAP.

        “Indemnified Parties” has the meaning specified in Section 9.5.

       “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with respect to
any payment made by or on account of any obligation of any Borrower or Guarantor under any Loan
Document and (b) to the extent not otherwise described in clause (a), Other Taxes.

         “Initial Budget” shall mean a 13-week operating budget setting forth all forecasted receipts and
disbursements on a weekly basis for such 13-week period beginning the week prior to the Petition Date,
broken down by week, including the line item details for and anticipated weekly uses of the DIP Proceeds
for such period (and draws under this Agreement), which shall include, among other things, available cash,
cash flow, trade payables and ordinary course expenses and total expenses, fees and expenses relating to
this Agreement, fees and expenses related to the Chapter 11 Cases (including professional fees), and
working capital and other general corporate needs, which forecast shall be in form and substance
satisfactory to the Administrative Agent at the direction of the Required Lenders. Such Initial Budget shall
be in the form set forth in Exhibit A hereto and also attached as an exhibit to the Interim DIP Order. Until

                                                      13
              Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 90 of 205



supplemented pursuant to Section 5.22 and approved by the Administrative Agent at the direction of the
Required Lenders in accordance hereof, the Initial Budget shall constitute the Budget.

        “Intellectual Property” shall mean:

        (a) any copyright rights to any published or unpublished works of authorship or other copyrightable
subject matter owned by any Loan Party, including in computer programs and software (whether in object
code or source code), computer data bases, drawings and writings, and all copyright registrations and
applications for registration that have been or may hereafter be issued or applied for thereon in the United
States and any state thereof;

        (b) all patents and patent applications and rights and interests in patents and patent applications
owned or held by a Loan Party and all re-issues, divisions, continuations, renewals, extensions and
continuations-in-part thereof and all issued patents and applications for issuance of patents that have been
or may hereafter be issued or applied for thereon in the United States;

         (c) all trademarks, service marks, designs, logos, indicia of origin, trade names, trade dress,
corporate names, company names, business names, fictitious business names, trade styles and/or other
source and/or business identifiers and applications pertaining thereto, owned by a Loan Party, or hereafter
adopted and used, in its business, including all goodwill therein or arising therefrom, all trademark
registrations and applications for trademark registration that have been or may hereafter be issued or applied
for thereon in the United States or any state thereof;

         (d) all trade secrets, trade secret rights, know-how, customer lists, processes of production, ideas,
confidential business information, techniques, processes, formulas, and all other proprietary information,
and all other intellectual property and similar rights;

         (e) all rights to sue at law or in equity for any past, present, and future infringement, dilution,
misappropriation, or other violation or impairment of any of the foregoing, including, without limitation,
license fees, royalties, income, payments, claims, damages and proceeds of suit, now or hereafter due and/or
payable with respect thereto and all agreements related to the license, ownership, development, use or
disclosure of any of the foregoing; and

        (f) all proceeds of any of the foregoing.

        “Interest Payment Date” the first Business day of each month after such Loan was made.

        “Interest Period” means the period commencing on the date the relevant Loan is made and ending
on the date which is one (1) month thereafter and each subsequent one (1) month period thereafter. For
purposes of determining an Interest Period, a month means a period starting on one day in a calendar month
and ending on a numerically corresponding date in the next calendar month. Notwithstanding the foregoing,
however, (i) any applicable Interest Period which would otherwise end on a day which is not a Business
Day shall be extended to the next succeeding Business Day unless such Business Day falls in another
calendar month, in which case such Interest Period shall end on the next preceding Business Day, (ii) any
applicable Interest Period which begins on a day for which there is no numerically corresponding day in
the calendar month during which such Interest Period is to end shall (subject to clause (i) above) end on the
last day of such calendar month, and (iii) no Interest Period shall extend beyond the Maturity Date, as
applicable, or such earlier date as would interfere with the Borrower’s repayment obligations hereunder.

       “Interim DIP Loan Commitment” shall mean, with respect to each Lender holding an Interim DIP
Loan Commitment, the commitment of such Lender to make an Interim DIP Loan, which commitment is


                                                     14
              Case 23-10945-PDR             Doc 82       Filed 02/10/23       Page 91 of 205



in the amount set forth opposite such Lender’s name on Schedule I under the caption “Interim DIP Loan
Commitment.” The aggregate amount of the Interim DIP Loan Commitments on the Closing Date shall be
the lesser of (a) $11,000,000 and (b) such amount as approved by the Bankruptcy Court pursuant to the
Interim DIP Order.

        “Interim DIP Loans” means the term loans to be made on the Closing Date and prior to entry of the
Final DIP Order, in an aggregate amount not to exceed the Interim DIP Loan Commitments.

         “Interim DIP Order” shall mean the interim order entered by the Bankruptcy Court in the Chapter
11 Cases (as the same may be amended, supplemented, or modified form time to time after entry thereof in
a manner satisfactory to the Required Lenders in their sole discretion) authorizing and approving, among
other things, the DIP Facility and the Transactions, which interim order is in form and substance satisfactory
to the Administrative Agent (with respect to matters relevant to or affecting the Administrative Agent) and
the Required Lenders in their sole discretion.

         “Investment” means, with respect to any Person, any loan, advance or extension of credit (other
than to customers in the ordinary course of business) by such Person to, or any Guarantee or other
contingent liability with respect to the capital stock, Indebtedness or other obligations of, or any
contributions to the capital of, any other Person, or any ownership, purchase or other acquisition by such
Person of any interest in any capital stock, limited partnership interest, general partnership interest, or other
securities of any such other Person; and “Invest,” “Investing” or “Invested” means the making of an
Investment.

        “K&S” means King & Spalding LLP.

       “Knowledge” of the Loan Parties means the actual knowledge of any Responsible Officer of any
Loan Party.

        “Known Event” means the commencement and continuation of the Chapter 11 Cases, the events
leading up to the Chapter 11 Cases, the effect of the bankruptcy, the conditions in which the Borrower
operates as existing on the Closing Date and/or the consummation of transactions contemplated by the
Debtors’ “first day” pleadings reviewed by the Administrative Agent or Required Lenders, or as disclosed
to the Administrative Agent and the Lenders prior to the Petition Date.

         “Laws” means, collectively, all international, foreign, federal, state and local statutes, treaties,
rules, guidelines, regulations, ordinances, codes and administrative or judicial precedents or authorities,
including the interpretation or administration thereof by any Governmental Authority charged with the
enforcement, interpretation or administration thereof, and all applicable administrative orders, directed
duties, requests, licenses, authorizations and permits of, and agreements with, any Governmental Authority,
in each case whether or not having the force of law.

        “Lending Office” means, as to any Lender, the office or offices of such Lender described as such
in such Lender’s Administrative Questionnaire, or such other office or offices as a Lender may from time
to time notify the Borrower and the Administrative Agent.

         “Lien” means, with respect to any interest in Property (whether real, personal or mixed and whether
tangible or intangible) (a) any interest or right which secures the payment of Indebtedness or an obligation
owed to, or a claim by, a Person other than the owner of such Property, whether such interest is based on
common law, statute or contract, and whether or not choate, vested or perfected, including any such interest
or right arising from a mortgage, charge, pledge, negative pledge or other agreement not to lien or pledge,
assignments, security interest, conditional sale, levy, execution, seizure, attachment, garnishment,


                                                       15
                Case 23-10945-PDR            Doc 82      Filed 02/10/23        Page 92 of 205



conditional sale, Capital Lease or trust receipt, or arising from a lease, consignment or bailment given for
security purposes, and (b) any exception to or defect in the title to or ownership interest in such Property,
including reservations, rights of entry, possibilities of reverter, encroachments, easements, rights of way,
restrictive covenants, leases and licenses. For purposes of this Agreement, the Borrower or any Subsidiary
shall be deemed to be the owner of any Property which it has acquired or holds subject to a conditional sale
agreement, Capital Lease or other arrangement pursuant to which title to the Property has been retained by
or vested in some other Person for security purposes.

           “Loan” means the Interim DIP Loans and the Final DIP Loans.

        “Loan Document(s)” means, individually or collectively, as the case may be, this Agreement, any
Notes, if any and each other Security Document, and all other documents, agreements and certificates
executed or delivered in connection with or contemplated by this Agreement or any other document
evidencing or securing a Loan, each as may be amended, modified or supplemented from time to time.

           “Loan Party” means the Borrower and the Guarantors.

         “Material Adverse Occurrence” means the effect of any event or circumstance that, taken alone or
in conjunction with other events or circumstances, (a) has or could be reasonably expected to have a material
adverse effect on the business, operations, Properties, or condition (financial or otherwise) of any Debtor
and their subsidiaries as of the Petition Date, on the value of any material Collateral, on the legality, validity
or enforceability of any Loan Documents or the DIP Orders, or on the legality, validity, enforceability or
priority of the DIP Liens in favor of the Administrative Agent for the benefit of the Secured Parties on any
Collateral, (b) impairs the ability of a Loan Party to perform its obligations under the Loan Documents or
the DIP Orders, including repayment of any Obligations, (c) otherwise impairs the ability of the
Administrative Agent or any Lender to enforce or collect any Obligations or to realize upon any other
material Collateral or (d) has or could be reasonably expected to have a material adverse effect on the rights
and remedies of the Administrative Agent and the Lenders under the Loan Documents or the DIP Orders
taken as a whole; except, in each case, those events, circumstances or conditions relating to the
commencement and continuation of the Chapter 11 Cases.

        “Material Contract” means, as to each Loan Party, (a) any acquisition supply,
construction/development, franchise, purchase, service, employment, management, tax, indemnity,
shareholder, lease of Real Property or other agreement or contract the termination of which, other than in
accordance with its terms, would reasonably be expected to result in a Material Adverse Occurrence.

           “Maturity Date” means the date that is 120 days after the Petition Date.

           “Milestone” has the meaning assigned to such term in the then applicable DIP Order.

           “Moody’s” means Moody’s Investors Service, Inc., or any successor to the rating agency business
thereof.

        “Multiemployer Plan” means any multiemployer plan as defined in Sections 3(37) or 4001(a)(3) of
ERISA, to which a Loan Party or ERISA Affiliate makes or is obligated to make contributions, or during
the preceding five plan years, has made or been obligated to make contributions.

        “Net Cash Proceeds” means with respect to any Disposition by the Borrower or any Subsidiary or
any Casualty Event, the excess, if any, of (i) the sum of cash and cash equivalents received in connection
with such Disposition or Casualty Event (including any cash or cash equivalents received by way of
deferred payment pursuant to, or by monetization of, a note receivable or otherwise, but only as and when


                                                       16
              Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 93 of 205



so received) over (ii) the sum of (A) if applicable, the principal amount of any Indebtedness that is secured
by the applicable asset by a Lien permitted hereunder which is senior to the Administrative Agent’s Lien
on such asset and that is required to be repaid (or to establish an escrow for the future repayment thereof)
in connection with such Disposition or Casualty Event (other than Indebtedness under the Loan
Documents), (B) taxes paid or payable by such Loan Party in connection with such Disposition or Casualty
Event, and (C) the reasonable and customary out-of-pocket expenses incurred by such Loan Party in
connection with such Disposition or Casualty Event (including, without limitation, appraisals, and
brokerage, legal, agents and title expenses and commissions) paid by any Loan Party to third parties (other
than Affiliates) to the extent in accordance with the Budget.

        “Non-Consenting Lender” means any Lender that does not approve any consent, waiver or
amendment that (a) requires the approval of all Lenders or all affected Lenders in accordance with the terms
of Section 9.1 and (b) has been approved by the Required Lenders.

        “Non-Defaulting Lender” means, at any time, each Lender that is not a Defaulting Lender at such
time.

        “Note(s)” means, individually or collectively, as the case may be, (a) the Term Notes (in form and
substance reasonably acceptable to the Administrative Agent), and (b) such other promissory notes
accepted by the Lenders in exchange for or in substitution of any such Notes.

        “Notice of Borrowing” means a notice in form and substance reasonably acceptable to the
Administrative Agent to be delivered to the Administrative Agent pursuant to Section 2.1 or such other
form as may be reasonably approved by the Administrative Agent (including any form on an electronic
platform or electronic transmission system as shall be reasonably approved by the Administrative Agent),
substantially completed and signed by a Responsible Officer of the Borrower.

        “Obligations” means (i) all Loans, Advances, debts, liabilities, payment and performance
obligations, covenants and duties of every kind, nature and description owing by the Borrower or the
Guarantors to the Administrative Agent, the Lenders or any Lender of any kind or nature, present or future,
arising under this Agreement or any other Loan Document, whether direct or indirect (including those
acquired by permitted assignment or participation), absolute or contingent, liquidated or unliquidated, due
or to become due, now existing or hereafter arising and however acquired, (ii) [reserved] and (iii) all
obligations of the Borrower or any Guarantor under any Related Treasury Management Arrangement. The
term includes all principal, interest, fees, charges, expenses, reasonable attorneys’ fees, and any other sum
chargeable (including interest that would accrue during the pendency of any proceeding under Debtor Relief
Laws, regardless of whether allowed or allowable in such proceeding) to the Borrower or the Guarantors
under this Agreement or any other Loan Document or in connection with any Related Treasury
Management Arrangement.

         “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a result of a
present or former connection between such Recipient and the jurisdiction imposing such Tax (other than
connections arising solely from such Recipient having executed, delivered, become a party to, performed
its obligations under, received payments under, received or perfected a security interest under, engaged in
any other transaction pursuant to, enforced any Loan Document, or sold or assigned an interest in any Loan
or Loan Document).

        “Other Taxes” means all present or future stamp, court or documentary, intangible, recording, filing
or similar Taxes that arise from any payment made under, from the execution, delivery, performance,
enforcement or registration of, from the receipt or perfection of a security interest under, or otherwise with



                                                     17
              Case 23-10945-PDR            Doc 82      Filed 02/10/23      Page 94 of 205



respect to, any Loan Document, except any such Taxes that are Other Connection Taxes imposed with
respect to an assignment (other than an assignment made pursuant to Section 10.6).

        “Part 2” means the Confidentiality of Alcohol and Drug Abuse Patient regulations found at 42
C.F.R. Part 2 and any and all rules or regulations promulgated from time to time thereunder.

         “PBGC” means the Pension Benefit Guaranty Corporation and any entity succeeding to any or all
of its functions under ERISA.

        “Pension Funding Rules” means the Code and ERISA rules regarding minimum required
contributions (including installment payments) to Pension Plans set forth in Sections 412, 430, 431, 432
and 436 of the Code and Sections 302, 303, 304 and 305 of ERISA.

        “Pension Plan” means any employee pension benefit plan (as defined in Section 3(2) of ERISA),
other than a Multiemployer Plan, that is subject to Title IV of ERISA, and is sponsored or maintained by
any Loan Party or ERISA Affiliate or to which the Loan Party or ERISA Affiliate contributes or has an
obligation to contribute, or has during the preceding five plan years made or been obligated to make
contributions.

         “Permitted Holders” means the holders of Holdings’ Equity Interests as of the Closing Date and
their respective Controlled Investment Affiliates.

         “Permitted Indebtedness” has the meaning set forth in Section 6.2.

         “Permitted Investment” means any of the following Investments made by the Borrower or any of
its Subsidiaries in any Person: (i) Investments that exist on the Closing Date in cash and cash equivalents;
(ii) advances made in connection with purchases of goods and services in the ordinary course of business
and in accordance with the Budget; (iii) Investments that exist on the date hereof, set forth on Schedule 6.6
hereto, but not any increase in the amount thereof as set forth in such Schedule or any other modification
of the terms thereof; (iv) Investments received in connection with the bankruptcy or reorganization of, or
settlement of delinquent accounts and disputes with, customers and suppliers, in each case in the ordinary
course of business and in accordance with the Budget; (v) advances in the form of a prepayment of expense
to vendors, suppliers and trade creditors consistent with their past practices, so long as such expenses were
incurred in the ordinary course of business and in accordance with the Budget; (vi) purchases of assets in
the ordinary course of business, consistent with past practices and in accordance with the Budget; (vii)
Permitted Intercompany Advances; and (viii) deposits made in the ordinary course of business to secure
the performance of leases or other obligations pursuant to Section 6.3.

         “Permitted Intercompany Advances” means Investments made by a Loan Party into another Loan
Party.

         “Permitted Lien” shall mean:

         (a) the Permitted Prior Liens;

        (b) Liens arising by operation of law on the Real Property for real estate taxes and Liens securing
Taxes, assessments or governmental charges or levies or the claims or demands of contractors, materialmen,
mechanics, carriers, warehousemen, landlords and other like Persons (other than Liens imposed under
ERISA); provided the payment thereof is not required to be made pursuant to Section 5.4 hereof;




                                                     18
              Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 95 of 205



        (c)      Liens incurred or deposits made in the ordinary course of business (1) in connection with
workmen’s compensation, unemployment insurance, social security and other like laws or (2) to secure the
performance of letters of credit, bids, tenders, sales contracts, leases, statutory obligations, surety, appeal
and performance bonds and other similar obligations not incurred in connection with the borrowing of
money, the obtaining of advances or the payment of the deferred purchase price of the Real Property or
Equipment and, in the case of this clause (2) only, not in excess of $500,000 in the aggregate outstanding
at any one time;

        (d)     attachments, judgment and other similar Liens arising in connection with court
proceedings, provided the execution or other enforcement of such Liens is stayed and the claims secured
thereby are being actively contested in good faith and by appropriate proceedings in such manner as not to
have the Real Property or Equipment subject to such Liens forfeitable in accordance with Section 5.4;

         (e)     easements, rights-of-ways, reservations, exceptions, minor encroachments, rights of entry,
restrictive covenants, licenses, restrictions and similar charges created or incurred in the ordinary course of
business and not in connection with Indebtedness, and which in the aggregate do not materially detract from
the value of any Real Property or materially impair or interfere with its use in the business operations of
the Borrower and its Subsidiaries; including any such items included as exceptions in the title policy
obtained by Administrative Agent related to the Real Property;

        (f)      Liens in favor of the Borrower or any Guarantor;

        (g)     Liens in favor of the Administrative Agent for the benefit of the Secured Parties or
otherwise to secure the Obligations;

         (h)     Liens that are contractual rights of setoff (i) relating to the establishment of depository
relations with banks or other financial institutions not given in connection with the issuance of
Indebtedness, (ii) relating to pooled deposit or sweep accounts of the Borrower or any of its Subsidiaries to
permit satisfaction of overdraft or similar obligations incurred in the ordinary course of business of the
Borrower and its Subsidiaries or (iii) relating to purchase orders and other agreements entered into with
customers of the Borrower or any of its Subsidiaries in the ordinary course of business;

       (i)     Liens on insurance policies and the proceeds thereof securing the financing of the
premiums with respect thereto;

        (j)      precautionary Uniform Commercial Code and similar filings;

         (k)     Liens solely on any cash earnest money deposits made in connection with any letter of
intent or purchase agreement permitted hereunder;

        (l)      Liens (i) of a collection bank arising under Section 4-208 or 4-210 of the Uniform
Commercial Code on the items in the course of collection, (ii) attaching to commodity trading accounts or
other commodities brokerage accounts incurred in the ordinary course of business and not for speculative
purposes and (iii) in favor of a banking or other financial institution arising as a matter of law encumbering
deposits or other funds maintained with a financial institution (including the right of setoff) and that are
within the general parameters customary in the banking industry;

       (m)      Liens arising from judgments or orders for the payment of money not constituting an Event
of Default under Section 7.1(h);




                                                      19
              Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 96 of 205



         (n)     Liens arising out of conditional sale, title retention, consignment or similar arrangements
for sale of goods entered into by the Borrower or any of its Subsidiaries in the ordinary course of business
and not securing Indebtedness prohibited by this Agreement; and

        (o)     the modification, replacement, renewal or extension of any Lien permitted by this Section
6.3; provided that (i) such Lien does not extend to any additional property other than (A) after-acquired
property that is affixed or incorporated into the property covered by such Lien and (B) proceeds and
products thereof and (ii) the renewal, extension or refinancing of the obligations secured or benefited by
such Liens is permitted by Section 6.2.

        “Permitted Prior Lien” shall mean any of those existing Liens set forth on Schedule 6.3 that under
applicable law, are senior to, and have not been subordinated to, the DIP Liens granted in favor of the
Administrative Agent under the Loan Documents and the DIP Orders, but only to the extent that such Liens
are valid, perfected, enforceable and non-avoidable Liens as of the Petition Date as permitted by section
546 of the Bankruptcy Code.

         “Permitted Variance” shall mean, for (x) the period beginning on the Petition Date through and
including the second Friday following the Petition Date and (y) each Friday thereafter (each week
commencing on the Saturday of such week) but calculated on a rolling 3 week basis to account for timing
of payment variances, unless otherwise agreed to by the DIP Agent (the applicable “Testing Period”): (a)
any favorable disbursement variance, and (b) any unfavorable disbursement variance (other than
disbursements for professional fees of the Lenders and Administrative Agent and fees of the Office of the
United States Trustee) of no more than 15% for actual disbursements (on a line-item basis) as compared to
the budgeted disbursements set forth in the Budget with respect to the applicable Testing Period. The
Permitted Variances with respect to each Testing Period shall be determined and reported to the
Administrative Agent and the Required Lenders, not later than 5:00 p.m. Eastern Time on each Wednesday
immediately following the end of each such Testing Period. Additional variances, if any, from the Budget,
and any proposed changes to the Budget, shall be subject to the approval of the Administrative Agent
(acting at the direction of the Required Lenders).

        “Person” means any natural person, corporation, firm, joint venture, partnership, limited
partnership, limited liability company, association, trust or other entity or organization, whether acting in
an individual, fiduciary or other capacity, or any government or political subdivision thereof or any agency,
department or instrumentality thereof.

        “Petition Date” has the meaning assigned to such term in the recitals to this Agreement.

         “Plan” means each employee benefit plan (as defined in Section 3(3) of ERISA) whether now in
existence or hereafter instituted, of, or contributed to by, any Loan Party or any of their Subsidiaries or any
of their respective ERISA Affiliates.

        “Prepayment Event” means:

        (a) any Disposition of DIP Collateral other than Dispositions permitted by Section 6.4;

        (b) the receipt by any Loan Party or any of its Subsidiaries of any Extraordinary Receipts;

        (c) the receipt of (i) any cash or cash equivalents cash collateralizing any letter of credit that are
returned to a Loan Party for its own account and (ii) any cash or cash equivalents returned to a Loan Party
from rent reserves or security deposits returned to a Loan Party upon the assignment of a lease or otherwise;



                                                      20
              Case 23-10945-PDR           Doc 82      Filed 02/10/23       Page 97 of 205



      (d) any casualty or other insured damage to, or any taking under power of eminent domain or by
condemnation or similar proceeding of, any DIP Collateral of Borrower or any of its Subsidiary; or

        (e) the incurrence by Borrower or any of its Subsidiary of any Indebtedness (other than Permitted
Indebtedness) or the receipt of Net Proceeds from the issuance of Equity Interests.

        “Prepetition Agent” means the “Administrative Agent” as such term is defined in the Prepetition
Credit Agreement.

      “Prepetition Collateral” means the “Collateral” as such term is defined in the Prepetition Credit
Agreement.

      “Prepetition Credit Agreement” shall have the meaning assigned to such term in the recitals to this
Agreement.

        “Prepetition Lenders” shall mean the “Lenders” as defined in the Prepetition Credit Agreement as
of the Closing Date.

        “Prepetition Liens” shall have the meaning assigned to such term in Section 6.16.

        “Prepetition Loan Documents” shall mean the “Loan Documents” as defined in the Prepetition
Credit Agreement as of the Closing Date.

      “Prepetition Obligations” shall mean the “Obligations” as defined in the Prepetition Credit
Agreement as of the Closing Date.

        “Prepetition Secured Parties” has the meaning set forth in Section 2.14(b).

        “Prime Rate” means the rate of interest quoted in The Wall Street Journal (or another national
publication reasonably selected by the Administrative Agent) as the U.S. “Prime Rate.”

        “Private Payor” means any insurance company, health maintenance organization, professional
provider organization or similar entity that is obligated to make payments for goods or services provided to
a patient, other than a governmental entity.

        “Private Payor Arrangement” means an agreement or arrangement with a Private Payor pursuant
to which the Private Payor pays all or a portion of the charges of a Loan Party for providing goods and
services to a patient.

        “Proceeding” has the meaning ascribed to it in Section 9.5.

        “Property” means any interest in any kind of property or asset, whether real, personal or mixed, or
tangible or intangible, and any right in respect of any of the foregoing.

       “PTE” means a prohibited transaction class exemption issued by the U.S. Department of Labor, as
any such exemption may be amended from time to time.

        “Qualified ECP Guarantor” means, at any time, each Borrower, Affiliate of Borrower or Guarantor
with total assets exceeding $10,000,000 or that qualifies at such time as an “eligible contract participant”
under the Commodity Exchange Act and can cause another Person to qualify as an “eligible contract
participant” at such time under Section 1a(18)(A)(v)(II) of the Commodity Exchange Act.


                                                    21
              Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 98 of 205



        “Qualified Equity Interests” means any Equity Interests or Equity Interests Equivalents that are not
Disqualified Equity Interests.

        “Real Property” means all real property or interests therein wherever situated now, heretofore or
hereafter owned or ground (or space) leased by the Borrower pledged to Administrative Agent for the
benefit of the Secured Parties as Collateral under any of the Security Documents.

        “Recipient” means the Administrative Agent or any Lender or any other recipient of any payment
to be made by or on account of any obligation of any Borrower or Guarantor hereunder.

        “Register” has the meaning ascribed to it in Section 9.9(d).

        “Regulation D,” “Regulation T,” “Regulation U” and “Regulation X” means Regulation D,
Regulation T, Regulation U and Regulation X, respectively, of the Board of Governors of the Federal
Reserve System as from time to time in effect and any successor to all or a portion thereof establishing
margin requirements.

        “Related Indemnified Party” has the meaning ascribed to it in Section 9.5.

         “Related Treasury Management Arrangement” means all arrangements for the delivery of cash
management services, including treasury, depository, overdraft, credit or debit card, electronic funds
transfer and other cash management arrangements, to or for the benefit of any Borrower, Guarantor or any
of their Affiliates which are now or hereafter entered into or maintained with a Lender, the Administrative
Agent or an Affiliate of a Lender or the Administrative Agent.

        “Release Price” means the amount reasonably determined by the Administrative Agent which is
payable by Borrower as a condition precedent to the release of any Collateral. The Administrative Agent’s
reasonable determination of the Release Price for shall be final absent manifest error.

       “Relevant Governmental Body” means the Federal Reserve Board or the Federal Reserve Bank of
New York, or a committee officially endorsed or convened by the Federal Reserve Board or the Federal
Reserve Bank of New York, or any successor thereto.

        “Reportable Event” any event set forth in Section 4043(c) of ERISA, other than an event as to
which the PBGC has waived under subsection .22, .23, .25, .27 or .28 of PBGC Regulation Section 4043
the requirement of Section 4043(a) of ERISA that it be notified of such event.

         “Required Lenders” means Lenders holding more than fifty percent (50%) of the aggregate
outstanding principal amount of the Loans; provided that if there are at least two non-affiliated Lenders
(treating Lenders that are Affiliates of one another as a single Lender for the purposes of this proviso),
“Required Lenders” must include at least two non-affiliated Lenders. The Commitments and Loans of any
Defaulting Lender shall be disregarded in determining Required Lenders at any time.

        “Resignation Effective Date” has the meaning specified in Section 8.13(a).

         “Responsible Officer” means the chief executive officer, president, senior vice president, senior
vice president (finance), vice president, chief financial officer, treasurer, manager of treasury activities or
assistant treasurer or other similar officer or Person performing similar functions of a Loan Party and, as to
any document delivered on the Closing Date, any secretary or assistant secretary of a Loan Party. To the
extent requested by the Administrative Agent, each “Responsible Officer” will provide an incumbency
certificate and to the extent requested by the Administrative Agent, appropriate authorization


                                                      22
              Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 99 of 205



documentation, in form and substance reasonably satisfactory to the Administrative Agent. Any document
delivered hereunder that is signed by a Responsible Officer of a Loan Party shall be conclusively presumed
to have been authorized by all necessary corporate, partnership and/or other action on the part of such Loan
Party and such Responsible Officer shall be conclusively presumed to have acted on behalf of such Loan
Party. Unless otherwise specified, all references herein to a “Responsible Officer” shall refer to a
Responsible Officer of the Borrower.

        “S&P” means S&P Global Ratings or any successor thereto.

        “SDN List” has the meaning set forth in Section 4.27.

        “Secured Parties” means, collectively, the Administrative Agent, the Lenders and each Indemnified
Party, and their respective successors and assigns.

        “Security Documents” means the DIP Order and each other assignment, pledge or security
agreement, instrument, certificate, financing statements, filings or document pursuant to which the
Borrower, any Guarantor or any other Person shall grant or convey to the Administrative Agent or the
Lenders a DIP Lien in Collateral as security for all or any portion of the Obligations, whether now or
hereafter in existence, as said agreements or documents may be amended, modified, restated or replaced
from time to time, each in form and substance reasonably satisfactory to the Administrative Agent.

        “Specified Loan Party” means any Borrower, Affiliate of Borrower or Guarantor that is not then
an “eligible contract participant” under the Commodity Exchange Act (determined prior to giving effect to
Section 9.20).

         “Subsidiary” of any Person means (i) any corporation of which more than 50% of the outstanding
Equity Interests and Equity Interests Equivalents of any class or classes having ordinary voting power for
the election of directors (irrespective of whether or not at the time Equity Interests or Equity Interests
Equivalents of any class or classes of such corporation shall have or might have voting power by reason of
the happening of any contingency) is now or hereafter owned directly or indirectly by such Person, by such
Person and one or more of its Subsidiaries, or by one or more of such Person’s other Subsidiaries, (ii) any
partnership, association, limited liability company, joint venture or other entity in which such Person, such
Person and one or more of its Subsidiaries, or one or more of its Subsidiaries, is either a general partner or
has an equity or voting interest of more than 50% at the time, and (iii) any other entity which is directly or
indirectly controlled by such Person or one or more Subsidiaries of such Person or both; provided that,
unless otherwise specified, any reference to “Subsidiary” means a Subsidiary of the Borrower.

        “Tax Distributions” means, in the event the income of Borrower or any of its Subsidiaries is
required to be included in any income tax return filed by Holdings or any direct or indirect parent
corporation of Holdings (including any such income tax return filed on a consolidated, combined, unitary
or similar basis), distributions from the Loan Parties (other than Holdings) to Holdings (or to such parent
corporation) to permit Holdings or such parent corporation to pay federal, state and local income taxes
(including estimated taxes) then due and payable, provided that the amount of such distributions shall not
be greater than the amount of such taxes as are attributable to the income of Holdings and its Subsidiaries.

        “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings
(including backup withholding), assessments, fees or other charges imposed by any Governmental
Authority, including any interest, additions to tax or penalties applicable thereto.

        “Term Note” has the meaning set forth in Section 2.1(a).



                                                     23
             Case 23-10945-PDR            Doc 82      Filed 02/10/23      Page 100 of 205



        “Testing Period” has the meaning set forth in the definition of “Permitted Variances”.

         “Transactions” means, collectively, (a) the execution, delivery and performance by each Loan Party
of the Loan Documents to which it is a party, (b) the commencement and filing of the Chapter 11 Cases
and (c) the payment fees and expenses in connection with the consummation of the Transactions.

        “United States” and “U.S.” mean the United States of America.

         “U.S. Government Securities Business Day” means any day except for (a) a Saturday, (b) a Sunday
or (c) a day on which the Securities Industry and Financial Markets Association recommends that the fixed
income departments of its members be closed for the entire day for purposes of trading in United States
government securities.

        “U.S. Person” means any Person that is a “United States Person” as defined in Section 7701(a)(30)
of the Code.

        “U.S. Tax Compliance Certificate” has the meaning assigned thereto in Section 10.1(e)(ii)(B)(3).

        “Write-Down and Conversion Powers” means, with respect to any EEA Resolution Authority, the
write-down and conversion powers of such EEA Resolution Authority from time to time under the Bail-In
Legislation for the applicable EEA Member Country, which write-down and conversion powers are
described in the EU Bail-In Legislation Schedule.

      1.3     Other Interpretive Provisions. With reference to this Agreement and each other Loan
Document, unless otherwise specified herein or in such other Loan Document:

                (a)     The meanings of defined terms are equally applicable to the singular and plural
        forms of the defined terms.

                (b)      All undefined terms contained in any of the Loan Documents shall, unless the
        context indicates otherwise, have the meanings provided for by the Uniform Commercial Code to
        the extent the same are used or defined therein; in the event that any term is defined differently in
        different Articles or Divisions of the Uniform Commercial Code, the definition contained in Article
        or Division 9 shall control.

                (c)     The meanings of defined terms are equally applicable to the singular and plural
        forms of the defined terms.

                        (i)      The words “herein,” “hereto,” “hereof” and “hereunder” and words of
        similar import when used in any Loan Document shall refer to such Loan Document as a whole
        and not to any particular provision thereof.

                         (ii)    References in this Agreement to an Exhibit, Schedule, Article, Section,
        clause or sub-clause refer (A) to the appropriate Exhibit or Schedule to, or Article, Section, clause
        or sub-clause in this Agreement or (B) to the extent such references are not present in this
        Agreement, to the Loan Document in which such reference appears.

                        (iii)    The term “including” is by way of example and not a limitation.




                                                    24
              Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 101 of 205



                       (iv)     The term “documents” includes any and all instruments, documents,
        agreements, certificates, notices, reports, financial statements and other writings, however
        evidenced, whether in physical or electronic form.

                (d)     In the computation of periods of time from a specified date to a later specified date,
        the word “from” means “from and including;” the words “to” and “until” each mean “to but
        excluding;” and the word “through” means “to and including.”

               (e)      Section headings herein and in the other Loan Documents are included for
        convenience of reference only and shall not affect the interpretation of this Agreement or any other
        Loan Document.

        1.4     Accounting Terms; Payment Dates. All accounting terms not specifically or completely
defined herein shall be construed in conformity with, and all financial data (including financial ratios and
other financial calculations) required to be submitted pursuant to this Agreement shall be prepared in
conformity with, GAAP, except as otherwise specifically prescribed herein. Unless the context indicates
otherwise, any reference to a “fiscal year” or a “fiscal quarter” shall refer to a fiscal year ending
December 31 or fiscal quarter ending March 31, June 30, September 30 or December 31 of the Borrower.

         1.5       References to Agreements, Laws, Etc. Unless otherwise expressly provided herein, (a)
any definition of or reference to any agreement, instrument or other document herein or in any Loan
Document shall be construed as referring to such agreement, instrument or other document as may be from
time to time amended, restated, amended and restated, supplemented or otherwise modified, extended,
refinanced or replaced (subject to any restrictions or qualifications on such amendments, restatements,
amendment and restatements, supplements or modifications, extensions, refinancings or replacements set
forth herein or in any Loan Document) and (b) any reference to any law in any Loan Document shall include
all statutory and regulatory provisions consolidating, amending, replacing, supplementing or interpreting
such law.

        1.6     Times of Day. Unless otherwise specified, all references herein to times of day shall be
references to New York City time (daylight or standard, as applicable).

         1.7      Divisions. For all purposes under the Loan Documents, in connection with any division
or plan of division under Delaware law (or any comparable event under a different jurisdiction’s laws): (a)
if any asset, right, obligation or liability of any Person becomes the asset, right, obligation or liability of a
different Person, then it shall be deemed to have been transferred from the original Person to the subsequent
Person, and (b) if any new Person comes into existence, such new Person shall be deemed to have been
organized on the first date of its existence by the holders of its Equity Interests at such time.

                                               ARTICLE II
                                             THE ADVANCES

        2.1      The Advances.

                         (a)     Interim DIP Loan. Subject to the terms and conditions of this Agreement,
        and pursuant to and solely in accordance with the Budget, on the Closing Date, each Lender, agrees
        to severally, and not jointly or jointly and severally, to make an Interim DIP Loan to and for the
        account of the Borrower as provided herein, in the aggregate amount of such Lender’s Interim DIP
        Loan Commitment (subject to any limitations contained within the Interim DIP Order). The Interim
        DIP Loans shall be made in one draw on the Closing Date, and the Interim DIP Loan Commitments



                                                       25
    Case 23-10945-PDR             Doc 82      Filed 02/10/23      Page 102 of 205



shall be immediately terminated after the funding of the Interim DIP Loans. Once repaid, no part
of the Interim DIP Loans may be reborrowed.

                  (b)     Final DIP Loans. Subject to the terms and conditions set forth herein, and
pursuant to and solely in accordance with the Budget, each Lender, agrees to severally, and not
jointly or jointly and severally, from time to time on and after the Final DIP Closing Date and until
the DIP Termination Date, to make the Final DIP Loans to and for the account of the Borrower as
provide herein, in the aggregate amount of such Lender’s Final DIP Loan Commitment (subject to
any limitations contained within the Final DIP Order). The Final DIP Loan Commitment of each
Lender shall be reduced by the amount of any funding hereunder and shall be terminated on the
DIP Termination Date. Once paid or prepaid, no part of the Final DIP Loans may be reborrowed.

                (c)     The Borrower’s obligation to pay the principal of, and interest on, the
Loans shall be evidenced by the records of the Administrative Agent and each Lender and, if
requested by a Lender in accordance with Section 2.1(g) below, by a term loan promissory note(s)
in form and substance reasonably acceptable to the Administrative Agent (the “Term Note”). The
entries made in the Register shall (absent manifest error) be prima facie evidence of the existence
and amounts of the obligations of the Borrower therein recorded; provided that the failure or delay
of the Administrative Agent or Lender in maintaining or making entries into any such record or on
such schedule or any error therein shall not in any manner affect the obligation of the Borrower to
repay the Loans (both principal and unpaid accrued interest) in accordance with the terms of this
Agreement.

                (d)      Disbursement of Loans. Pending use in accordance with the Budget and
subject to Section 6.16, all DIP Proceeds (including any intra-company transfers of such DIP
Proceeds) shall be deposited into a Blocked Account (or in any case subject to the DIP Liens
pursuant to the DIP Order) and invested at all times by the applicable Loan Party in accordance
with the Debtors’ “first day” pleadings governing cash management. Any such DIP Proceeds may
only be used by the Borrower in accordance with the Budget.

                (e)      [Reserved].

                (f)      [Reserved].

                 (g)     Notes. If requested by any Lender, the Advances made by such Lender
shall be evidenced by, and be payable in accordance with the terms of the Term Note issued to such
Lender, as applicable, made by the Borrower payable to such Lender in a principal amount equal
to the Commitment of such Lender; subject, however, to the provisions of such Note to the effect
that the principal amount payable thereunder at any time shall not exceed the then unpaid principal
amount of the Advances made by such Lender. The Borrower hereby irrevocably authorizes each
Lender to make or cause to be made, at or about the time of each Advance made by such Lender,
an appropriate notation on the records of such Lender, reflecting the principal amount of such
Advance, and such Lender shall make or cause to be made, on or about the time of receipt of
payment of any principal of any Advance, an appropriate notation on its records reflecting such
payment and such Lender will, prior to any transfer of any of such Note, endorse on the reverse
side thereof the outstanding principal amount of the Advances evidenced thereby. Failure to make
any such notation shall not affect the Borrower’s obligations in respect of such Advances. The
aggregate amount of all Advances set forth on the Register shall be conclusive evidence of the
principal amount owing and unpaid on such Lender’s Note, absent manifest error.




                                            26
             Case 23-10945-PDR            Doc 82        Filed 02/10/23      Page 103 of 205



                          (h)    Promise to Pay. The Borrower hereby promises to pay in full to the
        Administrative Agent for the benefit of the Lenders the amount of all Obligations, including the
        principal amount of all Loans, together with accrued interest, fees and other amounts due thereon,
        all in accordance with the terms of this Agreement. All outstanding Obligations, including the
        outstanding principal amount of all Loans, together with unpaid accrued interest, fees and other
        amounts due thereon, shall be due and payable in full on the DIP Termination Date. The Borrower
        shall repay to the Administrative Agent, for the account of the Lenders on the DIP Termination
        Date the aggregate outstanding principal amount of the Loans, together with all accrued but unpaid
        interest thereon.

                        (i)     Interest on Advances. The Borrower agrees to pay interest on the
        aggregate outstanding principal amount of the Advances until paid in full as follows:

                                 (1)      Loan. The Loan shall bear interest at the Prime Rate plus the
        Applicable Margin.

                                 (2)      [Reserved].

                                 (3)      Default Interest. While any Event of Default exists and is
        continuing or after acceleration, automatically and without notice from the Administrative Agent,
        the Loans and any other Obligations shall bear interest at the Default Rate (“Default Interest”) with
        respect to all Loans and with respect to all other Obligations that are then due and unpaid; provided
        that Default Interest shall accrue from the date of such Default or Event of Default. All Default
        Interest shall be payable on demand or at the DIP Termination Date.

                                (4)       Payment Dates. Interest accrued on each Loan shall be payable in
        cash, without duplication:

                                          (A)     on the DIP Termination Date;

                                        (B)     in respect of any Loan, on the date of any payment or
                prepayment, in whole or in part, of principal outstanding on such Loan, on the principal
                amount so paid or prepaid; and

                                          (C)     on each Interest Payment Date.

         The Administrative Agent shall determine each interest rate applicable to the Loan in accordance
with the terms hereof and, upon any rate change, shall promptly notify the Borrower of such rate in writing
(or by telephone, promptly confirmed in writing). Any such determination shall be conclusive and binding
for all purposes, absent manifest error.

                         (j)     Calculation of Interest. All computations of interest shall be made on the
        basis of a 360-day year and actual days elapsed (which results in more fees or interest, as applicable,
        being paid than if computed on the basis of a 365-day year). Interest shall accrue on each Loan for
        the day on which the Loan is made, and shall not accrue on a Loan, or any portion thereof, for the
        day on which the Loan or such portion is paid, provided that any Loan that is repaid on the same
        day on which it is made shall, subject to Section 2.3, bear interest for one day. Each determination
        by the Administrative Agent of an interest rate or fee hereunder shall be conclusive and binding for
        all purposes, absent manifest error.

                         (k)     [Reserved.]


                                                     27
            Case 23-10945-PDR            Doc 82       Filed 02/10/23     Page 104 of 205



                        (l)     Prepayment. Prepayments of the Loans shall be (or in the case of Section
        2.1(l)(1), may be) made as set forth below:

                                (1)     The Borrower shall have the right, by giving written notice to the
        Administrative Agent (which such written notice shall be in a form approved by the Administrative
        Agent (including any form on an electronic platform or electronic transmission system as shall be
        reasonably approved by the Administrative Agent), substantially completed and signed by a
        Responsible Officer) by not later than 1:00 p.m. on the fifth (5th) day preceding the date of such
        prepayment, to prepay all or any portion of the aggregate principal amount of any Loan, without
        premium or penalty. Borrower shall reimburse the Lenders and the Administrative Agent on
        demand for any amounts set forth in, and to the extent required by Section 10.5.

                                (2)     [Reserved].

                                (3)     [Reserved].

                              (4)     Concurrently with the receipt by Holdings or any of its
        Subsidiaries of Net Cash Proceeds from any Prepayment Event, the Borrower shall make a
        mandatory prepayment of the Loans in an amount equal to 100.0% of such Net Cash Proceeds.

                                  (5)     Application of Prepayment. In connection with any voluntary
        prepayments by any Borrower pursuant to Section 2.01(l)(1) and any mandatory prepayments by
        any Borrower of the Loans pursuant to Section 2.01(l)(4), such prepayments shall be applied on a
        pro rata basis to the then outstanding Loans.

                         (m)     Administrative Agent may, on behalf of Lenders, disburse funds to the
        Borrower for Loans requested. Each Lender shall reimburse Administrative Agent on demand for
        all funds disbursed on its behalf by Administrative Agent, or if Administrative Agent so requests,
        each Lender will remit to Administrative Agent its Commitment percentage of any Loan before
        Administrative Agent disburses same to the Borrower. If Administrative Agent elects to require
        that each Lender make funds available to Administrative Agent prior to disbursement by
        Administrative Agent to the Borrower, Administrative Agent shall advise each Lender by telephone
        or fax of the amount of such Lender’s Commitment percentage of the Loan requested by the
        Borrower no later than the Business Day prior to the scheduled Borrowing date applicable thereto,
        and each such Lender shall pay Administrative Agent such Lender’s Commitment percentage of
        such requested Loan, in same day funds, by wire transfer to Administrative Agent’s account, as
        designated in writing by the Administrative Agent to Borrower from time to time, no later than
        1:00 p.m. on such scheduled Borrowing date. Nothing in this Section 2.1(m) or elsewhere in this
        Agreement or the other Loan Documents, including the remaining provisions of Section 2.1, shall
        be deemed to require Administrative Agent to advance funds on behalf of any Lender or to relieve
        any Lender from its obligation to fulfill its Commitments hereunder or to prejudice any rights that
        Administrative Agent, any Lender or the Borrower may have against any Lender as a result of any
        default by such Lender hereunder.

        2.2       Register. The Borrower hereby irrevocably authorizes the Administrative Agent to make,
or cause to be made, an appropriate notation on the Register, reflecting the date and original principal
amount of each Advance made by any Lender, the dates for each period, the interest rate for each such
period and the dates of principal and interest payments on such Advance. The Register shall be conclusive
evidence of the status of such Lender’s Advances, absent manifest error. Failure to make any such notation
shall not affect the Borrower’s obligations in respect of such Advances.



                                                    28
             Case 23-10945-PDR             Doc 82       Filed 02/10/23       Page 105 of 205



        2.3      Payments. Any other provision of this Agreement to the contrary notwithstanding, the
Borrower shall make each payment of interest on and principal of the Notes, and fees and other payments
due under this Agreement (except as otherwise expressly provided herein), in immediately available funds
to the Administrative Agent at its office referred to in Section 9.3 not later than 2:00 p.m. on the date when
due. Subject to Section 10.1 (Taxes) hereof, payments by the Borrower under this Agreement shall be made
without offset, counterclaim or other deduction and in such amounts as may be necessary in order that all
such payments shall not be less than the amounts otherwise specified to be paid under this Agreement and
the Notes. The Administrative Agent will promptly thereafter distribute like funds ratably to each Lender
(unless such amount is not to be shared ratably in accordance with the terms hereof).

         2.4      Setoff; etc. Upon the occurrence and during the continuance of an Event of Default, each
Lender and the Administrative Agent are hereby authorized at any time and from time to time, subject to
the terms of the Interim DIP Order and Final DIP Order, to set off and apply any and all deposits (general
or special, time or demand, provisional or final) at any time held and other indebtedness at any time owing
by such Lender or Administrative Agent to or for the credit or the account of the Borrower or any of its
Subsidiaries, including specifically any amounts held in any account maintained at such Lender or
Administrative Agent, against any and all amounts then due to the Administrative Agent or the Lenders, or
any of them, from the Borrower, in connection with this Agreement or any Loan Document; provided that
no Lender shall exercise any such right without the prior written consent of the Administrative Agent (at
the direction of the Required Lenders). The rights of the Lenders and the Administrative Agent under this
Section 2.4 are in addition to other rights and remedies (including other rights of set-off) which the Lenders
and the Administrative Agent may have under applicable law. Each Lender and the Administrative Agent
agrees, severally and not jointly, to use reasonable efforts to notify the Borrower of any exercise of its rights
pursuant to this Section 2.4, provided, however, that failure to provide such notice shall not affect any
Lender’s or the Administrative Agent’s rights under this Section 2.4 or the effectiveness of any action taken
pursuant hereto; provided that in the event that any Defaulting Lender shall exercise any such right of setoff,
(x) all amounts so set off shall be paid over immediately to the Administrative Agent for further application
in accordance with the provisions of Section 2.10 and, pending such payment, shall be segregated by such
Defaulting Lender from its other funds and deemed held in trust for the benefit of the Administrative Agent
and the Lenders, and (y) the Defaulting Lender shall provide promptly to the Administrative Agent a
statement describing in reasonable detail the Obligations owing to such Defaulting Lender as to which it
exercised such right of setoff. Each Lender agrees to notify the Borrower and the Administrative Agent
promptly after any such setoff and application; provided that the failure to give such notice shall not affect
the validity of such setoff and application.

         2.5       Sharing. If any Lender shall obtain any payment (whether voluntary, involuntary, by
application of offset or otherwise) on account of the Loans made by it in excess of such Lender’s ratable
share of payments on account of the Loans obtained by all the Lenders, such Lender shall purchase from
the other Lenders such participations in the Loans made by them as shall be necessary to cause such
purchasing Lender to share the excess payment ratably with each of them; provided that, (i) if any such
participations are purchased and all or any portion of the payment giving rise thereto is recovered, such
participations shall be rescinded and the purchase price restored to the extent of such recovery, without
interest; and (ii) the provisions of this Section 2.5 shall not be construed to apply to (x) any payment made
by or on behalf of the Borrower pursuant to and in accordance with the express terms of this Agreement
(including the application of funds arising from the existence of a Defaulting Lender), or (y) any payment
obtained by a Lender as consideration for the assignment of or sale of a participation in any of its Loans to
any assignee or participant, other than an assignment to any Borrower or any Guarantor or any Affiliate
thereof (as to which the provisions of this Section 2.5 shall apply). The Borrower agrees that any Lender
so purchasing a participation from another Lender pursuant to this Section 2.5 may, to the fullest extent
permitted by law, exercise all its rights of payment (including the right to setoff) with respect to such


                                                       29
              Case 23-10945-PDR           Doc 82      Filed 02/10/23       Page 106 of 205



participation as fully as if such Lender were the direct creditor of the Borrower in the amount of such
participation.

        2.6      Fees. The Borrower shall pay to the Administrative Agent for its own account fees in the
amounts and at the times specified in the Commitment Letter. Such fees shall be fully earned when paid
and shall not be refundable for any reason whatsoever.

         2.7      Lending Branch. Subject to the provisions of Section 10.6(a), each Lender may, at its
option, elect to make, fund or maintain its Loans hereunder at the branch or office specified on the signature
pages hereto or such other of its branches or offices as such Lender may from time to time elect.

        2.8     Application of Payments and Collections.

                         (a)     Order of Application of Payments. Subject to the provisions of
        subsection (b) below, all payments and prepayments and any other amounts received by the
        Administrative Agent from or for the benefit of the Borrower shall be applied, first to pay principal
        of and interest on any portion of the Advances which the Administrative Agent may have advanced
        on behalf of any Lender for which the Administrative Agent has not then been reimbursed by such
        Lender or the Borrower, second ratably to pay all other Obligations in respect of fees, expenses,
        reimbursements or indemnities then due and payable, third ratably to pay interest then due in respect
        of the Loans, and fourth to pay the principal of the Loans then due and payable.

                         (b)     Application of Payments After an Event of Default. After the occurrence
        of an Event of Default and while the same is continuing, the Administrative Agent shall, unless the
        Administrative Agent and the Lenders shall agree otherwise, apply all payments and prepayments
        in respect of any Obligations (including collections from and proceeds of the Collateral) in the
        following order:

                               (1)     to pay interest on and then principal of any portion of the
        Advances which the Administrative Agent may have advanced on behalf of any Lender for which
        the Administrative Agent has not then been reimbursed by such Lender or the Borrower;

                                 (2)    to pay Obligations in respect of any fees, expense reimbursements
        or indemnities then due to the Administrative Agent;

                              (3)      ratably to pay Obligations in respect of any fees, expenses,
        reimbursements or indemnities (other than principal and interest) payable to the Lenders; and

                                (4)     (A) first, to the payment of interest on all Loans and any
                amounts due pursuant to Sections 10.4 and 10.5, to be allocated among the Lenders
                pro rata based on the respective aggregate amounts of such accrued interest and
                amounts owed to them, and (B) second, to the payment of the outstanding principal
                amounts of all Loans and Obligations under Related Treasury Management
                Arrangements to be allocated among the Lenders, pro rata based on the respective
                outstanding principal amounts described in this clause (B) payable to them;

                        (c)      Each of the Lenders hereby irrevocably designates the Administrative
        Agent its attorney in fact for the purpose of receiving any and all payments to be made to such
        Lender in respect of Obligations held by it, and hereby directs each payor of any such payment to
        make such payment to the Administrative Agent. Each of the Lenders hereby further agrees that



                                                     30
       Case 23-10945-PDR          Doc 82      Filed 02/10/23       Page 107 of 205



if, notwithstanding the foregoing, it should receive any such payment (including by set-off), it shall
hold such payment in trust for, and promptly deliver such payment to, the Administrative Agent.

               (d)      The Administrative Agent shall promptly distribute to each Lender at its
primary address set forth on the appropriate signature page hereof or at such other address as a
Lender may notify the Administrative Agent in writing, such funds as such Lender may be entitled
to receive.

2.9      Making the Loans.

                 (a)      A Responsible Officer on behalf of the Borrower shall (I) give the
Administrative Agent a Notice of Borrowing, not later than 1:00 PM (New York City time) on the
date which is (i) one (1) Business Day prior the applicable DIP Loan Funding Date with respect to
the Borrowing of any Interim DIP Loans and (ii) three (3) Business Days prior to the applicable
DIP Loan Funding Date with respect to the Borrowing of any Final DIP Loans. The Notice of
Borrowing shall be irrevocable and shall specify (i) the principal amount of the proposed Loan
(which shall be denominated in Dollars), (ii) the Borrower’s wiring instructions, (iii) confirmation
that the Notice of Borrowing complies with the then applicable Budget and (iv) the proposed
borrowing date, which must be an applicable Business Day. The Administrative Agent and the
Lenders may act without liability upon the basis of written, telecopied or telephonic notice believed
by the Administrative Agent in good faith to be from any Responsible Officer of Borrower
designated in writing to the Administrative Agent. Each Borrower hereby waives the right to
dispute the Administrative Agent’s record of the terms of any such telephonic Notice of Borrowing.
The Administrative Agent and each Lender shall be entitled to rely conclusively on any
Responsible Officer’s authority to request a Loan on behalf of the Borrower until the
Administrative Agent receives written notice to the contrary. The Administrative Agent and the
Lenders shall have no duty to verify the authenticity of the signature appearing on the written Notice
of Borrowing.

               (b)      The Notice of Borrowing pursuant to this Section 2.9 shall be irrevocable
and the Borrower shall be bound to make a Borrowing in accordance therewith.

                 (c)     Except as otherwise provided in this Section 2.9(c), all Loans under this
Agreement shall be made by the applicable Lenders simultaneously and proportionately to their
pro rata shares of the Commitment of each such Lender, as the case may be, it being understood
that no Lender shall be responsible for any default by any other Lender in that other Lender’s
obligations to make a Loan requested hereunder, nor shall the Commitment of any Lender be
increased or decreased as a result of the default by any other Lender in that other Lender’s
obligation to make a Loan requested hereunder, and each Lender shall be obligated to make the
Loans required to be made by it by the terms of this Agreement regardless of the failure by any
other Lender.

2.10     Defaulting Lenders.

                (a)    Adjustments. Notwithstanding anything to the contrary contained in this
Agreement, if any Lender becomes a Defaulting Lender, then, until such time as that Lender is no
longer a Defaulting Lender, to the extent permitted by applicable law:

                            (1)     Waivers and Amendments. Such Defaulting Lender’s right to
approve or disapprove any amendment, waiver or consent with respect to this Agreement shall be
restricted as set forth in the definition of “Required Lenders” and Section 9.1.


                                             31
    Case 23-10945-PDR             Doc 82      Filed 02/10/23      Page 108 of 205



                          (2)     Defaulting Lender Waterfall. Any payment of principal, interest,
fees or other amounts received by the Administrative Agent for the account of such Defaulting
Lender (whether voluntary or mandatory, at maturity, pursuant to Article VII or otherwise) or
received by the Administrative Agent from a Defaulting Lender pursuant to Section 2.4 shall be
applied at such time or times as may be determined by the Administrative Agent as follows: first,
to the payment of any amounts owing by such Defaulting Lender to the Administrative Agent
hereunder; second, as the Borrower may request (so long as no Default or Event of Default exists),
to the funding of any Loan in respect of which such Defaulting Lender has failed to fund its portion
thereof as required by this Agreement, as determined by the Administrative Agent; third, if so
determined by the Administrative Agent and the Borrower, to be held in a deposit account and
released pro rata in order to satisfy such Defaulting Lender’s potential future funding obligations
with respect to Loans under this Agreement; fourth, to the payment of any amounts owing to the
Lenders as a result of any judgment of a court of competent jurisdiction obtained by any Lender
against such Defaulting Lender as a result of such Defaulting Lender’s breach of its obligations
under this Agreement; fifth, so long as no Default or Event of Default exists, to the payment of any
amounts owing to the Borrower as a result of any judgment of a court of competent jurisdiction
obtained by the Borrower against such Defaulting Lender as a result of such Defaulting Lender’s
breach of its obligations under this Agreement; and sixth, to such Defaulting Lender or as otherwise
as may be required under the Loan Documents in connection with any Lien conferred thereunder
or directed by a court of competent jurisdiction; provided that if (x) such payment is a payment of
the principal amount of any Loans in respect of which such Defaulting Lender has not fully funded
its appropriate share, and (y) such Loans were made at a time when the conditions set forth in
Section 3.2 were satisfied or waived, such payment shall be applied solely to pay the Loans of all
Non-Defaulting Lenders on a pro rata basis prior to being applied to the payment of any Loans of
such Defaulting Lender until such time as all Loans are held by the Lenders pro rata in accordance
with the Commitments hereunder. Any payments, prepayments or other amounts paid or payable
to a Defaulting Lender that are applied (or held) to pay amounts owed by a Defaulting Lender shall
be deemed paid to and redirected by such Defaulting Lender, and each Lender irrevocably consents
hereto.

                         (3)     Certain Fees. No Defaulting Lender shall be entitled to receive
any fee payable under Section 2.6 for any period during which that Lender is a Defaulting Lender
and the Borrower shall not be required to pay any such fee that otherwise would have been required
to have been paid to that Defaulting Lender.

                (b)      [Reserved].

                 (c)      Defaulting Lender Cure. If the Borrower and the Administrative Agent
agree in writing that a Lender is no longer a Defaulting Lender, the Administrative Agent will so
notify the parties hereto, whereupon as of the effective date specified in such notice and subject to
any conditions set forth therein, that Lender will, to the extent applicable, purchase at par that
portion of outstanding Loans of the other Lenders or take such other actions as the Administrative
Agent may determine to be necessary to cause the Loans to be held on a pro rata basis by the
Lenders in accordance with their Applicable Loan Percentages, whereupon such Lender will cease
to be a Defaulting Lender; provided that no adjustments will be made retroactively with respect to
fees accrued or payments made by or on behalf of the Borrower while that Lender was a Defaulting
Lender; and provided, further, that except to the extent otherwise expressly agreed by the affected
parties, no change hereunder from Defaulting Lender to Lender will constitute a waiver or release
of any claim of any party hereunder arising from that Lender’s having been a Defaulting Lender.




                                            32
               Case 23-10945-PDR           Doc 82      Filed 02/10/23       Page 109 of 205



        2.11    No Discharge; Survival of Claims. Until indefeasible payment in full (other than
contingent obligations not yet due and payable) in cash of the Loans and all other Obligations, each of the
Borrower and the Guarantors agrees that (a) the Obligations hereunder shall not be discharged by the entry
of an order confirming a plan of reorganization or liquidation in any Chapter 11 Case (and each of the
Borrower and the Guarantors, pursuant to Section 1141(d)(4) of the Bankruptcy Code, hereby waives any
such discharge) and (b) the DIP Credit Facility Super-Priority Claims and the DIP Liens granted to the
Administrative Agent pursuant to the DIP Orders and described in Section 2.12 shall not be affected in any
manner by the entry of an order confirming a plan of reorganization or liquidation in any Chapter 11 Case,
and such claims and Liens shall be paid in full in cash by any such plan in each case, unless otherwise
agreed by DIP Agent, including with respect to the assumption of the underlying Obligations by any
purchaser of the Debtors’ assets.

        2.12     Super Priority Nature of Obligations and Lenders’ DIP Liens.

                        (a)      The priority of the Secured Parties’ DIP Liens on the DIP Collateral owned
        by the Loan Parties shall be set forth in the DIP Orders.

                         (b)      All Obligations shall constitute DIP Credit Facility Super-Priority Claims.

                        (c)     Upon entry of the Interim DIP Order, the DIP Liens granted to the
        Administrative Agent for the benefit of the Lenders on the DIP Collateral shall be valid and
        automatically perfected and with the priority as set forth in the DIP Orders.

                       (d)     Except as set forth herein or the DIP Orders, the Debtors shall not seek
        approval of any other claim having a priority superior or pari passu to that granted to the
        Administrative Agent and Lenders by the DIP Orders while any Obligations remain outstanding.

         2.13     Release. The Borrower and each of the Guarantors hereby acknowledges effective upon
entry of the Interim DIP Order, and subject to the terms thereof and of the Final DIP Order, that the
Borrower, the Guarantors and any of their Subsidiaries have no defense, counterclaim, offset, recoupment,
claim or demand of any kind or nature whatsoever that can be asserted to reduce or eliminate all of any part
of the Borrower’s, the Guarantors’ or any Subsidiaries’ liability to repay the Administrative Agent or any
Lender as provided in this Agreement or to seek affirmative relief or damages of any kind or nature from
the Administrative Agent or any Lender in their respective capacities as such. Upon entry of the Interim
DIP Order, the Borrower and the Guarantors, each in their own right and on behalf of their bankruptcy
estates, and on behalf of all their successors, assigns, Subsidiaries and any Affiliates and any Person acting
for and on behalf of, or claiming through them, hereby fully, finally and forever release and discharge the
Administrative Agent and the Lenders in their respective capacities as such and all of the Administrative
Agent’s and the Lenders’ respective officers, directors, servants, agents, advisors, attorneys, assigns, heirs,
parents, subsidiaries, and each Person acting for or on behalf of any of them of and from any and all actions,
causes of action, demands, suits, claims, liabilities, Liens, lawsuits, adverse consequences, amounts paid in
settlement, costs, damages, debts, deficiencies, diminution in value, disbursements, expenses, losses and
other obligations of any kind or nature whatsoever, in each case, existing at the time of entry of the Interim
DIP Order, whether in law, equity or otherwise (including, without limitation, any so-called “lender
liability” or equitable subordination or recharacterization claims or defenses and those arising under
Sections 541 through 550 of the Bankruptcy Code and interest or other carrying costs, penalties, legal,
accounting and other professional costs, and incidental, consequential and punitive damages payable to
third parties), directly or indirectly arising out of, connected with or relating to this Agreement, the DIP
Orders and the transactions (including, for avoidance of doubt, the Transactions) contemplated hereby, and
all other agreements, certificates, instruments and other documents and statements (whether written or oral)
related to any of the foregoing. Notwithstanding anything herein to the contrary, the Borrower and

                                                      33
              Case 23-10945-PDR           Doc 82      Filed 02/10/23       Page 110 of 205



Guarantors shall not have any obligation to indemnify or hold harmless any Administrative Agent or any
Lender hereunder with respect to liabilities to the extent they result from gross negligence or willful
misconduct of such Administrative Agent or Lender, as applicable, as finally determined by a court of
competent jurisdiction.

       2.14     Waiver of Certain Rights.

                        (a)     On and after the Closing Date, and on behalf of themselves and their
       estates, and for so long as any Obligations shall be outstanding, the Borrower and the other Loan
       Parties hereby irrevocably waive any right, pursuant to sections 364(c) or 364(d) of the Bankruptcy
       Code or otherwise, to grant any Lien of equal or greater priority than the DIP Liens securing the
       Obligations, or to approve a claim of equal or greater priority than the Obligations.

                        (b)     The DIP Orders shall provide that in no event shall the Administrative
       Agent, the Lenders, the Prepetition Agent or the Prepetition Lenders under the Prepetition Credit
       Agreement (the “Prepetition Secured Parties”) be subject to the equitable doctrine of “marshaling”
       or any similar doctrine with respect to the DIP Collateral or the Prepetition Collateral, as applicable,
       and all proceeds thereof shall be received and applied pursuant to the DIP Orders, the Loan
       Documents and the Prepetition Loan Documents, as applicable, notwithstanding any other
       agreement or provision to the contrary.

                        (c)      Upon entry of the Final DIP Order, subject to the Carve-Out, the Debtors
       (on behalf of themselves and their estates) shall irrevocably waive, and shall be prohibited from
       asserting in the Chapter 11 Cases or any successor chapter 7 case, (i) any surcharge claim under
       sections 105(a) or 506(c) of the Bankruptcy Code for any costs and expenses incurred in connection
       with the preservation, protection or enhancement of, or realization by the Administrative Agent,
       the Lenders, or the Prepetition Secured Parties upon the DIP Collateral or the Prepetition Collateral,
       and (ii) the Administrative Agent, the Lenders shall be entitled to all of the rights and benefits of
       section 552(b) of the Bankruptcy Code, and the “equities of the case” exception under section
       552(b) of the Bankruptcy Code shall not apply to the Administrative Agent, the Lenders, and the
       Prepetition Secured Parties with respect to proceeds, product, offspring or profits of any of the
       Prepetition Collateral or DIP Collateral.

       2.15     Grant of Security; Security for Obligations; Debtors Remain Liable.

                        (a)      Pursuant to the DIP Orders, each Debtor hereby grants to the
       Administrative Agent, for the benefit of the Secured Parties, a security interest in all of such
       Debtor’s right, title and interest in and to all of the following real and personal property, in each
       case whether now owned or existing or hereafter acquired, possessed or arising, whether tangible
       or intangible, wherever located, including any such property in which a security interest is granted
       to the Administrative Agent pursuant to, as applicable, the Loan Documents, the DIP Orders, or
       any other order of the Bankruptcy Court to secure the Obligations (all of which collectively shall
       hereinafter be referred to as the “DIP Collateral”):

                        (i)     all Accounts;

                        (ii)    all Chattel Paper;

                       (iii)   all Money and all Deposit Accounts, together with all amounts on deposit
       from time to time in such Deposit Accounts;



                                                     34
     Case 23-10945-PDR             Doc 82       Filed 02/10/23        Page 111 of 205



                 (iv)     all Documents;

                 (v)      all General Intangibles, including Payment Intangibles and all Intellectual
Property;

                 (vi)     all Goods, including Inventory, Equipment and Fixtures;

                 (vii)    all Instruments;

                 (viii)   all Intellectual Property;

                 (ix)     all Investment Property;

                 (x)      all Letter-of-Credit Rights and other Supporting Obligations;

                 (xi)     all Records;

                 (xii)    all Commercial Tort Claims;

                 (xiii)   all books and records relating to any of the foregoing;

                 (xiv)    all leasehold interests in real property;

                (xv)     rights, claims or causes of action that the Loan Parties may have with
respect to DIP Collateral;

                (xvi) all present and future claims, rights, interests, assets and properties
recovered by or on behalf of the Loan Parties or any trustee of any Loan Party (whether in the
Chapter 11 Cases or any subsequent case to which any Chapter 11 Case is converted), including,
without limitation, all such property recovered as a result of transfers or obligations avoided or
actions maintained or taken pursuant to, inter alia, Sections 542, 544, 545, 547, 548, 549, 550, 552
and 553 of the Bankruptcy Code, and the proceeds thereof, subject to the terms of the DIP Orders;
and

                 (xvii)   all Proceeds and Accessions with respect to any of the foregoing DIP
Collateral.

Each category of DIP Collateral set forth above shall have the meaning set forth in the UCC (to the
extent such term is defined in the UCC), it being the intention of Debtors that the description of the
DIP Collateral set forth above be construed to include the broadest possible range of assets, in all
instances as more fully set forth in the DIP Orders.

                 (b)     Notwithstanding anything herein to the contrary, and subject to the terms
of the DIP Orders, in no event shall the DIP Collateral include (nor shall any defined term used
therein include), and no Debtor shall be deemed to have granted a security interest in, any of such
Debtor’s rights or interests in any Excluded Assets.

                 (c)        The DIP Orders grant DIP Liens with respect to the DIP Collateral, and
the DIP Collateral is collateral security for, the prompt payment in full when due and owing,
whether at stated maturity, by required prepayment, declaration, acceleration, demand or otherwise,
of all Obligations. It is the intention of the parties that if the Administrative Agent shall fail to have
a perfected Lien in any particular property or assets of any Loan Party for any reason whatsoever,

                                               35
             Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 112 of 205



        the provisions of this Agreement and/or the other Loan Documents, together with the DIP Orders,
        all financing statements and other public financing relating to Liens filed or recorded by the
        Administrative Agent against the Loan Parties and, with respect to all Loan Parties, the DIP Orders
        and any other order entered by the Bankruptcy Court to secure the Obligations, would be sufficient
        to create a perfected first priority DIP Lien in any property or assets that such Loan Party may
        receive upon the sale, lease, license, exchange, transfer or disposition of such particular property
        or assets, then all such “proceeds” of such particular property or assets shall be included in the DIP
        Collateral.

                          (d)      Anything contained herein to the contrary notwithstanding, (a) each
        Debtor shall remain liable under any contracts and agreements included in the DIP Collateral, to
        the extent set forth therein, to perform all of its duties and obligations thereunder to the same extent
        as if this Agreement had not been executed, (b) the exercise by the Administrative Agent of any of
        its rights hereunder or under any other Loan Document shall not release any Debtor from any of its
        duties or obligations under the contracts and agreements included in the DIP Collateral unless the
        Administrative Agent has expressly in writing assumed such duties and obligations and released
        the Debtors from such duties and obligations, and (c) the Administrative Agent shall not have any
        obligation or liability under any contracts, licenses, and agreements included in the DIP Collateral
        by reason of this Agreement, nor shall the Administrative Agent be obligated to perform any of the
        obligations or duties of any Debtor thereunder or to take any action to collect or enforce any claim
        for payment assigned hereunder unless the Administrative Agent has expressly in writing assumed
        such duties and obligations and released the Debtors from such duties and obligations.

                                            ARTICLE III
                                       CONDITIONS PRECEDENT

        3.1      Conditions Precedent to the Closing Date. The effectiveness of this Agreement and the
obligation of the Lenders to make any Advance hereunder, is subject to the following conditions precedent:

                         (a)     The Administrative Agent shall have received copies (in sufficient number
        for each of the Lenders to receive a copy) of all of the following, each dated the Closing Date or
        such earlier date as approved by the Administrative Agent and each in form and substance
        reasonably satisfactory to the Administrative Agent in all respects:

                                 (1)      This Agreement appropriately completed and duly executed by
        the parties hereto;

                                (2)    The Term Notes, to the extent requested, appropriately completed
        and duly executed by the Borrower;

                                 (3)      [Reserved]; and

                                  (4)       A certificate executed by a Responsible Officer or member of each
        Loan Party, certifying in the name of and on behalf of such Loan Party that (A) a true, correct and
        complete copy of its charter document, with all amendments thereto (as certified by the Secretary
        of State or similar state official) as of January 24, 2023 (the “Prior Certificate Date”), along with
        any charter documents that have been amended since the Prior Certificate Date is attached to the
        certificate, (B) a true, correct and complete copy of its operating agreement or bylaws, with all
        amendments thereto, as of the Prior Certificate Date, along with any operating agreements of the
        Loan Parties that have been amended since the Prior Certificate Date is attached to the certificate,
        (C) a correct and complete copy of the resolutions of its members or shareholders authorizing the


                                                      36
     Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 113 of 205



execution, delivery and performance of the Loan Documents to which it is a party as of the Prior
Certificate Date are attached to the certificate, and such resolutions have not been subsequently
modified or repealed as of the Prior Certificate Date and (D) signature and incumbency certificates
of a Responsible Officer executing any of the Loan Documents, all certified by its secretary or an
assistant secretary (or similar officer) as being in full force and effect without modification as of
the Prior Certificate Date;

                 (b)     [Reserved];

                (c)     The representations and warranties set forth in Article IV and in each of
the other Loan Documents shall be true and correct in all material respects as of the Closing Date,
except any representation and warranty that expressly relate to an earlier date (in which case such
representations and warranties shall be true and correct in all material respects on and as of such
earlier date);

                (d)       Since the Petition Date, other than the Known Events, there has been no
event or circumstance, either individually or in the aggregate, that has resulted, or could reasonably
be expected to result, in a Material Adverse Occurrence;

                 (e)     [Reserved].

                 (f)      All reasonable out-of-pocket fees, costs, disbursements and expenses,
accrued and unpaid as of the Closing Date, of the Administrative Agent and the Lenders (limited,
in the case of counsel, to all reasonable out-of-pocket fees, costs, disbursements and expenses of,
the Administrative Agent’s and Lender’s outside counsel, K&S and any successor counsel, and any
firm of local counsel engaged by the Administrative Agent in connection with the Chapter 11
Cases), to the extent invoices for any such accrued and unpaid amounts are provided to the Debtors
no later than one (1) Business Days prior to the Closing Date;

                (g)     The Commitment Fee (as defined in the Commitment Letter) and the
Agent Fee (as defined in the Commitment Letter) shall have been paid in full in cash, from the first
proceeds of the DIP Loan;

                (h)       Other than the DIP Orders, there shall not exist any law, regulation, ruling,
judgment, order, injunction or other restraint that prohibits, restricts or imposes a materially adverse
condition on the DIP Facility or the exercise by the Administrative Agent its rights as a secured
party with respect to the DIP Collateral;

                 (i)      The Bankruptcy Court shall have entered the Interim DIP Order within
five (5) Business Days following the Petition Date, which Interim DIP Order shall include, without
limitation, copies of the DIP Facility and the Initial Budget as exhibits thereto, entered on notice to
such parties as may be satisfactory to the Administrative Agent at the direction of the Required
Lenders, (i) authorizing and approving the DIP Facility and the transactions contemplated thereby,
including, without limitation, the granting of the superpriority claim status, security interests and
priming liens, and the payment of all fees, referred to herein and therein; (ii) authorizing the lifting
or modification of the Automatic Stay to permit the Borrowers and the Guarantors to perform their
obligations, and the Lenders to exercise their rights and remedies, with respect to the DIP Facility;
(iii) authorizing the use of cash collateral and providing for adequate protection in favor of the
Prepetition Secured Parties, as and to the extent provided herein and therein; and (iv) reflecting
such other terms and conditions that are mutually satisfactory to the Administrative Agent and the
Debtors, in their respective discretion in each case, which Interim DIP Order shall be in full force


                                              37
             Case 23-10945-PDR            Doc 82      Filed 02/10/23      Page 114 of 205



        and effect, shall not have been reversed, vacated or stayed and shall not have been amended,
        supplemented or otherwise modified without the prior written consent of the Administrative Agent;

                        (j)      [Reserved].

                        (k)      Other than as a result of or in connection with the Chapter 11 Cases, all
        governmental and third party consents and approvals reasonably necessary to be obtained by the
        Borrower in connection with the DIP Facility, if any, shall have been obtained (without the
        imposition of any conditions that are not reasonably acceptable to the Administrative Agent) or
        permitted pursuant to the DIP Order, as applicable, and shall remain in effect;

                       (l)     The Administrative Agent and Lenders shall have received the Initial
        Budget in form and substance satisfactory to the Administrative Agent;

                          (m)     All first day motions, including those related to the DIP Facility and any
        motion to sell any of the Debtors’ assets pursuant to Section 363 of the Bankruptcy Code (the “Sale
        Motion”), filed by the Debtors and related orders entered by the Bankruptcy Court in the Chapter
        11 Cases, including, without limitation, with respect to the approval the DIP Facility, on an interim
        and final basis, and the bid procedures (the “Bid Procedures”) accompanying the Sale Motion shall
        be in form and substance reasonably satisfactory to the Administrative Agent at the direction of the
        Required Lenders;

                         (n)     Other than the Chapter 11 Cases, as stayed upon the commencement of the
        Chapter 11 Cases, or as otherwise disclosed to the Administrative Agent prior to the Petition Date,
        there shall exist no action, suit, investigation, litigation or proceeding pending or threatened in
        writing in any court or before any arbitrator or governmental authority that (i) would reasonably be
        expected to result in a Material Adverse Occurrence or (ii) restrains, prevents or purports to affect
        materially adversely the legality, validity or enforceability of the DIP Facility or the consummation
        of the transactions contemplated thereby; and

                         (o)     Subject to entry of the Interim DIP Order, the Administrative Agent, for
        the benefit of the Lenders, shall have a valid and perfected DIP Lien on and security interest in the
        DIP Collateral of the Debtors on the basis and with the priority set forth herein; and

                          (p)    The Debtors shall have entered into one or more stalking horse purchase
        agreements (each an “Asset Purchase Agreement”) for the sale of the Purchased Assets (under and
        as defined in the Asset Purchase Agreement); each Asset Purchase Agreement shall be acceptable
        in all respects to the Administrative Agent and the Required Lenders.

         The making of the Advance hereunder shall not constitute a waiver by the Administrative Agent or
any Lender of any right which the Administrative Agent or such Lender may have in the event that any
certificate, agreement, financial statement or other document delivered pursuant to this Section 3.1 or
otherwise in connection with the transactions contemplated by this Agreement shall prove to have been
false or misleading in any respect.

       3.2     Conditions Precedent to Extensions of Loans. The obligation of the Lenders to make
any Advance hereunder shall be further subject to the satisfaction of each of the following conditions
immediately prior to or contemporaneously with each such Advance, unless waived in writing by the
Administrative Agent:




                                                    38
     Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 115 of 205



                 (a)     A Notice of Borrowing relating to the Interim DIP Loans or the Final DIP
Loans, as applicable, in accordance with Section 2.9(a), which shall be in accordance with the
Initial Budget or then applicable Budget Update, as applicable;

                  (b)      the representations and warranties set forth in Article IV and in each of the
other Loan Documents are true and correct in all material respects on the date of and after giving
effect to the making of the Advance, (except, in the case of any representation and warranty which
expressly relates to a given date or period, such representation and warranty shall be true and correct
in all material respects as of the respective date or period, as the case may be) and any representation
and warranty that is qualified by references to materiality or Material Adverse Occurrence or
similar term or qualification, shall be true and correct in all respects;

                 (c)    At the time of and immediately after giving effect to the Interim DIP Loans
or the Final DIP Loans, no Default or Event of Default shall then have occurred and be continuing;

                  (d)      With respect to the Final DIP Loans, the Bankruptcy Court shall have
entered the Final DIP Order within twenty-five (25) calendar days following the Petition Date
(subject to the availability of the Bankruptcy Court to conduct the final hearing on the DIP Facility),
in form and substance satisfactory to the Administrative Agent at the direction of the Required
Lenders, which Final DIP Order shall include, a Budget Update, as necessary, as an exhibit thereto,
entered on notice to such parties as may be satisfactory to the Administrative Agent acting at the
direction of the Required Lenders and otherwise as required by the Bankruptcy Code, the Federal
Rules of Bankruptcy Procedure and the Local Bankruptcy Rules of the Bankruptcy Court, (i)
authorizing and approving, on a final basis, the DIP Facility and the transactions contemplated
hereby, including, without limitation, the granting of the superpriority claim status, security
interests and priming liens, and the payment of all fees, referred to herein; (ii) authorizing, on a
final basis, the lifting or modification of the automatic stay to permit the Borrower and the
Guarantors to perform their obligations, and the Lenders to exercise their rights and remedies, with
respect to the DIP Facility as provided in the Final DIP Order; (iii) authorizing, on a final basis, the
use of cash collateral and providing for adequate protection in favor of the Prepetition Secured
Parties as provided in the Final DIP Order; and (iv) reflecting such other terms and conditions that
are mutually satisfactory to the Administrative Agent (at the direction of the Required Lenders)
and the Debtors, in their respective discretion, in each case, which Final DIP Order shall be in full
force and effect, shall not have been reversed, vacated or stayed and shall not have been amended,
supplemented or otherwise modified without the prior written consent of the Administrative Agent
(at the direction of the Required Lenders);

                (e)     The making of the Loans shall not violate any requirement of law and shall
not be enjoined, temporarily, preliminarily or permanently;

               (f)    The making of the Loans shall be authorized pursuant to the then
applicable DIP Order;

                 (g)      Other than the DIP Orders, there shall not exist any law, regulation, ruling,
judgment, order, injunction or other restraint that prohibits, restricts or imposes a materially adverse
condition on the DIP Facility or the exercise by the Administrative Agent at the direction of the
Lenders of its rights as a secured party with respect to the DIP Collateral;

               (h)     Other than the Known Events, since the Petition Date there shall not have
occurred Material Adverse Occurrences;



                                              39
             Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 116 of 205



                         (i)     Other than the Chapter 11 Cases, as stayed upon the commencement of the
        Chapter 11 Cases, or as otherwise disclosed to the Administrative Agent prior to the Petition Date,
        there shall exist no action, suit, investigation, litigation or proceeding pending or threatened in
        writing in any court or before any arbitrator or governmental authority that (i) would reasonably be
        expected to result in a Material Adverse Occurrence or (ii) restrains, prevents or purports to affect
        materially adversely the legality, validity or enforceability of the DIP Facility or the consummation
        of the transactions contemplated thereby; and

                        (j)      The Loan Parties shall be in compliance with (i) the applicable DIP Order,
        and (ii) the Budget (subject to Permitted Variances).

                                        ARTICLE IV
                              REPRESENTATIONS AND WARRANTIES

        The Borrower represents and warrants to the Administrative Agent and each of the Lenders that as
of the Closing Date (both before and after giving effect to the conditions subsequent in Section 3.3) and as
of the date of each Advance:

         4.1     Organization; etc. Each Loan Party is a limited liability company or corporation, as the
case may be, validly organized and existing and in good standing under the laws of the state of its
organization, subject to entry by the Bankruptcy Court of the applicable DIP Orders, has full power and
authority to own its property and conduct its business as conducted by it and is duly qualified to do business
and is in good standing as a foreign corporation in each jurisdiction where such qualification is necessary,
except where the failure to be so qualified or in good standing would not reasonably be expected, in the
aggregate, to result in a Material Adverse Occurrence. Subject to entry by the Bankruptcy Court of the
applicable DIP Orders, each Loan Party has full power and authority to enter into and to perform its
obligations under the Loan Documents to which it is a party and, in the case of the Borrower only, to request
Advances under this Agreement. Each Loan Party has all licenses, permits and rights necessary to carry on
its business as now being and hereafter proposed to be conducted and to own and operate its Property,
except for permits, licenses, and rights the failure of which to have or obtain would not, individually or in
the aggregate, reasonably be expected to result in a Material Adverse Occurrence.

         4.2     Due Authorization. Subject to entry by the Bankruptcy Court of the applicable DIP
Orders, the execution, delivery and performance by each Loan Party of the Loan Documents to which it is
a party (a) have been duly authorized by all necessary corporate or limited liability company action, as the
case may be, (b) do not and will not conflict with, result in any violation of or constitute any default under,
(i) any provision of the organizational, constitutive or governing documents (including, as applicable,
articles of organization and operating agreements) of such Loan Party, (ii) any other material agreement
binding on or applicable to such Loan Party, or (iii) any of their respective Property, or any law or
governmental regulation or court decree or order binding upon or applicable to such Loan Party, or any of
the Property and (c) will not result in the creation or imposition of any Lien on any of such Loan Party’s
Property pursuant to the provisions of any agreement binding on or applicable to such Loan Party, or any
Property, except any such Liens created pursuant to the Security Documents in favor of the Administrative
Agent, for the benefit of the Secured Parties and Permitted Liens.

        4.3     Subsidiaries. As of the Closing Date, no Loan Party has any Subsidiaries except those
previously disclosed to the Administrative Agent and Lenders prior to the date hereof. Each Loan Party
and its Subsidiaries has good and marketable title to all of the Equity Interests or Equity Interests
Equivalents it owns in each of its Subsidiaries, free and clear of any Lien (other than any Liens in favor of
the Administrative Agent for the benefit of the Secured Parties and inchoate Permitted Liens) and all such
shares have been duly issued and are fully paid and non-assessable. Each Loan Party has been duly

                                                      40
              Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 117 of 205



organized and is validly existing and in good standing under the laws of its jurisdiction of incorporation or
organization and is duly licensed or qualified and in good standing in each other jurisdiction where such
qualification is necessary, except where the failure to be so qualified or in good standing would not
reasonably be expected, in the aggregate, to result in a Material Adverse Occurrence. Each Loan Party has
full power and authority to own and operate its properties (including, without limitation, the DIP Collateral),
to carry on its business as now conducted and to enter into and perform the Loan Documents to which it is
a party. Each Loan Party has all licenses, permits, and rights necessary to carry on its business as now
being and hereafter proposed to be conducted and to own and operate its properties, except for permits,
licenses, and rights the failure of which to have or obtain, individually or in the aggregate, would not
reasonably be expected to result in a Material Adverse Occurrence.

        4.4      Validity of the Agreement. Subject to entry by the Bankruptcy Court of the applicable
DIP Orders, each Loan Document is the legal, valid and binding obligation of each Loan Party and is
enforceable in accordance with its terms except that, as to enforcement of remedies, except as enforceability
may be limited by applicable bankruptcy, insolvency, reorganization, moratorium or similar laws affecting
the enforcement of creditors’ and secured parties’ rights generally or by equitable principles relating to
enforceability, regardless of whether considered in equity or at law.

        4.5      Financial Statements; Budget.

                         (a)     To the best of Borrower’s Knowledge, the most recent financial statements
        furnished to the Lenders and the Administrative Agent (i) were prepared in accordance with GAAP
        (if applicable) consistently applied throughout the period covered thereby, except as otherwise
        expressly noted therein; and (ii) fairly present the financial condition of the Borrower and its
        Subsidiaries as of the date thereof and their results of operations for the period covered thereby in
        accordance with GAAP consistently applied throughout the period covered thereby, except as
        otherwise expressly noted therein.

                          (b)     The Borrower has heretofore furnished to the Administrative Agent the
        Initial Budget. The Initial Budget and each Budget delivered thereafter are based on good faith
        estimates and assumptions believed by management of the Borrower to be reasonable and fair in
        light of current conditions and facts known to the Borrower at the time delivered.

         4.6     Litigation; etc. To the best of Borrower’s Knowledge and except for Known Events and
as set forth on Schedule 4.6, there is no action, suit, claim, demand, disputes, cause of action, proceeding,
arbitration or investigation at law or equity, or before or by any federal, state, local or other governmental
department, commission, court, tribunal, board, bureau, agency or instrumentality, domestic or foreign,
pending against or affecting any Loan Party or any of its Properties, which if determined adversely would
reasonably be expected to result in a Material Adverse Occurrence or that would relate to the transactions
contemplated by the Loan Documents.

        4.7     Compliance with Law. To the best of Borrower’s Knowledge and except for Known
Events and as set forth on Schedule 4.7 and subject to entry by the Bankruptcy Court of the applicable DIP
Orders, no Loan Party is (a) in default or breach with respect to any judgment, order, writ, injunction, rule,
regulation or decree of any court, governmental authority, department, commission, agency or arbitration
board or tribunal or (b) in violation of any law, rule, regulation, ordinance or order relating to its or their
respective businesses, in each case of (a) and (b) above, the breach, default or violation of which would
reasonably be expected to result in a Material Adverse Occurrence.

       4.8       ERISA Compliance. To the best of Borrower’s Knowledge and except as set forth on
Schedule 4.8:

                                                      41
             Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 118 of 205



                          (a)     Each Plan is in compliance in all material respects with the applicable
        provisions of ERISA, the Code, and all other federal and state laws. Each Plan that is intended to
        qualify under Section 401(a) of the Code has received a favorable determination letter from the IRS
        with respect thereto, or is comprised of a master or prototype plan that has received a favorable
        opinion letter from the IRS with respect thereto, and, to the Knowledge of the Loan Parties, nothing
        has occurred which would adversely affect such determination (or, in the case of a Plan with no
        determination, nothing has occurred that would materially adversely affect the issuance of a
        favorable determination letter or otherwise materially adversely affect such qualification). Each
        Loan Party and ERISA Affiliate has made all material contributions to or under each Pension Plan
        and Multiemployer Plan required by law within the applicable time limits prescribed thereby, the
        terms of such Pension Plan or Multiemployer Plan, respectively, and any contracts or agreements
        requiring contributions to a Pension Plan or Multiemployer Plan.

                         (b)      There are no pending or, to the Knowledge of the Loan Parties, threatened
        disputes, arbitrations, claims, grievances or lawsuits, or actions or audits by any Governmental
        Authority, against or involving any Plan (other than routine claims for benefits payable under any
        such Plan) that would reasonably be expected (individually or in the aggregate) to result in a
        Material Adverse Occurrence.

                         (c)     (i) No ERISA Event has occurred or is reasonably expected to occur, (ii)
        as of the most recent valuation date for any Pension Plan, the funding target attainment percentage
        (as defined in Section 430(d)(2) of the Code) is at least 80%, and no Loan Party or ERISA Affiliate
        knows of any reason that such percentage could reasonably be expected to drop below 80%, (iii)
        no Loan Party or ERISA Affiliate has engaged in a transaction that could be subject to Section
        4069 or 4212(c) of ERISA, (iv) no Loan Party or ERISA Affiliate has ceased operations at a facility
        so as to become subject to the provisions of Section 4068(a) of ERISA, withdrawn as a substantial
        employer so as to become subject to the provisions of Section 4063 of ERISA or ceased making
        contributions to any Pension Plan subject to Section 4064(a) of ERISA to which it made
        contributions, and (v) no lien imposed under the Code or ERISA on the assets of any Loan Party
        or any ERISA Affiliate exists or is likely to arise on account of any Plan.

                          (d)     With respect to any Foreign Plan, (i) all employer and employee
        contributions required by law or by the terms of the Foreign Plan have been timely made, or, if
        applicable, accrued in accordance with normal accounting practices, (ii) the fair market value of
        the assets of each funded Foreign Plan, the liability of each insurer for any Foreign Plan funded
        through insurance, or the book reserve established for any Foreign Plan, together with any accrued
        contributions, is sufficient to procure or provide for the accrued benefit obligations (whether or not
        vested) with respect to all current and former participants in such Foreign Plan according to the
        actuarial assumptions and valuations most recently used to account for such obligations in
        accordance with applicable generally accepted accounting principles, (iii) such Foreign Plan has
        been registered as required and has been maintained in good standing with applicable regulatory
        authorities, and (iv) no Loan Party or Subsidiary has incurred any obligation in connection with the
        termination of, or withdrawal from, any Foreign Plan.

          4.9      Title to Assets. To the best of Borrower’s Knowledge, (a) each Loan Party holds or will
hold title to the Collateral, including any owned Real Property in fee simple and good, legal and marketable
title to any Equipment, in each case and used in its business and pledged as Collateral for the Obligations,
free and clear of all Liens except for Permitted Liens and other encumbrances permitted pursuant to
Section 6.3 and (b) except for Uniform Commercial Code financing statements evidencing Permitted Liens,
or Uniform Commercial Code financing statements for which terminations will be tendered to the
Administrative Agent prior to or contemporaneously with the first Advance, no financing statement under

                                                     42
             Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 119 of 205



the Uniform Commercial Code as in effect in any jurisdiction and no other filing which names any Loan
Party as debtor or which covers or purports to cover any of the Collateral, including Real Property or
Equipment pledged as Collateral for the Obligations, will be effective and on file in any state or other
jurisdiction, and no Loan Party will sign or authorize any such financing statement or filing or any security
agreement authorizing any secured party thereunder to file any such financing statement or filing other than
in favor of Administrative Agent.

       4.10    Use of Proceeds. The proceeds of the Loans shall be used strictly in accordance with the
Budget and subject to the terms and conditions of this Agreement and the DIP Orders.

        4.11    Governmental Regulation. To the best of Borrower’s Knowledge, no Loan Party is
required to obtain any material consent, approval, authorization, permit or license which has not already
been obtained from, or effect any material filing or registration (other than the filing of the Uniform
Commercial Code financing statements) which has not already been effected with, any federal, state or
local regulatory authority in connection with the execution and delivery of this Agreement or the
performance, in accordance with their respective terms, of this Agreement or any other Loan Document, or
the consummation of the Transactions.

         4.12    Margin Stock. No part of any Advance shall be used at any time by any Loan Party to
purchase or carry margin stock (within the meaning of Regulations T, U and X) or to extend credit to others
for the purpose of purchasing or carrying any margin stock. No Loan Party is engaged principally, or as
one of its important activities, in the business of extending credit for the purposes of purchasing or carrying
any such margin stock. No part of the proceeds of any Advance will be used by any Loan Party for any
purpose which violates, or which is inconsistent with, any regulations promulgated by the Board of
Governors of the Federal Reserve System.

        4.13   Investment Company Act. No Loan Party is registered or required to be registered as an
“investment company,” or an “affiliated person” of, or a “promoter” or “principal underwriter” for, an
“investment company,” as such terms are defined in the Investment Company Act of 1940, as amended.
The making of the Advances, the application of the proceeds and repayment thereof by the Borrower and
the performance by each Loan Party of the transactions contemplated by this Agreement will not violate
any provision of said Act, or any rule, regulation or order issued by the Securities and Exchange
Commission thereunder.

         4.14    Accuracy of Information. To the best of Borrower’s Knowledge and subject to the
Known Events, all written information heretofore furnished by or on behalf of any Loan Party to the
Administrative Agent or the Lenders for purposes of or in connection with this Agreement or any
transaction contemplated by this Agreement and the DIP Orders is, and all other such information furnished
by or on behalf of such Loan Party to the Administrative Agent is, when considered as a whole, complete
and correct in all material respects and did not, when delivered, contain any untrue statement of material
fact or omit to state a fact necessary in order to make the statements contained therein not materially
misleading in light of the circumstances under which such statements have been made (after giving effect
to all supplements thereto).

          4.15    Tax Returns; Audits. To the best of Borrower’s Knowledge, (a) each Loan Party has
filed all federal, state and local income tax returns and all other material tax returns which are required to
be filed by it, and has paid all taxes shown as due on such tax returns and all material Taxes otherwise due
and payable (except for any Taxes which are being contested in good faith by appropriate proceedings that
will prevent a forfeiture or sale of any property and for which an adequate reserve has been provided on the
books of such Loan Party in accordance with GAAP); and (b) as of the Closing Date, no material tax return



                                                      43
               Case 23-10945-PDR           Doc 82      Filed 02/10/23        Page 120 of 205



is under audit or examination by any Governmental Authority and no Loan Party is aware of any proposed
assessment against it or any of its Subsidiaries with respect to any material amount of Taxes.

         4.16    Environmental and Safety Regulations. To the best of Borrower’s Knowledge, (a) each
Loan Party is in compliance with all requirements of applicable federal, state and local environmental,
pollution control, health and safety statutes, laws and regulations except for any noncompliance which,
individually or in the aggregate, would not reasonably be expected to result in a Material Adverse
Occurrence and is not, to the knowledge of each Loan Party, the subject of any federal or state investigation
evaluating whether any remedial action is needed to respond to a release of any toxic or hazardous waste
or substance into the environment; (b) the Real Property and its intended use complies with all applicable
laws, governmental regulations and the terms of any enforcement action by any federal, state, regional or
local governmental agency regarding all applicable federal, state and local laws pertaining to air and water
quality, hazardous waste, waste disposal and other environmental matters (including, but not limited to, the
Clean Water, Clean Air, Federal Water Pollution Control, Solid Waste Disposal, Resource Conservation
and Recovery and Comprehensive Environmental Response, Compensation, and Liability Acts, as said acts
may be amended), and the rules, regulations and ordinances of all applicable federal, state and local
agencies and bureaus under such laws, except in each case for any noncompliance which, individually or
in the aggregate, would not reasonably be expected to result in a Material Adverse Occurrence; and (c) no
written notice, demand, request for information, citation, summons or order has been issued, no complaint
has been filed, no penalty has been assessed and, to the knowledge of each Loan Party, no investigation or
review is pending or threatened by any governmental or other entity with respect to any alleged failure by
such Loan Party to comply in any respect with any of such environmental laws (each of the foregoing, an
“Environmental Action”).

         4.17     Payment of Wages; Labor Matters. To the best of Borrower’s Knowledge, (a) each Loan
Party is in compliance with the Fair Labor Standards Act, as amended, in all material respects, and each
Loan Party has paid all minimum and overtime wages required by law to be paid to their respective
employees; there are no strikes, work stoppages, slowdowns or lockouts existing, pending or, to the
Knowledge of the Loan Parties, threatened against or involving any Loan Party or any Subsidiary of any
Loan Party, except for Known Events and those that would reasonably be expected to result in a Material
Adverse Occurrence and (c) except as set forth on Schedule 4.17, (a) there is no collective bargaining or
similar agreement with any union, labor organization, works council or similar representative covering any
employee of any Loan Party or any Subsidiary of any Loan Party, (b) no petition for certification or election
of any such representative is existing or pending with respect to any employee of any Loan Party or any
Subsidiary of any Loan Party and (c) to the knowledge of any Loan Party, no such representative has sought
certification or recognition with respect to any employee of any Loan Party or any Subsidiary of any Loan
Party.

         4.18    Intellectual Property. To the best of Borrower’s Knowledge, (a) each Loan Party owns,
possesses or has the right to use all material licenses and rights to all patents, trademarks, trademark rights,
trade names, trade name rights, trade dress, service marks, domain marks and copyrights necessary to
conduct their business in all material respects as now being and hereafter proposed to be conducted, without
conflict with any patent, trademark, trade name, service mark, license or copyright of any other Person; and
(b) all such material licenses and rights with respect to patents, trademarks, trademark rights, trade names,
trade name rights, service marks and copyrights are in full force and effect in all material respects.

        4.19     [Reserved].

       4.20    Chapter 11 Cases. The Chapter 11 Cases were commenced on the Petition Date in
accordance with the applicable law and proper notice has been or will be given of (i) the motion seeking



                                                      44
               Case 23-10945-PDR           Doc 82      Filed 02/10/23        Page 121 of 205



approval of the Loan Documents and the DIP Orders, and (ii) the hearing for the entry of the Final DIP
Order.

        4.21   No Material Adverse Occurrence. Since the Petition Date, subject to the Known Events,
there has occurred no event which would reasonably be expected to result in a Material Adverse
Occurrence.

         4.22    DIP Orders. As of the date of each Borrowing, the Loan Parties are in compliance in all
material respects with the terms and conditions of the DIP Orders. Each of the Interim DIP Order (with
respect to the period prior to the entry of the Final DIP Order) or the Final DIP Order (from and after the
date the Final DIP Order is entered), as applicable, is in full force and effect, shall not have been reversed,
vacated or stayed and shall not have been amended, supplemented or otherwise modified without the prior
written consent of the Administrative Agent acting at the direction of the Required Lenders.

        4.23     Deposit Accounts. To the best of Borrower’s Knowledge, (a) Schedule 4.23 lists all banks
and other financial institutions at which any Loan Party maintains deposit or other accounts as of the
Closing Date, and such Schedule correctly identifies the name, address and any other relevant contact
information reasonably requested by the Administrative Agent with respect to each depository, the name in
which the account is held, a description of the purpose of the account, and the complete account number
therefor; and (b) the DIP Orders grant the Administrative Agent “control” (as such term is used in the UCC)
over such Deposit Accounts for the benefit of the Secured Parties.

        4.24     [Reserved].

        4.25     Material Contracts. To the best of Borrower’s Knowledge, (a) all of the Material
Contracts are in full force and effect and no Loan Party is in default under any Material Contract; and (b)
no other Person that is a party thereto is in material default under any of the Material Contracts.

         4.26    Valid Liens. This Agreement, the DIP Orders and the Security Documents, subject to
entry of the DIP Orders, are effective to create in favor of the Administrative Agent, for the benefit of the
Secured Parties legal, valid, and enforceable first-priority Liens on, and security interests in, the DIP
Collateral pledged hereunder or thereunder, in each case, with respect to priority, subject to no Liens other
than the Carve-Out and Permitted Liens with the relative priorities granted pursuant to the terms of the DIP
Orders. Pursuant to the terms of the DIP Orders, no filing or other action will be necessary to perfect or
protect such DIP Liens and security interests. Pursuant to and to the extent provided in the DIP Orders, the
Indebtedness of the Debtors under this Agreement will constitute part of the DIP Credit Facility Super-
Priority Claims.

         4.27     Foreign Assets Control Regulations and Anti-Money Laundering. To the best of
Borrower’s Knowledge, (a) each Loan Party is in compliance in all material respects with all U.S. economic
sanctions laws, Executive Orders and implementing regulations as promulgated by the U.S. Treasury
Department’s Office of Foreign Assets Control (“OFAC”), and all applicable anti-money laundering and
counter-terrorism financing provisions of the Bank Secrecy Act and all regulations issued pursuant to it;
and (b) each Loan Party (i) is not a Person designated by the U.S. government on the list of the Specially
Designated Nationals and Blocked Persons (the “SDN List”) with which a U.S. Person cannot deal with or
otherwise engage in business transactions, (ii) is not a Person who is otherwise the target of U.S. economic
sanctions laws such that a U.S. Person cannot deal or otherwise engage in business transactions with such
Person or (iii) is not controlled by (including by virtue of such person being a director or owning voting
shares or interests), or acts, directly or indirectly, for or on behalf of, any person or entity on the SDN List
or a foreign government that is the target of U.S. economic sanctions prohibitions such that the entry into,
or performance under, this Agreement or any other Loan Document would be prohibited under U.S. law.

                                                      45
               Case 23-10945-PDR           Doc 82       Filed 02/10/23       Page 122 of 205



         4.28     Patriot Act. To the best of Borrower’s Knowledge, (a) the Loan Parties, each of their
Subsidiaries and, to their knowledge, each of their Affiliates, are in compliance in all material respects with
(i) the Trading with the Enemy Act, and each of the foreign assets control regulations of the United States
Treasury Department and any other enabling legislation or executive order relating thereto, (ii) the Patriot
Act and (iii) other federal or state laws relating to “know your customer” and anti-money laundering rules
and regulations; and (b) no part of the proceeds of any Loan will be used directly or indirectly for any
payments to any government official or employee, political party, official of a political party, candidate for
political office, or anyone else acting in an official capacity, in order to obtain, retain or direct business or
obtain any improper advantage, in violation of the United States Foreign Corrupt Practices Act of 1977.

        4.29   Insurance. To the best of Borrower’s Knowledge, the Borrower and its Subsidiaries
maintain insurance policies with respect to their respective properties and business, in each case in
compliance with Section 5.7.

        4.30     [Reserved].

        4.31     Healthcare Laws. To the best of Borrower’s Knowledge:

                         (a)     Without limiting any other representation or warranty made herein, each
        Loan Party, each property owned or managed by such Loan Party, and each Loan Party’s licensed
        employees and contractors (other than contracted agencies), in the exercise of their respective
        duties on behalf of such Loan Party, is in material compliance with all applicable Healthcare Laws.

                          (b)     [reserved].

                         (c)     Except as set forth on Schedule 4.31(c), no Loan Party, and no property
        owned or managed by any Loan Party, is currently, or has in the past been, subject to any federal,
        state, local governmental or private payor civil or criminal inspections, investigations, inquiries or
        audits involving or related to such Loan Party, such Loan Party’s activities or such Loan Party’s
        compliance with Healthcare Laws, except for such inspections, investigations, inquiries or audits
        which, individually and in the aggregate, would not reasonably be expected to result in a Material
        Adverse Occurrence.

                        (d)     No Loan Party (i) has had a civil monetary penalty assessed against it
        pursuant to 42 U.S.C. §1320a 7a, (ii) has been excluded from participation in a Federal Health Care
        Program (as that term is defined in 42 U.S.C. §1320a 7b), (iii) has been convicted (as that term is
        defined in 42 C.F.R. §1001.2) of any of those offenses described in 42 U.S.C. §1320a 7b or 18
        U.S.C. §§669, 1035, 1347, 1518, or (iv) has been involved or named in a United States Attorney
        complaint made, or any other action taken pursuant to the False Claims Act under 31 U.S.C. §§3729
        3731 or qui tam action brought pursuant to 31 U.S.C. §3729 et seq.

                        (e)      Each Loan Party, and the owners of the facilities and other businesses
        managed by each Loan Party have such Licenses and other notices, approvals, or authorizations of
        Governmental Authorities, as are necessary under applicable law to own its respective properties
        and to conduct its respective business (including, without limitation, such permits as are required
        under Healthcare Laws), except for such notices, approvals, or authorizations by Governmental
        Authorities with respect to which the failure to make or obtain, in the ordinary course of business,
        could not reasonably be expected to result in a Material Adverse Occurrence.

        4.32    HIPAA and Part 2 Compliance. To the best of Borrower’s Knowledge, to the extent
that, and for so long as, any Loan Party is a “covered entity” within the meaning of HIPAA or offers


                                                       46
             Case 23-10945-PDR             Doc 82       Filed 02/10/23       Page 123 of 205



substance abuse treatment “programs” as defined by 42 C.F.R. § 2.11 that are “federally assisted” as defined
by 42 C.F.R. § 2.12(b), such Loan Party (a) has undertaken or will promptly undertake all necessary
surveys, audits, inventories, reviews, analyses and assessments (including any necessary risk assessments)
of all areas of its business and operations required by HIPAA or Part 2, or that could be adversely affected
by the failure of such Loan Party to be HIPAA and Part 2 Compliant (as defined below), (b) has developed,
or will promptly develop, a detailed plan and time line for becoming HIPAA and Part 2 Compliant (a
“HIPAA and Part 2 Compliance Plan”), and (c) has implemented, or will implement, those provisions of
such HIPAA and Part 2 Compliance Plan necessary to ensure that such Loan Party is or becomes HIPAA
and Part 2 Compliant, except in each case as would not reasonably be expected to result in a Material
Adverse Occurrence. For purposes hereof, “HIPAA and Part 2 Compliant” means that each Loan Party (i)
is or will be in compliance with each of the applicable requirements of the so-called “Administrative
Simplification” provisions of HIPAA and the requirements of Part 2 on and as of each date that any part
thereof, or any final rule or regulation thereunder, becomes effective in accordance with its or their terms,
as the case may be (each such date, a “HIPAA and Part 2 Compliance Date”), and (ii) is not and could not
reasonably be expected to become, as of any date following any such HIPAA and Part 2 Compliance Date,
the subject of any civil or criminal penalty, process, claim, action or proceeding, or any administrative or
other regulatory review, survey, process or proceeding (other than routine surveys or reviews conducted by
any government health plan or other accreditation entity) that could be adverse to such Loan Party.

          4.33     Other Agreements/Program Eligibility. To the best of Borrower’s Knowledge and
except for Known Events and as set forth on Schedule 4.33 (a) no Loan Party is in default in the
performance, observance or fulfillment of any obligation, covenant or condition contained in or applicable
with respect to any agreement or instrument to which such Loan Party is a party with a third-party payor,
or any other third-party payor program in which such Loan Party participates, which default, if not remedied
within any applicable grace period, reasonably would be expected to (i) in the case of any third-party payor
agreement other than a national third-party payor agreement results in the revocation, termination,
cancellation, suspension or non-renewal of certification of a material third party not involved in a national
third-party payor agreement, if any, an agreement with a third-party payor which is not party to a national
third-party payor program with such Loan Party, or eligibility to participate, directly or indirectly, in
material third-party payor programs which are not national third-party payor programs of such Loan Party,
or (ii) in the case of any material national third-party payor agreement, results in the revocation, termination,
cancellation, suspension or non-renewal of certification of a material national third-party payor contract or
agreement or material national agreement with a third-party payor, or eligibility to participate, directly or
indirectly, in material national third-party payor programs; and (b) no Loan Party or any of its Subsidiaries
participates in any third party payor program with a Governmental Authority.

         4.34    Reimbursement from Third-Party Payors. To the best of Borrower’s Knowledge and
except for the Known Events, (a) the accounts receivable of the Loan Parties have been and will continue
to be adjusted reasonably to reflect reimbursement experiences with, and policies of, third-party payors
such as private insurance companies, health maintenance organizations, preferred provider organizations,
alternative delivery systems, managed care systems, government contracting agencies and other third-party
payors; and (b) in particular, accounts receivable relating to such third-party payors do not, and shall not,
exceed amounts in any material respect any obligee is entitled to receive under any capitation arrangement,
fee schedule, discount formula, cost-based reimbursement or other adjustment or limitation to its usual
charges.

        4.35     Fraud and Abuse. To the best of Borrower’s Knowledge, no Loan Party, nor any
stockholder, officer or director, acting on behalf of any Loan Party, has engaged in any knowing or willful
violation of the federal and state anti-kick-back or fraud and abuse laws, or the regulations promulgated
thereunder.


                                                       47
             Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 124 of 205



                                         ARTICLE V
                              CERTAIN AFFIRMATIVE COVENANTS

        The Borrower agrees with the Administrative Agent and each of the Lenders that, from the date
hereof and thereafter for so long as any portion of any Loan shall be outstanding or any Lender shall have
any Commitment hereunder, unless the Required Lenders shall otherwise consent in writing:

        5.1      Financial Information; etc. The Borrower will furnish to the Administrative Agent
copies of the following financial statements, reports and information:

                          (a)    Following delivery of the Budget on the Petition Date, by not later than
        5:00 p.m. Eastern Time on the third Wednesday following the Petition Date and by not later than
        5:00 p.m. Eastern Time on each Wednesday following the end of each Testing Period, a Budget
        Update, in each case, in form and substance reasonably satisfactory to the Administrative Agent at
        the direction of the Required Lenders for the subsequent 13 week period consistent with the form
        of the Budget, and such Budget Update shall become the “Budget” for the purposes of the DIP
        Facility upon the Administrative Agent’s acknowledgement at the direction of the Required
        Lenders that the proposed Budget Update is substantially in the form of the Budget and in substance
        satisfactory to the Administrative Agent at the direction of the Required Lenders (provided, that,
        until a new Budget has been approved by the Administrative Agent at the direction of the Required
        Lenders, the most recently approved Budget shall govern); and beginning on the third Wednesday
        following the Petition Date (by not later than 5:00 p.m. Eastern Time), and on every Wednesday
        following the end of each Testing Period (by not later than 5:00 p.m. Eastern Time), a variance
        report (the “Variance Report”) setting forth actual cash receipts and disbursements and cash flows
        of the Debtors for the prior Testing Period and setting forth the disbursement variance, on a line-
        item basis, from the amount set forth for such period as compared to the applicable approved
        Budget delivered by the Debtors, in each case, on a cumulative basis, as applicable (and each such
        Variance Report shall include explanations for all material variances and shall be certified by the
        Chief Financial Officer of the Debtors);

                          (b)     to the extent monthly operating reports are not timely filed with the
        Bankruptcy Court, as soon as available and in any event within thirty (30) days after the end of
        each fiscal quarterly period of each fiscal year of the Borrower (or, for with respect to the last such
        quarterly period ending in any fiscal year, forty five (45) days after the end of such quarterly
        period), consolidated and combined statements of operations and cash flows of the Borrower and
        its Subsidiaries for such period and for the period from the beginning of the respective fiscal year
        to the end of such period, and the related balance sheets as at the end of such period, setting forth
        in each case in comparative form the corresponding figures for the corresponding period in the
        preceding fiscal year, accompanied by a certificate of a Responsible Officer of the Borrower which
        shall state, in the name and on behalf of the Borrower, that said financial statements (which are
        neither audited nor reviewed by an outside CPA firm) are complete and correct on a best efforts
        basis in all material respects and fairly present the financial condition and results of operations of
        the Borrower and its Subsidiaries in accordance with GAAP for such period, (subject to year-end
        adjustments and the lack of GAAP footnotes), and a written management’s discussion and analysis
        of the financial condition and results of operations for such fiscal quarter and the then elapsed
        portion of the fiscal year since the Petition Date;

                        (c)     to the extent monthly operating reports are not timely filed with the
        Bankruptcy Court, as soon as available and in any event within thirty (30) days after the end of
        each of the first two fiscal months of each fiscal quarter of the Borrower, consolidated and
        combined statements of operations and cash flows of the Borrower and its Subsidiaries for such

                                                     48
             Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 125 of 205



        period and for the period from the beginning of the respective fiscal year to the end of such period,
        and the related balance sheets as at the end of such period, setting forth in each case in comparative
        form the corresponding figures for the corresponding period in the preceding fiscal year;

                         (d)    to the extent monthly operating reports are not timely filed with the
        Bankruptcy Court, with each financial statement required by Section 5.1(b) and Section 5.1(c) to
        be delivered to the Administrative Agent, a Compliance Certificate signed by a Responsible Officer
        of the Borrower;

                          (e)     promptly after the Borrower knows or has reason to know that any Default
        has occurred and is continuing or Material Adverse Occurrence has occurred, but in any event not
        later than two (2) Business Days after any Responsible Officer of the Borrower becomes aware
        thereof, a notice of such Default or Material Adverse Occurrence describing the same in reasonable
        detail and a description of the action that the Borrower has taken and proposes to take with respect
        thereto;

                          (f)     promptly following the commencement of any litigation, suit,
        administrative proceeding or arbitration relating to the Borrower or any of its Properties which if
        adversely determined would reasonably be expected to result in a Material Adverse Occurrence or
        otherwise relating in any way to the transactions contemplated by this Agreement, but in any event
        not later than two (2) Business Days after any Responsible Officer of the Borrower becomes aware
        thereof, a notice thereof describing the allegations of such litigation, suit, administrative proceeding
        or arbitration and the Borrower’s response thereto;

                        (g)      promptly following the commencement of any Environmental Action, but
        in any event not later than two (2) Business Days after any Responsible Officer of the Borrower
        becomes aware thereof, a notice describing the allegations of such Environmental Action;

                          (h)      promptly and in any event not later than two (2) Business Days after any
        Loan Party knows or has reason to know of: (i) the occurrence of any ERISA Event, a certificate
        of a Responsible Officer of the Borrower describing such ERISA Event and the action, if any,
        proposed to be taken with respect to such ERISA Event and a copy of any notice filed with the
        PBGC or the IRS pertaining to such ERISA Event and any notices received by any Loan Party or
        any ERISA Affiliate from the PBGC or any other governmental agency with respect thereto; and/or
        (ii) the adoption of or the commencement of contributions to any Pension Plan, Multiemployer Plan
        or Foreign Plan by any Loan Party or any ERISA Affiliate or the adoption of any amendment to
        any Pension Plan, Multiemployer Plan or Foreign Plan which results in a material increase in
        contribution obligations of any Loan Party or any ERISA Affiliate, a detailed written description
        thereof from a Responsible Officer of the Borrower; and

                         (i)    such other information with respect to the financial condition and
        operations of the Borrower as the Administrative Agent or any Lender may reasonably request.

        5.2      Maintenance of Existence; etc. Except for Known Events, each Loan Party shall maintain
and preserve its existence, and qualification and good standing in all states in which such qualification and
good standing are required in order to conduct its business and own its property as conducted and owned
in such states, except where the failure to do so would not reasonably be expected to result in a Material
Adverse Occurrence or as approved by the Administrative Agent in its sole discretion.

        5.3    Maintenance of Properties. Each Loan Party will maintain or cause to be maintained in
the ordinary course of business in good repair, working order and condition (reasonable wear and tear


                                                      49
             Case 23-10945-PDR             Doc 82      Filed 02/10/23        Page 126 of 205



excepted) all Properties set forth on Schedule 5.3 (whether owned or held under lease), and from time to
time make or cause to be made all necessary repairs, renewals, replacements, additions, betterments and
improvements thereto, except to the extent the failure to maintain such Properties would not reasonably be
expected to result in a Material Adverse Occurrence or as approved by the Administrative Agent in its sole
discretion.

         5.4     Payment of Liabilities. Subject to the Budget, each Loan Party shall pay and discharge
as the same may become due and payable, all material taxes, assessments and other governmental charges
or levies against or on any of its Property, as well as all other lawful claims of any kind which, if unpaid,
might become a Lien upon any of its Property; provided, however, that the foregoing shall not require such
Loan Party to pay any such tax, assessment, charge, levy or claim so long as the validity thereof shall be
contested diligently in good faith by appropriate proceedings that will prevent a forfeiture or sale of any
Property and an adequate book reserve in accordance with GAAP shall have been set aside with respect
thereto, but (with respect to claims that are not Taxes, assessments and other governmental charges or
levies) only so long as such claim does not become a Lien on any assets of such Loan Party.

         5.5     Compliance with Laws. Each Loan Party shall carry on its business activities in
substantial compliance with all applicable federal or state laws and all applicable rules (including the DIP
Orders), regulations and orders of all governmental bodies and offices having power to regulate or supervise
its business activities, including all applicable environmental, pollution control, health and safety statutes,
laws and regulations, except in each case where the failures to so comply would not reasonably be expected
to result in a Material Adverse Occurrence. Each Loan Party shall maintain all material rights, liens,
permits, certificates of compliance or grants of authority necessary for the conduct of its business, except
where the failure to maintain would not reasonably be expected to result in a Material Adverse Occurrence
or as approved by the Administrative Agent in its sole discretion. Each Loan Party agrees that the Real
Property and its intended use will comply at all times with all applicable laws, governmental regulations
and the terms of any enforcement action now or hereafter commenced by any federal, state, regional or
local governmental agency, including all applicable federal, state and local laws pertaining to air and water
quality, hazardous waste, waste disposal and other environmental matters (including, but not limited to, the
Clean Water, Clean Air, Federal Water Pollution Control, Solid Waste Disposal, Resource Conservation
and Recovery and Comprehensive Environmental Response, Compensation, and Liability Acts, as said acts
may be amended from time to time), and the rules, regulations and ordinances of all applicable federal, state
and local agencies and bureaus, except where the failures to so comply would not reasonably be expected
to result in a Material Adverse Occurrence.

         5.6      Books and Records; Inspection Rights; etc. Each Loan Party shall keep (a) a system of
accounting administered in accordance with GAAP and (b) books and records reflecting all of its business
affairs and transactions in accordance with GAAP. Each Loan Party shall permit the Administrative Agent
(accompanied by any Lender) or any representative thereof, at reasonable times and intervals, during
normal business hours and upon reasonable notice to the Borrower, to visit the offices of such Loan Party,
discuss financial matters with Responsible Officers of such Loan Party and with its independent public
accountants (and by this provision each Loan Party authorizes its independent public accountants to
participate in such discussions) and examine any of the such Loan Party’s books and other company records
in a non-disruptive manner. Notwithstanding anything to the contrary in this Section 5.6, no Loan Party
will be required to disclose, permit the inspection, examination or making copies or abstracts of, or
discussion of, any document, information or other matter, or provide information, that (i) constitutes non-
financial trade secrets or non-financial proprietary information, (ii) in respect of which disclosure is
prohibited by Law, (iii) is subject to attorney-client or similar privilege or constitutes attorney work product
or (iv) the disclosure of which is restricted by binding agreements with a third party that is not a controlled
Affiliate of any Loan Party.


                                                      50
             Case 23-10945-PDR           Doc 82      Filed 02/10/23      Page 127 of 205



       5.7     Insurance. Each Loan Party will:

                       (a)      Maintain insurance including, but not limited to, business interruption
       coverage, public liability coverage insurance and directors and officers insurance coverage from
       responsible companies in such amounts and against such risks to such Loan Party as is prudent and
       reasonably satisfactory to the Administrative Agent; provided that the Administrative Agent
       acknowledges that the insurance maintained by the Loan Parties as of the Closing Date is
       satisfactory;

                        (b)      Keep its assets insured by responsible companies against loss or damage
       by fire, theft, burglary, pilferage, loss in transit, explosions and hazards in amounts which are
       prudent for the healthcare industry, in accordance with industry standards, all premiums thereon to
       be paid by the Loan Parties;

                         (c)     With respect to each Real Property, if at any time the area in which any
       Improvements located on such unit is designated a “flood hazard area” in any Flood Insurance Rate
       Map published by the Federal Emergency Management Agency (or any successor agency), (i)
       obtain flood insurance providing $5,000,000 of coverage, and otherwise comply with the Flood
       Insurance Laws and (ii) deliver to the Administrative Agent evidence of such compliance in form
       and substance reasonably acceptable to the Administrative Agent, including a copy of the flood
       insurance policy and a declaration page relating to the insurance policies required by this Section
       5.7 which shall (a) identify the addresses of each property located in a special flood hazard area,
       (b) indicate the applicable flood zone designation, the flood insurance coverage and the deductible
       relating thereto and (c) provide that the insurer will give the Administrative Agent thirty (30) days
       written notice of cancellation or non-renewal and shall include evidence of annual renewals of such
       insurance and (iii) shall be otherwise in form and substance satisfactory to the Administrative
       Agent;

                        (d)      Require that each insurance policy for the Collateral provide for at least
       thirty (30) days’ prior written notice to the Administrative Agent of any termination of or proposed
       cancellation or non-renewal of such policy, or material reduction in coverage, and name the
       Administrative Agent for the Secured Parties as additional named loss payee or additional named
       insured, as applicable.

        5.8      ERISA. Each Loan Party agrees that all assumptions and methods used to determine the
actuarial valuation of employee benefits, both vested and unvested, under any Plan, and each such Plan,
will comply in all material respects with ERISA and other applicable laws.

                       (a)      No Loan Party will at any time permit any Plan to:

                                (1)      engage in any “prohibited transaction” for which an exemption is
       not available as such term is defined in Section 4975 of the Code or in Section 406 of ERISA;

                               (2)    fail to satisfy the minimum funding standard as such term is
       defined in Section 302 of ERISA, whether or not waived;

                               (3)    be terminated under circumstances which are likely to result in the
       imposition of a lien on the property of any Loan Party or any of their respective Subsidiaries
       pursuant to Section 4068 of ERISA, if and to the extent such termination is within the control of a
       Loan Party; or



                                                   51
               Case 23-10945-PDR          Doc 82      Filed 02/10/23       Page 128 of 205



                             (4)      be operated or administered in a manner which is not in
        compliance with ERISA or any applicable provisions of the Code;

        if the event or condition described in (1), (2), (3) or (4) above would reasonably be expected
(individually or in the aggregate) to subject any Loan Party or any of their respective Subsidiaries to a
Material Adverse Occurrence.

                         (b)      Upon the request of the Administrative Agent or any Lender, the Borrower
        will furnish a copy of the annual report of each Plan (Form 5500) required to be filed with the
        Internal Revenue Service. Copies of such annual reports shall be delivered no later than thirty (30)
        days after the date the copy is requested.

        5.9      [Reserved].

        5.10     [Reserved].

         5.11    Cash Management Systems. Maintain a cash management system as in effect on the
Petition Date and as required by the DIP Orders and as authorized by the Bankruptcy Court pursuant to
orders approving the first day motions filed by the Debtors and otherwise in compliance with the Prepetition
Credit Agreement. Upon the request of the Administrative Agent (at the direction of the Required Lenders),
cause bank statements and/or other reports to be delivered to the Administrative Agent not less often than
monthly, accurately setting forth all amounts deposited in each Blocked Account to ensure the proper
transfer of funds as set forth above.

        5.12    Further Assurances. Promptly upon reasonable request by the Administrative Agent, the
Borrower shall (and, subject to the limitations hereinafter set forth, shall cause the other Loan Parties to)
take such additional actions and execute such documents as the Administrative Agent may reasonably
request from time to time in order (i) to carry out the purposes of this Agreement, the DIP Orders or any
other Loan Documents, (ii) to subject to the Liens in the Collateral granted by any of the Security
Documents any of the Collateral and (iii) to perfect and maintain the validity, effectiveness and priority of
the Liens granted by any of the Security Documents and the Liens intended to be created thereby.

        5.13     [Reserved].

        5.14     OFAC; Patriot Act. The Loan Parties shall, and shall cause their Subsidiaries to, comply
with the laws, regulations and executive orders referred to in Section 4.27 and Section 4.28 (subject to any
materiality qualifiers set forth in such Section 4.27 and Section 4.28).

        5.15     Compliance with Certain Healthcare Laws.

                         (a)     Each Loan Party shall comply with all material applicable requirements of
        Law, contractual obligations and permits (including Healthcare Laws). Each Loan Party will file
        all material applicable Private Payor Arrangement cost reports in a timely and complete manner.

                         (b)      Each Loan Party will (except as otherwise approved by the Administrative
        Agent in its sole discretion) maintain all certificates of need, provider numbers, supplier numbers,
        and other Licenses necessary to conduct its business as currently conducted in all material respects,
        and take all commercially reasonable steps required to comply with any such new or additional
        requirements that may be imposed on providers of the types of services such Loan Party provides




                                                     52
               Case 23-10945-PDR          Doc 82      Filed 02/10/23       Page 129 of 205



                         (c)      Each Loan Party shall maintain on its behalf, and shall allow the
        Administrative Agent and consultants of the Administrative Agent to review, upon reasonable
        request, (i) a corporate healthcare regulatory compliance program (“CCP”) designed to ensure
        compliance with applicable federal and state law, and (ii) a program that complies with the privacy
        standards pertaining to health information, as set forth at 45 C.F.R. part 164, subparts A and E, and
        an effective program that complies with the security standards pertaining to health information, as
        set forth at 45 C.F.R. part 164, subpart C.

        5.16    Assignment of Licenses and Certificates. No Loan Party shall transfer or assign any
Licenses under state or federal law required for such Loan Party to operate the properties of such Loan
Party, other than to another Loan Party in compliance with applicable law or as approved by the
Administrative Agent in its sole discretion. In addition, each Loan Party shall cause its Licenses for such
Loan Party’s facilities to be issued in the current corporate name of such Loan Party (or such other entity
as approved by the Administrative Agent in writing).

        5.17     [Reserved].

        5.18     [Reserved].

         5.19    Milestones. Each of the Borrower and the Guarantors covenants and agrees with each
Lender that, so long as this Agreement shall remain in effect and until the Commitments have been
terminated and the principal of and interest on each Loan, all fees and all other expenses or amounts payable
under any Loan Document have been paid in full in cash (other than contingent obligations not yet due and
payable), each of the Borrower and the Guarantors shall and shall cause each of the Subsidiaries to ensure
that each of the Milestones set forth in the DIP Orders is achieved in accordance with the applicable timing
referred to therein (or such later dates as may be approved in writing by the Required Lenders in their sole
discretion).

         5.20    Bankruptcy Covenants. Notwithstanding anything in the Loan Documents to the
contrary, the Debtors shall comply with all material covenants, terms and conditions and otherwise perform
all obligations set forth in the DIP Orders in all material respects.

        5.21     Chapter 11 Cases.

                         (a)      Each Debtor shall deliver or cause to be delivered for review and
        comment, as soon as commercially reasonable and in any event at least three (3) Business Days (or
        as soon thereafter as is reasonably practicable under the circumstance) prior to filing, all material
        pleadings, motions and other documents (provided that any of the foregoing relating to the DIP
        Facility shall be deemed material) to be filed on behalf of the Debtors with the Bankruptcy Court
        to K&S and shall consult in good faith with such counsel regarding the form and substance of any
        such proposed filing. If not otherwise provided by the Bankruptcy Court’s electronic docketing
        system, the Borrower shall provide copies to the Administrative Agent and the Lenders of all
        pleadings, motions, applications, judicial information, financial information and other documents
        filed by or on behalf of the Debtors with the Bankruptcy Court, distributed by or on behalf of the
        Debtors to any Committee, filed with respect to the Chapter 11 Cases or filed with respect to any
        Loan Document. In connection with the Chapter 11 Cases, the Debtors shall give the proper notice
        for (x) the motions seeking approval of the Loan Documents and the DIP Orders and (y) the
        hearings for the approval of the Final DIP Order.

                       (b)     Each Loan Party shall deliver or cause to be delivered to the
        Administrative Agent and the Lenders, in accordance with the Bid Procedures, copies of any term


                                                     53
              Case 23-10945-PDR           Doc 82      Filed 02/10/23       Page 130 of 205



        sheets, proposals, presentations, amendments to any asset purchase agreement(s) or other
        documents, from any party, related to (i) the restructuring of the Debtors, or (ii) the sale of assets
        of one or more of the Debtors.

                        (c)     Except to the extent permitted (or required) hereunder, under the DIP
        Orders, under the Budget or as approved by an order of the Bankruptcy Court, no Loan Party shall,
        without the express prior written consent of the Required Lenders or pursuant to an order of the
        Bankruptcy Court after notice and a hearing, use the DIP Proceeds or cash DIP Collateral to make
        any critical vendor payment with respect to any prepetition amount, unless such payments are
        approved by an order of the Bankruptcy Court and permitted pursuant to any approved Budget.

         5.22     Budget Matters. The Borrower hereby acknowledges and agrees that any updated Budget
(each such updated Budget, a “Budget Update”) provided to the Administrative Agent and the Lenders shall
not amend and supplement the applicable approved Budget until the Administrative Agent (at the direction
of the Required Lenders) delivers a notice (which may be delivered by electronic mail) to the Borrower
stating that the Required Lenders have approved of such Budget Update in accordance with Section 5.1(a);
provided, that if the Administrative Agent does not deliver a notice of approval to the Borrower, then the
existing approved Budget shall continue to constitute the applicable approved Budget until such time as the
subject Budget Update is agreed to among the Borrower and the Required Lenders in accordance with
Section 5.1(a). Once such Budget Update is so approved in writing by the Administrative Agent and the
Required Lenders, it shall supplement or replace the prior approved Budget, and shall thereafter constitute
the approved Budget.

                                    ARTICLE VI
                    FINANCIAL COVENANTS AND NEGATIVE COVENANTS

        The Borrower agrees with the Administrative Agent and each of the Lenders that, from the date
hereof and thereafter for so long as any portion of any Advance shall be outstanding or any Lender shall
have any Commitment hereunder, unless the Required Lenders shall otherwise consent in writing:

        6.1     [Reserved].

         6.2     Limitations on Indebtedness. The Loan Parties shall not, and shall not permit any of their
Subsidiaries to, create, assume, incur, issue, guarantee or otherwise become or remain obligated in respect
of, or permit to be outstanding, any Indebtedness, except the following (the “Permitted Indebtedness”):

                       (a)      any Indebtedness owing to the Administrative Agent or any Lender under
        this Agreement and the other Loan Documents or the Prepetition Credit Agreement; and

                        (b)      contingent liabilities under surety bonds or similar instruments incurred in
        the ordinary course of business and in accordance with the Budget;

                          (c)     Indebtedness arising from the honoring by any bank or other financial
        institution of a check, draft or similar instrument drawn against insufficient funds in the ordinary
        course of business, so long as such Indebtedness is extinguished within five (5) Business Days of
        its incurrence;

                        (d)     Indebtedness owed to any Person providing property, casualty, liability or
        other insurance to any Loan Party, so long as the amount of such Indebtedness is not in excess of
        the amount of the unpaid cost of, and shall be incurred only to defer the cost of, such insurance for



                                                     54
              Case 23-10945-PDR              Doc 82      Filed 02/10/23        Page 131 of 205



        the period in which such Indebtedness is incurred and such Indebtedness is outstanding only for a
        period not exceeding twelve months;

                       (e)     Indebtedness representing deferred compensation or similar obligation to
        employees of Loan Parties incurred in the ordinary course of business and in accordance with the
        Budget;

                         (f)     Indebtedness of any Loan Party in respect of letters of credit, bank
        guarantees, supporting obligations bankers’ acceptances, performance bonds, surety bonds,
        statutory bonds, appeal bonds, warehouse receipts or similar instruments issued or created in the
        ordinary course of business, including with respect of workers compensation claims, health,
        disability or other employee benefits or property, casualty or liability insurance or self-insurance
        or other Indebtedness with respect to reimbursement-type obligations regarding workers
        compensation claims; provided that any reimbursement obligations in respect thereof are
        reimbursed within 30 days following the due date thereof;

                     (g)      Other Indebtedness in respect of employee credit card programs and other
        cash management and similar arrangements in the ordinary course of business and any Guarantees
        thereof; and

                          (h)      any other Indebtedness listed on Schedule 6.1 on the Closing Date.

        6.3     Liens. The Loan Parties shall not, and will cause their Subsidiaries not to, create, incur,
assume or permit to exist or to be created or assumed any Lien on Real Property or Equipment pledged as
Collateral, whether now owned or hereafter acquired, except for Permitted Liens.

       6.4      Sales of Assets. The Loan Parties shall not, and will cause their Subsidiaries not to, make
any Dispositions, other than (a) in the ordinary course of business and consistent with past practice or (b)
as may be authorized by the Bankruptcy Court after notice and a hearing and with the consent of the
Administrative Agent.

         6.5      Liquidations, Mergers and Consolidations. Except as permitted pursuant to Sections
6.6 or with the approval of the Administrative Agent and except for the merger, consolidation or
amalgamation of any Loan Party or any Subsidiary of any Loan Party into any other Loan Party, the Loan
Parties shall not, and will cause their Subsidiaries not to, liquidate or dissolve itself (or suffer any liquidation
or dissolution) or otherwise wind up, or consolidate with or merge into any other Person; provided that any
Subsidiary of the Borrower may liquidate or dissolve or change its legal form if the Borrower determines
in good faith that such action is in the best interests of the Borrower and its Subsidiaries and is not materially
disadvantageous to the Lenders so long as the surviving Person or the Person who receives the assets of
such dissolving or liquidated Subsidiary that is Loan Party shall be a Loan Party.

         6.6    Investments. The Loan Parties shall not, and will cause their Subsidiaries not to, permit
to exist any Investment, except that, so long as no Event of Default then exists or is caused thereby, the
Borrower and its Subsidiaries may make Permitted Investments.

         6.7      Transactions with Affiliates. The Loan Parties shall not, and will cause their Subsidiaries
not to, enter into any material transaction (including the purchase, sale or exchange of Property, the
rendering of any service, the making of any Investment in an Affiliate or the repayment of any Indebtedness
owed to an Affiliate) with an Affiliate (other than any such transactions among the Loan Parties), except
for (i) subject to the Budget, any agreement, instrument or arrangement as in effect as of the Closing Date
and set forth on Schedule 6.7, and (ii) subject to the Budget, any material transaction in the ordinary course


                                                        55
              Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 132 of 205



of business and pursuant to the reasonable requirements of the Loan Parties and their Subsidiaries business,
upon terms which are fair and reasonable to the Loan Parties and their Subsidiaries and which are not less
favorable to the Loan Parties and their Subsidiaries than would be obtained in a comparable transaction
with a Person not an Affiliate.

        6.8      [Reserved].

          6.9      Amendment and Waiver. The Loan Parties shall not, and will cause their Subsidiaries
not to, except in connection with a transaction otherwise permitted hereunder, enter into any material
amendment of, or agree to or accept or consent to any material waiver of any of the material provisions of
its articles of organization or operating agreement.

         6.10    Restricted Payments. The Loan Parties shall not, and will cause their Subsidiaries not to,
declare, pay any dividend on, or make any payment on account of, or set apart assets for a sinking or other
analogous fund for, the purchase, redemption, defeasance, retirement or other acquisition of, any Equity
Interests or Equity Interests Equivalents of any Loan Party or any direct or indirect parent thereof, whether
now or hereafter outstanding, or make any other distribution in respect thereof, either directly or indirectly,
whether in cash or property or in obligations of the Loan Parties or any of their Subsidiaries (collectively,
“Restricted Payments”), except that the Loan Parties and their Subsidiaries may, in each case subject to the
Budget:

                          (a)     [reserved];

                          (b)     to the extent constituting Restricted Payments, make payments permitted
        by Section 6.7;

                          (c)     make Tax Distributions; and

                       (d)      to the extent constituting Restricted Payments, any Loan Party and their
        Subsidiaries may enter into and consummate transactions expressly permitted by Section 6.6.

        6.11     Payments in Respect of Certain Indebtedness. The Loan Parties shall not, and will cause
their Subsidiaries not to, (i) pay interest on any Indebtedness that (x) is subordinated in right of payment to
the Obligations, or (y) secured by Liens on the Collateral on a junior basis to the Liens on the Collateral
securing the Obligations (collectively, “Subordinated Indebtedness”) or (ii) prepay, redeem, purchase,
defease or otherwise satisfy prior to the scheduled maturity thereof in any manner, or make any payment in
violation of any subordination terms of, any Subordinated Indebtedness, except:

                          (a)     [reserved];

                          (b)     [reserved];

                         (c)     payments of or in respect of such Indebtedness made solely with Qualified
        Equity Interests in Holdings or the Borrower or the conversion of such Indebtedness into Qualified
        Equity Interests of Holdings or the Borrower; and

                          (d)     [reserved].

        6.12    Change in Business. The Loan Parties shall not, and will cause their Subsidiaries not to,
engage in any line of business that is substantially different from those lines of business carried on by it on



                                                      56
               Case 23-10945-PDR           Doc 82      Filed 02/10/23       Page 133 of 205



the Closing Date (or any reasonable extension thereof) or are ancillary, corollary, complimentary or related
thereto.

        6.13    Changes in Accounting, Name and Jurisdiction of Organization. The Loan Parties
shall not, and will cause their Subsidiaries not to, (i) change their fiscal year, (ii) change its name as it
appears in official filings in its jurisdiction of organization or (iii) change its jurisdiction or form of
organization.

        6.14     [Reserved].

         6.15    Holding Company Status. Notwithstanding anything contained in this Agreement or the
other Loan Documents to the contrary, each of (i) Holdings, (ii) Borrower, (iii) Delphi Health BuyerCo,
LLC, (iv) Summit Health BuyerCo, LLC, (v) DBHG Holding Company, LLC, and (vi) Delphi Behavioral
Health Group, LLC shall not (a) own or acquire any assets other than the Equity Interests and Equity
Interests Equivalents of its Subsidiaries that are Loan Parties or become Loan Parties in accordance with
the terms hereof and its own Equity Interests or Equity Interests Equivalents, and, to the extent cash is
temporarily transferred through Holdings to effectuate a transaction expressly permitted by this Agreement
or the DIP Orders, such cash during such transfer, (b) incur any liabilities other than (i) minimal liabilities
necessary to maintain its separate organizational existence and to pay reasonable overhead expenses of
Loan Parties and their Subsidiaries and (ii) those incurred under or permitted by this Agreement, the DIP
Orders and the other Loan Documents to which it is a party, (c) incur any Indebtedness other than the
Obligations and Guarantees of the other Loan Parties’ obligations permitted by this Agreement or the DIP
Orders, (d) engage in any trade, business or operations (other than acting as a holding company for the
equity of its Subsidiaries) and any administrative activities incidental or reasonably related thereto, (e)
merge, amalgamate or consolidate with any other Person, (f) sell or otherwise transfer any of its assets, (g)
permit or suffer to exist any Lien on any of its assets other than Permitted Liens, or (h) accept or receive
any Loans or Collateral (other than distributions that are expressly permitted by Section 6.12); provided
that nothing herein shall prevent Holdings from incurring liabilities with respect to Taxes as required by
Law.

         6.16      Use of Proceeds. The proceeds of the Loans shall be used to provide working capital, for
general corporate purposes and to fund the Chapter 11 Cases, subject to the Budget (including Permitted
Variances) and the terms and conditions of this Agreement and the DIP Orders, including, without
limitation, to (i) provide working capital and for other general corporate purposes of the Debtors; (ii) fund
the costs of the administration of the Chapter 11 Cases (including professional fees and expenses); and (iii)
fund interest, fees, and other payments contemplated in respect of the DIP Facility.

Without in any way limiting the foregoing, and otherwise in accordance with the DIP Orders, no DIP
Collateral, DIP Proceeds or any portion of the Carve-Out may be used directly or indirectly by any of the
Debtors, the Committee, if any, or any trustee or other estate representative appointed in the Chapter 11
Cases (or any successor chapter 7 case) or any other person or entity (or to pay any professional fees,
disbursements, costs or expenses incurred in connection therewith): (a) to seek authorization to obtain liens
or security interests that are senior to or pari passu with the DIP Liens or the Liens in existence on the
Petition Date securing the Prepetition Obligations (the “Prepetition Liens”) (except to the extent expressly
set forth herein); or (b) to investigate (including by way of examinations or discovery proceedings), prepare,
assert, join, commence, support or prosecute any action for any claim, counter-claim, action, proceeding,
application, motion, objection, defense, or other contested matter seeking any order, judgment,
determination or similar relief against, or adverse to the interests of, in any capacity, any of the
Administrative Agent, the Lenders, or the Prepetition Secured Parties, and each of their respective officers,
directors, controlling persons, employees, agents, attorneys, affiliates, assigns, or successors of each of the
foregoing (all in their capacities as such) (collectively, the “Released Parties”), with respect to any

                                                      57
             Case 23-10945-PDR             Doc 82      Filed 02/10/23        Page 134 of 205



transaction, occurrence, omission, action or other matter (including formal discovery proceedings in
anticipation thereof), including, without limitation, (i) any claims or causes of action arising under chapter
5 of the Bankruptcy Code; (ii) any so-called “lender liability” claims and causes of action; (iii) any action
with respect to the validity, enforceability, priority and extent of, or asserting any defense, counterclaim, or
offset to, the Obligations, the DIP Credit Facility Super-Priority Claims, the DIP Liens, the Loan
Documents, the Prepetition Liens, the Prepetition Loan Documents, or the Prepetition Obligations; (iv) any
action seeking to invalidate, modify, set aside, avoid or subordinate, in whole or in part, the Obligations or
the Prepetition Obligations; (v) any action seeking to modify any of the rights, remedies, priorities,
privileges, protections and benefits granted to either (A) the Administrative Agent or the Lenders hereunder
or under any of the Loan Documents, or (B) the Prepetition Agent or the Prepetition Lenders under any of
the Prepetition Loan Documents (in each case, including, without limitation, claims, proceedings or actions
that might prevent, hinder or delay any of the Administrative Agent’s or the Lenders’ assertions,
enforcements, realizations or remedies on or against the DIP Collateral in accordance with the applicable
Loan Documents and the DIP Orders); or (vi) objecting to, contesting, or interfering with, in any way, the
Administrative Agent’s and the Lenders’ enforcement or realization upon any of the DIP Collateral once
an Event of Default has occurred; provided, however, that no more than $25,000 in the aggregate of the
DIP Collateral, DIP Proceeds or any portion of the Carve-Out may be used by the Committee, if any, to
investigate claims and/or liens of the Prepetition Agents and Prepetition Lenders under the Prepetition
Credit Agreement.

        6.17    Plans. No Loan Party shall, nor shall it permit any of its Subsidiaries to, become party to
(or commence contributions to) any Multiemployer Plan or Foreign Plan, other than any Multiemployer
Plan or Foreign Plan to which it is a party (or is already making contributions to) on the Closing Date.

        6.18    Employees Payments. No Loan Party shall make any cash bonus payment to any
executive officers or employees of the Borrower or any of its Subsidiaries unless in accordance with the
Budget, or otherwise acceptable to the Required Lenders.

                                            ARTICLE VII
                                         EVENTS OF DEFAULT

        7.1     Events of Default. The term “Event of Default” means any of the following events
occurring for whatever reason, whether voluntary or involuntary, effected by operation of law, judgment,
order or otherwise:

                         (a)      A failure to pay when and as due any principal amount of the Loans;

                         (b)    A default in the payment when and as due of any interest on the Loans or
        of fees or other amounts payable to the Lenders pursuant to this Agreement;

                         (c)      [reserved];

                         (d)     A default (other than those defaults specifically described in other
        subsections of this Section 7.1) by any Loan Party in the due performance and observance of any
        of the covenants contained in this Agreement or any other Loan Document and such failure
        continues for a period of ten (10) days;

                       (e)      Subject to the Budget, the Borrower or any Subsidiary thereof (i) fails to
        make any payment beyond the applicable grace period, if any, in respect of its Indebtedness (other
        than the Obligations) having an aggregate outstanding principal amount (individually or in the
        aggregate with all other such Indebtedness as to which such a failure shall exist) in excess of


                                                      58
     Case 23-10945-PDR             Doc 82      Filed 02/10/23        Page 135 of 205



$1,000,000 or (ii) fails to observe or perform any other agreement or condition relating to any such
Indebtedness, or any other event occurs, the effect of which default or other event is to cause, or to
permit the holder or holders of such Indebtedness (or a trustee or agent on behalf of such holder or
holders or beneficiary or beneficiaries) to cause, with the giving of notice if required, such
Indebtedness to become due or to be repurchased, prepaid, defeased or redeemed (automatically or
otherwise), or an offer to repurchase, prepay, defease or redeem such Indebtedness to be made,
prior to its stated maturity; provided that such failure is unremedied and is not waived by the holders
of such Indebtedness prior to the termination of the Commitments and acceleration of the Loans
pursuant to Section 7.2;

                 (f)     Other than with respect to the Chapter 11 Cases, an involuntary case under
any applicable federal or state bankruptcy, insolvency or similar laws shall be commenced against
any Loan Party; the entry of a decree or order by a court having jurisdiction in the premises in
respect of any Loan Party under the federal bankruptcy laws, as now or hereafter constituted, or
any other applicable federal or state bankruptcy, insolvency or other similar law; or the entry of a
decree or order by a court having jurisdiction in the premises appointing a receiver, liquidator,
assignee, trustee, sequestrator or other similar official of the any Loan Party or of any substantial
part of the property of any Loan Party, or ordering the winding up or liquidation of its affairs,
which, in any case, is not dismissed within sixty (60) days;

                 (g)      Other than with respect to the Chapter 11 Cases, the commencement by
any Loan Party of or consent to, a voluntary case under the federal bankruptcy laws, as now or
hereafter constituted, or any other applicable federal or state bankruptcy, insolvency or other similar
law or the request or consent by it to the appointment of a receiver, liquidator, assignee, trustee,
sequestrator or other similar official of either of any Loan Party or of any substantial part of the
property of any Loan Party, or the making by it of a general assignment for the benefit of creditors,
or the failure by the Borrower to pay its debts generally as they become due, or the taking of any
action by the Borrower in furtherance thereof;

                 (h)     One or more judgments (i) for the payment of money in an aggregate
amount in excess of $1,000,000 (other than any such judgment covered by insurance (other than
under a self-insurance program) to the extent a claim therefor has been made in writing and liability
therefor has not been denied by the insurer), shall be rendered against any Loan Party, or any action
shall be legally taken by a judgment creditor to attach or levy upon any assets of a Loan Party to
enforce any such judgment or (ii) in the case of non-monetary judgments, which would reasonably
be expected to result in a Material Adverse Occurrence, and which, in any case, remains
undischarged, unvacated, unbonded or unstayed for a period of forty-five (45) days;

                 (i)      Any Loan Document or any material provision of any Loan Document
shall at any time and for any reason cease to be valid and binding on or enforceable against any
Loan Party party thereto or any Loan Party shall so state in writing or bring an action to limit its
obligations or liabilities thereunder; or any security interest and DIP Lien on the DIP Collateral
purported to be granted to the Administrative Agent for the benefit of the Secured Parties by any
Security Document shall for any reason (other than as expressly permitted hereunder or pursuant
to the terms thereof) cease to be in full force and effect or create a valid security interest in any
material portion of the Collateral or such security interest shall for any reason (other than the failure
of the Administrative Agent to take any action within its control) cease to be a perfected security
interest with the priority stated in the Security Documents, except (in each case) (x) to the extent
that any such grant, perfection or priority is not required pursuant to the terms hereof or the Security
Documents and (y) to the extent that such losses are covered by a lender’s title insurance policy
and such insurer has not denied coverage;

                                              59
     Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 136 of 205



                (j)      The occurrence of a Change of Control;

                 (k)   Any representation or warranty made or deemed made by any Loan Party
in this Agreement or any other Loan Document shall be untrue, incorrect or misleading in any
material respect when made or deemed made;

                 (l)      Any of the following shall occur: (i) an ERISA Event occurs that has
resulted or could reasonably be expected to result in liability of a Loan Party or ERISA Affiliate,
or (ii) any event similar to the foregoing occurs or exists with respect to a Foreign Plan;

                (m)      Other than a Known Event, there occurs a Material Adverse Occurrence;

                (n)      The occurrence of any of the following in any Chapter 11 Case:

                       (1)       termination of any Asset Purchase Agreement due to a breach
thereunder by any Debtor;

                       (2)      filing of a plan of liquidation under Chapter 11 of the Bankruptcy
Code by the Debtors that has not been consented to by the Required Lenders;

                        (3)     filing of a plan of reorganization by the Debtors that does not
propose to indefeasibly pay the Obligations in full in cash, unless otherwise consented to by the
Administrative Agent and the Required Lenders;

                          (4)     any of the Debtors shall file a pleading seeking to vacate or modify
any of the DIP Orders over the objection of the Administrative Agent or the Administrative Agent
at the direction of the Required Lenders;

                      (5)     entry of an order without the prior written consent of the Required
Lenders amending, supplementing or otherwise modifying the DIP Orders;

                         (6)      reversal, vacatur or stay of the effectiveness of the DIP Orders
except to the extent stayed or reversed within five (5) Business Days;

                        (7)     a failure by the Loan Parties to comply with any material provision
of the DIP Orders (except where such failure would not materially and adversely affect the Lenders
or the Administrative Agent);

                        (8)     dismissal of the Chapter 11 Case of a Debtor with material assets
or conversion of the Chapter 11 Case of a Debtor with material assets to a case under Chapter 7 of
the Bankruptcy Code;

                         (9)     appointment of a Chapter 11 trustee or examiner with enlarged
powers relating to the operation of the business of the Borrower or any other Loan Party or any
Debtor shall file a motion or other pleading seeking such appointment;

                       (10)     any sale of all or substantially all assets of the Debtors pursuant to
Section 363 of the Bankruptcy Code, unless such sale is conducted in accordance with the Bid
Procedures and consented to by the Required Lenders;




                                             60
     Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 137 of 205



                         (11)     failure to meet a Milestone, unless extended or waived pursuant
by the prior written consent of the Administrative Agent at the direction of the Required Lenders;

                        (12)    granting of relief from the Automatic Stay by the Bankruptcy
Court after notice and hearing in the Chapter 11 Cases to permit foreclosure or enforcement on
assets of the Borrower or any other Loan Party, in each case, with a fair market value in excess of
$50,000;

                          (13)    the Debtors’ filing of (or supporting another party in the filing of)
a motion seeking entry of, or the entry of an order by the Bankruptcy Court, granting any
superpriority claim or lien (except as contemplated herein) which is senior to or pari passu with the
Lenders’ claims under the DIP Facility;

                          (14)    an order shall be entered in any of the Chapter 11 Cases, without
the prior written consent of the Administrative Agent and the Required Lenders (i) to permit any
administrative expense or any claim (now existing or hereafter arising of any kind or nature
whatsoever) to have administrative priority equal or superior to the DIP Credit Facility Super-
Priority Claims or (ii) granting or permitted grant of a lien that is equal in priority or senior to the
DIP Liens;

                        (15)     the Debtors’ filing of (or supporting another party in the filing of)
a motion seeking entry of an order approving any key employee incentive plan, employee retention
plan, or comparable plan, without the prior written consent of the Required Lenders;

                          (16)    the Debtors shall seek, or shall support any other person’s motion
seeking (in any such case, verbally in any court of competent jurisdiction or by way of any motion
or pleading with the Bankruptcy Court, or any other writing to another party in interest by Debtors)
to challenge the validity or enforceability of any of the DIP Lien or obligations of the parties under
the Prepetition Loan Documents;

                          (17)    the Debtors shall assert in any pleading filed in any court that the
guarantee contained in the Loan Documents is not valid and binding, for any reason, to be in full
force and effect, other than pursuant to the terms hereof;

                          (18)   payment of or granting adequate protection with respect to
prepetition debt, other than as expressly provided herein or in the DIP Orders or consented to by
the Administrative Agent at the direction of the Required Lenders;

                        (19)     expiration or termination of the period provided by section 1121
of the Bankruptcy Code for the exclusive right to file a plan, with respect to a Debtor with material
assets unless such expiration or termination was sought by the Prepetition Secured Parties or the
Secured Parties;

                        (20)     the Bankruptcy Court’s determination of the cessation of the DIP
Liens or the DIP Credit Facility Super-Priority Claims to be valid, perfected and enforceable in all
respects;

                        (21)    Permitted Variances under the Budget are exceeded for any period
of time without consent of or waiver by the Administrative Agent at the direction of the Required
Lenders;



                                              61
              Case 23-10945-PDR           Doc 82      Filed 02/10/23      Page 138 of 205



                                (22)     any uninsured judgments are entered with respect to any post-
        petition non-ordinary course claims against any of the Debtors or any of their respective affiliates
        in a combined aggregate amount in excess of $250,000 unless stayed;

                               (23)    other than in the ordinary course and consistent with past practice,
        any Debtor asserting any right of subrogation or contribution against any other Debtor until all
        borrowings under the DIP Facility are paid in full in cash and the commitments are terminated;

                                (24)    subject to entry of the Final DIP Order, the allowance of any claim
        or claims under Section 506(c) of the Bankruptcy Code or otherwise against any Lender;

                                  (25)    the commencement of a suit or action against any Lender and, as
        to any suit or action brought by any person other than any Debtor or an officer or employee of any
        Debtor, the continuation thereof without dismissal for thirty (30) days after service thereof on the
        Lenders, that asserts or seeks by or on behalf of the Debtors, any Committee or any other party in
        interest in any of the Chapter 11 Cases (unless the Bankruptcy Court has granted such party
        derivative standing to bring such a claim or action after notice and a hearing), a claim or any legal
        or equitable remedy that would (i) have the effect of subordinating any or all of the Obligations or
        DIP Liens of the Lenders under the Loan Documents to any other claim, or (ii) have a material
        adverse effect on the rights and remedies of the Administrative Agent and/or the Lenders under any
        Loan Document or the collectability of all or any portion of the Obligations in each case, unless
        consistent with any DIP Order;

                               (26)    the entry of an order in any Bankruptcy Case avoiding or requiring
        repayment of any portion of the payments made on account of the Obligations owing under this
        Agreement or the other Loan Documents;

                                  (27)      an order shall have been entered by the Bankruptcy Court
        prohibiting, limiting or restricting the right of the Administrative Agent (on behalf of the Lenders)
        to credit bid for any or all of the Debtors’ assets; and

                               (28)       the payment of any prepetition claim other than (i) as consented
        to by the Required Lenders, (ii) as authorized by the Budget, (iii) permitted under the terms of this
        Agreement or (iv) as authorized by the Bankruptcy Court or the DIP Orders and reflected in the
        Budget.

         7.2    Action If Event of Default. If an Event of Default shall occur, to the extent permitted by
law and the DIP Orders, the full unpaid principal amount of and interest on the Loans and all other amounts
due and owing and Obligations hereunder shall automatically be due and payable without any declaration,
notice, presentment, protest or demand of any kind (all of which are hereby waived) and the obligation of
the Lenders to make additional Advances shall automatically terminate.

        7.3     Remedies.

                         (a)    Upon acceleration of the Loans, as provided in Section 7.2, the
        Administrative Agent shall, at the request of the Required Lenders and in accordance with and
        subject to the DIP Orders, exercise on behalf of itself and the Lenders all rights and remedies
        available to it and the Lenders under the Loan Documents and the DIP Orders and/or under
        applicable law.




                                                    62
             Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 139 of 205



                          (b)    The Administrative Agent, personally or by attorney, shall, at the request
        of the Required Lenders, proceed to protect and enforce its rights and the rights of the Lenders by
        pursuing any available remedy, including a suit or suits in equity or at law, whether for damages or
        for the specific performance of any obligation, covenant or agreement contained in this Agreement,
        the DIP Orders or in the Notes, or in aid of the execution of any power herein or therein granted,
        or for the enforcement of any other appropriate legal or equitable remedy, as the Administrative
        Agent shall deem most effectual to collect the payments then due and thereafter to become due on
        the Notes or under this Agreement, to enforce performance and observance of any obligation,
        agreement or covenant of the Borrower hereunder or under the Notes or to protect and enforce any
        of the Administrative Agent’s or any Lender’s rights or duties hereunder.

                        (c)     No remedy herein conferred upon or reserved to the Administrative Agent
        or any Lender is intended to be exclusive of any other remedy or remedies, and each and every
        such remedy shall be cumulative, and shall be in addition to every other remedy given hereunder
        or under any other Loan Document or the DIP Orders now or hereafter existing at law, in equity or
        by statute.

                         (d)      Each Lender agrees that it will not take any action, nor institute any actions
        or proceedings, against the Borrower hereunder or under any Loan Document or the DIP Orders,
        without the prior written consent of the Required Lenders or, as may be provided in this Agreement,
        the DIP Orders or the other Loan Documents, at the direction of the Administrative Agent with the
        consent of the Required Lenders.

                                         ARTICLE VIII
                                   THE ADMINISTRATIVE AGENT

         8.1     Appointment and Authorization. Each Lender hereby irrevocably appoints the
Administrative Agent as the Administrative Agent of such Lender and authorizes the Administrative Agent
to act on such Lender’s behalf to the extent provided herein or under any of the other Loan Documents, and
to take such other action and exercise such other powers as may be reasonably incidental thereto. Each
Lender hereby agrees that it will require any transferee of any of such Lender’s interests in its Loans to
irrevocably appoint and authorize the Administrative Agent as such transferee’s Administrative Agent in
accordance with the terms hereof. Notwithstanding the use of the term “agent,” it is expressly understood
and agreed that the Administrative Agent shall not have any fiduciary responsibilities to any Lender by
reason of this Agreement and that the Administrative Agent is merely acting as the representative of the
Lenders with only those duties as are expressly set forth in this Agreement and the other Loan Documents.
In its capacity as the Lenders’ contractual representative, the Administrative Agent (i) does not hereby
assume any fiduciary duties to the Loan Parties, any of the Lenders or any other Person (and no such
fiduciary duties shall be implied) and (ii) is acting as an independent contractor, the rights and duties of
which are limited to those expressly set forth in this Agreement and the other Loan Documents. The
Borrower, on behalf of the Loan Parties, and each of the Lenders hereby agrees to assert no claim against
the Administrative Agent on any agency theory or any other theory of liability for breach of fiduciary duty,
all of which claims the Borrower and each Lender hereby waives.

        8.2      Power. The Administrative Agent shall have and may exercise such powers under this
Agreement and any other Loan Documents as are specifically delegated to the Administrative Agent by the
terms hereof or thereof, together with such powers as are reasonably incidental thereto. As to any matters
not expressly provided for by the Loan Documents (including enforcement or collection of the Notes), the
Administrative Agent shall not be required to exercise any discretion or take any action, but shall be
required to act or to refrain from acting (and shall be fully protected in so acting or refraining from acting)
upon the instructions of the Required Lenders, and such instructions shall be binding upon all Lenders and

                                                      63
             Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 140 of 205



all holders of the Notes; provided, however, that the Administrative Agent shall not be required to take any
action which exposes the Administrative Agent to personal liability or which is contrary to any Loan
Document or applicable law. The Administrative Agent shall not have any implied duties or any obligation
to take any action under this Agreement or any other Loan Document except such action as is specifically
provided by this Agreement or any other Loan Document to be taken by the Administrative Agent.

         8.3     Interest Holders. The Administrative Agent may treat each Lender, or the Person
designated in the last notice filed with the Administrative Agent, whether under Section 9.3 or 9.9, or
otherwise hereunder, as the holder of all of the interests of such Lender in its Loans until written notice of
transfer, signed by such Lender (or the Person designated in the last notice filed with the Administrative
Agent) and by the Person designated in such written notice of transfer, in form and substance satisfactory
to the Administrative Agent, shall have been filed with the Administrative Agent.

         8.4     Employment of Counsel; etc. The Administrative Agent may execute any of its duties
under this Agreement or any other Loan Document, and any instrument, agreement or document executed,
issued or delivered pursuant or in connection herewith or therewith, by or through employees, agents and
attorneys-in-fact and shall not be answerable for the default or misconduct of any such employee, agent or
attorney-in-fact selected by it with reasonable care (other than employees, officers and directors of the
Administrative Agent, when acting on behalf of the Administrative Agent). The Administrative Agent shall
be entitled to rely on advice of counsel (including counsel who are the employees of the Administrative
Agent) selected by the Administrative Agent concerning all matters pertaining to the agency hereby created
and its duties under any of the Loan Documents.

         8.5      Reliance. The Administrative Agent shall be entitled to rely upon and shall not be under
a duty to examine or pass upon the validity, effectiveness, genuineness of this Agreement, any other Loan
Document or any notice, consent, waiver, amendment, certificate, affidavit, letter, telegram, statement,
paper, document or writing furnished pursuant to this Agreement or any other Loan Document, and the
Administrative Agent shall be entitled to assume (absent actual knowledge to the contrary) that the same
are valid, effective and genuine, have been signed or sent by the proper Person(s) and are what they purport
to be. The Administrative Agent shall be entitled to assume that no Default has occurred and is continuing
unless it has actual knowledge, or has been notified in writing by the Borrower, of such fact, or has been
notified by a Lender in writing that such Lender considers that a Default has occurred and is continuing,
and such Lender shall specify in detail the nature thereof in writing. The Administrative Agent shall not
be liable hereunder for any action taken or omitted to be taken except for its own gross negligence or willful
misconduct. The Administrative Agent shall provide promptly each Lender with copies of such documents
received from the Borrower pursuant to the terms of this Agreement or any other Loan Document as such
Lender may reasonably request.

         8.6     General Immunity. Neither the Administrative Agent nor any of the Administrative
Agent’s directors, officers, agents, attorneys or employees shall be liable or responsible in any manner to
the Borrower, any Lender or any other Person for any action taken or omitted to be taken by it or them
under the Loan Documents or in connection therewith except for any liability imposed by law for its own
willful misconduct or gross negligence. Without limitation on the generality of the foregoing, the
Administrative Agent: (a) shall not be responsible to any Lender for any recitals, statements, warranties,
representations, or failure or delay of performance under the Loan Documents or any agreement or
document related thereto or for the financial condition of the Borrower; (b) shall not be responsible for the
authenticity, accuracy, completeness, value, validity, effectiveness, due execution, legality, genuineness,
enforceability or sufficiency of any of the Loan Documents, any provisions thereof or any document
contemplated thereby; (c) shall not be responsible for the validity, genuineness, creation, perfection or
priority of any of the DIP Liens created or reaffirmed by any of the Loan Documents, or the validity,
genuineness, enforceability, existence, value or sufficiency of any DIP Collateral or other security; (d) shall

                                                      64
              Case 23-10945-PDR           Doc 82      Filed 02/10/23      Page 141 of 205



not be bound to ascertain or inquire as to the performance or observance of any of the terms, covenants or
conditions of any of the Loan Documents on the part of the Borrower or of any of the terms of any such
agreement by any party thereto and shall have no duty to inspect the property (including the books and
records) of the Borrower; (e) shall incur no liability under or in respect of any of the Loan Documents or
any other document or DIP Collateral by acting upon any notice, consent, certificate or other instrument or
writing (which may be by telegram, cable or telex) furnished pursuant to this Agreement or any other Loan
Document; (f) shall incur no liability to the Borrower or any other Person as a consequence of any failure
or delay in performance by or any breach by, any Lender or Lenders of any of its or their obligations under
this Agreement; and (g) may consult with legal counsel (including counsel for the Borrower), independent
public accountants and other experts selected by the Administrative Agent.

        8.7     Lenders’ Representations and Warranties.

                          (a)     Each Lender has made, and shall continue to make, its own independent
        investigation or evaluation of the operations, business, property and condition, financial and
        otherwise, of the Borrower in connection with the making of its commitments hereunder and has
        made, and will continue to make, its own independent appraisal of the creditworthiness of the
        Borrower. Without limiting the generality of the foregoing, each Lender acknowledges that prior
        to the execution of this Agreement, it had this Agreement and all other Loan Documents and such
        other documents or matters as it deemed appropriate relating thereto reviewed by its own legal
        counsel as it deemed appropriate, and it is satisfied with the form and substance of this Agreement
        and all other Loan Documents. Each Lender agrees and acknowledges that neither the
        Administrative Agent nor any of its directors, officers, attorneys or employees makes any
        representation or warranties about the creditworthiness of the Borrower or with respect to the due
        execution, legality, validity, genuineness, effectiveness, sufficiency or enforceability of this
        Agreement or any other Loan Documents, or the validity, genuineness, execution, perfection or
        priority of DIP Liens created or reaffirmed by any of the Loan Documents, or the validity,
        genuineness, enforceability, existence, value or sufficiency of any DIP Collateral or other security.
        Each of the Lenders shall use its commercially reasonable efforts to provide the other Lenders with
        any credit or other material information which comes into the possession of such Lender on or
        before a Default or Event of Default or at any time thereafter with respect to the operations,
        business, property, condition or creditworthiness of the Borrower but no Lender shall have any
        liability to any other Lender for its inadvertent failure to do so. Each Lender, upon the request of
        another Lender, shall deliver to such other Lender any financial statement, report, certificate or
        other document required to be delivered to the Lenders pursuant to Section 5.1 which the requesting
        Lender did not receive. Except as explicitly provided herein, neither the Administrative Agent nor
        any Lender has any duty or responsibility, either initially or on a continuing basis, to provide any
        other Lender with any credit or other information with respect to such operations, business,
        property, condition or creditworthiness, whether such information comes into its possession on or
        before a Default or an Event of Default or at any time thereafter.

                        (b)     Each Lender (x) represents and warrants, as of the date such Person
        became a Lender party hereto, to, and (y) covenants, from the date such Person became a Lender
        party hereto to the date such Person ceases being a Lender party hereto, for the benefit of, the
        Administrative Agent and its Affiliates and not, for the avoidance of doubt, to or for the benefit of
        the Borrower or any other Loan Party, that at least one of the following is and will be true:

                                  (1)      such Lender is not using “plan assets” (within the meaning of
        Section 3(42) of ERISA or otherwise) of one or more Benefit Plans with respect to such Lender’s
        entrance into, participation in, administration of and performance of the Loans, the Commitments
        or this Agreement;

                                                    65
    Case 23-10945-PDR             Doc 82      Filed 02/10/23      Page 142 of 205



                         (2)    the transaction exemption set forth in one or more PTEs, such as
PTE 84-14 (a class exemption for certain transactions determined by independent qualified
professional asset managers), PTE 95-60 (a class exemption for certain transactions involving
insurance company general accounts), PTE 90-1 (a class exemption for certain transactions
involving insurance company pooled separate accounts), PTE 91-38 (a class exemption for certain
transactions involving bank collective investment funds) or PTE 96-23 (a class exemption for
certain transactions determined by in-house asset managers), is applicable with respect to such
Lender’s entrance into, participation in, administration of and performance of the Loans, the
Commitments and this Agreement;

                          (3)      (A) such Lender is an investment fund managed by a “Qualified
Professional Asset Manager” (within the meaning of Part VI of PTE 84-14), (B) such Qualified
Professional Asset Manager made the investment decision on behalf of such Lender to enter into,
participate in, administer and perform the Loans, the Commitments and this Agreement, (C) the
entrance into, participation in, administration of and performance of the Loans, the Commitments
and this Agreement satisfies the requirements of sub-sections (b) through (g) of Part I of PTE 84-
14 and (D) to the best knowledge of such Lender, the requirements of subsection (a) of Part I of
PTE 84-14 are satisfied with respect to such Lender’s entrance into, participation in, administration
of and performance of the Loans, the Commitments and this Agreement; or

                        (4)    such other representation, warranty and covenant as may be
agreed in writing between the Administrative Agent, in its sole discretion, and such Lender.

                (c)     In addition, unless either (1) the immediately preceding clause (b)(1) is
true with respect to a Lender or (2) a Lender has provided another representation, warranty and
covenant in accordance with the immediately preceding clause (b)(4), such Lender further (x)
represents and warrants, as of the date such Person became a Lender party hereto, to, and (y)
covenants, from the date such Person became a Lender party hereto to the date such Person ceases
being a Lender party hereto, for the benefit of, the Administrative Agent and its Affiliates and not,
for the avoidance of doubt, to or for the benefit of the Borrower or any other Loan Party, that:

                        (1)      none of the Administrative Agent or any of its Affiliates is a
fiduciary with respect to the assets of such Lender involved in such Lender’s entrance into,
participation in, administration of and performance of the Loans, the Commitments and this
Agreement (including in connection with the reservation or exercise of any rights by the
Administrative Agent under this Agreement, any Loan Document or any documents related hereto
or thereto); and

                         (2)     the Person making the investment decision on behalf of such
Lender with respect to the entrance into, participation in, administration of and performance of the
Loans, the Commitments and this Agreement is independent (within the meaning of 29 CFR §
2510.3-21) and is a bank, an insurance carrier, an investment adviser, a broker-dealer or other
person that holds, or has under management or control, total assets of at least $50,000,000, in each
case as described in 29 CFR § 2510.3-21(c)(1)(i)(A)-(E);

                          (3)     the Person making the investment decision on behalf of such
Lender with respect to the entrance into, participation in, administration of and performance of the
Loans, the Commitments and this Agreement is capable of evaluating investment risks
independently, both in general and with regard to particular transactions and investment strategies
(including in respect of the Obligations);



                                            66
             Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 143 of 205



                                 (4)     the Person making the investment decision on behalf of such
        Lender with respect to the entrance into, participation in, administration of and performance of the
        Loans, the Commitments and this Agreement is a fiduciary under ERISA or the Code, or both, with
        respect to the Loans, the Commitments and this Agreement, and is responsible for exercising
        independent judgment in evaluating the transactions hereunder; and

                               (5)      no fee or other compensation is being paid directly to the
        Administrative Agent or any of its affiliates for investment advice (as opposed to other services) in
        connection with the Loans, the Commitments or this Agreement.

        8.8       Administrative Agent and Affiliates. With respect to the Loans made by it and the Notes
issued to it, the Administrative Agent, in its individual capacity, shall have the same rights and powers
under the Loan Documents as any other Lender and may exercise the same as though it were not an
Administrative Agent; and the term “Lender” or “Lenders” shall, unless otherwise expressly indicated,
include the Administrative Agent in its individual capacity. The Administrative Agent, in its individual
capacity, and its Affiliates may accept deposits from, lend money to, act as trustee under indentures of, and
generally engage in any kind of business with, the Borrower, and any Person who may do business with or
own securities of the Borrower, all as if it were not an Administrative Agent and without any duty to account
therefor to the Lenders.

          8.9     Indemnification. The Lenders jointly and severally agree to indemnify and hold harmless
the Administrative Agent and its officers, directors, employees and agents (to the extent not reimbursed by
the Borrower), ratably according to their respective Commitments, from and against any and all claims,
liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or
disbursements of any kind or nature whatsoever which may be imposed on, incurred by, or asserted against
the Administrative Agent or any of its officers, directors, employees or agents, in any way relating to or
arising out of any investigation, litigation or proceeding concerning or relating to the transaction
contemplated by this Agreement or any of the other Loan Documents, or any of them, or any action taken
or omitted by the Administrative Agent or any of its officers, directors, employees or agents, under any of
the Loan Documents; provided, however, that no Lender shall be liable for any portion of such claims,
liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or
disbursements resulting from the gross negligence or willful misconduct of the Administrative Agent or
any of its officers, directors, employees or agents. Without limitation of the foregoing, each Lender agrees
to reimburse the Administrative Agent promptly upon demand for such Lender’s proportionate share of any
out-of-pocket expenses (including counsel fees) incurred by the Administrative Agent or its officers,
directors, employees or agents in connection with the preparation, execution, administration, or
enforcement of, or legal advice in respect of rights or responsibilities under any of, the Loan Documents,
to the extent that the Administrative Agent is not reimbursed for such expenses by the Borrower.

        8.10     Security Documents. The Administrative Agent, as collateral agent hereunder and under
the Security Documents, is hereby authorized to act on behalf of the Secured Parties, in its own capacity
and through other agents and sub-agents appointed by it in good faith, under the Security Documents,
provided that the Administrative Agent shall not agree to the release of any DIP Collateral, or any property
encumbered by any mortgage, pledge or security interests except in compliance with Section 8.11. In
connection with its role as secured party with respect to the DIP Collateral hereunder, the Administrative
Agent shall act as collateral agent, for itself and for the ratable benefit of the Lenders, and such role as
Administrative Agent shall be disclosed on all appropriate accounts, filings, mortgages, and other DIP
Collateral documentation.

       8.11    Collateral Matters; Credit Bid. The Administrative Agent is authorized on behalf of all
the Lenders without the necessity of any notice to or further consent from the Lenders, from time to time

                                                     67
             Case 23-10945-PDR             Doc 82       Filed 02/10/23       Page 144 of 205



to take any action with respect to the Security Documents or any DIP Collateral thereunder which may be
necessary to perfect and maintain perfected the security interest in and DIP Liens upon the DIP Collateral
granted pursuant to the Security Documents. The Lenders irrevocably authorize the Administrative Agent,
at its option and in its discretion, to release any DIP Lien granted to or held by the Administrative Agent
upon any DIP Collateral (i) upon termination of the Commitments and payment in full of all Loans and all
other Obligations of the Borrower known to the Administrative Agent and payable under this Agreement
or any other Loan Document; (ii) constituting Property sold or to be sold or disposed of to a Person that is
not a Loan Party as part of or in connection with any Disposition permitted hereunder; (iii) consisting of an
instrument evidencing Indebtedness or other debt instrument, if the Indebtedness evidenced thereby has
been paid in full; or (iv) if approved, authorized or ratified in writing by all the Lenders. Upon request by
the Administrative Agent at any time, the Lenders will confirm in writing the Administrative Agent’s
authority to release particular types or items of DIP Collateral pursuant to this Section 8.11, provided that
the absence of any such confirmation for whatever reason shall not affect the Administrative Agent’s rights
under this Section 8.11.

The Lenders hereby irrevocably authorize the Administrative Agent, based upon the instruction of the
Required Lenders, to (a) consent to, credit bid or purchase (either directly or indirectly through one or more
entities) all or any portion of the DIP Collateral at any sale thereof conducted under the provisions of the
Bankruptcy Code, including Section 363 of the Bankruptcy Code and any similar laws in any other
jurisdictions in which a Loan Party is subject, (b) credit bid or purchase (either directly or indirectly through
one or more entities) all or any portion of the DIP Collateral at any sale or other disposition thereof
conducted under the provisions of the Uniform Commercial Code, including pursuant to Sections 9-610 or
9-620 of the Uniform Commercial Code, or (c) credit bid or purchase (either directly or indirectly through
one or more entities) all or any portion of the DIP Collateral at any other sale or foreclosure conducted or
consented to by the Administrative Agent (at the direction of the Required Lenders) in accordance with
applicable law in any judicial action or proceeding or by the exercise of any legal or equitable remedy. In
connection with any such credit bid or purchase, (i) the Obligations owed to the Lenders shall be entitled
to be, and shall be, credit bid on a ratable basis (with Obligations with respect to contingent or unliquidated
claims being estimated for such purpose if the fixing or liquidation thereof would not impair or unduly
delay the ability of the Administrative Agent to credit bid or purchase at such sale or other disposition of
the DIP Collateral and, if such contingent or unliquidated claims cannot be estimated without impairing or
unduly delaying the ability of the Administrative Agent to credit bid at such sale or other disposition, then
such claims shall be disregarded, not credit bid, and not entitled to any interest in the DIP Collateral that is
the subject of such credit bid or purchase) and the Lenders whose Obligations are credit bid shall be entitled
to receive interests (ratably based upon the proportion of their Obligations credit bid in relation to the
aggregate amount of Obligations so credit bid) in the DIP Collateral that is the subject of such credit bid or
purchase (or in the Equity Interests of the any entities that are used to consummate such credit bid or
purchase), and (ii) the Administrative Agent, based upon the instruction of the Required Lenders, may
accept non-cash consideration, including debt and equity securities issued by any entities used to
consummate such credit bid or purchase and in connection therewith the Administrative Agent may reduce
the Obligations owed to the Lenders (ratably based upon the proportion of their Obligations credit bid in
relation to the aggregate amount of Obligations so credit bid) based upon the value of such non-cash
consideration. Except as provided above, the Administrative Agent will not execute and deliver a release
of any DIP Lien on any DIP Collateral without the prior written authorization of (y) if the release is of all
or substantially all of the DIP Collateral, all of the Lenders, or (z) otherwise, the Required Lenders. Upon
request by the Administrative Agent or the Borrower at any time, the Lenders will confirm in writing the
Administrative Agent’s authority to release any such DIP Liens on particular types or items of DIP
Collateral pursuant to this Section 8.11; provided, that (1) anything to the contrary contained in any of the
Loan Documents notwithstanding, the Administrative Agent shall not be required to execute any document
or take any action necessary to evidence such release on terms that, in the Administrative Agent’s
reasonable opinion, could expose Administrative Agent to liability or create any obligation or entail any

                                                       68
               Case 23-10945-PDR          Doc 82       Filed 02/10/23       Page 145 of 205



consequence other than the release of such DIP Lien without recourse, representation, or warranty, and (2)
such release shall not in any manner discharge, affect, or impair the Obligations or any DIP Liens (other
than those expressly released) upon (or obligations of the Borrower in respect of) any and all interests
retained by the Borrower, including, the proceeds of any sale, all of which shall continue to constitute part
of the DIP Collateral.

        8.12     Action by the Administrative Agent.

                          (a)     The Administrative Agent shall be entitled to use its discretion with
        respect to exercising or refraining from exercising any rights with which it may be vested and with
        respect to taking or refraining from taking any action or actions which it may be able to take under
        or in respect of, this Agreement, unless the Administrative Agent shall have been instructed by the
        Required Lenders to exercise or refrain from exercising such rights or to take or refrain from taking
        such action; provided that the Administrative Agent shall not exercise any rights under Section 7.3
        of this Agreement except upon the request of the Required Lenders or of all the Lenders, where
        expressly required by this Agreement. The Administrative Agent shall incur no liability under or
        in respect of this Agreement with respect to anything which it may do or refrain from doing in the
        exercise of its judgment or which may seem to it to be necessary or desirable in the circumstances,
        except for its gross negligence or willful misconduct as determined by a final, non-appealable order
        of a court having jurisdiction over the subject matter.

                         (b)     The Administrative Agent shall not be liable to the Lenders or to any
        Lender in acting or refraining from acting under this Agreement or any other Loan Document in
        accordance with the instructions of the Required Lenders or of all the Lenders, where expressly
        required by this Agreement, and any action taken or failure to act pursuant to such instructions shall
        be binding on all Lenders.

                         (c)      Notice of Default or Event of Default. In the event that the Administrative
        Agent or any Lender shall acquire actual knowledge, or shall have been notified in writing, of any
        Default (other than through a notice by one party hereto to all other parties), such Lender shall
        promptly notify the Administrative Agent and the Administrative Agent shall promptly notify the
        Lenders, and the Administrative Agent shall take such action and assert such rights under this
        Agreement and the other Loan Documents as the Required Lenders (or all the Lenders, where
        expressly required by this Agreement) shall request in writing, and the Administrative Agent shall
        not be subject to any liability by reason of its acting pursuant to any such request. If the Required
        Lenders shall fail to request the Administrative Agent to take action or to assert rights under this
        Agreement in respect of any Default within ten (10) days after their receipt of the notice of any
        Default from the Administrative Agent or any Lender, or shall request inconsistent action with
        respect to such Default, the Administrative Agent may, but shall not be required to, take such action
        and assert such rights as it deems in its discretion to be advisable for the protection of the Lenders,
        except that, if the Required Lenders have instructed the Administrative Agent not to take such
        action or assert such right, in no event shall the Administrative Agent act contrary to such
        instructions.

                          (d)     Force Majeure. The Administrative Agent shall not be responsible or liable
        for any failure or delay in the performance of the Administrative Agent’s obligations under this
        Agreement arising out of or caused, directly or indirectly, by circumstances beyond the
        Administrative Agent’s control, including, without limitation, any act or provision of any present
        or future law or regulation or governmental authority; acts of God; earthquakes; fires; floods; wars;
        terrorism; civil or military disturbances; sabotage; epidemics; riots; interruptions, loss or
        malfunctions of utilities, computer (hardware or software) or communications service; accidents;

                                                     69
               Case 23-10945-PDR          Doc 82       Filed 02/10/23       Page 146 of 205



        labor disputes; acts of civil or military authority or governmental actions; or the unavailability of
        the Federal Reserve Bank wire or telex or other wire or communication facility.

        8.13     Successor Administrative Agent.

                         (a)      Reorganization. The Administrative Agent may resign at any time as
        Administrative Agent under the Loan Documents by giving thirty (30) days’ prior written notice
        thereof to the Lenders and the Borrower. Upon any such resignation, the Required Lenders shall,
        with (so long as no Event of Default exists) the consent of the Borrower (which shall not be
        unreasonably withheld or delayed), have the right to appoint a successor Administrative Agent
        hereunder that is organized under the laws of the United States of America or a political subdivision
        thereof. If no such successor shall have been so appointed by the Required Lenders and shall have
        accepted such appointment within 30 days after the retiring Administrative Agent gives notice of
        its resignation (or such earlier day as shall be agreed by the Required Lenders) (the “Resignation
        Effective Date”), then the retiring Administrative Agent may (but shall not be obligated to), on
        behalf of the Lenders, with (so long as no Event of Default exists) the consent of the Borrower
        (which shall not be unreasonably withheld or delayed), appoint a successor Administrative Agent,
        which shall be a commercial bank organized under the laws of the United States or of any state
        thereof and having a combined capital and surplus of at least $250,000,000. Whether or not a
        successor has been appointed, such resignation shall become effective in accordance with such
        notice on the Resignation Effective Date. Upon the acceptance of any appointment as
        Administrative Agent under the Loan Documents by a successor Administrative Agent, such
        successor Administrative Agent shall thereupon succeed to and become vested with all the rights,
        powers, privileges and duties of the retiring Administrative Agent, and the retiring Administrative
        Agent shall be discharged from its duties and obligations under the Loan Documents. After any
        retiring Administrative Agent’s resignation as Administrative Agent under the Loan Documents,
        the provisions of this Article VIII shall inure to its benefit as to any actions taken or omitted to be
        taken by it while it was Administrative Agent under the Loan Documents.

         8.14    Legal Representation of Administrative Agent. In connection with the negotiation,
preparation and execution of this Agreement and the other Loan Documents, and in connection with future
legal representation relating to loan administration, amendments, modifications, waivers or enforcement of
remedies in connection herewith, King & Spalding LLP has represented only and shall represent only
Brightwood Loan Services LLC, in its capacity as Administrative Agent. The Borrower and each other
Lender hereby acknowledges that King & Spalding LLP does not represent it in connection with any such
matters.

                                             ARTICLE IX
                                           MISCELLANEOUS

         9.1     Waivers, Amendments; etc. The provisions of this Agreement, including the closing
conditions set forth herein, may from time to time be amended, modified or waived, if such amendment,
modification or waiver is in writing and consented to by the Borrower and the Required Lenders; provided
that no amendment, waiver or consent shall: (a) increase the Commitment of any Lender or subject a
Lender to any additional obligations, without the written consent of such Lender, (b) reduce the principal
of, or interest on, the Notes or any fees or other amounts payable to any Lender hereunder without the
written consent of such Lender, (c) postpone any date fixed for any payment of principal of, or interest on,
the Notes or any fees or other amounts payable to any Lender hereunder without the written consent of such
Lender, (d) change the number of Lenders which shall be required for the Lenders or any of them to take
any action hereunder, unless in writing and signed by all the Lenders, (e) discharge the Borrower from its
obligations under the Loan Documents, unless in writing and signed by all the Lenders, (f) amend Section

                                                     70
             Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 147 of 205



2.8, this Section 9.1 or the last sentence of Section 2.3, unless in writing and signed by all Lenders or
(g) except as specifically permitted hereby or thereby, release or impair the security interest in any of the
DIP Collateral granted to the Administrative Agent, for the benefit of the Secured Parties, under the Security
Documents or discharge any Guarantor, unless in writing and signed by all the Lenders; provided, further,
that no amendment, waiver or consent shall, unless in writing and signed by the Administrative Agent in
addition to the Lenders required above to take such action, affect the rights or duties of the Administrative
Agent under this Agreement or any Note.

         No failure or delay on the part of the Administrative Agent, any Lender or the holder of any Note
in exercising any power or right under this Agreement or any Note shall operate as a waiver thereof, nor
shall any single or partial exercise of any such power or right preclude any other or further exercise thereof
or the exercise of any other power or right. No notice to or demand on the Borrower in any case shall entitle
it to any notice or demand in similar or other circumstances.

         Notwithstanding anything to the contrary herein, no Defaulting Lender shall have any right to
approve or disapprove any amendment, waiver or consent hereunder (and any amendment, waiver or
consent which by its terms requires the consent of all Lenders or each affected Lender may be effected with
the consent of the applicable Lenders other than Defaulting Lenders), except that (x) the Commitment of
any Defaulting Lender may not be increased or extended without the consent of such Lender and (y) any
waiver, amendment or modification requiring the consent of all Lenders or each affected Lender that by its
terms affects any Defaulting Lender disproportionately adversely relative to other affected Lenders shall
require the consent of such Defaulting Lender.

        9.2     Payment Dates. Except as expressly provided in this Agreement, whenever any payment
to be made hereunder by or to the Lenders or to the holder of any Note shall otherwise be due on a day
which is not a Business Day, such payment shall be made on the next succeeding Business Day, and such
extension of time shall be included in computing the fees or interest payable on such next succeeding
Business Day.

         9.3     Notices. All communications and notices provided under this Agreement shall be in
writing by in writing (including email or facsimile transmission), telecopy or personal delivery and if to the
Borrower addressed or delivered to the Borrower at its address shown on the signature page hereof or if to
the Administrative Agent delivered to it at the address shown on Schedule 9.3 attached hereto, or to any
party at such other address as may be designated by such party in a notice to the other parties. Any notice
shall be deemed given when transmitted by email, telecopier or, when personally delivered, if mailed
properly addressed, shall be deemed given upon the third Business Day after the placing thereof in the
United States mail, postage prepaid.

         9.4     Costs and Expenses. The Borrower agrees to pay, or reimburse, the Administrative Agent
for all expenses reasonably incurred for the preparation of this Agreement, including exhibits, and the Loan
Documents, the DIP Orders and any amendments hereto or thereto or consents or waivers hereunder or
thereunder as may from time to time hereafter be required thereby or by the transactions contemplated
hereby, including, but not limited to, the fees and out-of-pocket expenses of the Administrative Agent,
charges and disbursements of special counsel to the Administrative Agent from time to time incurred in
connection with the preparation and execution of this Agreement, the DIP Orders and any document
relevant to this Agreement and the DIP Orders, including the Loan Documents, any amendments hereto or
thereto, or consents or waivers hereunder or thereunder, and the consideration of legal questions relevant
hereto and thereto. The Borrower agrees to pay, or reimburse, the Administrative Agent and each Lender
upon demand for all costs and expenses (including attorneys’, auditors’ and accountants’ fees and expenses)
reasonably incurred and arising out of the transactions contemplated by this Agreement and the Loan
Documents, in connection with any work-out or restructuring of the transactions contemplated hereby, the

                                                     71
             Case 23-10945-PDR             Doc 82       Filed 02/10/23       Page 148 of 205



DIP Orders and by the Loan Documents and any collection or enforcement of the obligations of the
Borrower hereunder or thereunder, whether or not suit is commenced, including attorneys’ fees and legal
expenses (limited to one (1) primary counsel for the Administrative Agent and, if deemed appropriate by
the Administrative Agent, one (1) counsel in each relevant jurisdiction and any special counsel (except in
the case of actual or perceived conflict, in which case one (1) additional counsel for each Lender similarly
situated in respect of such conflict)) in connection with any appeal of a lower court’s order or judgment.
The obligations of the Borrower under this Section 9.4 shall survive any termination of this Agreement.

         9.5      Indemnification. In consideration of the execution and delivery of this Agreement by the
Administrative Agent and the Lenders, the Borrower agrees to indemnify and hold harmless the
Administrative Agent, each Lender and their respective Affiliates, officers, directors, employees,
shareholders, agents, successors and assigns (the “Indemnified Parties”) from and against any and all losses,
claims, damages, liabilities and expenses (other than the expenses to be paid or reimbursed pursuant to
Section 9.4 above), joint or several, to which any such Indemnified Party may become subject arising out
of or in connection with this Agreement, the DIP Orders and the other transactions contemplated hereby or
the DIP Orders, the Advances and the use of proceeds thereof in connection with any claim, litigation,
investigation or proceeding (any of the foregoing, a “Proceeding”) relating to any of the foregoing,
regardless of whether any such Indemnified Party is a party hereto or whether a Proceeding is brought by a
third party or by you any Loan Party or Affiliate of a Loan Party, and to reimburse each such Indemnified
Party within ten (10) days of receipt of an invoice for any reasonable legal or other out-of-pocket expenses
incurred in connection with investigating or defending any of the foregoing; it being understood and agreed
that no Loan Party shall be required to reimburse legal fees or expenses of more than one counsel to all
Indemnified Parties, taken as a whole and in the case of a conflict of interest where such Indemnified Parties
affected by such conflict inform the Borrower of such actual or potential conflict as determined in their sole
discretion, one additional counsel to each group of affected Indemnified Parties similarly situated taken as
a whole (and, if reasonably necessary as determined by the Administrative Agent, a single local counsel for
all Indemnified Parties taken as a whole in each relevant jurisdiction and, in the case of a conflict of interest
where such Indemnified Parties affected by such conflict inform the Borrower of such actual or potential
conflict as determined in their sole discretion, one additional counsel in each relevant jurisdiction to each
group of affected Indemnified Parties similarly situated taken as a whole); provided that the foregoing
indemnity will not, as to any Indemnified Party, apply to losses, claims, damages, liabilities or related
expenses to the extent (x) they have been determined in a final judgment of a court of competent jurisdiction
to have resulted from the willful misconduct, bad faith or gross negligence of such Indemnified Party or
any Related Indemnified Party (as defined below), (y) they have been determined in a final judgment of a
court of competent jurisdiction to have resulted from a material breach of the material obligations of any
Indemnified Party or any of its Related Indemnified Parties under this Agreement or any of the Loan
Documents at a time when no Loan Party has breached its obligations hereunder in any material respect, or
(z) they relate to any dispute solely among Indemnified Parties at a time when no Loan Party has breached
its obligations hereunder or any other Loan Document in any material respect (other than any claims against
the Administrative Agent in its capacity or in fulfilling its role as Administrative Agent, but not any other
person or entity party to any such Proceeding).

        Notwithstanding any other provision of this Agreement or any Loan Document, (i) no Indemnified
Party or Related Indemnified Party shall be liable for any damages arising from the use by others of
information or other materials obtained through electronic, telecommunications or other information
transmission systems, except to the extent such damages have been determined in a final judgment of a
court of competent jurisdiction to have resulted from the willful misconduct, bad faith or gross negligence
of any Indemnified Party and (ii) none Loan Parties, any of their Affiliates or any Indemnified Party or
Related Indemnified Party shall be liable for any indirect, special, punitive or consequential damages
incurred in connection with this Agreement or the transactions contemplated herein (provided that this
provision shall not limit the Loan Parties’ indemnification obligations set forth above). For purposes hereof,

                                                       72
              Case 23-10945-PDR           Doc 82       Filed 02/10/23       Page 149 of 205



a “Related Indemnified Party” of an Indemnified Party means (1) any controlling person or controlled
affiliate of such Indemnified Party, (2) the respective directors, trustees, officers, or employees of such
Indemnified Party or any of its controlling persons or controlled Affiliates and (3) the respective agents or
advisors of such Indemnified Party or any of its controlling persons or controlled Affiliates, in the case of
this clause (3), acting at the instructions of such Indemnified Party, controlling person or such controlled
Affiliate; provided that each reference to a controlled Affiliate or controlling person in this paragraph
pertains to a controlled Affiliate or controlling person involved in the negotiation of this Agreement and
the other Loan Documents.

         No Loan Party shall be liable for any settlement of any Proceedings effected without the Borrower’s
consent (which consent shall not be unreasonably conditioned, withheld or delayed), but if settled with the
Borrower’s written consent or if there is a final judgment for the plaintiff in any such Proceedings, the
Borrower agrees to indemnify and hold harmless each Indemnified Party from and against any and all
losses, claims, damages, liabilities and expenses by reason of such settlement or judgment in accordance
with this Section 9.5. No Loan Party shall, without the prior written consent of an Indemnified Party, effect
any settlement or consent to the entry of any judgment of any pending or threatened Proceedings in respect
of which indemnity could have been sought hereunder by such Indemnified Party, unless (i) such settlement
includes an unconditional release of such Indemnified Party in form and substance reasonably satisfactory
to such Indemnified Party from all liability on claims that are the subject matter of such Proceedings, and
(ii) does not include any statement as to or any admission of fault, culpability or a failure to act by or on
behalf of such Indemnified Party.

        The provisions of this Section 9.5 shall survive termination of this Agreement and payment in full
of the Notes. This Section 9.5 shall not apply with respect to Taxes, other than Taxes that represent losses,
claims, damages, etc. arising from any non-Tax claim.

         9.6     Severability. Any provision of this Agreement, the Notes or any other Loan Document
executed pursuant hereto which is prohibited or unenforceable in any jurisdiction shall, as to such
jurisdiction, be ineffective to the extent of such prohibition or unenforceability without invalidating the
remaining provisions of this Agreement, the Notes or any other Loan Document or affecting the validity or
enforceability of such provision in any other jurisdiction.

        9.7       Headings. The various headings of this Agreement are inserted for convenience only and
shall not affect the meaning or interpretation of this Agreement or any provisions hereof.

         9.8   Governing Law. This Agreement and the Notes shall each be deemed to be a contract
made under, governed by and interpreted pursuant to the internal laws (and not the law of conflicts) of the
State of New York.

        9.9     Successors and Assigns.

                          (a)      This Agreement shall be binding upon and shall inure to the benefit of the
        parties hereto and their respective successors and assigns except that: (i) the Borrower may not
        assign or transfer its rights hereunder without the prior written consent of all of the Lenders and the
        Administrative Agent; and (ii) any assignment by a Lender must be made in compliance with
        subsection (b) below and any participation by a Lender must be made in compliance with
        subsection (c) below. Notwithstanding clause (ii) of this subsection (a), any Lender may at any
        time, without the consent of Borrower or the Administrative Agent, assign all or any portion of its
        rights under this Agreement and its Notes to a Federal Reserve Bank. Except to the extent otherwise
        required by its context, the word “Lender” where used in this Agreement means and includes any



                                                     73
     Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 150 of 205



such assignee and such assignee shall be bound by and have the benefits of this Agreement the
same as if such holder had been a signatory hereto.

                  (b)     Any Lender may, in the ordinary course of its business and in accordance
with applicable law, at any time assign to one or more banks or other entities that are Eligible
Assignees all or a portion of its Commitments, Advances owing to it, and its rights and obligations
under this Agreement in respect thereof in accordance with the provisions of this subsection (b).
Each assignment shall be of a constant, and not a varying, ratable percentage of the assigning
Lender’s rights and obligations under this Agreement and each Eligible Assignee shall assume a
pro rata share of the assigning Lender’s obligations determined by the percentage of the
Commitments assigned for the period from the effective date of the assignment through the Date.
Such assignment shall be in form and substance reasonably acceptable to the Administrative Agent
(the “Assignment and Assumption Agreement”) and shall not be permitted hereunder unless
(i) such assignment is for all of such Lender’s Commitment and the rights and obligations under
this Agreement related thereto, (ii) the amount of the Commitment assigned by the assigning
Lender pursuant to each assignment shall be at least $1,000,000, or (iii) such assignment is to
another Lender or an Affiliate of a Lender, in which case no minimum amount shall apply. The
consent of the Administrative Agent shall be required prior to an assignment becoming effective
with respect to a transferee which is not a Lender, an Affiliate of a Lender, or an Approved Fund.
Upon (i) delivery to the Administrative Agent of an executed Assignment and Assumption
Agreement, together with any required consents and (ii) payment of a $3,500 fee to the
Administrative Agent for processing such assignment, such assignment shall become effective on
the effective date specified in such Assignment and Assumption Agreement; provided that (a) if an
assignment by a Lender is made to an Affiliate or an Approved Fund of such assigning Lender,
then no assignment fee shall be due in connection with such assignment and (b) if an assignment
by a Lender is made to an assignee that is not an Affiliate or Approved Fund of such assignor
Lender, and concurrently to one or more Affiliates or Approved Funds of such assignee, then only
one assignment fee of $3,500 shall be due in connection with such assignment (unless waived or
reduced by the Administrative Agent). On and after the effective date of such assignment, such
transferee, if not already a Lender, shall for all purposes be a Lender party to this Agreement and
any other Loan Documents executed by the Lenders and shall have all the rights and obligations of
a Lender under the Loan Documents, to the same extent as if it were an original party hereto, and
no further consent or action by the Borrower, the Lenders or the Administrative Agent shall be
required to release the transferor Lender with respect to the percentage of the Commitment and
Advances assigned to such transferee Lender. To the extent requested by the applicable Lenders,
upon the consummation of any assignment pursuant to this Section 9.9, the Administrative Agent
and the Borrower shall make appropriate arrangements so that replacement Notes are issued to such
transferor Lender and new Notes or, as appropriate, replacement Notes, are issued to such transferee
Lender, in each case in principal amounts reflecting their Commitment, as adjusted pursuant to
such assignment.

                  (c)      Each Lender may, without the consent of the Borrower, sell participations
to one or more banks or other entities that are Eligible Assignees in all or a portion of its rights and
obligations under this Agreement (including all or a portion of its Commitment, the Loans owing
to it, hereunder); provided, however, that (i) such Lender’s obligations under this Agreement shall
remain unchanged, (ii) such Lender shall remain solely responsible to the other parties hereto for
the performance of such obligations, (iii) the participating banks or other entities shall be entitled
to the benefit of, and obligations under, Section 10.1 and of the cost protection provisions contained
in Section 10.4, as well as Sections 9.19 and 10.6 to the extent of the Lender selling such
participation and the Borrower’s aggregate obligations with respect to Section 10.1 and
Section 10.4 shall not be increased by reason of such participation, provided that such participant

                                              74
     Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 151 of 205



shall not be entitled to the benefits of Sections 10.1 and 10.4 unless such participant complies with
Section 10.1(e) as (and to the extent) applicable, as if such participant were a Lender (it being
understood that the documentation required under Section 10.1(e) shall be delivered to the
participating Lender) (iv) the Borrower, the Administrative Agent and the other Lenders shall
continue to deal solely and directly with such Lender in connection with such Lender’s rights and
obligations under this Agreement, and such Lender shall retain the sole right (and shall not limit its
rights) to enforce the obligations of the Borrower relating to the Loans and to approve any
amendment, modification or waiver of any provision of this Agreement (other than amendments,
modifications or waivers with respect to any fees payable hereunder (to the extent such participants
are entitled to such fees) or the amount of principal of or the rate at which interest is payable on the
Loans, or the dates fixed for payments of principal of or interest on the Loans). Each Lender that
sells a participation shall, acting solely for this purpose as an agent of the Borrower, maintain a
register on which it enters the name and address of each participant and the principal amounts (and
stated interest) of each participant’s interest in the loans or other obligations under the Loan
Documents (the “Participant Register”); provided that no Lender shall have any obligation to
disclose all or any portion of the Participant Register to any person except to the extent that such
disclosure is necessary to establish that such commitment, loan, or other obligation is in registered
form under Section 5f.103-1(c) of the United States Treasury Regulations. The entries in the
Participant Register shall be conclusive absent manifest error, and such Lender shall treat each
person whose name is recorded in the Participant Register as the owner of such participation for all
purposes of this Agreement.

                 (d)     The Administrative Agent shall maintain a copy of each Assignment and
Assumption Agreement delivered to it and a register for the recordation of the names and addresses
of the Lenders, and the Commitments of, and the principal amount of the Loans owing to, each
Lender pursuant to the terms hereof from time to time (the “Register”). The entries in the Register
shall be conclusive, absent manifest error, and the Borrower, the Administrative Agent and the
Lenders shall treat each Person whose name is recorded in the Register pursuant to the terms hereof
as a Lender hereunder for all purposes of this Agreement and the other Loan Documents,
notwithstanding notice to the contrary. It is the intent of the parties that the Obligations shall be
treated as issued in registered form under Section 5f.103-1(c) of the United States Treasury
Regulations. Upon the Administrative Agent’s receipt of a duly completed Assignment and
Assumption Agreement executed by an assigning Lender, an assignee Lender that is an Eligible
Assignee and, to the extent required hereunder, the Borrower, such Eligible Assignee’s completed
Administrative Questionnaire (unless the assignee is already a Lender), the fee referred to in
Section 9.9(b) above, and any written consent to such assignment required by such subsection, the
Administrative Agent shall accept such Assignment and Assumption Agreement and record the
information contained therein in the Register. No assignment shall be effected for purposes of this
Agreement unless it has been recorded in the Register as provided in this subsection.

                  (e)     Notwithstanding anything to the contrary contained in this Section 9.9, a
Lender that is a fund that invests in bank loans may pledge all or a portion of its rights in connection
with this Agreement to the trustee or other agent for holders of obligations owed, or securities
issued, by such fund as security for such obligations or securities, provided that any foreclosure or
other exercise of remedies by such trustee shall be subject, in all respects, to the provisions of this
Section 9.9 regarding assignments. No pledge described in the immediately preceding sentence
shall release any such Lender from its obligations hereunder.

                 (f)     Except as specifically set forth in this Section 9.9, nothing in this
Agreement, expressed or implied, is intended to or shall confer on any Person other than the
respective parties hereto and thereto and their successors and assignees permitted hereunder and

                                              75
             Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 152 of 205



        thereunder any benefit or any legal or equitable right, remedy or other claim under this Agreement
        or any Notes.

                         (g)    The provisions of this Section 9.9 shall not apply to any purchase of
        participations among the Lenders pursuant to Section 2.5.

                         (h)      In connection with any assignment of rights and obligations of any
        Defaulting Lender hereunder, no such assignment shall be effective unless and until, in addition to
        the other conditions thereto set forth herein, the parties to the assignment shall make such additional
        payments to the Administrative Agent in an aggregate amount sufficient, upon distribution thereof
        as appropriate (which may be outright payment, purchases by the assignee of participations or
        subparticipations, or other compensating actions, including funding, with the consent of the
        Borrower and the Administrative Agent, the applicable pro rata share of Loans previously requested
        but not funded by the Defaulting Lender, to each of which the applicable assignee and assignor
        hereby irrevocably consent), to (x) pay and satisfy in full all payment liabilities then owed by such
        Defaulting Lender to the Administrative Agent or any Lender hereunder (and interest accrued
        thereon) and (y) acquire (and fund as appropriate) its full pro rata share of all Loans in accordance
        with its Applicable Loan Percentage. Notwithstanding the foregoing, in the event that any
        assignment of rights and obligations of any Defaulting Lender hereunder shall become effective
        under applicable law without compliance with the provisions of this paragraph, then the assignee
        of such interest shall be deemed to be a Defaulting Lender for all purposes of this Agreement until
        such compliance occurs.

                        (i)      To the extent that any assignment is purported to be made to a Disqualified
        Lender, such Disqualified Lender shall be required immediately (and in any event within five (5)
        Business Days) to assign all Loans and Commitments then owned by such Disqualified Lender to
        another Lender (other than a Defaulting Lender) or Eligible Assignee (and the Borrower shall be
        entitled to seek specific performance in any applicable court of law or equity to enforce this
        sentence).

        9.10    Execution in Counterparts. This Agreement may be executed in any number of
counterparts and by different parties hereto in separate counterparts, each of which when so executed shall
be deemed to be an original and all of which taken together shall constitute one and the same agreement.

       9.11     Several Liability. The Obligations of the Administrative Agent and each of the Lenders
hereunder are several, not joint.

         9.12     Financial Information. The Borrower assumes responsibility for keeping itself informed
of its own financial condition and the financial condition of any and all endorsers and/or other guarantors
of all or any part of the Obligations, and of all other circumstances bearing upon the risk of nonpayment of
the Obligations, or any part thereof, that diligent inquiry would reveal, and the Borrower agrees that the
Administrative Agent and the Lenders shall have no duty to advise the Borrower of information known to
them regarding such condition or any such circumstances.

        9.13    Entire Agreement. Except as otherwise expressly provided herein, this Agreement and
the other documents described or contemplated herein embody the entire agreement and understanding
among the parties hereto and thereto and supersede all prior agreements and understandings relating to the
subject matter hereof and thereof.

      9.14     Other Relationships. No relationship created hereunder or under any other Loan
Document shall in any way affect the ability of the Administrative Agent or its Affiliates and each Lender


                                                     76
             Case 23-10945-PDR             Doc 82      Filed 02/10/23       Page 153 of 205



or their respective Affiliates to enter into or maintain business relationships with the Borrower beyond the
relationships specifically contemplated by this Agreement and the other Loan Documents.

      9.15  Consent to Jurisdiction. BORROWER HEREBY IRREVOCABLY SUBMITS, FOR
ITSELF AND ITS PROPERTY, TO THE EXCLUSIVE JURISDICTION OF THE UNITED STATES
BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF FLORIDA, AND IF THE UNITED
STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF FLORIDA DOES NOT
HAVE, OR ABSTAINS FROM EXERCISING JURISDICTION, THE COURTS OF THE STATE OF
NEW YORK SITTING IN NEW YORK CITY AND OF THE UNITED STATES FOR THE SOUTHERN
DISTRICT OF NEW YORK, AND ANY APPELLATE COURT FROM ANY THEREOF (EXCEPT TO
THE EXTENT THAT THE PROVISIONS OF THE BANKRUPTCY CODE ARE APPLICABLE AND
SPECIFICALLY CONFLICT WITH THE FOREGOING), OVER ANY ACTION OR PROCEEDING
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE NOTES OR ANY OTHER LOAN
DOCUMENT AND HEREBY IRREVOCABLY AGREES THAT ALL CLAIMS IN RESPECT OF
SUCH ACTION OR PROCEEDING MAY BE HEARD AND DETERMINED IN THE UNITED STATES
BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF FLORIDA OR SUCH NEW YORK
STATE COURT OR, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, IN SUCH
FEDERAL COURT. BORROWER HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT
IT MAY EFFECTIVELY DO SO, THE DEFENSE OF AN INCONVENIENT FORUM TO THE
MAINTENANCE OF SUCH ACTION OR PROCEEDING. EACH PARTY IRREVOCABLY
CONSENTS TO THE SERVICE OF COPIES OF THE SUMMONS AND COMPLAINT AND ANY
OTHER PROCESS WHICH MAY BE SERVED IN ANY SUCH ACTION OR PROCEEDING BY THE
MAILING BY UNITED STATES CERTIFIED MAIL, RETURN RECEIPT REQUESTED, OF COPIES
OF SUCH PROCESS TO BORROWER’S ADDRESS REFERENCED IN SECTION 9.3. EACH PARTY
AGREES THAT A JUDGMENT, FINAL BY APPEAL OR EXPIRATION OF TIME TO APPEAL
WITHOUT AN APPEAL BEING TAKEN, IN ANY SUCH ACTION OR PROCEEDING SHALL BE
CONCLUSIVE AND MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE
JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY LAW. NOTHING IN THIS
SECTION SHALL AFFECT THE RIGHT OF ANY PARTY TO SERVE LEGAL PROCESS IN ANY
OTHER MANNER PERMITTED BY LAW OR AFFECT THE RIGHT OF THE ADMINISTRATIVE
AGENT, ANY LENDER TO BRING ANY ACTION OR PROCEEDING AGAINST BORROWER OR
ITS PROPERTY IN THE COURTS OF ANY OTHER JURISDICTION. NOTWITHSTANDING ANY
OTHER PROVISION OF THIS SECTION 9.15, THE BANKRUPTCY COURT SHALL HAVE
EXCLUSIVE JURISDICTION OVER ANY ACTION OR DISPUTE INVOLVING, RELATING TO OR
ARISING OUT OF THIS AGREEMENT OR THE OTHER LOAN DOCUMENTS.

     9.16  Waiver of Jury Trial. THE BORROWER, THE ADMINISTRATIVE AGENT AND
THE LENDERS HEREBY IRREVOCABLY WAIVE ALL RIGHT TO TRIAL BY JURY IN ANY
ACTION, PROCEEDING OR COUNTERCLAIM ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR ANY NOTE, OR ANY OTHER INSTRUMENT OR DOCUMENT DELIVERED
HEREUNDER OR THEREUNDER.

         9.17   USA Patriot Act. Each Lender that is subject to the Act (as hereinafter defined) and the
Administrative Agent (for itself and not on behalf of any Lender) hereby notifies the Borrower that pursuant
to the requirements of the USA PATRIOT Act (Title III of Pub. L. 107-56 (signed into law October 26,
2001)) (the “Act”), it is required to obtain, verify and record information that identifies the Borrower, which
information includes the name and address of the Borrower and other information that will allow such
Lender or the Administrative Agent, as applicable, to identify the Borrower in accordance with the Act.
The Borrower shall, promptly following a request by the Administrative Agent or any Lender, provide all
documentation and other information that the Administrative Agent or such Lender requests in order to


                                                      77
               Case 23-10945-PDR           Doc 82      Filed 02/10/23       Page 154 of 205



comply with its ongoing obligations under applicable “know your customer” and anti-money laundering
rules and regulations, including the Act.

        9.18     Confidentiality.

                          (a)      Each of the Administrative Agent, each Lender agree to maintain the
        confidentiality of information obtained by it pursuant to any Loan Document, except that such
        information may be disclosed (i) with the Borrower’s written consent, (ii) in any legal, judicial,
        administrative proceeding or compulsory process or otherwise as required by applicable law or
        regulations (in which case such Person agrees to promptly notify the Borrower to the extent
        practicable and permitted by applicable law); (iii) upon the request or demand of any Governmental
        Authority having jurisdiction over the Administrative Agent, such Lender or their respective
        Affiliates (in which case such Person agrees to, except with respect to any audit or examination
        conducted by bank accountants, any governmental bank or insurance regulatory authority
        exercising examination or regulatory authority, or any regulatory requests made by the National
        Association of Insurance Commissioners, promptly notify the Borrower to the extent lawfully
        permitted to do so); (iv) to officers, directors, trustees, agents, members, partners, equity holders,
        approved and managed funds, employees, attorneys, accountants and advisors of the
        Administrative Agent or any Lender who are informed of the confidential nature of such
        information and are or have been advised of their obligation to keep such information confidential
        solely on a need-to-know basis in connection with the transactions contemplated by this
        Agreement; (v) to any Affiliates of the Administrative Agent or any Lender (provided that any such
        Affiliate is advised of its obligation to retain such information as confidential) on a need-to-know
        basis in connection with the transactions contemplated by this Agreement; (vi) to the extent any
        such information becomes publicly available other than by reason of disclosure in breach of this
        Agreement; and (vii) in connection with the exercise or enforcement of any right or remedy under
        any Loan Document.

         9.19     Replacement of Lenders. If the Borrower is entitled to replace a Lender pursuant to the
provisions of Section 10.6, or if any Lender is a Defaulting Lender or a Non-Consenting Lender, then the
Borrower may, at its sole expense and effort, upon notice to such Lender and the Administrative Agent,
require such Lender to assign and delegate, without recourse (in accordance with and subject to the
restrictions contained in, and consents required by, Section 9.9), all of its interests, rights (other than its
existing rights to payments pursuant to Sections 10.1 and 10.4 with respect to payments made prior to such
assignment) and obligations under this Agreement and the related Loan Documents to an Eligible Assignee
that shall assume such obligations (which assignee may be another Lender, if a Lender accepts such
assignment), provided that:

                         (a)      the Borrower shall have paid to the Administrative Agent the assignment
        fee (if any) specified in Section 9.9(b);

                         (b)     such Lender shall have received payment of an amount equal to 100% of
        the outstanding principal of its Loans, accrued interest thereon, accrued fees and all other amounts
        payable to it hereunder and under the other Loan Documents (including any amounts under
        Section 10.5) from the assignee (to the extent of such outstanding principal and accrued interest
        and fees) or the Borrower (in the case of all other amounts);

                         (c)      in the case of any such assignment resulting from a claim for compensation
        under Section 10.4 or payments required to be made pursuant to Section 10.1, such assignment will
        result in a reduction in such compensation or payments thereafter;



                                                      78
               Case 23-10945-PDR           Doc 82      Filed 02/10/23       Page 155 of 205



                         (d)      such assignment does not conflict with applicable Laws; and

                       (e)     in the case of an assignment resulting from a Lender becoming a Non-
        Consenting Lender, the applicable assignee shall have consented to the applicable amendment,
        waiver or consent.

         A Lender shall not be required to make any such assignment or delegation if, prior thereto, as a
result of a waiver by such Lender or otherwise, the circumstances entitling the Borrower to require such
assignment and delegation cease to apply.

        9.20     [Reserved].

         9.21     Electronic Execution of Assignments and Certain Other Documents. The words
“delivery,” “execute,” “execution,” “signed,” “signature,” and words of like import in any Loan Document
or any other document executed in connection herewith shall be deemed to include electronic signatures,
the electronic matching of assignment terms and contract formations on electronic platforms approved by
the Administrative Agent, or the keeping of records in electronic form, each of which shall be of the same
legal effect, validity or enforceability as a manually executed signature, physical delivery thereof or the use
of a paper-based recordkeeping system, as the case may be, to the extent and as provided for in any
applicable Law, including the Federal Electronic Signatures in Global and National Commerce Act, the
New York State Electronic Signatures and Records Act, or any other similar state laws based on the
Uniform Electronic Transactions Act; provided that notwithstanding anything contained herein to the
contrary neither the Administrative Agent nor any Lender is under any obligation to agree to accept
electronic signatures in any form or in any format unless expressly agreed to by the Administrative Agent
or such Lender pursuant to procedures approved by it and provided further without limiting the foregoing,
upon the request of any party, any electronic signature shall be promptly followed by such manually
executed counterpart.

        9.22     [Reserved].

         9.23    Acknowledgement and Consent to Bail-In of EEA Financial Institutions.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement, arrangement
or understanding among any such parties, each party hereto acknowledges that any liability of any EEA
Financial Institution arising under any Loan Document, to the extent such liability is unsecured, may be
subject to the write-down and conversion powers of an EEA Resolution Authority and agrees and consents
to, and acknowledges and agrees to be bound by:

                          (a)   the application of any Write-Down and Conversion Powers by an EEA
        Resolution Authority to any such liabilities arising hereunder that may be payable to it by any party
        hereto that is an EEA Financial Institution; and

                         (b)      the effects of any Bail-In Action on any such liability, including, if
        applicable:

                                  (1)     a reduction in full or in part or cancellation of any such liability;

                                 (2)      a conversion of all, or a portion of, such liability into shares or
        other instruments of ownership in such EEA Financial Institution, its parent undertaking, or a
        bridge institution that may be issued to it or otherwise conferred on it, and that such shares or other
        instruments of ownership will be accepted by it in lieu of any rights with respect to any such liability
        under this Agreement or any other Loan Document; or


                                                      79
               Case 23-10945-PDR         Doc 82      Filed 02/10/23       Page 156 of 205



                                (3)     the variation of the terms of such liability in connection with the
        exercise of the write-down and conversion powers of any EEA Resolution Authority.

        9.24    Conflict; Control. In the event of any inconsistency between the terms and conditions of
the Loan Documents, the Interim DIP Order or any Final DIP Order, the provisions of the Interim DIP
Order or Final DIP Order, as the case may be, shall govern and control.

         9.25     Bankruptcy Matters. This Agreement, the other Loan Documents, and all Liens and DIP
Liens and other rights and privileges created hereby or pursuant hereto or to any other Loan Document shall
be binding upon each Debtor, the estate of each Debtor, and any trustee, other estate representative or any
successor in interest of any Debtor in any Chapter 11 Case or any subsequent case commenced under
Chapter 7 of the Bankruptcy Code, and shall not be subject to Section 365 of the Bankruptcy Code. This
Agreement and the other Loan Documents shall be binding upon, and inure to the benefit of, the successors
of each Administrative Agent and the Lenders and their respective assigns, transferees and endorsees. The
DIP Liens created by this Agreement and the other Loan Documents shall be and remain valid and perfected
in the event of the substantive consolidation or conversion of any Chapter 11 Case or any other bankruptcy
case of any Debtor to a case under Chapter 7 of the Bankruptcy Code or in the event of dismissal of any
Chapter 11 Case or the release of any DIP Collateral from the jurisdiction of the Bankruptcy Court for any
reason, without the necessity that the Administrative Agent file financing statements or otherwise perfect
its DIP Liens under applicable law. No Loan Party may assign, transfer, hypothecate or otherwise convey
its rights, benefits, obligations or duties hereunder or under any of the other Loan Documents without the
prior express written consent of the Administrative Agent and the Lenders. Any such purported assignment,
transfer, hypothecation or other conveyance by any Loan Party without the prior express written consent of
the Administrative Agent and the Lenders shall be void. The terms and provisions of this Agreement are
for the purpose of defining the relative rights and obligations of each Loan Party, the Administrative Agent
and the Lenders with respect to the transactions contemplated hereby and no Person shall be a third party
beneficiary of any of the terms and provisions of this Agreement or any of the other Loan Documents.

The Administrative Agent is hereby authorized and directed by the Lenders to execute and deliver this
Agreement and any additional Loan Documents entered into in connection with the subject matter of this
Agreement, in its capacity as Administrative Agent, and, by its execution below, each of the undersigned
Lenders agrees to be bound by the terms and conditions of this Agreement and such other Loan Documents.
The Administrative Agent shall have all of the benefits, indemnities, powers, privileges, protections and
rights contained in this Agreement (including, for the avoidance of any doubt, Article IX) in connection
with acting in its capacity as Administrative Agent hereunder.

                                         ARTICLE X
                          TAXES, YIELD PROTECTION AND ILLEGALITY

        10.1     Taxes.

                          (a)    Payments Free of Taxes; Obligation to Withhold; Payments on Account
        of Taxes.

                         (i)      Any and all payments by or on account of any obligation of any Borrower
        or Guarantor under any Loan Document shall be made without deduction or withholding for any
        Taxes, except as required by applicable Laws. If any applicable Laws (as determined in the good
        faith discretion of the applicable withholding agent) require the deduction or withholding of any
        Tax from any such payment by the Administrative Agent or a Borrower or Guarantor, then the
        Administrative Agent or such Borrower or Guarantor shall be entitled to make such deduction or



                                                    80
    Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 157 of 205



withholding, upon the basis of the information and documentation to be delivered pursuant to
subsection (e) below.

                (ii)      If any Borrower or Guarantor or the Administrative Agent shall be
required by the Code to withhold or deduct any Taxes, including both United States federal backup
withholding and withholding taxes, from any payment on account of any obligation of the Borrower
or Guarantor under any Loan Document, then (A) the Administrative Agent shall withhold or make
such deductions as are determined by the Administrative Agent to be required based upon the
information and documentation it has received pursuant to subsection (e) below, (B) the
Administrative Agent shall timely pay the full amount withheld or deducted to the relevant
Governmental Authority in accordance with the Code and provide evidence of such payment to the
Borrower, and (C) to the extent that the withholding or deduction is made on account of
Indemnified Taxes, the sum payable by the applicable Borrower or Guarantor shall be increased as
necessary so that after any required withholding or the making of all required deductions (including
deductions applicable to additional sums payable under this Section 10.1) the applicable Recipient
receives an amount equal to the sum it would have received had no such withholding or deduction
been made.

                (iii)   If any Borrower or Guarantor or the Administrative Agent shall be
required by any applicable Laws other than the Code to withhold or deduct any Taxes from any
payment on account of any obligation of the Borrower or Guarantor under any Loan Document,
then (A) such Borrower or Guarantor or the Administrative Agent, as required by such Laws, shall
withhold or make such deductions as are determined by it to be required based upon the information
and documentation it has received pursuant to subsection (e) below, (B) such Borrower or
Guarantor or the Administrative Agent, to the extent required by such Laws, shall timely pay the
full amount withheld or deducted to the relevant Governmental Authority in accordance with such
Laws, and, if paid by the Administrative Agent, the Administrative Agent shall provide evidence
of such payment to the Borrower, and (C) to the extent that the withholding or deduction is made
on account of Indemnified Taxes, the sum payable by the applicable Borrower or Guarantor shall
be increased as necessary so that after any required withholding or the making of all required
deductions (including deductions applicable to additional sums payable under this Section 10.1)
the applicable Recipient receives an amount equal to the sum it would have received had no such
withholding or deduction been made.

                (b)      Payment of Other Taxes by Borrower and/or Guarantor. Without limiting
the provisions of subsection (a) above, Borrower and/or Guarantor shall timely pay to the relevant
Governmental Authority in accordance with applicable law, or at the option of the Administrative
Agent timely reimburse it for the payment of, any Other Taxes.

                (c)     Tax Indemnifications.

                 (i)      Each Borrower and Guarantor shall, and does hereby, jointly and severally
indemnify each Recipient, and shall make payment in respect thereof within ten (10) days after
demand therefor, for the full amount of any Indemnified Taxes (including Indemnified Taxes
imposed or asserted on or attributable to amounts payable under this Section 10.1) payable or paid
by such Recipient or required to be withheld or deducted from a payment to such Recipient, and
any penalties, interest and reasonable expenses arising therefrom or with respect thereto, whether
or not such Indemnified Taxes were correctly or legally imposed or asserted by the relevant
Governmental Authority. A certificate as to the amount of such payment or liability delivered to
the Borrower by a Lender (with a copy to the Administrative Agent), or by the Administrative
Agent on its own behalf or on behalf of a Lender, shall be conclusive absent manifest error.

                                            81
             Case 23-10945-PDR            Doc 82      Filed 02/10/23      Page 158 of 205



                        (ii)     Each Lender shall, and does hereby, severally indemnify and shall make
        payment in respect thereof within ten (10) days after demand therefor, the Administrative Agent
        against (A) any Indemnified Taxes attributable to such Lender (but only to the extent that any
        Borrower or Guarantor has not already indemnified the Administrative Agent for such Indemnified
        Taxes and without limiting the obligation of the Borrower and/or Guarantor to do so), (B) any
        Taxes attributable to such Lender’s failure to comply with the provisions of Section 9.9(c) relating
        to the maintenance of a Participant Register, and (C) any Excluded Taxes attributable to such
        Lender, in each case, that are payable or paid by the Administrative Agent in connection with any
        Loan Document, and any reasonable expenses arising therefrom or with respect thereto, whether
        or not such Taxes were correctly or legally imposed or asserted by the relevant Governmental
        Authority. A certificate as to the amount of such payment or liability delivered to any Lender by
        the Administrative Agent shall be conclusive absent manifest error. Each Lender hereby authorizes
        the Administrative Agent to set off and apply any and all amounts at any time owing to such Lender
        under this Agreement or any other Loan Document or otherwise payable by the Administrative
        Agent, Borrower or Guarantor from any other source against any amount due to the Administrative
        Agent under this clause (ii).

                       (d)      Evidence of Payments. As soon as practicable after any payment of Taxes
        by any Borrower or Guarantor to a Governmental Authority, as provided in this Section 10.1, the
        Borrower shall deliver to the Administrative Agent the original or a certified copy of a receipt
        issued by such Governmental Authority evidencing such payment, a copy of any return reporting
        such payment or other evidence of such payment reasonably satisfactory to the Administrative
        Agent.

                        (e)      Status of Lenders; Tax Documentation.

                         (i)      Any Lender that is entitled to an exemption from or reduction of
        withholding Tax with respect to payments made under any Loan Document shall deliver to the
        Borrower and the Administrative Agent, at the time or times reasonably requested by the Borrower
        or the Administrative Agent, such properly completed and executed documentation reasonably
        requested by the Borrower or the Administrative Agent as will permit such payments to be made
        without withholding or at a reduced rate of withholding. In addition, any Lender, if reasonably
        requested by the Borrower or the Administrative Agent, shall deliver such other documentation
        prescribed by applicable Law or reasonably requested by the Borrower or the Administrative Agent
        as will enable the Borrower or the Administrative Agent to determine whether or not such Lender
        is subject to backup withholding or information reporting requirements. Notwithstanding anything
        to the contrary in the preceding two sentences, the completion, execution and submission of such
        documentation (other than such documentation set forth in Section 10.1(e)(ii)(A), (ii)(B) and (ii)(D)
        below) shall not be required if in the Lender’s reasonable judgment such completion, execution or
        submission would subject such Lender to any material unreimbursed cost or expense or would
        materially prejudice the legal or commercial position of such Lender.

                       (ii)     Without limiting the generality of the foregoing, in the event that the
        Borrower is a U.S. Person,

        (A)      any Lender that is a U.S. Person shall deliver to the Borrower and the Administrative Agent
on or prior to the date on which such Lender becomes a Lender under this Agreement (and from time to
time thereafter upon the reasonable request of the Borrower or the Administrative Agent), executed copies
of IRS Form W-9 certifying that such Lender is exempt from U.S. federal backup withholding tax;




                                                    82
             Case 23-10945-PDR             Doc 82       Filed 02/10/23       Page 159 of 205



         (B)     any Foreign Lender shall, to the extent it is legally entitled to do so, deliver to the Borrower
and the Administrative Agent (in such number of copies as shall be requested by the recipient) on or prior
to the date on which such Foreign Lender becomes a Lender o under this Agreement (and from time to time
thereafter upon the reasonable request of the Borrower or the Administrative Agent), whichever of the
following is applicable:

                                   (1)      in the case of a Foreign Lender claiming the benefits of an income
        tax treaty to which the United States is a party (x) with respect to payments of interest under any
        Loan Document, executed copies of IRS Form W-8BEN-E (or W-8BEN, as applicable)
        establishing an exemption from, or reduction of, U.S. federal withholding Tax pursuant to the
        “interest” article of such tax treaty and (y) with respect to any other applicable payments under any
        Loan Document, IRS Form W-8BEN-E (or W-8BEN, as applicable) establishing an exemption
        from, or reduction of, U.S. federal withholding Tax pursuant to the “business profits” or “other
        income” article of such tax treaty;

                                  (2)      executed originals of IRS Form W-8ECI;

                                 (3)      in the case of a Foreign Lender claiming the benefits of the
        exemption for portfolio interest under Section 881(c) of the Code, (x) a certificate to the effect that
        such Foreign Lender is not a “bank” within the meaning of Section 881(c)(3)(A) of the Code, a “10
        percent shareholder” of the Borrower within the meaning of Section 881(c)(3)(B) of the Code, or
        a “controlled foreign corporation” described in Section 881(c)(3)(C) of the Code (a “U.S. Tax
        Compliance Certificate”) and (y) executed copies of IRS Form W-8BEN-E (or W-8BEN, as
        applicable); or

                                  (4)     to the extent a Foreign Lender is not the beneficial owner,
        executed copies of IRS Form W-8IMY, accompanied by IRS Form W-8ECI, IRS Form W-8BEN-
        E (or W-8BEN, as applicable), a U.S. Tax Compliance Certificate, IRS Form W-9, and/or other
        certification documents from each beneficial owner, as applicable; provided that if the Foreign
        Lender is a partnership and one or more direct or indirect partners of such Foreign Lender are
        claiming the portfolio interest exemption, such Foreign Lender may provide a U.S. Tax Compliance
        Certificate satisfactory to the Administrative Agent on behalf of each such direct and indirect
        partner;

         (C)     any Foreign Lender shall, to the extent it is legally entitled to do so, deliver to the Borrower
and the Administrative Agent (in such number of copies as shall be requested by the recipient) on or prior
to the date on which such Foreign Lender becomes a Lender under this Agreement (and from time to time
thereafter upon the reasonable request of the Borrower or the Administrative Agent), executed copies (or
originals, as required) of any other form prescribed by applicable Law as a basis for claiming exemption
from or a reduction in U.S. federal withholding Tax, duly completed, together with such supplementary
documentation as may be prescribed by applicable Law to permit the Borrower or the Administrative Agent
to determine the withholding or deduction required to be made;

        (D)     if a payment made to a Lender under any Loan Document would be subject to U.S. federal
withholding Tax imposed by FATCA if such Lender were to fail to comply with the applicable reporting
requirements of FATCA (including those contained in Section 1471(b) or 1472(b) of the Code, as
applicable), such Lender shall deliver to the Borrower and the Administrative Agent at the time or times
prescribed by law and at such time or times reasonably requested by the Borrower or the Administrative
Agent such documentation prescribed by applicable Law (including as prescribed by Section
1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably requested by the Borrower or
the Administrative Agent as may be necessary for the Borrower and the Administrative Agent to comply

                                                       83
             Case 23-10945-PDR            Doc 82       Filed 02/10/23       Page 160 of 205



with their obligations under FATCA and to determine that such Lender has complied with such Lender’s
obligations under FATCA or to determine the amount to deduct and withhold from such payment. Solely
for purposes of this clause (D), “FATCA” shall include any amendments made to FATCA after the date of
this Agreement; and

        (E)      the Administrative Agent shall deliver to the Borrower on or prior to the date on which the
Administrative Agent becomes the Administrative Agent under this Agreement (and from time to time
thereafter upon the reasonable request of the Borrower), executed copies of IRS Form W-9 certifying that
the Administrative Agent is a U.S. Person exempt from U.S. federal backup withholding tax.

                          (iii)    Each Lender agrees that if any form or certification it previously delivered
        pursuant to this Section 10.1 expires or becomes obsolete or inaccurate in any respect, it shall
        update such form or certification or promptly notify the Borrower and the Administrative Agent in
        writing of its legal inability to do so.

                         (f)      Treatment of Certain Refunds. Unless required by applicable Laws, at no
        time shall the Administrative Agent have any obligation to file for or otherwise pursue on behalf
        of a Lender, or have any obligation to pay to any Lender, any refund of Taxes withheld or deducted
        from funds paid for the account of such Lender. If any Recipient determines, in its sole discretion
        exercised in good faith, that it has received a refund of any Taxes (“Refund”) as to which it has
        been indemnified by any Borrower or Guarantor or with respect to which any Borrower or
        Guarantor has paid additional amounts pursuant to this Section 10.1, it shall pay to such Borrower
        or Guarantor an amount equal to such Refund (but only to the extent of indemnity payments made,
        or additional amounts paid, by such Borrower or Guarantor under this Section 10.1 with respect to
        the Taxes giving rise to such Refund), net of all out-of-pocket expenses (including Taxes) incurred
        by such Recipient, as the case may be, and without interest (other than any interest paid by the
        relevant Governmental Authority with respect to such Refund), provided that each Borrower or
        Guarantor, upon the request of the Recipient, agrees to repay the amount paid over to such Borrower
        or Guarantor (plus any penalties, interest or other charges imposed by the relevant Governmental
        Authority) to the Recipient in the event the Recipient is required to repay such Refund to such
        Governmental Authority. Notwithstanding anything to the contrary in this subsection, in no event
        will the applicable Recipient be required to pay any amount to such Borrower or Guarantor pursuant
        to this subsection the payment of which would place the Recipient in a less favorable net after-Tax
        position than such Recipient would have been in if the Tax subject to indemnification and giving
        rise to such Refund had not been deducted, withheld or otherwise imposed and the indemnification
        payments or additional amounts with respect to such Tax had never been paid. This subsection
        shall not be construed to require any Recipient to make available its tax returns (or any other
        information relating to its taxes that it deems confidential) to any Borrower or Guarantor or any
        other Person.

                         (g)     Survival. Each party’s obligations under this Section 10.1 shall survive
        the resignation or replacement of the Administrative Agent or any assignment of rights by, or the
        replacement of, a Lender, the termination of the Commitments and the repayment, satisfaction or
        discharge of all other Obligations.

         10.2     Illegality. If any Lender determines that any Law has made it unlawful, or that any
Governmental Authority has asserted that it is unlawful, for any Lender or its Lending Office to make,
maintain or fund Loans whose interest is determined by reference to the Prime Rate, or to determine or
charge interest rates based upon the Prime Rate, or any Governmental Authority has imposed material
restrictions on the authority of such Lender to purchase or sell, or to take deposits of, Dollars in the Prime
Rate market, then, on notice thereof by such Lender to the Borrower through the Administrative Agent, any

                                                     84
               Case 23-10945-PDR          Doc 82      Filed 02/10/23      Page 161 of 205



obligation of such Lender to make or continue Prime Rate Loans shall be suspended. Upon receipt of such
notice, the Borrower shall, upon demand from such Lender (with a copy to the Administrative Agent),
prepay or, if applicable, convert all Loans of such Lender to interest benchmark to be reasonably agreed
between the Borrower and the Required Lenders, either on the last day of the Interest Period therefor, if
such Lender may lawfully continue to maintain such Prime Rate Loans to such day, or immediately, if such
Lender may not lawfully continue to maintain such Prime Rate Loans. Upon any such prepayment or
conversion, the Borrower shall also pay accrued interest on the amount so prepaid or converted.

        10.3     Inability to Determine Rates.

                         (a)    If in connection with any request for a Prime Rate Loan or a continuation
        thereof, (i) the Administrative Agent determines that adequate and reasonable means do not exist
        for determining the Prime Rate for any requested Interest Period with respect to a proposed Prime
        Rate Loan (such a loan, an “Impacted Loans”) or (ii) the Administrative Agent or the Required
        Lenders determine that for any reason Prime Rate for any requested Interest Period with respect to
        a proposed Prime Rate Loan does not adequately and fairly reflect the cost to such Lenders of
        funding such Loan, the Administrative Agent will promptly so notify the Borrower and each
        Lender. Thereafter, the obligation of the Lenders to make or maintain Prime Rate Loans shall be
        suspended (to the extent of the affected Prime Rate Loans or Interest Periods) until the
        Administrative Agent (upon the instruction of the Required Lenders) revokes such notice. Upon
        receipt of such notice, the Borrower may revoke any pending request for an Advance of or
        continuation of Prime Rate Loans (to the extent of the affected Prime Rate Loans or Interest
        Periods).

        10.4     Increased Costs.

                        (a)      Increased Costs Generally. If any Change in Law shall:

                        (i)      impose, modify or deem applicable any reserve, special deposit,
        compulsory loan, insurance charge or similar requirement against assets of, deposits with or for the
        account of, or credit extended or participated in by, any Lender (except any reserve requirement
        contemplated by Section 10.4(e));

                          (ii)    subject any Recipient to any Taxes (other than (A) Indemnified Taxes,
        (B) Taxes described in clauses (b) through (d) of the definition of Excluded Taxes) and (C)
        Connection Income Taxes on its loans, loan principal, letters of credit, commitments, or other
        obligations, or its deposits, reserves, other liabilities or capital attributable thereto; or

                        (iii)    impose on any Lender any other condition, cost or expense affecting this
        Agreement.

                         (b)      Capital Requirements. If any Lender determines that any Change in Law
        affecting such Lender or any Lending Office of such Lender, or such Lender’s holding company,
        if any, regarding capital or liquidity requirements has or would have the effect of reducing the rate
        of return on such Lender’s capital or on the capital of such Lender’s holding company, if any, as a
        consequence of this Agreement, the Commitments of such Lender or the Loans made by such
        Lender to a level below that which such Lender or such Lender’s holding company could have
        achieved but for such Change in Law (taking into consideration such Lender’s policies and the
        policies of such Lender’s holding company with respect to capital adequacy), then from time to
        time the Borrower will pay to such Lender such additional amount or amounts as will compensate
        such Lender or such Lender’s for any such reduction suffered.


                                                    85
               Case 23-10945-PDR           Doc 82      Filed 02/10/23       Page 162 of 205



                         (c)     Certificates for Reimbursement. A certificate of a Lender setting forth the
        amount or amounts necessary to compensate such Lender or such Lender’s holding company, as
        the case may be, as specified in subsection (a) or (b) of this Section and delivered to the Borrower
        shall be conclusive absent manifest error. The Borrower shall pay such Lender the amount shown
        as due on any such certificate within ten (10) days after receipt thereof.

                         (d)     Delay in Requests. Failure or delay on the part of any Lender to demand
        compensation pursuant to the foregoing provisions of this Section 10.4 shall not constitute a waiver
        of such Lender’s right to demand such compensation, provided that the Borrower shall not be
        required to compensate a Lender pursuant to the foregoing provisions of this Section for any
        increased costs incurred or reductions suffered more than nine (9) months prior to the date that such
        Lender notifies the Borrower of the Change in Law giving rise to such increased costs or reductions
        and of such Lender’s intention to claim compensation therefor (except that, if the Change in Law
        giving rise to such increased costs or reductions is retroactive, then the nine (9) month period
        referred to above shall be extended to include the period of retroactive effect thereof).

         10.5      Funding Losses. Upon written demand of any Lender (with a copy to the Administrative
Agent) from time to time, which demand shall set forth in reasonable detail the basis for requesting such
amount, the Borrower shall promptly compensate such Lender for and hold such Lender harmless from any
loss, cost, liability or expense (excluding loss of anticipated profits or margin) actually incurred by it as a
result of:

                        (a)     any continuation, conversion, payment or prepayment of any Loan other
        than a Base Rate Loan on a day other than the last day of the Interest Period for such Loan (whether
        voluntary, mandatory, automatic, by reason of acceleration, or otherwise);

                        (b)      any failure by the Borrower (for a reason other than the failure of such
        Lender to make a Loan) to prepay, borrow, continue or convert any Loan other than a Base Rate
        Loan on the date or in the amount notified by the Borrower; or

                         (c)     any assignment of a Prime Rate Loan on a day other than the last day of
        the Interest Period therefor as a result of a request by the Borrower pursuant to Section 9.19;
        including any loss or expense (excluding loss of anticipated profits or margin) actually incurred by
        reason of the liquidation or reemployment of funds obtained by it to maintain such Loan or from
        fees payable to terminate the deposits from which such funds were obtained. The Borrower shall
        also pay any customary administrative fees charged by such Lender in connection with the
        foregoing.

        10.6     Mitigation Obligations; Replacement of Lenders.

                          (a)      Designation of a Different Lending Office. If any Lender requests
        compensation under Section 10.4, or requires the Borrower to pay any Indemnified Taxes or
        additional amounts to any Lender or any Governmental Authority for the account of any Lender
        pursuant to Section 10.1, or if any Lender gives a notice pursuant to Section 10.2, then at the request
        of the Borrower, such Lender shall use reasonable efforts to designate a different Lending Office
        for funding or booking its Loans hereunder or to assign its rights and obligations hereunder to
        another of its offices, branches or affiliates, if, in the judgment of such Lender, such designation or
        assignment (i) would eliminate or reduce amounts payable pursuant to Section 10.1 or 10.4, as the
        case may be, in the future, or eliminate the need for the notice pursuant to Section 10.2, as
        applicable, and (ii) in each case, would not subject such Lender to any unreimbursed cost or
        expense and would not otherwise be disadvantageous to such Lender. The Borrower hereby agrees

                                                      86
            Case 23-10945-PDR           Doc 82      Filed 02/10/23      Page 163 of 205



       to pay all reasonable costs and expenses incurred by any Lender in connection with any such
       designation or assignment.

                        (b)      Replacement of Lenders. If any Lender requests compensation under
       Section 10.4, or if the Borrower is required to pay any Indemnified Taxes or additional amounts to
       any Lender or any Governmental Authority for the account of any Lender pursuant to Section 10.1
       and, in each case, such Lender has declined or is unable to designate a different lending office in
       accordance with Section 10.6(a) that eliminates the need to pay additional amounts for Indemnified
       Taxes under Section 10.1 or compensation under Section 10.4, the Borrower may replace such
       Lender in accordance with Section 9.19.

        10.7     Survival. All of the Borrower’s obligations under Sections 10.4 and 10.5 shall survive
termination of the Aggregate Commitments, repayment of all other Obligations hereunder and resignation
of the Administrative Agent.

                                       [Signature pages follow]




                                                   87
        
                         Case 23-10945-PDR            Doc 82   Filed 02/10/23    Page 164 of 205



                    ,1:,71(66:+(5(2)WKHSDUWLHVKHUHWRKDYHFDXVHGWKLV$JUHHPHQWWREHH[HFXWHGE\WKHLU
            UHVSHFWLYHRIILFHUVWKHUHXQWRGXO\DXWKRUL]HGDVRIWKHGD\DQG\HDUILUVWDERYHZULWWHQ

                                                            +2/',1*6
                                                            
                                                            '568%//&D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                 1DPH+DUYH\7HSQHU
                                                                 7LWOH$XWKRUL]HG6LJQDWRU\
                                                            
                                                            %2552:(5
                                                            
                                                            '(/3+,,17(50(',$7(+($/7+&2//&D
                                                            'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                 1DPH+DUYH\7HSQHU
                                                                 7LWOH$XWKRUL]HG6LJQDWRU\
                                                            
                                                            '(/3+,+($/7+%8<(5&2//&D'HODZDUH
                                                            OLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                 1DPH+DUYH\7HSQHU
                                                                 7LWOH$XWKRUL]HG6LJQDWRU\
                                                                 
                                                            6800,7+($/7+%8<(5&2//&D'HODZDUH
                                                            OLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                 1DPH+DUYH\7HSQHU
                                                                 7LWOH$XWKRUL]HG6LJQDWRU\
                                                                 
                                                            '%+*+2/',1*&203$1<//&D'HODZDUH
                                                            OLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                 1DPH+DUYH\7HSQHU
                                                                 7LWOH$XWKRUL]HG6LJQDWRU\
                                                                 
                                                                                                




                                            [DIP Credit Agreement Signature Page]
        
                         Case 23-10945-PDR            Doc 82   Filed 02/10/23   Page 165 of 205



                                                            '(/3+,%(+$9,25$/+($/7+*5283//&D
                                                            'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            2&($1%5((=(5(&29(5<//&D)ORULGD
                                                            OLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            '(/3+,+($/7+*5283//&D'HODZDUHOLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            /$62/$65(&29(5<//&D)ORULGDOLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            2&($1%5((=('(72;//&D)ORULGDOLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            1(;767(3+286,1*//&D)ORULGDOLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                                                               




                                            [DIP Credit Agreement Signature Page]
        
                         Case 23-10945-PDR            Doc 82   Filed 02/10/23     Page 166 of 205



                                                            3$/0%($&+5(&29(5<//&D)ORULGDOLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                      
                                                            52*(56/($51,1*//&D)ORULGDOLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            %$1<$15(&29(5<,167,787(//&D)ORULGD
                                                            OLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            &$/,)251,$$'',&7,2175($70(17
                                                            &(17(5//&D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            $/2)75(&29(5<//& IRUPHUO\NQRZQDV
                                                            (OHYDWH5HFRYHU\//& D'HODZDUHOLPLWHGOLDELOLW\
                                                            FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            0$5</$1'+286('(72;//&D'HODZDUH
                                                            OLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                                                                



                                            [DIP Credit Agreement Signature Page]
        
                         Case 23-10945-PDR            Doc 82   Filed 02/10/23   Page 167 of 205



                                                            &$/,)251,$9,67$6$'',&7,21
                                                            75($70(17//&D'HODZDUHOLPLWHGOLDELOLW\
                                                            FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            %5($.7+528*+/,9,1*5(&29(5<
                                                            &20081,7<//&D'HODZDUHOLPLWHGOLDELOLW\
                                                            FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            '(),1,1*020(175(&29(5<
                                                            &20081,7<//&D'HODZDUHOLPLWHGOLDELOLW\
                                                            FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            1(:3(563(&7,9(6//&D'HODZDUHOLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            21:$5'/,9,1*5(&29(5<&20081,7<
                                                            //&D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                                                                  




                                            [DIP Credit Agreement Signature Page]
        
                         Case 23-10945-PDR            Doc 82   Filed 02/10/23   Page 168 of 205



                                                            '(6(579,(:5(&29(5<&20081,7<//&
                                                            D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            6800,7%(+$9,25$/+($/7+/,0,7('
                                                            /,$%,/,7<&203$1<D1HZ-HUVH\OLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            6800,7,23/,0,7('D3HQQV\OYDQLDOLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            4%5',$*1267,&6//&D1HZ-HUVH\OLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            6%++$9(5+,////&D0DVVDFKXVHWWVOLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                                                                 




                                            [DIP Credit Agreement Signature Page]
        
                         Case 23-10945-PDR            Doc 82   Filed 02/10/23   Page 169 of 205



                                                            3($.+($/7+1-//&D1HZ-HUVH\OLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            6%+81,21,23//&D1HZ-HUVH\OLPLWHGOLDELOLW\
                                                            FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            81,21)5(6+67$57//&D1HZ-HUVH\OLPLWHG
                                                            OLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            6800,7$7)/25+$03$5.//&D1HZ-HUVH\
                                                            OLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                  
                                                            
                                                            %52:1675((7+2/',1*6//&D
                                                            0DVVDFKXVHWWVOLPLWHGOLDELOLW\FRPSDQ\
                                                            
                                                            
                                                            %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 
                                                                  1DPH+DUYH\7HSQHU
                                                                  7LWOH$XWKRUL]HG6LJQDWRU\
                                                                   
            




                                            [DIP Credit Agreement Signature Page]
Case 23-10945-PDR   Doc 82    Filed 02/10/23   Page 170 of 205




                           THE AGENT

                           BRIGHTWOOD LOAN SERVICES LLC, in its
                           capacity as Agent


                           By:_________________________
                               ___________________
                           Name:
                              me: Sengal Selassie
                           Title: Managing Member


                           By:_________________________
                           Name: Jennifer Patrickakos
                           Title: Head of Loan Operations




            [DIP Credit Agreement Signature Page]
Case 23-10945-PDR   Doc 82    Filed 02/10/23    Page 171 of 205




                           “LENDERS”



                           BCOF CAPITAL, LP, as a Lender

                           By: BCOF Capital Managers, LLC, its General
                           Partner


                           By:
                                 Name:    Sengal Se
                                                 Selassie
                                 Title:   Managing Member



                           By:
                                 Name:    Jennifer Patrickakos
                                 Title:   Head of Loan Operations



                           BRIGHTWOOD CAPITAL CO-INVEST
                           FUND, LP, as a Lender

                           By: Brightwood Capital Fund Managers IV, LLC,
                           its General Partner


                           By:
                                 Name:    Sengal Se
                                                 Selassie
                                 Title:   Managing Member



                           By:
                                 Name:    Jennifer Patrickakos
                                 Title:   Head of Loan Operations




            [DIP Credit Agreement Signature Page]
Case 23-10945-PDR   Doc 82    Filed 02/10/23    Page 172 of 205




                           BRIGHTWOOD CAPITAL FUND III-U, LP, as
                           a Lender



                           By: Brightwood Capital Fund Managers III, LLC,
                           its General Partner


                           By:
                                 Name:    Sengal Se
                                                 Selassie
                                 Title:   Managing Member



                           By:
                                 Name:    Jennifer Patrickakos
                                 Title:   Head of Loan Operations



                           BRIGHTWOOD CAPITAL FUND III
                           HOLDINGS, LP, as a Lender

                           By: Brightwood Capital Fund Managers IV, LLC,
                           its Manager


                               ____________________
                                                  _
                                                  __
                           By:_____________________________________
                              me:
                           Name:           Sengal Se
                                                  Selassie
                           Title:          Managing Member

                           By: _____________________________________
                           Name:        Jennifer Patrickakos
                           Title:       Head of Loan Operations




            [DIP Credit Agreement Signature Page]
Case 23-10945-PDR   Doc 82    Filed 02/10/23    Page 173 of 205




                           BRIGHTWOOD CAPITAL FUND IV, LP, as a
                           Lender

                           By: Brightwood Capital Fund Managers IV, LLC,
                           its General Partner


                           By:
                                 Name:    Sengal Sel
                                                 Selassie
                                 Title:   Managing Member



                           By:
                                 Name:    Jennifer Patrickakos
                                 Title:   Head of Loan Operations




                           BRIGHTWOOD CAPITAL FUND IV-U, LP, as
                           a Lender

                           By: Brightwood Capital Fund Managers IV, LLC,
                           its General Partner


                           By:
                                 Name:    Sengal Se
                                                 Selassie
                                 Title:   Managing Member



                           By:
                                 Name:    Jennifer Patrickakos
                                 Title:   Head of Loan Operations




            [DIP Credit Agreement Signature Page]
Case 23-10945-PDR   Doc 82    Filed 02/10/23    Page 174 of 205




                           BRIGHTWOOD CAPITAL OFFSHORE FUND
                           IV, LP, as a Lender

                           By: Brightwood Capital Fund Managers IV, LLC,
                           its General Partner


                           By:
                                 Name:    Sengal Se
                                                 Selassie
                                 Title:   Managing Member



                           By:
                                 Name:    Jennifer Patrickakos
                                 Title:   Head of Loan Operations




                           BRIGHTWOOD CAPITAL OFFSHORE FUND
                           IV-U, LP, as a Lender

                           By: Brightwood Capital Fund Managers IV, LLC,
                           its General Partner


                           By:
                                 Name:    Sengal Se
                                                 Selassie
                                 Title:   Managing Member



                           By:
                                 Name:    Jennifer Patrickakos
                                 Title:   Head of Loan Operations




            [DIP Credit Agreement Signature Page]
  
     
                             
                               
                                    
                                         
                                                 
                                                        
                           Case 23-10945-PDR             Doc 82   Filed 02/10/23   Page 175 of 205




                                                              DEERPATH CAPITAL ADVANTAGE V-B
                                                              HOLDINGS, LP, as a Lender

                                                              By: Deerpath Capital GenPar V, LLC, its
                                                              General Partner


                                                              By:
                                                                    Name:    Anish Bahl
                                                                    Title:   Vice President, Secretary and Chief
                                                                             Financial Officer


                                                              DEERPATH CAPITAL HOLDINGS, SLP,
                                                              represented by its managing general partner,
                                                              Deerpath Capital GP S.á.r.l., as a Lender


                                                              By:
                                                                    Name:    Anish Bahl
                                                                    Title:   Vice President, Secretary and Chief
                                                                             Financial Officer


                                                              DEERPATH FUNDING ADVANTAGE IV, LP,
                                                              as a Lender

                                                              By: Deerpath Capital Management, LP, its
                                                              Investment Manager


                                                              By:
                                                                    Name:    Anish Bahl
                                                                    Title:   Vice President, Secretary and Chief
                                                                             Financial Officer




                                              [DIP Credit Agreement Signature Page]
  
     
                             
                               
                                    
                                         
                                                 
                                                        
                           Case 23-10945-PDR             Doc 82     Filed 02/10/23   Page 176 of 205




                                                              DEERPATH PARTNERS HOLDINGS, LTD., as
                                                              a Lender

                                                              By: Deerpath Capital Advantage IV (Cayman), LP,
                                                              its sole shareholder

                                                              By: Deerpath Capital GenPar IV, LLC, its General
                                                              Partner


                                                              By:
                                                                    Name:     Anish Bahl
                                                                    Title:    Vice President, Secretary and Chief
                                                                              Financial Officer


                                                              DEERPATH PARTNERS, LLC, as a Lender


                                                              By:
                                                                    Name:     Anish Bahl
                                                                    Title:    Vice President, Secretary and Chief
                                                                              Financial Officer




                                              [DIP Credit Agreement Signature Page]
               Case 23-10945-PDR       Doc 82     Filed 02/10/23   Page 177 of 205




                                           Schedule I
                                       Lenders/Commitments

             Commitment Party           New Money DIP Facility        New Money DIP Loan
                                        Commitment Percentage              Amount

   Deerpath Capital Advantage V-B               0.544203%                 $59,862.32
            Holdings, LP

    Deerpath Capital Holdings, SLP              3.526212%                 $387,883.30

 Deerpath Funding Advantage IV, LP              7.16347%                  $787,981.70

   Deerpath Partners Holdings, Ltd              3.729197%                 $410,211.60

        Deerpath Partners, LLC                  3.520119%                 $387,213.10

              BCOF Capital, LP               19.389092%                  $2,132,800.14

 Brightwood Capital Co-Invest Fund,             0.165529%                 $18,208.17
                LP

      Brightwood Capital Fund III            25.347458%                  $2,788,220.33
             Holdings, LP

   Brightwood Capital Fund III-U, LP            1.173810%                 $129,119.05

    Brightwood Capital Fund IV, LP           22.244771%                  $2,446,924.77

   Brightwood Capital Fund IV-U LP              0.056630%                  $6,229.30

   Brightwood Capital Fund IV-U, LP             0.599622%                 $65,958.45

  Brightwood Capital Offshore Fund           10.413552%                  $1,145,490.76
               IV, LP

  Brightwood Capital Offshore Fund              2.126336%                 $233,897.01
              IV-U, LP

                   Total:                         100%                   $11,000,000.00




11911638-6
             Case 23-10945-PDR           Doc 82       Filed 02/10/23       Page 178 of 205




                                              Schedule 4.6

                                                Litigation

             Cases                                Counsel                                    Notes
 3030 Harbor LLC v. Defining     Gail A. McQuilkin (Counsel for Plaintiff      Pending. Plaintiff has propounded
 Moment Recovery                 3030 Harbor LLC)                              initial written discovery.
 Community                       Jeffrey J. Leavitt                            Responses to interrogatory
 Case No. CACE22014533           KOZYAK TROPIN & THROCKMORTON                  requests for production due 2/7/23.
 (Broward)                       LLP
 Count I – Breach Lease          2525 Ponce de Leon Blvd., 9th Floor
 Agreement                       Coral Gables, Florida 33134
 Count II – LL Lien & Distress   O: (305) 372-1800
 for Rent                        gam@kttlaw.com
                                 jleavit@kttlaw.com

 AdTaxi                          Robert B. Hollis                              $22,500 owed; could settle for
                                 Szabo Associates, Inc.                        less.
                                 3355 Lenox Road NE, Suite 945
                                 Atlanta, GA 30326
                                 O: (404) 266-2464 ext. 1412
 Allbritton, Stephen (Boys       Barry G. Roderman (Counsel for                Loss date: 07/23/19
 Ranch Road)                     Plaintiff)                                    Lawsuit pending with an amended
                                 Barry G. Roderman & Associates, P.A.          complaint dated 12/1/22 naming
                                 633 SE 3rd Avenue, Suite 4R                   the landlord (18307 Boys Ranch
                                 Fort Lauderdale, FL 33301                     Rd Owner, LLC) as a defendant;
                                 O: (954) 761-8810                             notice of claim filed with our
                                 bgr@barryroderman.com                         insurer (Allied World); coverage
                                                                               was denied under the general
                                                                               liability policy and under the D&O
                                                                               policy; no Borrower entity has
                                                                               been named as a defendant and the
                                                                               landlord seeks a defense and
                                                                               indemnification (as an additional
                                                                               insured) from the Borrower entity.

 Alli King                                                                     Claims wrongful termination-no
                                                                               formal
                                                                               pre-suit activity yet
 Baltimore Detox Center v. DR    Eric S. Mueller (Counsel for Delphi)          Loss date: 07/18/19
 Parent, LLC                     500 E. Pratt Street, Suite 600                Defamation/tortious
                                 Baltimore, MD 21202                           03/25/20 Settlement (we have a
                                 O: (410) 962-5265                             copy of the
                                 Eric.mueller@wilsonelser.com                  signed settlement agreement but
                                                                               not fully executed)
                                 Robert Gaumont (Counsel for Plaintiff)
                                 Gordon Feinblatt LLC
                                 233 East Redwood Street
                                 Baltimore, MD 21202
                                 O: (410) 576-4003
                                 rgaumont@gfrlaw.com

 LD v. United Healthcare Ins.    David M. Lilienstein (counsel for Plaintiff   Pending, see docket sheet; non-
 Co., et al                      and the Putative Class)                       party.


11911638-6
              Case 23-10945-PDR            Doc 82      Filed 02/10/23       Page 179 of 205



 Case No. 4:20-cv-02254-YGR        Katie J. Spielman
 (Northern District of             DL Law Group
 California)                       345 Franklin St.
                                   San Francisco, CA 94102
                                   O: (415) 678-5050
                                   david@dllawgroup.com
                                   katie@dllawgroup.com

                                   Matthew M. Lavin (pro hac vice)
                                   Aaron R. Modiano
                                   Arnall Golden Gregory LLP
                                   1775 Pennsylvania Ave., NW, Suite 1000
                                   Washington, DC 20006
                                   Matt.lavin@agg.com
                                   Aaron.modiano@agg.com

 RJ, et al. v. Chlic, et al.       William P. Donovan, Jr. (Counsel for      Pending, see docket sheet; as a
 Case No. 5:20-cv-02255-EJD        Cigna Health and Life Insurance           non-party, we provided the
 (Northern District of             Company)                                  declaration of Michael Borkowski
 California)                       2049 Century Park East, Suite 3200        instead of a 30(b)(6) deposition
                                   Los Angeles, CA 90067-3206
                                   O: (310) 277-4110
                                   wdonovan@mwe.com

                                   Joshua B. Simon (pro hac vice)
                                   Warren Haskel
                                   Dmitriy Tishyevich
                                   Caroline Incledon
                                   Chelsea Cosillos
                                   McDermott Will & Emery LLP
                                   One Vanderbilt Avenue
                                   New York, NY 10017
                                   jsimon@mwe.com
                                   whaskel@mwe.com
                                   dtishyevich@mwe.com
                                   cincledon@mwe.com
                                   ccosillos@mwe.com

 Campbellton-Graceville            Michael G. Austin (Counsel for Delphi)    Loss date: 03/22/19
 Hospital                          McDermott Will & Emery                    3rd Party in Bankruptcy Case
 Case No. 17-40185-KKS             333 SE 2nd Avenue, Suite 4500
 (Northern District of Florida –   Miami, FL 33131-4336
 Tallahassee)                      O: (305) 347-6517
                                   maustin@mwe.com

 Joelle Chalet                     Sheri Gipson                              Loss date: 05/22/19
                                   Claims Specialist                         -Appears to be a patient complaint
                                   Management Liability Claims               of
                                   Ironshore                                 improper sexual contact by a
                                   28 Liberty Street, 5th Floor              Serenity New Jersey employee
                                   O: (212) 208-8890                         -No case seems to have been filed;
                                                                             no counsel assigned.
                                                                             -Carrier (Ironshore) put on notice
 Charles, Lisa Marie v. DR         Becky Greenfield (Counsel for Delphi)     Loss: 09/16/20
 Parent, LLC                       O: (786) 409-0803                         Discrimination
                                                                             03/31/21 Case closed by EEOC


11911638-6
             Case 23-10945-PDR             Doc 82       Filed 02/10/23       Page 180 of 205



                                                                              with no
                                                                              findings
 Cigna                                                                        Demand letter of 9/30/2022
                                                                              Post-payment review
                                                                              Audited damages total refund
                                                                              sought: $5,926,980.28
 Cynthia Curtis v. Maryland        Yoora Pak (Counsel for Defendants          Loss date: 11/30/18
 House Detox, LLC, et al.          MHD and Delphi)                            Set for bench trial March 22-24
 (Arunde County, MD)               Christina M. Heischmidt (pro hac vice)     Discovery cut off Jan. 31
 Case No. C-02-cv-20-000674        8444 Westpark Drive, Suite 510             Insurance providing a defense-
 Count I Breach of K – MHD         McLean, VA 22102                           ROR
 Count II Violation MD Wage        O: (703) 245-9300                          exclusions for wage/breach of
 Payment and Collection Law        Yoora.pak@wilsonelser.com                  contract claims
 – MHD and Delphi                  Christina.heischmidt@wilsonelser.com       Plaintiff was deposed on January
 seeks joint and several- unpaid                                              27, 2023
 wages                             Marc J. Smith (Counsel for Plaintiff)      Michael Borkowski was deposed
 joint and several treble          Law Office of Marc J. Smith, LLC           on January 31, 2023, in his
 damages                           401 North Washington Street                individual capacity, as
 joint and several fees costs      Suite 500                                  representative of Maryland House
 expenses                          Rockville, Maryland 20850                  Detox, LLC, and as representative
 Count III Breach of K – DCX                                                  of Delphi Behavioral Health
 and Stup                          Jeffrey D. Goldstein                       Group, LLC.
 Breach DCX Operating              Law Office of Jeffrey D. Goldstein, LLC
 Agreement                         9211 Corporate Boulevard, Suite 350
 Compel dissolution of DCX         Rockville, Maryland 20850
 and distribute 250k DHH class
 B units to her                    Steven M. Pavsner
                                   Joseph, Greenwald & Laake, P.A
                                   6404 Ivy Lane, Suite 400
                                   Greenbelt, Maryland 20770

                                   Steven A. Allen (Counsel for Defendant
                                   DCX Group, LLC and David Stup)
                                   Pessin Katz Law P.A.
                                   901 Dulaney Valley Road, Suite 500
                                   Towson, Maryland 21204
 Cyber Incident/policy claim       See Schedule 4.21.                         Key Bank
                                                                              $536,031.60 recovered.
 Danchuk v. DR Parent, LLC                                                    Loss date: 09/30/18
                                                                              Wages
                                                                              07/01/20 Settled
 DelVacchio, Paul v. DR Parent,                                               Loss date: 12/28/18
 LLC                                                                          -Former director/owner of CA
                                                                              facilities
 Joseph Dello Russo v. SBH         Scott J. Tucker (Counsel for Plaintiff)    Negligence claim pending in MA
 Haverhill, LLC d/b/a Serenity     Matthew S. Prunk                           Claim is that SBH Haverhill, LLC
 At Summit                         Tucker, Dyer & O’Connell, LLP              d/b/a Serenity At Summit cost
 Case No. 2177CV1256-B             199 Wells Avenue                           employee his job
 Commonwealth of                   Newton, MA 02459
 Massachusetts                     O: (617) 986-4219
                                   tucker@tdolaw.com
                                   prunk@tdolaw.com

                                   Matthew J. Holmes (Counsel for
                                   Defendant)
                                   Noel B. Dumas


11911638-6
             Case 23-10945-PDR           Doc 82      Filed 02/10/23       Page 181 of 205



                                 MORRISON MAHONEY LLP
                                 250 Summer Street
                                 Boston, MA 02210-1181
                                 O: (617) 439-7500
                                 mholmes@morrisonmahoney.com
                                 ndunas@morrisonmahoney.com

 Gerson, David v. DR Parent,                                               Loss date 08/03/18
 LLC                                                                       -09/18/18 email from Robert
                                                                           Dominguez, Engage PEO
                                                                           (rdominguez@engagepeo.com)
                                                                           mediation in Encino, CA. -Aloft’s
                                                                           share $3,750
 Palm Beach Recovery, LLC v.     Gail McQuilken (Counsel for Defendant)    Complaint filed in Lake County,
 Harmony Hills Behavioral        Kozyak Tropin & Throckmorton              FL on 1/9/23 for breach of contract
 Health                          2525 Ponce de Leon Blvd, 9th Floor        under promissory note and
                                 Miami, FL 33134                           sublease. Defendant response to
                                 O: (305) 377-0656                         complaint due February 6, 2023.
                                 GAM@kttlaw.com
 Haverhill Flood                 Michael J. Brandt (Counsel for Former     SBH Haverhill, LLC (tenant) v.
                                 Landlord)                                 TST
                                 Wallace, Jordan, Ratliff & Brandt, LLC    Haverhill MOB, LLC; NWI US
                                 800 Shades Creek Parkway, Suite 400       MOB
                                 Birmingham, AL 35209                      REIT LLC; NWI US Hospital
                                 O: (205) 874-0308                         REIT LLC &
                                 mbrandt@wallacejordan.com                 NWI Haverhill Hospital LP (f/k/a
                                                                           NWI
                                                                           Serenity Behavioral Hospital LP)
                                                                           (jointly, Landlord)
                                                                           -Landlord at time of incident
                                                                           (property was subsequently sold)
                                                                           proposed settlement for tenant to
                                                                           receive $189,391.92, but current
                                                                           landlord would not sign release
                                                                           thereby leaving tenant (which
                                                                           completed the subject repairs)
                                                                           exposed to liability should an
                                                                           additional or similar flood occur
                                                                           again; settlement not authorized by
                                                                           client
 Ijioma, Merci v. DR Parent,     Yoora Pak (Counsel for Delphi)            Loss date: 11/13/18
 LLC                             O: (703) 852-7861                         Wrongful termination
                                 8444 Westpark Drive, Suite 510            12/20/21 settled
                                 McLean, VA 22102
                                 O: (703) 245-9300
                                 Yoora.pak@wilsonelser.com
 Iorio, Jamie (Flexer)           Jami Gursky (Counsel for Delphi)          Court extended stay until 3/6/2023;
 Wrongful death case – status    Cole, Scott & Kissane, P.A.               mediation scheduled 3/3/23;
 pending                         110 S.E. 6th Street, Suite 2700           Defendants’ response to the
                                 Fort Lauderdale, FL 33301                 Complaint is due on 3/17/2023;
                                 O: (954)703-3756                          -Broward-patient suicide/hanging
                                 Jami.gursky@csklegal.com

                                 Percy Martinez, Esq. opposing counsel
 Koahou, Brendan v. DR Parent,                                             Loss date: 04/10/20
 LLC                                                                       Settled: 07/21/20


11911638-6
             Case 23-10945-PDR           Doc 82       Filed 02/10/23      Page 182 of 205



 Lee, Jane v. DR Parent, LLC                                               Loss date: 09/17/19
                                                                           12/17/19 Settled
 McKevitt-Cano, Tammy            Matthew J. Troy (Counsel for Delphi)      Loss date: 09/15/20
 (presuit)                       Conroy Simberg                            -WC claim and wrongful
                                 2 South Orange Avenue, Suite 300          termination
                                 Orlando, FL 32801                         -HH employee prior to purchase
                                 O: (407) 481-5514                         -Ironshore did not extend coverage
                                                                           -Status: settled
                                 Jonathan I. Rotstein (Counsel for
                                 Tammy McKevitt-Cano)
                                 Law Office of Rotstein & Shiffman, LLP
 Miller, Esther v. DR Parent,    Nicholas Haynes                           Loss date: 10/01/18
 LLC                             O: (305) 562-9771                         Discrimination (pregnancy)
                                                                           03/05/19 $3,500 settlement
 Mormeneo, Carlos v. Onward      Patrick C. McCardle (Counsel for          Negligence claim
 Living Recovery Community,      Defendants Onward Living Recovery         Divorced parents
 LLC; Delphi Behavioral Health   Community, LLC and Delphi Behavioral      Trial period commencing 04/10/23
 Group, LLC                      Health Group, LLC)                        Calendar Call 03/23/23 @ 3:00 pm
 Case No. 20-11087-CA-01         Cole, Scott & Kissane, P.A.
 (Miami-Dade)                    110 S.E. 6th Street, Suite 2700
                                 Fort Lauderdale, FL 33301
                                 O: (954) 703-3756
                                 Patrick.mccardle@csklegal.com
                                 Kristi.carroll@csklegal.com
                                 Annette.habersham@csklegal.com

                                 Janpaul Portal (Counsel for Plaintiff)
                                 The Ferraro Firm
                                 600 Brickell Avenue, 38th Floor
                                 Miami, Florida 33131
                                 O: (305) 375-0111
                                 jpp@ferrarolaw.com

                                 Andrew L. Ellenberg
                                 Needle & Ellenberg, P.A.
                                 1401 Brickell Avenue, Suite 900
                                 Miami, Florida 33131
                                 O: (305)530-0000
                                 aellenberg@needleellenberg.com
                                 ccannon@needleellenberg.com
 3500 Quakerbridge, LLC v.                                                 Default under NJ lease; mitigation
 Peak Health NJ, LLC                                                       issue as to landlord possibly re-
                                                                           renting the premises

 Phelps, Brian                   Lorne Adam Kaiser (Counsel for Brian      -Wrongful death
                                 Phelps)                                   -Brought by spouse and parents
                                 Kaiser Romanello, P.A.                    (Crenshaw)
                                 11555 Heron Bay Boulevard, Suite 200      -Van driven by Delphi employee
                                 Parkland, FL 33076                        -No damage to van
                                 O: (954) 603-0100                         -Yet, surgeries to neck and back
                                 lkaiser@kaiserromanello.com               claimed
                                                                           -Relapse due to pain med
                                 Manny Comras (Counsel for Delphi)         -OD/died
                                 mrc@bclmr.com
 Quest Diagnostic                Craig P. Bronstein (Counsel for Quest)    -Settlement finalized 1/5/23;
                                 Lanak & Hanna                             Pathway to Hope paid $12,950.59


11911638-6
             Case 23-10945-PDR            Doc 82      Filed 02/10/23        Page 183 of 205



                                  625 The City Drive S., Ste. 190
                                  Orange, CA 92868
                                  O: (714) 620-2350 x308
                                  cpbronstein@lanak-hanna.com
 Ramos, Nicole v. DR Parent,      Nicole Wall (Counsel for Delphi)           Loss date: 07/22/19
 LLC                              Cole, Scott & Kissane, P.A.                Discrimination
 Eleventh Circuit Court of        222 Lakeview Avenue, Suite 120             Reopened-Appeal
 Appeals                          West Palm Beach, FL 33401                  11th Circuit Court of Appeals
 Case No. 21-11218                O: (561) 383-9236
                                  Nicole.wall@csklegal.com

                                  Romin No. Currier (Counsel for
                                  Plaintiff)
                                  Pincus & Currier LLP
                                  1555 Palm Beach Lakes Blvd., Suite 320
                                  West Palm Beach, FL 33401
                                  rcurrier@pincusandcurrier.com
 Sevilla, Arminda v. DR Parent,                                              Loss date: 07/06/20
 LLC                                                                         Termination
                                                                             09/18/20 Settled
 SL Monroe Sr. v. DR Parent,      Tamesha W. Blye (Counsel for Plaintiff)    Loss date: 06/17/20
 LLC (Southern District of        Saenz & Anderson, PLLC                     Wage & retaliation
 Florida)                         20900 NE 30th Avenue, Suite 800            01/27/21 Settled
 Case No. 9:20-cv-80954           Aventura, FL 33180
                                  O: (305) 503-5131

                                  Doug Wolfe (Counsel for Delphi)
                                  WOLFE PINCAVAGE
                                  2937 SW 27th Avenue
                                  Suite 302
                                  Miami, FL 33313
                                  O: (786) 409-0800
                                  doug@wolfepincavage.com


 Taylor, Danielle                 Jami Gursky (Counsel for Delphi)           -Negligence/violating privacy
                                  Cole, Scott & Kissane, P.A.                rights
                                  110 S.E. 6th Street, Suite 2700            -No demand
                                  Fort Lauderdale, FL 33301                  -Cyber policy put on notice
                                  O: (954)703-3756
                                  Jami.gursky@csklegal.com
 Vistas-CA                        Fred S. Pardes (Counsel for                -Nancy Rabuchin v. California
                                  Landlord/Rabuchin)                         Vistas
                                  Law Offices of Fred S. Pardes              Treatment Center
                                  A Professional Corporation                 -Default under lease
                                  34145 Pacific Coast Highway, Suite 520     -2 months left on term
                                  Dana Point, CA 92629                       -$34k security deposit
                                  O: (949) 443-3400                          - Landlord threatening property
                                  C: (949) 293-4506                          damages claim of approximately
                                  fred@fredpardes.com                        $200,000
                                                                             - Landlord’s insurer has denied the
                                                                             claim
 Vogel, David v. DR Parent,       Alicen Wong (Counsel for Delphi)           Loss date 2/19/2019
 LLC                              Stream Kim Hicks Wrage & Alfaro, PC        -No lawsuit filed
                                  3403 Tenth Street, Suite 700               -County zoning case requiring
                                  Riverside, CA 92501                        property


11911638-6
             Case 23-10945-PDR            Doc 82      Filed 02/10/23      Page 184 of 205



                                                                           to obtain CUP
                                  Christopher B. Queally                   -Approved by Riverside County Plan
                                  Gordon Rees Scully Mansukhani            Commission on May 19, 2021
                                  2211 Michelson Drive, Suite 400          -CHAT neighbor claiming nuisance
                                  Irvine, CA 92612
                                  O: (949) 255-6975                        -Neighbor has since moved and issue
                                  cqueally@grsm.com                        is moot
                                                                           -Related county zoning case requirin
                                                                           property to obtain CUP
                                                                           -Approved by Riverside County Plan
                                                                           Commission on May 19, 2021

 Westover, Carrie v. California   Donald Potter (Counsel for Plaintiff)    Loss date: 10/01/18
 Addition Treatment Center,       Don Potter Law Corporation               Wages
 LLC, Paul Del Vacchio            690 East Green Street, Suite 102         04/15/19 Settlement
 (Superior Court of California)   Pasadena, CA 91101
 Case No. RIC 1819657             O: (626) 744-1555
                                  dp@donpotterlaw.com

                                  Lonnie Giamela (Counsel for Delphi)
                                  O: (213) 330-4454
 Dominic Sirianni v. Delphi                                                Potential severance claim
 Health Group, LLC
 Matt John Feehery v. DR Sub,                                              Complaint received 1/18/23,
 LLC                                                                       served 1/12/23, for payment of
                                                                           severance, which includes a salary
                                                                           of $400,000.
 18307 Boys Ranch Road                                                     Letter received from landlord on
 Owner LLC v. Palm Beach                                                   1/23/23 providing formal notice of
 Recovery LLC, DR Parent                                                   defaults and demanding payment
 LLC, DR Sub LLC, Delphi                                                   and fees.
 Behavioral Group LLC, and
 Delphi Intermediate HealthCo
 LLC
 588 E San Lorenzo Owner LLC                                               Letter received from landlord on
 v. Delphi Health Group, LLC,                                              1/23/23 providing formal notice of
 Delphi Health Holdings, LLC,                                              defaults and demanding payment
 DR Parent LLC, DR Sub LLC,                                                and fees.
 and Delphi Intermediate
 HealthCo LLC




11911638-6
             Case 23-10945-PDR         Doc 82    Filed 02/10/23     Page 185 of 205




                                           Schedule 4.7

                                      Compliance with Law

    1. California Addiction Treatment Center, LLC dba Desert View Recovery: State of
       California Health and Human Services Agency, Department of Healthcare Services,
       Certification Report dated 11/1/22 noting deficiencies found during the compliance review
       performed onsite on 10/19/22 and requiring a plan of correction. A corrective action plan
       was submitted to DHCS, Licensing and Certification Division on 11/29/22. No further
       action is required.

    2. California Addiction Treatment Center, LLC dba California Highlands Addiction
         Treatment: State of California Health and Human Services Agency, Department of
         Healthcare Services, Certification and Deficiency Report dated 11/1/22 noting Class B and
         Class C deficiencies found during the compliance review performed onsite on 10/18/22-
         10/19/22 and requiring a plan of correction. A corrective action plan was submitted to
         DHCS, Licensing and Certification Division on 11/29/22. No further action is required.




11911638-6
             Case 23-10945-PDR   Doc 82   Filed 02/10/23   Page 186 of 205




                                    Schedule 4.8

                                 ERISA Compliance

None.




11911638-6
             Case 23-10945-PDR       Doc 82    Filed 02/10/23     Page 187 of 205




                                        Schedule 4.17

                               Payment of Wages; Labor Matters

Union Fresh Start LLC (also known as Serenity at Summit) received an NLRB petition for labor
union election by email from a representative of the Alliance Frontline Workers Union, which was
formed on August 30, 2022. A vote was held in January 2023 and the results have not yet been
released due to a claim that was submitted. Union Fresh Start LLC is actively working with a
consultant, Jim Monica from American Labor Group, on the matter.




11911638-6
                  Case 23-10945-PDR     Doc 82   Filed 02/10/23   Page 188 of 205




                                          Schedule 4.23

                                         Deposit Accounts

Secured Party            Name of Bank               Type of       Old Account    New Account
                                                    Account       Numbers        Numbers
Delphi Behavioral        Key Bank                   Operating             7273          6912
Health Group, LLC        PO Box 93885
                         Cleveland, OH 44101-5885
Las Olas Recovery,       Key Bank                   Operating             7562          6920
LLC                      PO Box 93885
                         Cleveland, OH 44101-5885
Ocean Breeze Detox,      Key Bank                   Operating             7661          6938
LLC                      PO Box 93885
                         Cleveland, OH 44101-5885
Ocean Breeze Detox,      Key Bank                   Operating             5486          7092
LLC dba Pathway to       PO Box 93885
Hope                     Cleveland, OH 44101-5885
Palm Beach Recovery,     Key Bank                   Operating             7874          6961
LLC                      PO Box 93885
                         Cleveland, OH 44101-5885
Palm Beach Recovery,     Key Bank                   Operating             7715          7084
LLC dba Family           PO Box 93885
Recovery Specialists     Cleveland, OH 44101-5885

California Addiction     Key Bank                   Operating             7679          6979
Treatment Center, LLC    PO Box 93885
                         Cleveland, OH 44101-5885

California Addiction     Key Bank                   Operating             3260          7076
Treatment Center, LLC    PO Box 93885
dba Desert View          Cleveland, OH 44101-5885
Recovery
Maryland House Detox,    Key Bank                   Operating             7737          6953
LLC                      PO Box 93885
                         Cleveland, OH 44101-5885
California Vistas        Key Bank                   Operating             7725          6946
Addiction Treatment,     PO Box 93885
LLC                      Cleveland, OH 44101-5885




     11911638-6
                  Case 23-10945-PDR          Doc 82   Filed 02/10/23   Page 189 of 205




Breakthrough Living        Key Bank                      Operating            2118       6987
Recovery Community,        PO Box 93885
LLC                        Cleveland, OH 44101-5885
Defining Moment            Key Bank                      Operating            2142       6995
Recovery Community,        PO Box 93885
LLC                        Cleveland, OH 44101-5885
Summit Behavioral          Key Bank                      Operating            1713       7050
Health Limited Liability   PO Box 93885
Company                    Cleveland, OH 44101-5885

SBH Haverhill, LLC         Key Bank                      Operating            1697       7035
                           PO Box 93885
                           Cleveland, OH 44101-5885
Peak Health NJ, LLC        Key Bank                      Operating            1614       7001
                           PO Box 93885
                           Cleveland, OH 44101-5885
Summit at Florham          Key Bank                      Operating            1705       7043
Park, LLC                  PO Box 93885
                           Cleveland, OH 44101-5885
SBH Union IOP, LLC         Key Bank                      Operating            1663       7027
                           PO Box 93885
                           Cleveland, OH 44101-5885
Union Fresh Start, LLC     Key Bank                      Operating            1655       7019
                           PO Box 93885
                           Cleveland, OH 44101-5885
Desert View Recovery       Key Bank                      Operating            3252       7068
Community, LLC             PO Box 93885
                           Cleveland, OH 44101-5885


     x   All accounts are open and active.




     11911638-6
             Case 23-10945-PDR         Doc 82     Filed 02/10/23     Page 190 of 205




                                          Schedule 4.31(c)

                    Healthcare Inspections, Investigations, Inquiries and Audits

    1. Ocean Breeze Detox, LLC d/b/a Arete Recovery: Overpayment determination and
       current proactive suspension of payment for services from Cigna dated 9/30/22 based on
       audit of 40 random patient records in 2020, subsequent extrapolation. Cigna is seeking
       $5,926,980.28. Status is pending.

    2. California Addiction Treatment Center, LLC dba Desert View Recovery: State of
       California Health and Human Services Agency, Department of Healthcare Services,
       Certification Report dated 11/1/22 noting deficiencies found during the compliance
       review performed onsite on 10/19/22 and requiring a plan of correction. A corrective
       action plan was submitted to DHCS, Licensing and Certification Division on 11/29/22.
       No further action is required.

    3. California Addiction Treatment Center, LLC dba California Highlands Addiction
       Treatment: State of California Health and Human Services Agency, Department of
       Healthcare Services, Certification and Deficiency Report dated 11/1/22 noting Class B
       and Class C deficiencies found during the compliance review performed onsite on
       10/18/22-10/19/22 and requiring a plan of correction. A corrective action plan was
       submitted to DHCS, Licensing and Certification Division on 11/29/22. No further action
       is required.

    4. Serenity at Summit New Jersey: Horizon Blue Cross Blue Shield of New Jersey patient
       chart audit and determination of Level 2 Sanction issued 10/13/22 related to patient
       care/injury issue on 5/18/22 and requiring a corrective action plan. A corrective action
       plan was submitted to Horizon on 12/1/22 and was accepted on 1/4/23. This matter is
       now closed.

    5. Serenity at Summit New Jersey: Investigation by NJ Department of Human Services,
       Division of Mental Health and Addiction Services related to complaint by

         a. Detox patient’s family on billed charges, representation of services offered, and
         customer service interaction with the patient's family. Patient services were provided in
         February 2022, and DMHAS first contacted Serenity in May 2022. Initial response
         submitted on 12/14/22 followed by a request to submit an Incident Report for Alleged
         Neglect – No injury/Alleged Operational Staff Shortage. Incident Report was submitted
         on 12/23/22.

         b. Detox and IOP patient on misrepresentation of insurance coverage, disorganization of
         facility, and quality of care, and customer service interaction. Patient services were
         provided in February 2022 and DMHAS first contacted Serenity in March 2022. Initial
         response submitted on 12/14/22. No further action requested at this time.




11911638-6
             Case 23-10945-PDR      Doc 82    Filed 02/10/23   Page 191 of 205




    6. Florida Association of Recovery Residences (“FARR”) audit of Breakthrough Living
       Recovery Community, LLC resulted in deficiencies and was due on 4/21/22. A 30 day
       notice of the certifications was issued on 6/2/22. Breakthrough Living Recovery
       Community, LLC is contacting FARR to resolve any outstanding items or deficiencies. A
       corrective action plan was submitted on 12/21/22. No further action requested at this
       time.




11911638-6
             Case 23-10945-PDR        Doc 82     Filed 02/10/23    Page 192 of 205




                                         Schedule 4.33

                             Other Agreements/Program Eligibility

Serenity at Summit New Jersey: Horizon Blue Cross Blue Shield of New Jersey patient chart
audit and determination of Level 2 Sanction issued 10/13/22 related to patient care/injury issue
on 5/18/22 and requiring a Corrective Action Plan. A corrective action plan was submitted to
Horizon on 12/1/22 and was accepted on 1/4/23. This matter is now closed.




11911638-6
             Case 23-10945-PDR     Doc 82    Filed 02/10/23   Page 193 of 205




                                       Schedule 5.3

                                 Maintenance of Properties


Summit Behavioral Health, LLC, 4065 Quakerbridge Road, Suite 102 & Suite 103, Princeton,
NJ 08550.

Union Fresh Start, LLC, 1000 Galloping Hill Road, Union Township, NJ 07083.

SBH Haverhill, LLC, 61 Brown Street, Haverhill, MA 01830.




11911638-6
             Case 23-10945-PDR            Doc 82      Filed 02/10/23      Page 194 of 205




                                               Schedule 6.1

                                               Indebtedness

                       Loan Party                                          Existing Indebtedness

   Delphi Behavioral Health Group, LLC                   American Express Corporate Card. This card
                                                         typically carries a balance of $75,000 - $125,000
                                                         and is paid off monthly.

                                                         WEX Fuel Credit Card - average monthly
                                                         balance of $6,300, paid off monthly
   Ocean Breeze Detox, LLC                               American Express Corporate Card. This card
                                                         typically carries a balance of $5,000-$6,000 and is
                                                         paid off monthly.
   Palm Beach Recovery, LLC                              American Express Corporate Card. This card
                                                         typically carries a balance of $5,000-$6,000 and is
                                                         paid off monthly.
   California Addiction Treatment Center LLC             American Express Corporate Card. This card
                                                         typically carries a balance of $10,000 and is paid off
                                                         monthly.
   Maryland House Detox, LLC                             American Express Corporate Card. This card
                                                         typically carries a balance of $2,500 and is paid off
                                                         monthly.
   Union Fresh Start LLC                                 American Express Corporate Card. This card
                                                         typically carries a balance of $20,000-$25,000 and is
                                                         paid off monthly.

    x    All debt secured by liens set forth in Schedule 6.3
    x    See attached tax liabilities in the amount of $971,738.21.




11911638-6
             Case 23-10945-PDR     Doc 82    Filed 02/10/23    Page 195 of 205




      Debtor        Creditor               Address             Type of Tax      Estimated
                                                                               Amount of
                                                                                Tax Owed
 Breakthrough     City of West    City of West Palm Beach      Business Tax    $27,320.15
 Living           Palm Beach      PO Box 3147
 Recovery         Bus Tax         West Palm Beach FL 33402
 Community,
 LLC
 Breakthrough     Tax Collector, Tax Collector, PBC            Property Tax    $28,805.58
 Living           PBC            Anne M. Gannon, Const
 Recovery                        Tax Collector, PBC
 Community,                      PO Box 3353
 LLC                             West Palm Beach FL
                                 33402-3353
 California       Riverside      Riverside County Treasurer-   Personal        $9,386.37
 Addiction        County         Tax Collector                 Property Tax
 Treatment        Treasurer-Tax PO Box 12005
 Center, LLC      Collector -    Riverside CA 92502-2205
 Defining         Broward        Broward County Tax            Property Tax    $117,362.72
 Moment           County Tax     Collector
 Recovery         Collector      115 S. Andrews Ave.
 Community,                      Rm A-100
 LLC                             Fort Lauderdale FL 33301
 Desert View      Riverside      Riverside County Treasurer-   Personal        $33,161.88
 Recovery         County         Tax Collector                 Property Tax
                  Treasurer-Tax PO Box 12005
                  Collector -    Riverside CA 92502-2205
 Ocean Breeze     City of        City of Pembroke Pines        Business Tax    $250.00
 Detox, LLC       Pembroke       601 City Center Way
                  Pines Bus Tax 4th Flr LBTR Div.
                                 Pembroke Pines FL 33025
 Breakthrough     United States   United States Treasury       2020 Deferred   $4,348.12
 Living           Treasury        Social Security Tax -        Tax (CARES
 Recovery                         CARES Act Section 2302       Act)
 Community,                       Dept. of the Treasury
 LLC                              Internal Revenue Service
                                  Ogden, UT 84201
 California       United States   United States Treasury       2020 Deferred   $34,644.20
 Addiction        Treasury        Social Security Tax -        Tax (CARES
 Treatment                        CARES Act Section 2302       Act)
 Center, LLC                      Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201




11911638-6
             Case 23-10945-PDR     Doc 82    Filed 02/10/23   Page 196 of 205




 California       United States   United States Treasury      2020 Deferred   $13,068.63
 Vistas           Treasury        Social Security Tax -       Tax (CARES
 Addiction                        CARES Act Section 2302      Act)
 Treatment,                       Dept. of the Treasury
 LLC                              Internal Revenue Service
                                  Ogden, UT 84201
 Delphi           United States   United States Treasury      2020 Deferred   $290,351.60
 Behavorial       Treasury        Social Security Tax -       Tax (CARES
 Health Group,                    CARES Act Section 2302      Act)
 LLC                              Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201
 Defining         United States   United States Treasury      2020 Deferred   $5,932.78
 Moment           Treasury        Social Security Tax -       Tax (CARES
 Recovery                         CARES Act Section 2302      Act)
 Community,                       Dept. of the Treasury
 LLC                              Internal Revenue Service
                                  Ogden, UT 84201
 Desert View      United States   United States Treasury      2020 Deferred   $8,067.40
 Recovery         Treasury        Social Security Tax -       Tax (CARES
 Community,                       CARES Act Section 2302      Act)
 LLC                              Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201
 Maryland         United States   United States Treasury      2020 Deferred   $41,871.43
 House Detox,     Treasury        Social Security Tax -       Tax (CARES
 LLC                              CARES Act Section 2302      Act)
                                  Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201
 Ocean Breeze     United States   United States Treasury      2020 Deferred   $61,020.85
 Detox, LLC       Treasury        Social Security Tax -       Tax (CARES
                                  CARES Act Section 2302      Act)
                                  Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201
 Palm Beach       United States   United States Treasury      2020 Deferred   $75,858.69
 Recovery,        Treasury        Social Security Tax -       Tax (CARES
 LLC                              CARES Act Section 2302      Act)
                                  Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201




11911638-6
             Case 23-10945-PDR     Doc 82    Filed 02/10/23   Page 197 of 205




 Summit           United States   United States Treasury      2020 Deferred   $14,698.00
 Behavioral       Treasury        Social Security Tax -       Tax (CARES
 Health, LLC                      CARES Act Section 2302      Act)
                                  Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201
 SBH            United States     United States Treasury      2020 Deferred   $92,364.99
 Haverhill, LLC Treasury          Social Security Tax -       Tax (CARES
                                  CARES Act Section 2302      Act)
                                  Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201
 SBH Union        United States   United States Treasury      2020 Deferred   $14,324.46
 IOP, LLC         Treasury        Social Security Tax -       Tax (CARES
                                  CARES Act Section 2302      Act)
                                  Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201
 Summit at        United States   United States Treasury      2020 Deferred   $7,930.00
 Florham Park,    Treasury        Social Security Tax -       Tax (CARES
 LLC                              CARES Act Section 2302      Act)
                                  Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201
 Union Fresh      United States   United States Treasury      2020 Deferred   $90,970.36
 Start, LLC       Treasury        Social Security Tax -       Tax (CARES
                                  CARES Act Section 2302      Act)
                                  Dept. of the Treasury
                                  Internal Revenue Service
                                  Ogden, UT 84201
 TOTAL                                                                        $971,738.21




11911638-6
             Case 23-10945-PDR           Doc 82    Filed 02/10/23   Page 198 of 205




                                            Schedule 6.3


                                         Permitted Prior Liens


                    Loan Party                                       Existing Liens

   Delphi Behavioral Health Group, LLC               Secured Party: ASD Specialty Healthcare, LLC
                                                                      dba Besse Medical
                                                     Lien Type: All Assets
                                                     File Date: 1/28/2020
                                                     File No.: 2020 0671133

   Delphi Health Group, LLC                          Secured Party: Marlin Business Bank
                                                     Lien Type: Equipment
                                                     File Date: 9/21/2018
                                                     File No.: 2018 6531228




11911638-6
             Case 23-10945-PDR           Doc 82   Filed 02/10/23   Page 199 of 205




                                            Schedule 6.6

                                       Permitted Investments

                    Loan Party                                            Investment

   DR Sub, LLC                                      100% ownership of Delphi Intermediate HeathCo,
                                                    LLC

   Delphi Intermediate HealthCo, LLC                100% ownership of Delphi Health BuyerCo, LLC

                                                    100% ownership of Summit Health BuyerCo, LLC

   Delphi Health BuyerCo, LLC                       100% ownership of DBHG Holding Company, LLC

   Summit Health BuyerCo, LLC                       100% ownership of Summit Behavioral Health
                                                    Limited Liability Company

                                                    100% ownership of Summit IOP Limited

                                                    100% ownership of QBR Diagnostics, LLC

                                                    100% ownership of SBH Haverhill, LLC

                                                    100% ownership of Peak Health NJ, LLC

                                                    100% ownership of Summit of Florham Park, LLC

                                                    100% ownership of SBH Union IOP LLC

                                                    100% ownership of Union Fresh Start LLC

                                                    100% ownership of 61 Brown Street Holdings, LLC

   DBHG Holding Company, LLC                        100% ownership of Delphi Behavioral Health
                                                    Group, LLC

   Delphi Behavioral Health Group, LLC              100% ownership of Ocean Breeze Recovery, LLC

                                                    100% ownership of Las Olas Recovery LLC

                                                    100% ownership of Delphi Health Group, LLC

                                                    100% ownership of Ocean Breeze Detox, LLC

                                                    100% ownership of Next Step Housing LLC

                                                    100% ownership of Palm Beach Recovery, LLC



11911638-6
             Case 23-10945-PDR        Doc 82   Filed 02/10/23    Page 200 of 205




                                                 100% ownership of Rogers Learning, LLC

                                                 100% ownership of Breakthrough Living Recovery
                                                 Community, LLC

                                                 100% ownership of Defining Moment Recovery
                                                 Community, LLC

                                                 100% ownership of Onward Living Recovery
                                                 Community, LLC

                                                 100% ownership of New Perspectives, LLC

   Delphi Health Group, LLC                      85% ownership of Banyan Recovery Institute, LLC

                                                 100% ownership of California Addiction Treatment
                                                 Center LLC

                                                 100% ownership of Aloft Recovery LLC

                                                 100% ownership of Maryland House Detox, LLC

                                                 100% ownership of Desert View Recovery
                                                 Community, LLC

   California Addiction Treatment Center LLC     100% ownership of California Vistas Addiction
                                                 Treatment LLC




11911638-6
             Case 23-10945-PDR       Doc 82    Filed 02/10/23    Page 201 of 205




                                         Schedule 6.7

                                  Transactions with Affiliates

 1. Asset Purchase Agreement, dated as of October 1, 2019, by and among Palm Beach
      Recovery, LLC, Harmony Hills, LLC (“HH”), the equity holders of HH (the “HH Owners”),
      and Eduardo R. Lacasa, as the representative of the HH Owners, and Asset Purchase
      Agreement, dated as of June 11, 2020, by and between Palm Beach Recovery, LLC and
      Harmony Hills Behavioral Health, LLC and agreements for lease and sublease (and related
      upstream guarantees) for property located at 18121 Boys Ranch Rd, Altoona, FL 32702,
      including the Sublease Agreement, dated September 14, 2020, by and between Delphi
      Health Holdings LLC and Harmony Hills Behavioral Health LLC.

 2. Lease Agreement, dated March 1, 2018, by and between EMD Realty Group, LLC and
      Defining Moment Recovery Community, LLC, for property located at 3030 Harbor Drive,
      Fort Lauderdale, FL 33316, including lease payments following abandonment of the
      premises.

 3. Lease Agreement, dated February 22, 2018, by and between Onward Living Recovery
      Community, LLC and 2100 NE 33rd Avenue, for property located at 2100 NE 33rd Avenue
      Fort Lauderdale, FL 33305, including lease termination payments of 18 months’ rent.

 4. Lease Agreement, dated March 1, 2018, by and between EMD Realty Group, LLC and
      Breakthrough Living Recovery Community, LLC for property located at 3701 S Olive
      Avenue, West Palm Beach, FL, 33405, including lease extension and upstream guaranty
      supporting a sale of the property, by agreements dated March 26, 2021.

 5. Lease Agreement, dated September 1, 2021, by and between Bolive, LLC and Palm Beach
      Recovery, LLC, guaranteed by Delphi Behavioral Health Group, LLC, supporting the sale
      of property located at 1017-1021 North Olive Avenue, West Palm Beach, FL 33401.

 6. Billing Services Agreement, dated May 13, 2016, by and between Infinity Behavioral Health
      Services, LLC and Delphi Behavioral Health Group, LLC, as amended from time to time.

 7. Lease Agreement, dated February 28, 2017, by and between Banning Real Estate, LLC and
      California Addiction Treatment Center LLC for the property located at 15986 Highland
      Springs Avenue, Banning, California 92220.

 8. Administrative and Marketing Services Agreement, dated September 1, 2016, by and
      between Delphi Behavioral Health Group, LLC and Ocean Breeze Detox, LLC.

 9. Administrative and Marketing Services Agreement, dated June 8, 2016, by and between
      Delphi Health Group, LLC and Banyan Recovery Institute, LLC.

 10. Administrative and Marketing Services Agreement, dated June 8, 2016, by and between
      Delphi Health Group, LLC and California Addiction Treatment Center LLC.


11911638-6
             Case 23-10945-PDR      Doc 82     Filed 02/10/23   Page 202 of 205




 11. Administrative and Marketing Services Agreement, dated June 8, 2016, by and between
      Delphi Health Group, LLC and Aloft Recovery LLC (formerly known as Elevate Recovery,
      LLC).

 12. Trade Name License and Services Agreement, dated March 12, 2014, by and between Peak
      Health NJ, LLC and Union Fresh Start LLC.

 13. Trade Name License and Services Agreement, dated July 11, 2014, by and between Peak
      Health NJ, LLC and SBH Haverhill, LLC.

 14. Trade Name License and Services Agreement, dated May 28, 2014, by and between Peak
      Health NJ, LLC and QBR Diagnostics, LLC.

 15. Trade Name License and Services Agreement, dated March 12, 2014, by and between Peak
      Health NJ, LLC and SBH Union IOP LLC.

 16. Trade Name License and Services Agreement, dated March 12, 2014, by and between Peak
      Health NJ, LLC and Summit at Florham Park, LLC (formerly known as FP Dynamic
      Treatment, LLC).

 17. Trade Name License and Services Agreement, dated March 12, 2014, by and between Peak
      Health NJ, LLC and Summit IOP Limited.

 18. Agreement, dated May 20, 2015, by and among Thomas J. Allen, Jr., Destiny Oaks
      Holdings, LLC, Summit at Newton, LLC, Summit at Florham Park, LLC, SBH Oceanfront
      Rehabilitation, LLC, Union Fresh Start LLC, SBH Union IOP LLC, QBR Diagnostics, LLC,
      SBH Haverhill, LLC, Peak Health, NJ, LLC, Behavhealth TreatDyn, LLC, Ocean and
      Ocean, LLC, SBH Hidden River, LLC, Summit IOP Limited, and Summit Behavioral
      Health Limited Liability Company.

 19. Trade Name License and Services Agreement, dated March 12, 2014, by and between Peak
      Health NJ, LLC and Summit Behavioral Health Limited Liability Company.




11911638-6
             Case 23-10945-PDR        Doc 82   Filed 02/10/23   Page 203 of 205




                                         Schedule 9.3

                                           Notices

Administrative Agent:

Brightwood Loan Services LLC
810 Seventh Avenue, 26th Floor
New York, NY 10019
Attn: Loan Operations
Telephone: 646-368-8265
Facsimile: 646-537-2648
E-mail: finance@brightwoodlp.com

Borrower:

Delphi Intermediate HealthCo
1901 West Cypress Creek Road
Suite 500
Fort Lauderdale, FL 33309
Attn: Edward Phillips
Email: ephillips@getzlerhenrich.com




11911638-6
             Case 23-10945-PDR   Doc 82   Filed 02/10/23   Page 204 of 205




                                     Exhibit B

                                 Initial DIP Budget




11904184-3
Delphi Behavioral Health Group
Weekly DIP Forecast

                                                              1                   2                   3                 4                  5                   6                   7                   8                   9                  10                  11                   12                  13                    14                   15                   16
                                                            FCAST               FCAST               FCAST            FCAST               FCAST               FCAST               FCAST               FCAST              FCAST               FCAST               FCAST                FCAST               FCAST                 FCAST                FCAST                FCAST
                              Date (Week Ending)          2/10/2023           2/17/2023           2/24/2023         3/3/2023           3/10/2023           3/17/2023           3/24/2023           3/31/2023           4/7/2023           4/14/2023           4/21/2023            4/28/2023            5/5/2023             5/12/2023            5/19/2023            5/26/2023            TOTAL
CASH FLOW
INPATIENT ADC                                                    65.0                67.0                69.0             71.0                73.0                75.0                77.0                79.0               81.0                83.0                    0.0                  0.0                  0.0                  0.0                  0.0                  0.0               46.3
NET CHARGES                                          $       522,747      $      532,015      $      547,687    $      563,360     $      579,032      $      594,704      $      610,377      $      626,049      $      641,721     $      657,393      $          -         $          -         $          -         $          -         $          -         $          -         $   5,875,084

RECEIPTS
       OldCo Receipts                                $       725,316      $      651,015      $      539,527    $      176,458     $      233,825      $      264,279      $      218,521      $       25,718      $          -       $          -        $          -         $          -         $          -         $          -         $          -         $          -         $   2,834,659
       NewCo Receipts                                          9,119               8,302               8,915           230,157            296,666             281,987             307,083             458,089             488,842            510,428                      -                    -                    -                    -                    -                    -        2,599,588
   Total Customer Receipts                           $       734,435      $      659,318      $      548,441    $      406,615     $      530,492      $      546,266      $      525,604      $      483,807      $      488,842     $      510,428      $          -         $          -         $          -         $          -         $          -         $          -         $   5,434,247

   Other Receipts                                    $        66,476      $          -        $          -      $         -        $       66,476      $          -        $          -        $          -        $         -        $          -        $          -         $          -         $          -         $          -         $          -         $          -         $     132,952
   TOTAL RECEIPTS                                    $       800,911      $      659,318      $      548,441    $     406,615      $      596,968      $      546,266      $      525,604      $      483,807      $     488,842      $      510,428      $          -         $          -         $          -         $          -         $          -         $          -         $   5,567,199

DISBURSEMENTS
   Operating Disbursements
       Client Program Costs - Food Services          $           -        $          -        $      168,433    $          -       $          -        $          -        $      188,040      $          -        $          -       $          -        $          -         $          -         $          -         $          -         $          -         $          -         $     356,473
       Client Program Costs - Other                           29,009              24,551              22,733            22,859             29,667              32,325              34,272              32,066              34,219             35,730                      -                    -                    -                    -                    -                    -          297,432
   General & Administrative
       Advertising & Marketing                              1,125,000                  -                   -         1,125,000                  -                   -                   -                   -           1,125,000                  -                      -                 -                    -                       -                    -                 -            3,375,000
       G&A Run Rate / Amex                                          -                  -                   -           243,000                  -                   -                   -                   -             303,750                  -                      -                 -                    -                       -                    -                 -              546,750
       Google                                                       -                  -                   -           180,000                  -                   -                   -                   -             180,000                  -                      -                 -                    -                       -                    -                 -              360,000
       Advertising & Marketing (Credit to OldCo)                    -                  -                   -          (863,296)                 -                   -                   -                   -            (483,750)                 -                      -                 -                    -                       -                    -                 -           (1,347,046)
       Amex (Other OldCo)                                           -                  -                   -            27,000                  -                   -                   -                   -              33,750                  -                      -                 -                    -                       -                    -                 -               60,750
       Billing Collections (RCM)                                    -                  -             186,387                 -                  -                   -                   -             137,824                   -                  -                      -            22,433                    -                       -                    -                 -              346,644
       Systems                                                      -             16,000              20,000                 -                  -                   -              20,000                   -                   -                  -                      -                 -                    -                       -                    -                 -               56,000
       Workers Comp Insurance                                       -                  -                   -            12,887                  -                   -                   -               4,226               7,991                  -                      -             4,226                    -                       -                    -             4,226               33,556
                                                                                                                                                                                                                                                                                                                                                                                                           Case 23-10945-PDR




       Commercial Insurance Premium                                 -                  -                   -           155,511            325,000                   -                   -                   -             149,283                  -                      -                 -                    -                       -                    -                 -              629,795
       Rentals & Leases                                             -                  -                   -           313,820                  -                   -                   -                   -             313,820                  -                      -                 -               88,282                       -                    -                 -              715,923
   Subtotal                                          $      1,154,009     $       40,551      $      397,554    $    1,216,782 $          354,667      $       32,325      $      242,312      $      174,116      $    1,664,064 $           35,730      $          -         $       26,659       $       88,282       $          -         $          -         $        4,226       $    5,431,277

       Net Payroll                                   $       367,179      $      479,564      $      375,921    $      456,624     $      375,921      $      378,908      $      166,600      $      355,002      $      143,551     $      355,002      $       25,279       $            -       $       1,929        $               -    $               -    $            -       $  3,481,479
       Bonus                                                       -                   -                   -                 -                  -                   -              43,250                   -                   -                  -                   -                    -                   -                        -                    -                 -             43,250
       Withholding & Taxes                                    28,773              38,365              27,596            36,530             26,678              30,313              16,788              28,400              11,484             28,400               2,022                    -                 154                        -                    -                 -            275,503
       Benefits                                                5,893              15,527               5,652            14,784              5,464              12,268               3,438              11,494               2,352             11,494                 414                    -                   -                        -                    -                 -             88,780
       Severance / PTO                                        30,522              34,500                   -                 -                  -                   -                   -                   -                   -                  -             122,716                    -                   -                        -                    -                 -            187,738
                                                                                                                                                                                                                                                                                                                                                                                                           Doc 82




       Social Security Taxes                                       -                   -                   -                 -                  -                   -                   -                   -                   -                  -                   -              494,910                   -                        -                    -                 -            494,910
   Total Operating Disbursements                     $     1,586,376      $      608,507      $      806,723    $    1,724,719     $      762,730      $      453,813      $      472,388      $      569,012      $    1,821,451     $      430,626      $      150,432       $      521,569       $      90,365        $          -         $          -         $        4,226       $ 10,002,938

   Operating Cash Flow                               $      (785,466) $           50,810 $          (258,282) $ (1,318,104) $            (165,762) $           92,453 $            53,215 $           (85,206) $ (1,332,609) $                79,802 $          (150,432) $          (521,569) $           (90,365) $               -         $          -         $       (4,226)      $ (4,435,739)
                                         margin %             (98.1%)               7.7%              (47.1%)      (324.2%)                (27.8%)              16.9%               10.1%              (17.6%)      (272.6%)                   15.6%                                                                                                                                          (79.7%)
   Non-Operating Disbursements

       CapEx                                         $                -   $       50,000      $       50,000    $      50,000      $       50,000      $       50,000      $       50,000      $       50,000      $           -      $               -   $               -    $               -    $               -    $               -    $               -    $               -    $     350,000
       Aetna                                                          -                -                   -          139,695                   -                   -                   -                   -            136,523                      -                   -                    -                    -                    -                    -                    -          276,218
       Management Fees                                                -                -                   -                -                   -                   -                   -                   -            325,000                      -                   -                    -                    -                    -                    -                    -          325,000
   Total Non-Operating Disbursements                 $                -   $       50,000      $       50,000    $     189,695      $       50,000      $       50,000      $       50,000      $       50,000      $     461,523      $               -   $               -    $               -    $               -    $               -    $               -    $               -    $     951,218

   Closing Costs
       Drug Disposal Costs                            $               -   $               -   $        6,000    $              -   $               -   $               -   $               -   $               -   $              -   $               -   $               -    $            -       $               -    $               -    $               -    $               -    $       6,000
       Additional out-of-pocket costs (furniture/fixt                 -                   -                -                   -                   -                   -                   -                   -                  -                   -                   -            10,000                       -                    -                    -                    -           10,000
                                                                                                                                                                                                                                                                                                                                                                                                           Filed 02/10/23




   Total Closing Disbursements                        $               -   $               -   $        6,000    $              -   $               -   $               -   $               -   $               -   $              -   $               -   $               -    $       10,000       $               -    $               -    $               -    $               -    $      16,000

   Non-Recurring Costs
       Legal                                         $       125,000      $      125,000      $      125,000    $      125,000     $      100,000      $      100,000      $      100,000      $      100,000      $      100,000     $      100,000      $      100,000       $      100,000       $      50,000        $       50,000       $       50,000       $       50,000       $   1,500,000
       Interim CEO                                            85,000              90,250              90,250            90,250             90,250              76,750              76,750              76,750              76,750             76,750              76,750               76,750              25,000                25,000               25,000               25,000           1,083,250
       Secured Creditor Counsel                                    -                   -                   -                 -                  -             375,000                   -                   -                   -            375,000                   -                    -                   -                     -                    -                    -             750,000
       US Trustee                                                  -                   -                   -                 -                  -                   -                   -              90,000                   -                  -                   -                    -                   -                     -                    -               60,000             150,000
       Filing Fees / DIP Financing Fees                            -                   -                   -           370,000                  -                   -                   -                   -                   -                  -                   -                    -                   -                     -                    -                    -             370,000
       Board Members                                               -                   -               6,000                 -                  -              35,000                   -                   -                   -             35,000                   -                    -                   -                     -                    -                    -              76,000
       Professionals to Creditors Committee                        -             100,000                   -                 -                  -              50,000                   -                   -                   -                  -                   -                    -                   -                     -                    -                    -             150,000
       Patient care ombudsman                                      -                   -               7,500             7,500              7,500               7,500               7,500               7,500               7,500              7,500               7,500                7,500                   -                     -                    -                    -              75,000
       Epiq                                                        -                   -                   -            80,000                  -                   -                   -             120,000                   -                  -                   -               90,000                   -                     -                    -               40,000             330,000
       Ankura                                                      -                   -              10,000                 -                  -                   -                   -              10,000                   -                  -                   -               10,000                   -                     -                    -               10,000              40,000
       Compliance                                                  -                   -              10,000                 -                  -                   -               4,000                   -                   -                  -                   -                5,000                   -                 2,000                    -                    -              21,000
       Other Professionals                                         -                   -                   -            60,000                  -                   -                   -              90,000                   -                  -                   -               75,000                   -                     -                    -                    -             225,000
   Total Disbursements                               $       210,000      $      315,250      $      248,750    $      732,750     $      197,750      $      644,250      $      188,250      $      494,250      $      184,250     $      594,250      $      184,250       $      364,250       $      75,000        $       77,000       $       75,000       $      185,000       $   4,770,250
                                                                   -                   -                   -                 -                  -                   -                   -                   -                   -                  -                   -                    -                   -                     -                    -                    -
      DIP Interest                                                                   -                   -              61,458                -                   -                   -                   -               108,167                -                   -                    -               135,208                   -                    -                    -              304,833
                                                                                                                                                                                                                                                                                                                                                                                                           Page 205 of 205




   TOTAL DISBURSEMENTS                               $     1,796,376      $      973,757      $    1,111,473    $    2,708,622     $    1,010,480      $    1,148,063      $      710,638      $    1,113,262      $    2,575,391     $    1,024,876      $      334,682       $      895,819       $     300,573        $       77,000       $       75,000       $      189,226       $ 16,045,239

   NET CASH FLOW                                     $      (995,466) $   (314,440) $   (563,032) $ (2,302,007) $   (413,512) $   (601,797) $   (185,035) $   (629,456) $ (2,086,549) $   (514,448) $   (334,682) $   (895,819) $    (300,573) $     (77,000) $     (75,000) $    (189,226)                                                                                             $ (10,478,040)
                                         margin %            (124.3%)       (47.7%)      (102.7%)      (566.1%)       (69.3%)      (110.2%)       (35.2%)      (130.1%)      (426.8%)      (100.8%)                                                                                                                                                                                           (188.2%)
   CUMULATIVE NET CASH FLOW                          $      (995,466) $ (1,309,905) $ (1,872,937) $ (4,174,944) $ (4,588,456) $ (5,190,254) $ (5,375,288) $ (6,004,744) $ (8,091,293) $ (8,605,740) $ (8,940,422) $ (9,836,241) $ (10,136,814) $ (10,213,814) $ (10,288,814) $ (10,478,040)                                                                                             $ (10,478,040)

LIQUIDITY
   Beginning Book Ledger Balance                     $       207,087 $         4,211,622 $         3,897,182 $ 3,334,150 $              1,032,143 $         4,118,631 $         3,516,834 $         5,831,799 $ 5,202,343 $                3,115,794 $         2,601,347 $          2,266,665 $          1,370,846 $          1,070,273 $            993,273 $            918,273       $     207,087
       + Net Cash Flow                                      (995,466)           (314,440)           (563,032)  (2,302,007)               (413,512)           (601,797)           (185,035)           (629,456)  (2,086,549)                 (514,448)           (334,682)            (895,819)            (300,573)              (77,000)             (75,000)           (189,226)        (10,478,040)
       + DIP Advances / (Pay Down)                         5,000,000                   -                   -            -               3,500,000                   -           2,500,000                   -            -                         -                   -                    -                    -                     -                    -                   -          11,000,000
   Ending Book Ledger Balance                        $     4,211,622 $         3,897,182 $         3,334,150 $ 1,032,143 $              4,118,631 $         3,516,834 $         5,831,799 $         5,202,343 $ 3,115,794 $                2,601,347 $         2,266,665 $          1,370,846 $          1,070,273 $            993,273 $            918,273 $            729,047       $     729,047
